USCA4 Appeal: 13-4576      Doc: 24            Filed: 11/22/2013        Pg: 1 of 336

                                            RECORD NO. 13-4576

                                                       In The
              United States Court of Appeals
                                          For The Fourth Circuit




                           UNITED STATES OF AMERICA,
                                                                                     Plaintiff – Appellee,


                                                            v.




                                  JOHN STUART DOWELL,
                                                                                     Defendant – Appellant.



           ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF VIRGINIA
                          AT HARRISONBURG


                                              JOINT APPENDIX
                                               VOLUME I OF II
                                                (Pages 1 – 332)



            R. Darren Bostic                                        Nancy S. Healey
            BOSTIC & BOSTIC, PC                                     OFFICE OF THE U.S. ATTORNEY
            409 Virginia Avenue                                     255 West Main Street, Room 130
            Harrisonburg, Virginia 22802                            Charlottesville, Virginia 22902
            (540) 432-1119                                          (434) 293-4283

            Counsel for Appellant                                   Counsel for Appellee

                   THE LEX GROUP  1108 East Main Street  Suite 1400  Richmond, VA 23219
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USCA4 Appeal: 13-4576            Doc: 24             Filed: 11/22/2013            Pg: 2 of 336




                                               TABLE OF CONTENTS
                                                 VOLUME I OF II

                                                                                                       Appendix Page

        Docket Entries . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1

        Complaint
            filed October 24, 2011 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12

        Transcript of Arraignment on Superseding
        Indictment Proceedings before
        The Honorable B. Waugh Crigler
              on May 7, 2012 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18

        Transcript of Guilty Plea Hearing before
        The Honorable Michael F. Urbanski
             on October 3, 2012 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 23

        Transcript of Sentencing Proceedings before
        The Honorable Michael F. Urbanski
             on July 18, 2013 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 57

                 Testimony of James M. Fottrell:

                 Direct Examination by Ms. Katzin . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 67
                 Cross Examination by Mr. Bostic . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 111
                 Redirect Examination by Ms. Katzin . . . . . . . . . . . . . . . . . . . . . . . . . . 124
                 Recross Examination by Mr. Bostic . . . . . . . . . . . . . . . . . . . . . . . . . . . 125

                 Testimony of Alan J. Garretson:

                 Direct Examination by Mr. Bostic . . . . . . . . . . . . . . . . . . . . . . . . . . . . 128
                 Cross Examination by Ms. Katzin . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 141

                 Testimony of Donna Moore:

                 Direct Examination by Ms. Healey . . . . . . . . . . . . . . . . . . . . . . . . . . . . 198
                 Cross Examination by Mr. Bostic . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 234
                 Redirect Examination by Ms. Healey . . . . . . . . . . . . . . . . . . . . . . . . . . 243


                                                                  i
USCA4 Appeal: 13-4576           Doc: 24             Filed: 11/22/2013          Pg: 3 of 336




        Transcript of Sentencing Proceedings before
        The Honorable Michael F. Urbanski
             on July 18, 2013, continued:

                Testimony of Bill Dowell:

                Direct Examination by Mr. Bostic . . . . . . . . . . . . . . . . . . . . . . . . . . . . 257

                Testimony of John Dowell:

                Direct Examination by Mr. Bostic . . . . . . . . . . . . . . . . . . . . . . . . . . . . 263
                Cross Examination by Ms. Healey . . . . . . . . . . . . . . . . . . . . . . . . . . . . 274

        Judgment in a Criminal Case
             filed July 25, 2013 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 324

        Notice of Appeal
             filed August 1, 2013 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 332




                                                                ii
USCA4 Appeal: 13-4576          Doc: 24            Filed: 11/22/2013         Pg: 4 of 336




                                       TABLE OF CONTENTS
                                    VOLUME II OF II – UNDER SEAL

                                                                                                Appendix Page

        Presentence Investigation Report
             revised June 13, 2013 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 333




                                                             iii
CM/ECF - U.S. District Court:vawd                           https://ecf.vawd.uscourts.gov/cgi-bin/DktRpt.pl?829260980190764-L_1_0-1
     USCA4 Appeal: 13-4576           Doc: 24       Filed: 11/22/2013     Pg: 5 of 336

                                                                                   CLOSED,APPEAL,FORFEITURE

                                               U.S. District Court
                                   Western District of Virginia (Harrisonburg)
                             CRIMINAL DOCKET FOR CASE #: 5:11-cr-00045-MFU-1


          Case title: USA v. Dowell                                     Date Filed: 12/14/2011
          Magistrate judge case number: 5:11-mj-00132-BWC               Date Terminated: 07/25/2013


          Assigned to: District Judge Michael F.
          Urbanski
          Appeals court case number: 13-4576
          4CCA

          Defendant (1)
          John Stuart Dowell                             represented by Joel Christopher Hoppe
          TERMINATED: 07/25/2013                                        FEDERAL PUBLIC DEFENDERS
                                                                        OFFICE
                                                                        SUITE 106
                                                                        401 E MARKET ST
                                                                        CHARLOTTESVILLE, VA 22902
                                                                        434-220-3380
                                                                        Fax: 434-220-3390
                                                                        Email: joel_hoppe@fd.org
                                                                        TERMINATED: 03/02/2012
                                                                        ATTORNEY TO BE NOTICED
                                                                        Designation: Public Defender or
                                                                        Community Defender Appointment

                                                                         Russell Darren Bostic
                                                                         Bostic & Bostic, P.C.
                                                                         409 Virginia Avenue
                                                                         Harrisonburg, VA 22802
                                                                         540-432-1119
                                                                         Fax: 540-433-0929
                                                                         Email: rdbostic32@gmail.com
                                                                         ATTORNEY TO BE NOTICED
                                                                         Designation: CJA Appointment

          Pending Counts                                                 Disposition
          18:2251A.F- SELLING OR BUYING OF
          CHILDREN - 18:2251(a); 2251(e) -                               CBOP 360 months to run concurrently;
          (11/30/10)                                                     S/R Life; S/A $100.00
          (1s)




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1 of 11                                                                                                       10/16/2013 10:08 AM
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     USCA4 Appeal: 13-4576          Doc: 24   Filed: 11/22/2013     Pg: 6 of 336

          18:2251A.F- SELLING OR BUYING OF
          CHILDREN - 18:2251(a); 2251(e) -                          CBOP 360 months to run concurrently;
          (12/09/10)                                                S/R Life; S/A $100.00
          (2s)
          18:2251A.F- SELLING OR BUYING OF
          CHILDREN - 18:2251(a); 2251(e) -                          CBOP 360 months to run concurrently;
          (12/20/10)                                                S/R Life; S/A $100.00
          (3s)
          18:2251A.F- SELLING OR BUYING OF
          CHILDREN - 18:2251(a); 2251(e) -                          CBOP 360 months to run concurrently;
          (1/03/11)                                                 S/R Life; S/A $100.00
          (4s)
          18:2251A.F- SELLING OR BUYING OF
          CHILDREN - 18:2251(a); 2251(e) -                          CBOP 360 months to run concurrently;
          (1/07/11)                                                 S/R Life; S/A $100.00
          (5s)
          18:2251A.F- SELLING OR BUYING OF
          CHILDREN - 18:2251(a); 2251(e) -                          CBOP 360 months to run concurrently;
          (1/10/11)                                                 S/R Life; S/A $100.00
          (6s)
          18:2251A.F- SELLING OR BUYING OF
          CHILDREN - 18:2251(a); 2251(e) -                          CBOP 360 months to run concurrently;
          (1/10/11)                                                 S/R Life; S/A $100.00
          (7s)
          18:2251A.F- SELLING OR BUYING OF
          CHILDREN - 18:2251(a); 2251(e) -                          CBOP 360 months to run consecutively;
          (1/14/11)                                                 S/R Life; S/A $100.00
          (8s)
          18:2251A.F- SELLING OR BUYING OF
          CHILDREN - 18:2251(a); 2251(e) -                          CBOP 360 months to run consecutively;
          (1/25/11)                                                 S/R Life; S/A $100.00
          (9s)
          18:2251A.F- SELLING OR BUYING OF
          CHILDREN - 18:2251(a); 2251(e) -                          CBOP 360 months to run concurrently;
          (1/27/11)                                                 S/R Life; S/A $100.00
          (10s)
          18:2251A.F- SELLING OR BUYING OF
          CHILDREN - 18:2251(a); 2251(e) -                          CBOP 180 months to run consecutively;
          (12/27/10)                                                S/R Life; S/A $100.00
          (11s)
          18:2251A.F- SELLING OR BUYING OF
          CHILDREN - 18:2251(a); 2251(e) -                          CBOP 180 months to run concurrently;
          (1/12/11)                                                 S/R Life; S/A $100.00
          (12s)
          18:2252A.F - ACTIVITIES RE                                CBOP 60 months to run consecutively;
          MATERIAL                                                  S/R Life; S/A $100.00


                                                       2
2 of 11                                                                                                  10/16/2013 10:08 AM
CM/ECF - U.S. District Court:vawd                            https://ecf.vawd.uscourts.gov/cgi-bin/DktRpt.pl?829260980190764-L_1_0-1
     USCA4 Appeal: 13-4576          Doc: 24         Filed: 11/22/2013     Pg: 7 of 336

          CONSTITUTING/CONTAINING CHILD
          PORNO - 18:2252(a)(1); 2252(b)(1)-
          (10/31/11)
          (13s)

          Highest Offense Level (Opening)
          Felony

          Terminated Counts                                               Disposition
          18:2251.F; 18:2251(a); 18:2251(e)
          -SEXUAL EXPLOITATION OF
                                                                          Dismissed by superseding indictment.
          CHILDREN (10/11)
          (1)

          Highest Offense Level (Terminated)
          Felony

          Complaints                                                      Disposition
          18:2251.F, 18:2251(a) & 2251(e); Sexual
          exploitation of minor (10/11)



          Plaintiff
          USA                                             represented by Darcy Fanchon Katzin
                                                                         U S DEPARTMENT OF JUSTICE -
                                                                         CRIMINAL DIVISION
                                                                         CHILD EXPLOITATION AND
                                                                         OBSCENITY SECTION
                                                                         1400 NEW YORK AVENUE NW
                                                                         WASHINGTON, DC 20530
                                                                         202-353-3420
                                                                         Fax: 202-514-1793
                                                                         Email: darcy.katzin@usdoj.gov
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED

                                                                          Nancy Spodick Healey
                                                                          United States Attorneys Office
                                                                          Room 104
                                                                          255 West Main Street
                                                                          Charlottesville, VA 22902
                                                                          434-293-4283
                                                                          Fax: 293-4910
                                                                          Email: nancy.healey@usdoj.gov
                                                                          ATTORNEY TO BE NOTICED




                                                             3
3 of 11                                                                                                        10/16/2013 10:08 AM
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     USCA4 Appeal: 13-4576              Doc: 24         Filed: 11/22/2013       Pg: 8 of 336

          Date Filed         #      Docket Text
          10/24/2011          1 COMPLAINT as to John Stuart Dowell (1). (kld) [5:11-mj-00132-BWC] (Entered:
                                10/25/2011)
          11/07/2011          3 Rule 5(c)(3) Documents Received from USDC Northern District of California at San
                                Jose as to John Stuart Dowell (jat) [5:11-mj-00132-BWC]
          11/29/2011          4 NOTICE OF HEARING as to John Stuart Dowell (custody) Initial Appearance set for
                                12/1/2011 10:00 AM in Charlottesville before Magistrate Judge B. Waugh Crigler.(jat)
                                [5:11-mj-00132-BWC]
          11/30/2011          5 E-Notice Rescheduling Hearing as to John Stuart Dowell previously set for 12/1/11 at
                                10:00 am before Judge Crigler in C'ville: Initial Appearance RESET for 12/1/2011
                                02:00 PM in Charlottesville before Magistrate Judge B. Waugh Crigler.(kld) [5:11-
                                mj-00132-BWC]
          12/01/2011          6 Minute Entry for proceedings held before Magistrate Judge B. Waugh Crigler:
                                Preliminary Hearing as to John Stuart Dowell held on 12/1/2011, Detention Hearing as
                                to John Stuart Dowell held on 12/1/2011, ( Preliminary Examination Hearing
                                continued to 12/8/2011 09:30 AM in Charlottesville before Magistrate Judge B. Waugh
                                Crigler.) (Court Reporter M. Bottiglieri, FTR) (mab)[5:11-mj-00132-BWC] (Entered:
                                12/02/2011)
          12/01/2011          7 ORDER OF DETENTION PENDING TRIAL as to John Stuart Dowell. Signed by
                                Magistrate Judge B. Waugh Crigler on 12/1/2011. (mab) [5:11-mj-00132-BWC]
                                (Entered: 12/02/2011)
          12/01/2011          8 Arrest Warrant Returned Executed on 12/1/2011 in case as to John Stuart Dowell.
                                (mab) [5:11-mj-00132-BWC] (Entered: 12/02/2011)
          12/01/2011          9 ORAL ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to John Stuart
                                Dowell. Entered by Magistrate Judge B. Waugh Crigler on 12/1/2011. (mab) [5:11-
                                mj-00132-BWC] (Entered: 12/02/2011)
          12/01/2011                Minute Entry for proceedings held before Magistrate Judge B. Waugh Crigler:Initial
                                    Appearance as to John Stuart Dowell held on 12/1/2011 (Court Reporter M.
                                    Bottiglieri, FTR) (mab) (Entered: 12/20/2011)
          12/02/2011         10 NOTICE OF HEARING as to John Stuart Dowell (custody) Preliminary Hearing set
                                for 12/8/2011 09:30 AM in Charlottesville before Magistrate Judge B. Waugh
                                Crigler.(mab) [5:11-mj-00132-BWC]
          12/08/2011         11 Minute Entry for proceedings held before Magistrate Judge B. Waugh
                                Crigler:Preliminary Hearing as to John Stuart Dowell held on 12/8/2011 (Court
                                Reporter M. Bottiglieri, FTR) (mab) [5:11-mj-00132-BWC]
          12/08/2011         12 ORAL Order Finding Probable Cause as to John Stuart Dowell. Entered by Magistrate
                                Judge B. Waugh Crigler on 12/8/2011. (mab) [5:11-mj-00132-BWC]
          12/08/2011         13 ORDER OF DETENTION PENDING TRIAL as to John Stuart Dowell. Signed by
                                Magistrate Judge B. Waugh Crigler on 12/8/2011. (mab) [5:11-mj-00132-BWC]
          12/14/2011         14 INDICTMENT as to John Stuart Dowell (1) count(s) 1. (kld)




                                                                  4
4 of 11                                                                                                              10/16/2013 10:08 AM
CM/ECF - U.S. District Court:vawd                                 https://ecf.vawd.uscourts.gov/cgi-bin/DktRpt.pl?829260980190764-L_1_0-1
     USCA4 Appeal: 13-4576            Doc: 24          Filed: 11/22/2013       Pg: 9 of 336

          12/16/2011         16 PRETRIAL ORDER as to John Stuart Dowell. Signed by District Judge Michael F.
                                Urbanski on 12/16/11. (kld)
          12/19/2011         17 NOTICE OF HEARING as to John Stuart Dowell Arraignment set for 12/20/2011
                                09:30 AM in Charlottesville before Magistrate Judge B. Waugh Crigler.(mka)
          12/20/2011         18 Minute Entry for proceedings held before Magistrate Judge B. Waugh
                                Crigler:Arraignment as to John Stuart Dowell (1) Count 1 held on 12/20/2011 (Court
                                Reporter Joyce Jones, FTR Recording) (jcj)
          12/20/2011         19 ORDER OF DETENTION PENDING TRIAL as to John Stuart Dowell. Signed by
                                Magistrate Judge B. Waugh Crigler on 12/20/11. (jcj)
          12/27/2011         20 NOTICE OF HEARING as to John Stuart Dowell (custody) Jury Trial set for
                                2/23/2012 - 2/24/2012 09:30 AM in Harrisonburg before District Judge Michael F.
                                Urbanski.(jat)
          01/13/2012         21 Joint Discovery & Inspection Order Filed as to John Stuart Dowell. Signed by District
                                Judge Michael F. Urbanski on 1/13/2012. (jat)
          01/24/2012         22 NOTICE OF ATTORNEY APPEARANCE Darcy Fanchon Katzin appearing for USA.
                                (Attorney was just added to our data base)(jat)
          01/30/2012         23 First MOTION to Continue-Ends of Justice for Jury Trial by USA as to John Stuart
                                Dowell. (Attachments: # 1 Text of Proposed Order)(Healey, Nancy)
          01/31/2012         24 ORDER granting 23 Motion to Continue-Ends of Justice as to John Stuart Dowell (1).
                                Signed by District Judge Michael F. Urbanski on 1/30/2012. (jat)
          02/01/2012         25 Notice Rescheduling Hearing as to John Stuart Dowell (custody) previously set for
                                2/23/2012 - 2/24/2012 at 9:30 a.m. before Judge Urbanski in Harrisonburg: Jury Trial
                                reset for 5/29/2012 - 6/1/2012 09:30 AM in Harrisonburg before District Judge
                                Michael F. Urbanski.(jat)
          02/27/2012         26 MOTION to Withdraw as Attorney by Joel Hoppe. by John Stuart Dowell. (Hoppe,
                                Joel)
          03/02/2012         27 NOTICE OF HEARING ON MOTION in case as to John Stuart Dowell (custody) 26
                                MOTION to Withdraw as Attorney by Joel Hoppe. : Motion Hearing set for 3/2/2012
                                02:00 PM in Charlottesville before Magistrate Judge B. Waugh Crigler.(jat)
          03/02/2012         28 CJA 20 as to John Stuart Dowell: Appointment of Attorney R. Darren Bostic.. Signed
                                by Magistrate Judge B. Waugh Crigler on 3/1/2012. (mab)
          03/02/2012         29 Minute Order for proceedings held before Magistrate Judge B. Waugh Crigler: granting
                                26 Motion to Withdraw as Attorney. Joel Christopher Hoppe withdrawn from case as
                                to John Stuart Dowell (1); Motion Hearing as to John Stuart Dowell held on 3/2/2012
                                re 26 MOTION to Withdraw as Attorney by Joel Hoppe filed by John Stuart Dowell.
                                (Court Reporter Heidi Wheeler.) (hnw)
          03/27/2012         30 Joint Discovery and Inspection Order Filed as to John Stuart Dowell. Signed by
                                District Judge Michael F. Urbanski on 3/27/2012. (jat)
          04/25/2012         31 Superseding Indictment as to John Stuart Dowell (1) count(s) 1s, 2s, 3s, 4s, 5s, 6s-7s,
                                8s, 9s, 10s, 11s, 12s, 13s. (mab)




                                                                 5
5 of 11                                                                                                             10/16/2013 10:08 AM
CM/ECF - U.S. District Court:vawd                                  https://ecf.vawd.uscourts.gov/cgi-bin/DktRpt.pl?829260980190764-L_1_0-1
     USCA4 Appeal: 13-4576              Doc: 24         Filed: 11/22/2013       Pg: 10 of 336

          05/04/2012         33 NOTICE OF HEARING as to John Stuart Dowell (custody) Arraignment set for
                                5/7/2012 10:30 AM in Charlottesville before Magistrate Judge B. Waugh Crigler.(jat)
          05/07/2012         34 Minute Entry for proceedings held before Magistrate Judge B. Waugh
                                Crigler:Arraignment as to John Stuart Dowell (1) Count 1s,2s,3s,4s,5s,6s-
                                7s,8s,9s,10s,11s,12s,13s held on 5/7/2012 (Court Reporter Joyce Jones, FTR
                                Recording) (jcj) (Main Document 34 replaced on 5/8/2012) (jcj).
          05/07/2012         35 ORDER OF DETENTION PENDING TRIAL as to John Stuart Dowell. Signed by
                                Magistrate Judge B. Waugh Crigler on 5/7/12. (jcj)
          05/09/2012         36 First MOTION to Continue-Ends of Justice for Jury Trial by John Stuart Dowell.
                                (Bostic, Russell)
          05/10/2012         37 ORDER granting 36 Motion to Continue-Ends of Justice as to John Stuart Dowell (1).
                                Signed by District Judge Michael F. Urbanski on 5/10/2012. (jat)
          05/10/2012         38 Notice Rescheduling Hearing as to John Stuart Dowell (custody) previously set for
                                5/29/2012 at 9:30 a.m. before Judge Urbanski in Harrisonburg: Jury Trial reset for
                                10/1/2012 - 10/5/2012 09:30 AM in Harrisonburg before District Judge Michael F.
                                Urbanski.(jat)
          05/24/2012         39 MOTION to Appoint Expert in Computer Forensics by John Stuart Dowell. (Bostic,
                                Russell)
          06/01/2012         40 ORDER granting 39 Motion for Appointment of Expert as to John Stuart Dowell (1).
                                Signed by District Judge Michael F. Urbanski on 6/1/2012. (jat)
          08/27/2012         41 MOTION for Bond by John Stuart Dowell. (Bostic, Russell)
          08/29/2012         42 NOTICE OF HEARING as to John Stuart Dowell (custody) Bond Hearing set for
                                9/5/2012 12:45 PM in Harrisonburg before Magistrate Judge James G. Welsh.(kld)
          09/04/2012         43 WITHDRAWAL of Motion by John Stuart Dowell re 41 MOTION for Bond filed by
                                John Stuart Dowell (Bostic, Russell)
          09/04/2012         44 Notice of Cancellation of Bond Hrg on 9/5/12 as to John Stuart Dowell(kld)
          09/10/2012         45 Notice Rescheduling Hearing as to John Stuart Dowell (custody) previously set for
                                10/1/2012 at 9:30 a.m. before Judge Urbanski in Harrisonburg: Change of Plea Hearing
                                reset for 10/3/2012 04:00 PM in Harrisonburg before District Judge Michael F.
                                Urbanski.(jat)
          10/03/2012         46 Minute Entry for proceedings held before District Judge Michael F. Urbanski:Guilty
                                Plea Hearing as to John Stuart Dowell held on 10/3/2012 Plea entered by John Stuart
                                Dowell (1) Guilty Count 1s,2s,3s,4s,5s,6s-7s,8s,9s,10s,11s,12s,13s. Defendant
                                remanded to USM custody. (Court Reporter Sonia Ferris) (jat) (Entered: 10/04/2012)
          10/03/2012         47 Guilty Plea Form as to John Stuart Dowell. (jat) (Entered: 10/04/2012)
          10/03/2012         48 Factual Basis - Proffer filed by USA as to John Stuart Dowell. (jat) (Entered:
                                10/04/2012)
          10/04/2012                Notice of Appearance - Probation Officer: Mike Sheffield as to John Stuart Dowell
                                    (ch)




                                                                  6
6 of 11                                                                                                              10/16/2013 10:08 AM
CM/ECF - U.S. District Court:vawd                                  https://ecf.vawd.uscourts.gov/cgi-bin/DktRpt.pl?829260980190764-L_1_0-1
     USCA4 Appeal: 13-4576              Doc: 24         Filed: 11/22/2013       Pg: 11 of 336

          10/04/2012         49 Judge Urbanski Sentencing Scheduling Order as to John Stuart Dowell. Responses due
                                by 1/9/2013. Signed by District Judge Michael F. Urbanski on 10/3/2012. (jat)
          10/04/2012         50 NOTICE OF HEARING as to John Stuart Dowell (custody). Sentencing set for
                                1/16/2013 02:00 PM in Harrisonburg before District Judge Michael F. Urbanski.(jat)
          11/12/2012         52 Interim MOTION for Attorney Fees. (Bostic, Russell)
          11/26/2012         53 MOTION for Psychiatric Exam by John Stuart Dowell. (Bostic, Russell)
          11/27/2012         54 ORDER granting 52 MOTION for Interim Attorney Fees as to John Stuart Dowell (1).
                                Signed by District Judge Michael F. Urbanski on 11/27/2012. (jat)
          12/03/2012         55 ORDER Directing Defendant to File Under Seal the Psychological Evaluation as to
                                John Stuart Dowell. Signed by District Judge Michael F. Urbanski on 12/3/2012. (jat)
          12/03/2012         56 Psychiatric Report Received (Sealed) as to John Stuart Dowell (jat)
          12/14/2012         57 First MOTION to Continue Sentencing by USA as to John Stuart Dowell. (Healey,
                                Nancy)
          12/18/2012         58 Sealed Document by dft in support of doc 53 (kld)
          12/22/2012         59 MOTION for Extension of Time to File Objections Letter by John Stuart Dowell.
                                (Bostic, Russell)
          12/26/2012                *** CJA 20 Voucher Certified for Payment in case as to John Stuart Dowell for
                                    attorney Darren Bostic (swc)
          01/02/2013         60 Notice Rescheduling Hearing as to John Stuart Dowell (custody) previously set for
                                1/16/2013 at 2:00 p.m. before Judge Urbanski in Harrisonburg: Sentencing reset for
                                3/20/2013 09:30 AM in Harrisonburg before District Judge Michael F. Urbanski.(jat)
          01/02/2013         61 ORDER granting in part and denying in part 53 Motion for Psychiatric Exam as to
                                John Stuart Dowell (1)( Psychiatric Exam due by 3/20/2013); granting 57 Motion to
                                Continue as to John Stuart Dowell (1); granting 59 Motion for Extension of Time to
                                File as to John Stuart Dowell (1). Signed by District Judge Michael F. Urbanski on
                                1/2/2013. (jat)
          01/14/2013         62 Notice Rescheduling Hearing as to John Stuart Dowell (custody) previously set for
                                3/20/2013 at 9:30 a.m. before Judge Urbanski in Harrisonburg: Sentencing set for
                                4/3/2013 09:30 AM - 11:30 AM in Harrisonburg before District Judge Michael F.
                                Urbanski. Sentencing Memorandums due 3/27/2013. (jat)
          04/05/2013         63 NOTICE OF HEARING as to John Stuart Dowell (custody) Sentencing set for
                                7/18/2013 09:30 AM in Harrisonburg before District Judge Michael F. Urbanski.
                                Sentencing Memorandums due 7/11/2013. (jat)
          05/17/2013         64 Psychiatric Report Received (Sealed) as to John Stuart Dowell (kld) (Entered:
                                05/20/2013)
          07/02/2013         65 First MOTION to Seal Psychosexual Evaluation by USA as to John Stuart Dowell.
                                (Attachments: # 1 Text of Proposed Order)(Healey, Nancy)
          07/03/2013         66 ORDER granting 65 Motion to Seal Report of Psychosexual Evaluation as to John
                                Stuart Dowell (1). Signed by District Judge Michael F. Urbanski on 7/2/2013. (jat)
          07/03/2013         67 Sealed Report of Psychosexual Evaluation filed by USA. (jat)


                                                                  7
7 of 11                                                                                                              10/16/2013 10:08 AM
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     USCA4 Appeal: 13-4576           Doc: 24          Filed: 11/22/2013       Pg: 12 of 336

          07/11/2013         68 SENTENCING MEMORANDUM by John Stuart Dowell (Attachments: # 1 Exhibit A,
                                # 2 Exhibit B)(Bostic, Russell)
          07/11/2013         69 SENTENCING MEMORANDUM by USA as to John Stuart Dowell (Healey, Nancy)
          07/12/2013         70 NOTICE of Witnesses and Exhibits (Bostic, Russell)
          07/14/2013         71 MOTION to Seal Exhibit by John Stuart Dowell. (Bostic, Russell)
          07/15/2013         72 Notice of Correction re 68 Sentencing Memorandum - Sealed Exhibit B in accordance
                                with 18 USC §3509(d)(2). (jat)
          07/15/2013         73 ORDER granting 71 Motion to Seal Exhibit B to defense Sentencing Memorandum as
                                to John Stuart Dowell (1). Signed by District Judge Michael F. Urbanski on 7/15/2013.
                                (jat)
          07/17/2013         74 Letter for Exhibit C to Sentencing Memorandum as to John Stuart Dowell (Bostic,
                                Russell)
          07/17/2013         79 SENTENCING EXHIBIT LIST as to John Stuart Dowell. (Attachments: # 1 Exhibit
                                Gov 1, # 2 Exhibit Def 1, # 3 Exhibit Def 2, # 4 Exhibit Def 3, # 5 Exhibit Gov
                                4)(Sealed exhibits located in the Harrisonburg vault) (jat) (Entered: 07/24/2013)
          07/18/2013         75 ORDER DIRECTING FORFEITURE OF PROPERTY as to John Stuart Dowell.
                                Signed by District Judge Michael F. Urbanski on 7/18/2013. (jat)
          07/18/2013         78 Minute Entry for proceedings held before District Judge Michael F.
                                Urbanski:Sentencing held on 7/18/2013 for John Stuart Dowell (1), Count(s) 1,
                                Dismissed by superseding indictment.; Count(s) 10s, 1s, 2s, 3s, 4s, 5s, 6s, 7s, CBOP
                                360 months to run concurrently; S/R Life; S/A $100.00; Count(s) 11s, CBOP 180
                                months to run consecutively; S/R Life; S/A $100.00; Count(s) 12s, CBOP 180 months
                                to run concurrently; S/R Life; S/A $100.00; Count(s) 13s, CBOP 60 months to run
                                consecutively; S/R Life; S/A $100.00; Count(s) 8s, 9s, CBOP 360 months to run
                                consecutively; S/R Life; S/A $100.00. Defendant remanded to USM custody. (Court
                                Reporter Carol Jacobs) (jat) (Entered: 07/23/2013)
          07/19/2013         77 PRESENTENCE INVESTIGATION REPORT (Sealed) as to John Stuart Dowell (ch)
          07/25/2013         80 JUDGMENT as to John Stuart Dowell (1), Count(s) 1, Dismissed by superseding
                                indictment; Count(s) 10s, 1s, 2s, 3s, 4s, 5s, 6s, 7s, CBOP 360 months to run
                                concurrently; S/R Life; S/A $100.00; Count(s) 11s, CBOP 180 months to run
                                consecutively; S/R Life; S/A $100.00; Count(s) 12s, CBOP 180 months to run
                                concurrently; S/R Life; S/A $100.00; Count(s) 13s, CBOP 60 months to run
                                consecutively; S/R Life; S/A $100.00; Count(s) 8s, 9s, CBOP 360 months to run
                                consecutively; S/R Life; S/A $100.00. Signed by District Judge Michael F. Urbanski on
                                7/23/2013. (Attachments: # 1 Order of Forfeiture) (jat)
          07/29/2013         82 REPLACEMENT CJA 20 as to John Stuart Dowell: Appointment of Attorney Darren
                                Bostic. Signed by District Judge Michael F. Urbanski on 7/25/13. (kld)
          08/01/2013         83 NOTICE OF APPEAL - Final Judgment to 4CCA by John Stuart Dowell (Bostic,
                                Russell)
          08/07/2013         84 Transmittal of Notice of Appeal as to John Stuart Dowell to 4CCA re 83 Notice of
                                Appeal - Final Judgment to 4CCA
                                NOTE: The Docketing Statement, Transcript Order Form and CJA-24(s) forms (if you


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8 of 11                                                                                                            10/16/2013 10:08 AM
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     USCA4 Appeal: 13-4576              Doc: 24          Filed: 11/22/2013       Pg: 13 of 336

                                    are court appointed counsel) are available on the 4th Circuit Court of Appeals website
                                    at www.ca4.uscourts.gov. If CJA24(s) are applicable, complete items 1-14, 18 for each
                                    court reporter from whom you wish to order a transcript, and file each one separately
                                    in this case with the event Appeal Transcript - Proposed CJA 24. The CJA-24 forms
                                    will then be processed by the U.S. District Court Clerk's Office. (jat)
          08/08/2013         85 NOTICE of Docketing Record on Appeal from USCA as to John Stuart Dowell re 83
                                Notice of Appeal - Final Judgment to 4CCA filed by John Stuart Dowell. USCA Case
                                Number 13-4576. Case Manager: Amy Carlheim. (jat)
          08/08/2013         86 ORDER of USCA Appointing Russell Darren Bostic as attorney as to John Stuart
                                Dowell re 83 Notice of Appeal - Final Judgment to 4CCA. (jat)
          08/20/2013                *** CJA 20 Voucher Certified for Payment in case as to John Stuart Dowell for
                                    attorney Darren Bostic (swc)
          08/21/2013         87 Appeal Transcript-Proposed CJA-24 re 83 Notice of Appeal - Final Judgment to 4CCA
                                by John Stuart Dowell (Bostic, Russell) (Additional attachment(s) added on 8/22/2013:
                                # 1 Transcript Order - FTR Recording, # 2 Transcript Order - Carol Jacobs, # 3
                                Transcript Order - Sonia Ferris) (jat).
          08/22/2013         88 Notice of Correction re 87 Appeal Transcript - Proposed CJA-24 - Transcript Order
                                Request not attached to original entry. (Attachments: # 1 Transcript Order - Carol
                                Jacobs, # 2 Transcript Order - Sonia Ferris) (jat)
          08/23/2013         89 USCA Appeal Transcript Order Acknowledgment re 83 Notice of Appeal - Final
                                Judgment to 4CCA Court Reporter: FTR. Appeal Transcript due by 9/30/2013.
                                (Attachments: # 1 Transcript order form filed, # 2 CJA 24 voucher for payment of
                                transcript)(jat)
          08/23/2013         90 USCA Appeal Transcript Order Acknowledgment re 83 Notice of Appeal - Final
                                Judgment to 4CCA, Court Reporter: Sonia Ferris. Appeal Transcript due by 9/30/2013.
                                (Attachments: # 1 Transcript Order form filed, # 2 CJA 24 Voucher for payment of
                                transcript)(jat)
          08/23/2013         91 USCA Appeal Transcript Order Acknowledgment re 83 Notice of Appeal - Final
                                Judgment to 4CCA, Court Reporter: Carol Jacobs. Appeal Transcript due by
                                9/30/2013. (Attachments: # 1 Transcript order form filed, # 2 CJA 24 Voucher for
                                payment of transcript)(jat)
          08/26/2013         92 Judgment Returned Executed as to John Stuart Dowell on 8/16/2013. (jat)
          08/28/2013         93 CJA 24 - Request and Authorization for Transcript (14 calendar days Service) by John
                                Stuart Dowell for proceedings held on 10/3/12 reported by Court Reporter Sonia
                                Ferris, OCR before Judge Urbanski. Transcript due by 9/11/2013.. Signed by District
                                Judge Michael F. Urbanski on 8/28/13. (kld)
          08/28/2013         94 CJA 24 - Request and Authorization for Transcript (14 calendar days Service) by John
                                Stuart Dowell for proceedings held on 5/7/13 reported by Court Reporter FTR before
                                Judge Welsh. Transcript due by 9/11/2013. Signed by District Judge Michael F.
                                Urbanski on 8/28/13. (kld)
          08/28/2013         95 CJA 24 - Request and Authorization for Transcript (14 calendar days Service) by John
                                Stuart Dowell for proceedings held on 7/18/13 reported by Court Reporter Carol
                                Jacobs before Judge Urbanski. Transcript due by 9/11/2013.. Signed by District Judge


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9 of 11                                                                                                               10/16/2013 10:08 AM
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    USCA4 Appeal: 13-4576               Doc: 24          Filed: 11/22/2013       Pg: 14 of 336

                                    Michael F. Urbanski on 8/28/13. (kld)
           09/06/2013        96 TRANSCRIPT of Proceedings as to John Stuart Dowell for sENTENCING held on
                                7/18/2013 before Judge Michael F. Urbanski. Court Reporter/Transcriber: Carol
                                Jacobs, Telephone number carolj@vawd.uscourts.gov NOTICE RE REDACTION
                                OF TRANCRIPTS:The parties have seven (7) calendar days to file with the Court
                                a Notice of Intent to Request Redaction of this transcript. If no such Notice is
                                filed, the transcript will be made remotely electronically available to the public
                                without redaction after 90 calendar days. The policy is located on our website at
                                www.vawd.uscourts.gov Transcript may be viewed at the court public terminal or
                                purchased through the Court Reporter/Transcriber before the deadline for
                                Release of Transcript Restriction. After that date it may be obtained through
                                PACER. Redaction Request due 9/27/2013. Redacted Transcript Deadline set for
                                10/7/2013. Release of Transcript Restriction set for 12/5/2013. (cj)
           09/09/2013        97 Appeal Transcript filed as to John Stuart Dowell for Guilty Plea Hearing for dates of
                                October 3, 2012 before Judge Michael F. Urbanski, re 83 Notice of Appeal - Final
                                Judgment to 4CCA Court Reporter/Transcriber: Sonia Ferris, Telephone number
                                SoniaF@vawd.uscourts.gov 434.296.9284 Ext. 4. NOTICE RE REDACTION OF
                                TRANCRIPTS:The parties have seven (7) calendar days to file with the Court a
                                Notice of Intent to Request Redaction of this transcript. If no such Notice is filed,
                                the transcript will be made remotely electronically available to the public without
                                redaction after 90 calendar days. The policy is located on our website at
                                www.vawd.uscourts.gov Does this satisfy all appellate orders for this reporter? Yes
                                <br><br> Transcript may be viewed at the court public terminal or purchased
                                through the Court Reporter/Transcriber before the deadline for Release of
                                Transcript Restriction. After that date it may be obtained through PACER.
                                Redaction Request due 9/30/2013. Redacted Transcript Deadline set for
                                10/10/2013. Release of Transcript Restriction set for 12/9/2013. (sf)
           09/10/2013        98 TRANSCRIPT of Proceedings as to John Stuart Dowell for Arraignment held on May
                                7, 2012 before Judge B. Waugh Crigler. Court Reporter/Transcriber: Exceptional
                                Reporting Services, Inc., Telephone number 361-949-2988 NOTICE RE
                                REDACTION OF TRANCRIPTS:The parties have seven (7) calendar days to file
                                with the Court a Notice of Intent to Request Redaction of this transcript. If no
                                such Notice is filed, the transcript will be made remotely electronically available
                                to the public without redaction after 90 calendar days. The policy is located on
                                our website at www.vawd.uscourts.gov Transcript may be viewed at the court
                                public terminal or purchased through the Court Reporter/Transcriber before the
                                deadline for Release of Transcript Restriction. After that date it may be obtained
                                through PACER. Redaction Request due 10/1/2013. Redacted Transcript
                                Deadline set for 10/11/2013. Release of Transcript Restriction set for 12/9/2013.
                                (slt)
           09/24/2013               *** CJA 24 Voucher Certified for Payment in case as to John Stuart Dowell for
                                    attorney R. Darren Bostic (C. Jacobs, OCR / 267 pgs @ $4.25 / Sentencing hrg.) (slt)
           09/24/2013               *** CJA 24 Voucher Certified for Payment in case as to John Stuart Dowell for
                                    attorney R. Darren Bostic (Exceptional Reporting, transcriber / 4 pgs @ $4.25 /
                                    Arraignment hrg.) (slt)
           09/26/2013       100 MOTION for Forfeiture of Property by USA as to John Stuart Dowell. (Attachments: #
                                1 Exhibit A: Declaration of Publication, # 2 Text of Proposed Order : Final Order of
                                Forfeiture)(Healey, Nancy)


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10 of 11                                                                                                              10/16/2013 10:08 AM
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    USCA4 Appeal: 13-4576             Doc: 24             Filed: 11/22/2013       Pg: 15 of 336

           10/10/2013       101 FINAL ORDER OF FORFEITURE granting 100 Motion for Forfeiture of Property as
                                to John Stuart Dowell (1). Signed by District Judge Michael F. Urbanski on
                                10/10/2013. (jat)



                                                        PACER Service Center
                                                          Transaction Receipt
                                                            10/16/2013 10:08:44
                                    PACER Login: lg0335           Client Code:
                                    Description:   Docket Report Search Criteria: 5:11-cr-00045-MFU
                                    Billable Pages: 9             Cost:            0.90




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11 of 11                                                                                                               10/16/2013 10:08 AM
USCA4 Appeal: 13-4576    Doc: 24    Filed: 11/22/2013  Pg: 16 of 336
          Case 5:11-cr-00045-MFU Document 1 Filed 10/24/11 Page 1 of 6 Pageid#: 1

    AO 91(Rev 08/09) CrimlnalComplaint                                                              cl-Ee sOFFICEU,S.DIST.COURT

                                    U NITED STATES D ISTRICT C OURT                                                     FILE
                                                               orthe                                         0cT 2j 2211
                                                   W estern DistrictOfVirginia                                             k       cts
                                                                                                               lA. . Q                   .



                   UnitedStatesofAmerica                          )                                                 E          L
                             v.                                   )
                   JOHNSTUARTDowEut
                                  -                               ) caseNo. zj-'//A.'7W zf;w z< 2
                          d.o.b.4/28/66                           )
                                                                  )
                                                                  )

                                                    CRIM INAL COM PLAINT

            1,the complainantinthiscase,statethatthe following istruetothebestofmy knowledge and belief.
    Onoraboutthedatets)of betweenNov.2010andOct.2011 inthecountyof                                   Frederick                 inthe
       w estern    Districtof
                      -           vimini
                                       a      ,thedefendantts)violated:
               CodeSection                                                  OffenseDescrl
                                                                                        ption
    18U.S.C.jj2251(a)and2251(e)                employ,use,persuade,induce,entice,orcoerce a minorto engage in
                                               sexuallyexplici tconductforthe purpose ofproducing a visualdepiction of
                                               such conduct,knowing orhaving reason to know thatsuch depicti        on would
                                               betransported using any meansorfacilityofinterstate orforeign commerce
                                               orin oraffecting interstate orforeign commerce;which visualdepictionwas
                                               produced ortransmi   tted using materialsthathad been shipped ortransported
                                               in oraffecting interstate orforeign commerce byanymeans;orwhichvisual
                                               depiction wasactual   ly transported using any m eans orfacility ofinterstate or
                                               foreigncommerce orin ora#ecting interstate orforeigncommerce.
            Thiscriminalcomplaintisbased onthesefacts:
    See attachedAffidavi
                       t




            (D Continued ontheattachedsheet.



                                                                                           Complainant'
                                                                                                      ssignature

                                                                                  SpecialAqentHarvey E.Barlow ,FBI
                                                                                            Printed nameand title

    Swerrtto before meand signed in my presence.


    Datt:          19/24/2011
                                                                                              Judge'
                                                                                                   ssignatur

    City and state:                Chyrlottesville,Virginia                  Hon.B.W augh Crigler,U.S.Magistrate Judge
                                                                                            Printednameandtitle




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USCA4 Appeal: 13-4576    Doc: 24    Filed: 11/22/2013  Pg: 17 of 336
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          Case 5:11-cr-00045-MFU Document 1 Filed 10/24/11 Page 2 of 6 Pageid#: 2 Wzeé
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                                                                                            #6'-2 / -//

                   IN TH E UNITED STATES DISTRICT CO URT FOR TH E                                  /X9 Z A
                                W ESTERN DISTRICT O F VIRG INIA
                                  CHAR LO TTESVILLE DIVISION

        IJNITED STATES OF AM ERICA                  )
                                                    )
                              V.                    )              caseNo.F//m;'mj52
                                                    )
        JOI4N STUART DOW ELL                        )
                                                A FFID A V IT


                       1,H arvey E.Barlow ,being duly sw orn,subm itthis affidavitin search ofan mw st

        warrantforJAM ES STUART DOW ELL charginghim with Production ofChild Pom ography in

        violationofTitle l8,United StatesCode,Sections2251(a)and2251(e).DOW ELL isawhite
        male,who isbelieved to have adate ofbirth ofApril28,1966,SocialSeeurity AccountNumber

        xxx-xx-8035(thefullSSN isknowntoyouraffiant),éndhislastknownaddresswas151Bolmen
        Road,Santa Cruz,California. D OW ELL is furtherdescribed as 5'1l'',approxim ately l40

        pounds,w ith blue eyes with short,brown to greying hair.

                       lam aSpecialAgenloftheFederalBureauoflnvestigation(FBI)andhavebeen
        so employed since September l8,1983.lam currently assigned to theFBI'sRiclm zond Field

        Office'sW inchester,VirginiaResidentAgency and have so been assigned sinceAugustof2005.

        The inform ation in thisaffidavitis derived from m y ow n investigation and discussionsw ith other

         swol'n law enforcementofticersconcerningtheirinvestigation ofchild pornography and

        DOW ELL.

                       On W ednesday,October 19,2011,lw as advised by the FB1'sJacksonville,

        Florida Field O ffice ofit'srecentreceiptofa video containing child pornography from a




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USCA4 Appeal: 13-4576    Doc: 24    Filed: 11/22/2013  Pg: 18 of 336
          Case 5:11-cr-00045-MFU Document 1 Filed 10/24/11 Page 3 of 6 Pageid#: 3



        complainantwhoallegedthesubjectinthevideowasherbrother,thevictim childwashergrand-
        niece(witha2007dateofbirth)andthescenewherethevideowasproducedwasalocationin
        Frederick County,Virginia known to the com plainant,

                       On Thursday,October20,2011two m embersoftheNorthem Virginia-Districtof

        ColumbiaInternetCrimesAgainstChildrenTaskForce(NOVA-DC ICAC)andIparticipatedin
        a conferencecallwith agentsfrom the JacksonvilleFBIin ordertoobtain detailsoftheFBl's

        interview ofthecomplainant.Duringtheconferencecall,stillscreenshootsofthesubjectand
        victim ,non-pornographic,taken from the video w ere e-m ailed from FBl-lacksonville to us for

        laterpurposesofidenlification.

                       On Friday,theNOVA-DC ICAC agentsand lreceived and viewed the video

        whichthecom plainanthad originally provided FBIJacksonville.Thevideo depictedthe

        individualsthe com plainantidentified asherbrother,JO HN STU ART D O W ELL,and herthree

        yearoldgreatniece(NCI.W eobservedonthevideothefollowing:
                       The video beginswith a blue screen with white lettering reading:
                                               New Stuff2011
                                          V ideos001-007 M erged
                                                 (004Missing)
                                          This isthe only stuffofthis
                                                Girlto bemade

                       Thevideo appearedto bea seriesofdifferentscenmiosorvideos,each scenario

        noted by a C'sessions''or tdvideo''num berw hich appeared on the video. N C w ore different

        clothing during som e ofthe dift-
                                        erentscenarios and the m ale show n during each scenario w as

        DOW ELL.During someofthescenarios,DOW ELL adjustedtherecordingdeviceapparently
        forpum oses ofrecording from differentangles including recording straightup from betw een a

        naked N C 'slegsand recording hergenitalia.




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USCA4 Appeal: 13-4576    Doc: 24    Filed: 11/22/2013  Pg: 19 of 336
          Case 5:11-cr-00045-MFU Document 1 Filed 10/24/11 Page 4 of 6 Pageid#: 4



                       The video depicted DO W ELL,in severalinstances,licking N C 'sanaland vaginal

        areasand kissing herbuttecksand vagina,DOW ELL isalso shown rubbingNC'svaginawith his

        fingerts)aswellaskissingherstomachandchest.DOW ELL isalsoobserved sittingwithhis
        penis exposed and isheard asking N C to touch itand kiss it.

               6       On Friday,O ctober21,2011,Ispoke w ith M a'
                                                                 ttD unn,a supervisorwith

        DepartmentofHomelandSecurity'sHomelandSectuitylnvestigation's(HS1)CyberCrime
        Center.D unn advised m e his office w as investigating a child pom ography video w hich had been

        downloadedin August,2011in Denm ark ofkslolm Doe''committingchild pornography.Aswe

        spokehisofficehadbeenpreparinganation-widesearchforaidlohnDoe''subjectforwhom
        Dulm 'sofficehad obtained aktlolm Doe''Federalarrestwarrantthepriordayforachargerelated

        to transportation ofchild pornography in foreign com m erce. A n agentw ith the N OV A -D C

        ICAC who had participated in my Thursday conference callwiththeFBl-lacksonvilleand had

        seen the screen shots ofD OW ELL,and identified D O W ELL asD unn'sJohn D oe,prom pted

        Dunn'scallto me.Durm describedthevideo downloaded in Denmark,which he also stated was

        recently publicly available on lnternetsites. D unn described the Denm ark video to m e and it

        sounded similartotheJacksonvillevideo we had viewed.

                       Following the callwith Dunn,NOVA-DC ICAC agentsand Iw entto aFrederick

        County,Virginia,residence wherewe metwith family memberswho,afterbeing shown non-

        pornographicscreen im agesfrom thevideo,identified DOW ELL andN C astheindividuals

        depicted in the video. Thesewitnessesalso identified theroomsdepicted in thevideo asbeing

        room s in thatresidence. W itnesses took agentsto the depicted room sand also provided articles

        ofelothing w hieh N C had been show n w earing in the video. The undersigned leanw d that

        DO W ELL had stayed atthisresidence betw een in oraboutN ovem berand D ecem ber2010 and




                                                       15
USCA4 Appeal: 13-4576    Doc: 24    Filed: 11/22/2013  Pg: 20 of 336
          Case 5:11-cr-00045-MFU Document 1 Filed 10/24/11 Page 5 of 6 Pageid#: 5



        also in oraboutJanuary2011andin oraboutJuly2O11.NC wasalsepresentin thisresidence

        during those tim e periods.

               8.       Upon returning from theFrederick County residenee,theNOVA-DC ICAC agents

        and 1view ed the video w hich had been delivered by HSlto N OV A-D C ICA C . lobserved the

        video to depictDOW ELL and NC in som eofthesame scenariosIhad previously viewed On the

        video provided by the com plainantto the FBlin Jacksonville. The otherscenariosw hich lhad

        notpreviously viewed on theoriginalcomplainant'svideo depicted additionalinstancesof

        DOW ELL perform ingsim ilarphysicalactson NC asdepicted in thevideo received from FBI

        Jacksonville.

                        Youraffianthascom pared the photograph on file forD O W ELL'S California

        Driver'sLicense(D1993043)withthevideoandwiththescreenshotsshowntothewitnesses
        w hich they had identified astheirrelative,JO HN STUA RT D O W ELL,and they appearto be the

        sam e individual.

               10.      Y our affiantbelievesthatthe aforem entioned inform ation constitutesprobable

        cause to believe thatJOHN STU AR T D OW ELL produced,som etim e in orbetw een N ovem ber,

        2010 and October,2011,inFrederick County,Virginia,avisualdepiction ofa minorengaging in

        sexuallyexplicitconductasdefinedin 18U.S.C.j2256whichwasavailableontheworld-wide
        web and had traveled in interstateand/orforeign comm erce,inviolation ofTitle 18,United




                                                        16
USCA4 Appeal: 13-4576    Doc: 24    Filed: 11/22/2013  Pg: 21 of 336
          Case 5:11-cr-00045-MFU Document 1 Filed 10/24/11 Page 6 of 6 Pageid#: 6



        StatesCode,Sedions2251(a)and2251(e).ltisthereforeherebyrequestedthatthisCourtissue
        an arrestw arrantforJO HN STU AR T DO W ELL.




                                               H rvey . ow
                                               SpecialA gent
                                               FederalBureau oflnvestigation


                swornandsubscribedbeforemethis         / dayofoctober,2011.

        -   è
        H onorable B.W augh Crigler
        United StatesM agistrateJudge




                                                 17
USCA4 Appeal: 13-4576    Doc: 24        Filed: 11/22/2013   Pg: 22 of 336




                                        UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF VIRGINIA
                                          CHARLOTTESVILLE DIVISION



                UNITED STATES OF AMERICA,               )   CASE NO:    5-11-CR-00045-MFU
                                                        )
                                     Plaintiff,         )                   CRIMINAL
                                                        )
                        vs.                             )    Charlottesville, Virginia
                                                        )
                JOHN STUART DOWELL,                     )       Monday, May 7, 2012
                                                        )
                                     Defendant.         )    (10:39 a.m. to 10:42 a.m.)


                                   ARRAIGNMENT ON SUPERSEDING INDICTMENT


                                   BEFORE THE HONORABLE B. WAUGH CRIGLER,
                                       UNITED STATES MAGISTRATE JUDGE


                APPEARANCES:

                For Plaintiff:                   NANCY SPODICK HEALEY, ESQ.
                                                 United States Attorney’s Office
                                                 255 West Main Street
                                                 Room 104
                                                 Charlottesville, Virginia 22902

                For Defendant:                   RUSSELL DARREN BOSTIC, ESQ.
                                                 Bostic & Bostic, P.C.
                                                 409 Virginia Avenue
                                                 Harrisonburg, VA 22802

                U.S. Probation:                  David Bean

                Court Recorder:                  J. Jones

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                                                18
USCA4 Appeal: 13-4576    Doc: 24      Filed: 11/22/2013   Pg: 23 of 336

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            1      Charlottesville, Virginia; Monday, May 7, 2012; 10:39 a.m.

            2                                 (Call to Order)

            3                THE COURT:     Let the record reflect that this is

            4   United States of America versus John Stuart Dowell, 5:11-CR-45.

            5   We're here to arraign the defendant on the Superseding

            6   Indictment that has been returned against him; is that correct?

            7                MR. BOSTIC:     Yes, your Honor.

            8                THE COURT:     Mr. Dowell, raise your right hand.

            9           (Defendant sworn)

           10                THE COURT:     All right.    Mr. Dowell, the grand jury

           11   for the Western District of Virginia has returned a Superseding

           12   Indictment against you and have named you in thirteen counts of

           13   this indictment.       Counts One through Twelve charge you with the

           14   production of child pornography, each one of which carry with

           15   them a minimum mandatory of thirty years up to -- I mean a

           16   minimum mandatory of fifteen years, up to thirty years; a

           17   $250,000 fine; supervised release; declaration of being a sex

           18   offender; and --

           19                MS. HEALEY:     Also supervised release between five

           20   years and life.

           21                THE COURT:     And supervised release between five years

           22   and life.

           23                Count Thirteen charges you with transporting child

           24   pornography which also carries with it a minimum mandatory of

           25   five years up to twenty; a $250,000 fine; supervision from five
                                   EXCEPTIONAL REPORTING SERVICES, INC

                                              19
USCA4 Appeal: 13-4576   Doc: 24      Filed: 11/22/2013   Pg: 24 of 336

                                                                                     3


            1   years to life; and can you advise the defendant of what charges

            2   were either added or amended?

            3               MS. HEALEY:     Your Honor, the original indictment

            4   charged one omnibus production charge while the forensic exam

            5   is going to be continuing and what this indictment does now is

            6   it breaks down into twelve separate counts various production

            7   counts -- charges.      The first ten charge the original minor who

            8   was referenced in the first indictment.            The -- Counts Eleven

            9   and Twelve then reference a second minor girl and, finally, the

           10   transportation charge is a new one as well.

           11               THE COURT:    Now Mr. Dowell, have you had a chance to

           12   talk to Mr. Bostic about how you're going to answer or plead to

           13   those charges at this time?

           14               THE DEFENDANT:        Yes.

           15               THE COURT:    How do you plead?

           16               THE DEFENDANT:        Not guilty.

           17               THE COURT:    Okay.     Is there any request for release?

           18               MR. BOSTIC:     Judge, we'd just like to reserve our

           19   right to bring it back before the Court.            We have looked at a

           20   couple of different options and we really don't have a good

           21   option at this point.

           22               THE COURT:    Okay.     Well, being no motion, these are

           23   presumption offenses.       I'll detain the defendant on the

           24   presumption.

           25               MS. HEALEY:     Thank you, your Honor.
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                                             20
USCA4 Appeal: 13-4576    Doc: 24      Filed: 11/22/2013   Pg: 25 of 336

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            1                MR. BOSTIC:     Thanks, Judge.

            2                THE COURT:    Thank you for coming, Mr. Bostic.   Good

            3   to see you.

            4           (Voices off the record)

            5           (Proceeding was adjourned at 10:42 a.m.)

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USCA4 Appeal: 13-4576   Doc: 24      Filed: 11/22/2013   Pg: 26 of 336

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                                              CERTIFICATION



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USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 27 of 336
       Case 5:11-cr-00045-MFU Document 97 Filed 09/09/13 Page 1 of 34 Pageid#: 1216
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            1                      UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF VIRGINIA
            2                         Harrisonburg Division

            3

            4    UNITED STATES OF AMERICA,             Criminal No. 5:11cr00045

            5                   vs.                    Harrisonburg, Virginia

            6    JOHN STUART DOWELL,

            7                         Defendant.       October 3, 2012

            8                  TRANSCRIPT OF GUILTY PLEA HEARING
                            BEFORE THE HONORABLE MICHAEL F. URBANSKI
            9                     UNITED STATES DISTRICT JUDGE

           10
                 APPEARANCES:
           11
                 For the United States:
           12                                         U.S. Attorney's Office
                                                      NANCY HEALEY
           13                                         255 W. Main St.
                                                      Charlottesville, VA 22902
           14
                                                      U.S. Dept. Of Justice
           15                                         DARCY F. KATZIN
                                                      1400 New York Ave NW
           16                                         Washington, DC 20530

           17    For the Defendant:
                                                      Bostic & Bostic
           18                                         RUSSELL DARREN BOSTIC
                                                      409 Virginia Ave.
           19                                         Harrisonburg, VA 22802

           20    Court Reporter:                      Sonia R. Ferris, RPR
                                                      U.S. Court Reporter
           21                                         255 W. Main St. Room 304
                                                      Charlottesville, VA 22902
           22                                         434-296-9284

           23

           24

           25    Proceedings recorded by mechanical stenography;
                 transcript produced by computer.




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USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 28 of 336
       Case 5:11-cr-00045-MFU Document 97 Filed 09/09/13 Page 2 of 34 Pageid#: 1217
                                                                                      2


            1                   THE COURT: Good afternoon.

            2                   Please call the case.

            3                   THE CLERK:       Yes, Your Honor.

            4                   This is Criminal Action 5:11cr000045, the

            5    United States of America vs. John Stuart Dowell.

            6                   THE COURT:       Ms. Healey, Mr. Bostic, good

            7    afternoon.

            8                   Mr. Dowell, good afternoon.

            9                   I understand we're here today for a Rule 11

           10    guilty plea hearing; is that correct?

           11                   MR. BOSTIC:       Yes, sir.

           12                   MS. HEALEY:       Your Honor, may I put on the

           13    record, we also have here Darcy Katzin with the

           14    Department of Justice Child Exploitation Section, and

           15    she's my co-counsel in this case as well.

           16                   THE COURT:       Is she down here from

           17    Washington?

           18                   MS. HEALEY:       She is.

           19                   THE COURT:       Ms. Katzin, nice to see you.

           20                   MS. KATZIN:       Thank you.

           21                   THE COURT:       Is it Katzin, K-A-T-Z-E-N?

           22                   MS. KATZIN:       Z-I-N.

           23                   THE COURT:       Z-I-N.

           24                   Nice to see you.

           25                   Mr. Dowell, would you come to the podium




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USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 29 of 336
       Case 5:11-cr-00045-MFU Document 97 Filed 09/09/13 Page 3 of 34 Pageid#: 1218
                                                                                         3


            1    with your lawyer, please, so the Court Reporter can hear

            2    you?

            3                   MR. BOSTIC:       Judge, we are going to request

            4    that he be allowed to remain at counsel table.               He does

            5    have somewhat of a medical condition.             If he's standing

            6    for a lengthy period of time, his blood pressure drops

            7    and he somewhat gets vertigo.

            8                   THE COURT:       He may sit down then.

            9                   Is that better for you, Mr. Dowell?

           10                   THE DEFENDANT:       Thank you, Your Honor.

           11                   THE COURT:       I don't want anybody falling out

           12    in the courtroom.       It's stressful enough as it is.

           13                   Now, Mr. Dowell, it's my understanding

           14    you're going to plead guilty to certain charges in the

           15    indictment today.       Before I call upon you to plead, I

           16    must be satisfied that you possess a sufficient

           17    understanding of your circumstances so as to make a

           18    knowing, voluntary, intelligent, informed plea.               In that

           19    regard, I need to ask you certain questions and you need

           20    to answer them under oath.

           21                   Now, during this proceeding, if there's

           22    something that I ask or a statement that's made here in

           23    open court that you don't understand, you need to let us

           24    know you don't understand it.          Okay?

           25                   THE DEFENDANT:       Yes, Your Honor.




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USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 30 of 336
       Case 5:11-cr-00045-MFU Document 97 Filed 09/09/13 Page 4 of 34 Pageid#: 1219
                                                                                       4


            1                   THE COURT:       Likewise, if there's something

            2    that you disagree with, something you take issue with,

            3    you need to let us know that as well.

            4                   Do you understand that?

            5                   THE DEFENDANT:       Yes, sir.

            6                   THE COURT:       Now, you can talk to your lawyer

            7    in private at any time during this proceeding.               Let me

            8    know, let him know if there's something you don't

            9    understand or you disagree with.

           10                   Now, if you don't speak up, I'm going to

           11    assume that you understand what's going on and that you

           12    agree with it.

           13                   Are we clear on that?

           14                   THE DEFENDANT:       Yes, sir.

           15                   THE COURT:       Ask the clerk to administer the

           16    oath to the defendant.

           17                   (Defendant sworn).

           18                   Now that you have been sworn, do you

           19    understand that you must answer all the questions that

           20    are posed to you here in open court, truthfully?

           21                   THE DEFENDANT:       Yes, sir.

           22                   THE COURT:       And that if you testify falsely,

           23    that could be -- could give rise to a later charge for

           24    making a false statement or perjury.

           25                   Do you understand that?




                                            26
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 31 of 336
       Case 5:11-cr-00045-MFU Document 97 Filed 09/09/13 Page 5 of 34 Pageid#: 1220
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            1                   THE DEFENDANT:       Yes, sir.

            2                   THE COURT:       Now, I need to ask you some

            3    general background questions to make sure you're capable

            4    of entering a knowing, voluntary and intelligent plea.

            5                   Tell me your name.

            6                   THE DEFENDANT:       John Stuart Dowell.

            7                   THE COURT:       Mr. Dowell, how old are you?

            8                   THE DEFENDANT:       46.

            9                   THE COURT:       How far did you get in school?

           10                   THE DEFENDANT:       About five years of higher

           11    education.

           12                   THE COURT:       Is that post high school?

           13                   THE DEFENDANT:       Yes.

           14                   THE COURT:       Did you get -- do you have an

           15    undergraduate degree?

           16                   THE DEFENDANT:       I did not get my Bachelor's,

           17    no.

           18                   THE COURT:       But you have five years of

           19    college.

           20                   THE DEFENDANT:       Yes.

           21                   THE COURT:       What field did you study?

           22                   THE DEFENDANT:       I started in physics and

           23    then I moved to psychology.

           24                   THE COURT:       What's the last school you

           25    attended?




                                            27
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 32 of 336
       Case 5:11-cr-00045-MFU Document 97 Filed 09/09/13 Page 6 of 34 Pageid#: 1221
                                                                                      6


            1                   THE DEFENDANT:       University of Washington.

            2                   THE COURT:       In Seattle?

            3                   THE DEFENDANT:       In Seattle, Washington.

            4                   THE COURT:       You obviously speak English.

            5                   THE DEFENDANT:       Yes, sir.

            6                   THE COURT:       Where were you raised?

            7                   THE DEFENDANT:       In Virginia.     I was born in

            8    Alexandria and I was raised in the Shenandoah Valley,

            9    Stephens City, Virginia.

           10                   THE COURT:       Did you go to high school there?

           11                   THE DEFENDANT:       Yes, sir.

           12                   THE COURT:       Graduate from high school in

           13    Stephens City?

           14                   THE DEFENDANT:       Yes, sir.

           15                   THE COURT:       You obviously understand English

           16    when it's spoken to you.

           17                   THE DEFENDANT:       Yes, sir.

           18                   THE COURT:       Can you read and write English?

           19                   THE DEFENDANT:       Yes, sir.

           20                   THE COURT:       Are you aware of any condition

           21    that you have, mental or physical, that would cause you

           22    some difficulty in understanding the words as they're

           23    spoken here in open court?

           24                   THE DEFENDANT:       No, sir.

           25                   THE COURT:       Have you ever been treated for




                                            28
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 33 of 336
       Case 5:11-cr-00045-MFU Document 97 Filed 09/09/13 Page 7 of 34 Pageid#: 1222
                                                                                         7


            1    mental illness of any kind?

            2                   THE DEFENDANT:       Depression and anxiety.

            3                   THE COURT:       Are you currently under

            4    treatment for depression and anxiety?

            5                   THE DEFENDANT:       No, sir.

            6                   THE COURT:       You're not currently taking meds

            7    for that?

            8                   THE DEFENDANT:       No.

            9                   THE COURT:       When was the last time you

           10    received any treatment for depression or anxiety?

           11                   THE DEFENDANT:       Maybe two years ago.        I saw

           12    a psychologist for a year-and-a-half.

           13                   THE COURT:       Did you discontinue that

           14    treatment?

           15                   THE DEFENDANT:       Eventually, yes.      I ran out

           16    of money for it.

           17                   THE COURT:       Now, do you understand why

           18    you're here today?

           19                   THE DEFENDANT:       Yes, sir.

           20                   THE COURT:       You understand you're here to

           21    plead guilty to certain charges in an indictment?

           22                   THE DEFENDANT:       Yes, sir.

           23                   THE COURT:       Now, have you been diagnosed by

           24    any psychiatrist, psychologist, doctor, health care

           25    provider with any emotional or mental problem that might




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USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 34 of 336
       Case 5:11-cr-00045-MFU Document 97 Filed 09/09/13 Page 8 of 34 Pageid#: 1223
                                                                                      8


            1    impair your judgment, interfere with your thinking, make

            2    it difficult for you to understand what's going on here

            3    today?

            4                   THE DEFENDANT:       No, sir.

            5                   THE COURT:       Have you ever been treated for

            6    addiction to alcohol or any narcotic drug?

            7                   THE DEFENDANT:       No, sir.

            8                   THE COURT:       How are you feeling today?

            9                   THE DEFENDANT:       Relatively well, considering

           10    the circumstances.

           11                   THE COURT:       Have you taken any medicines,

           12    narcotics, alcohol, any kind of substance that would

           13    affect your ability to understand what's going on here

           14    in the past few days?

           15                   THE DEFENDANT:       No, sir.

           16                   THE COURT:       The reason I'm asking these

           17    questions is because this hearing is important to you

           18    and I want to make sure you're clear-headed, alert and

           19    fully aware of what's going on.

           20                   Do you understand?

           21                   THE DEFENDANT:       Yes, sir.

           22                   THE COURT:       Do those words adequately

           23    describe how you're feeling today?

           24                   THE DEFENDANT:       I feel clear-headed, yes,

           25    sir.




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USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 35 of 336
       Case 5:11-cr-00045-MFU Document 97 Filed 09/09/13 Page 9 of 34 Pageid#: 1224
                                                                                      9


            1                   THE COURT:       Counsel, do you believe your

            2    client, Mr. Dowell, is capable of entering a knowing,

            3    voluntary and intelligent plea?

            4                   MR. BOSTIC:       Yes, I do.

            5                   THE COURT:       Do we have a copy of the

            6    indictment in front of Mr. Dowell?

            7                   MR. BOSTIC:       Yes, sir.

            8                   THE COURT:       Mr. Dowell, do you have it in

            9    front of you?

           10                   THE DEFENDANT:       Yes, sir.

           11                   THE COURT:       Mr. Bostic, would you like to

           12    have the indictment read into the record or would you

           13    like to waive its formal reading?

           14                   MR. BOSTIC:       We'd waive the formal reading,

           15    Judge.

           16                   THE COURT:       Mr. Dowell, have you read that

           17    indictment?

           18                   THE DEFENDANT:       Yes, sir, I have.

           19                   THE COURT:       Have you had a chance to fully

           20    discuss the charges in the indictment with your lawyer?

           21                   THE DEFENDANT:       Yes, sir.

           22                   THE COURT:       Do you believe you understand

           23    the charges in the indictment?

           24                   THE DEFENDANT:       Yes, sir.

           25                   THE COURT:       Do you understand the charges in




                                            31
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 36 of 336
       Case 5:11-cr-00045-MFU Document 97 Filed 09/09/13 Page 10 of 34 Pageid#: 1225
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            1    the indictment are felonies?

            2                   THE DEFENDANT:       Yes, sir.

            3                   THE COURT:       Do you understand that by

            4    pleading guilty to Count 1, Count 2, Count 3, Count 4,

            5    Count 5, Count 6, Count 7, Count 8, Count 9, Count 10,

            6    Count 11, 12, 13, that by pleading guilty to those

            7    charges, you understand that you're agreeing that you

            8    did what's charged in those counts?

            9                   THE DEFENDANT:       Yes, sir.

           10                   THE COURT:       I believe this is a superseding

           11    indictment, is it not?

           12                   MR. BOSTIC:       That is correct.

           13                   THE COURT:       You have the superseding

           14    indictment in front of him?

           15                   MR. BOSTIC:       That is what is here.

           16                   THE COURT:       Do you have the plea agreement

           17    in front of him, Mr. Bostic?

           18                   MR. BOSTIC:       Judge, there is no plea

           19    agreement.

           20                   THE COURT:       There is no plea agreement.

           21                   MR. BOSTIC:       There is no plea agreement.

           22                   THE COURT:       This is a straight-up plea.

           23                   MR. BOSTIC:       That is correct.

           24                   THE COURT:       Let me ask you this question,

           25    Mr. Dowell.      Has anybody threatened you, coerced you,




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USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 37 of 336
       Case 5:11-cr-00045-MFU Document 97 Filed 09/09/13 Page 11 of 34 Pageid#: 1226
                                                                                       11


            1    pressured you, forced you to plead guilty to the charges

            2    in this indictment?

            3                   THE DEFENDANT:       No, sir.

            4                   THE COURT:       Are you pleading guilty to those

            5    charges of your own free will?

            6                   THE DEFENDANT:       Yes, sir.

            7                   THE COURT:       Are you pleading guilty to those

            8    charges because you are, in fact, guilty of what's

            9    charged in the indictment?

           10                   THE DEFENDANT:       Yes, sir.

           11                   THE COURT:       Has anybody made you any

           12    promises of leniency or special treatment if you plead

           13    guilty instead of going to trial?

           14                   THE DEFENDANT:       Yeah -- well, yes, sir.

           15    Just for taking responsibility, I was told I might get a

           16    three-point reduction.

           17                   THE COURT:       Right.   You may get some credit

           18    under the guidelines for acceptance of responsibility.

           19    I understand that.

           20                   Other than that, has anybody told you that

           21    you need to plead guilty instead of going to trial?

           22                   THE DEFENDANT:       No, sir.

           23                   THE COURT:       Has anybody threatened you or

           24    coerced you to try to get you to drop your right to

           25    trial?




                                            33
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 38 of 336
       Case 5:11-cr-00045-MFU Document 97 Filed 09/09/13 Page 12 of 34 Pageid#: 1227
                                                                                       12


            1                   THE DEFENDANT:       No, sir.

            2                   THE COURT:       Now, the offenses to which

            3    you're charged are felonies and if the plea is accepted

            4    and you are adjudged guilty of those offenses, it can

            5    deprive you of valuable civil rights, including the

            6    right to vote, the right to hold public office, the

            7    right to serve on a jury and the right to possess any

            8    kind of firearm.

            9                   Do you understand that?

           10                   THE DEFENDANT:       Yes, sir.

           11                   THE COURT:       You are a citizen of the United

           12    States?

           13                   THE DEFENDANT:       Yes, sir.

           14                   THE COURT:       Now, Counts 1 through 13 of the

           15    indictment charge you with a number of violations of

           16    federal law.

           17                   Counts 1 through 12 charge violations of

           18    Sections 2251(a) and 2251(e), sexual exploitation of a

           19    minor.

           20                   Count 13 charges a violation of 2252(a)(1)

           21    and 2252 (b)(2), which involve transportation of child

           22    pornography.

           23                   Do you understand those are the charges

           24    against you in this case?

           25                   THE DEFENDANT:       Yes, sir.




                                            34
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 39 of 336
       Case 5:11-cr-00045-MFU Document 97 Filed 09/09/13 Page 13 of 34 Pageid#: 1228
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            1                   THE COURT:       Let me ask the United States to

            2    go over the charges, the elements of the offense in

            3    Counts 1 through 13.

            4                   The reason I'm doing this, I just want to

            5    make sure that your understanding of the charges are

            6    consistent with what the United States understands and

            7    your lawyer understands.          If you have any questions, let

            8    us know.

            9                   MS. HEALEY:       Yes, Your Honor.

           10                   Mr. Dowell, you're charged in Counts 1

           11    through 12 of sexual exploitation of a minor, something

           12    the government refers to as production of child

           13    pornography.

           14                   The elements are as follows:           First, that

           15    the defendant employed, used, persuaded, induced,

           16    enticed or coerced a minor to engage in sexually

           17    explicit conduct, as defined in federal law, for the

           18    purpose of producing a visual depiction of such conduct.

           19                   And secondly, that the defendant or you knew

           20    or had reason to know the visual depiction would be

           21    transported using any means or facility of interstate or

           22    foreign commerce or transported in or affecting

           23    interstate or foreign commerce or which visual depiction

           24    was transported using any means or facility of

           25    interstate or foreign commerce or was transported in or




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USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 40 of 336
       Case 5:11-cr-00045-MFU Document 97 Filed 09/09/13 Page 14 of 34 Pageid#: 1229
                                                                                       14


            1    affecting interstate or foreign commerce or which visual

            2    depiction was produced using materials that had been

            3    mailed, shipped or transported in or affecting

            4    interstate or foreign commerce, by any means, including

            5    by computer.

            6                   Finally, we'd have to show that this

            7    occurred at least in part in the Western District of

            8    Virginia.

            9                   These particular charges carry with them --

           10    they each carry with them a mandatory minimum of

           11    15 years and up to 30 years in prison; up to a $250,000

           12    fine; a period of supervised release no less than five

           13    years and up to life; the possibility of restitution;

           14    and the possibility of forfeiture.

           15                   With respect to the final count in the

           16    indictment, which is a transportation of child

           17    pornography charge, we'd have to show the following:

           18    First, the defendant knowingly transported a visual

           19    depiction.

           20                   Secondly, the production of the visual

           21    depiction involved the use of a minor engaging in

           22    sexually explicit conduct.

           23                   Thirdly, that the visual depiction is of a

           24    minor engaging in sexually explicit conduct.

           25                   Fourth, that the transportation was done




                                            36
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 41 of 336
       Case 5:11-cr-00045-MFU Document 97 Filed 09/09/13 Page 15 of 34 Pageid#: 1230
                                                                                       15


            1    using any means or facility of interstate or foreign

            2    commerce or was in or affecting interstate or foreign

            3    commerce by any means, including by computer.

            4                   Finally, that this occurred at least in part

            5    in the Western District of Virginia.

            6                   This charge carries a mandatory minimum of 5

            7    years and up to 20 years in prison; up to a $250,000

            8    fine; supervised release, again, between five years and

            9    life; and the possibility of restitution and forfeiture.

           10                   THE COURT:       Do you understand what you're

           11    charged with in Counts 1 through 13?

           12                   THE DEFENDANT:       Yes, Your Honor.

           13                   THE COURT:       Do you understand what the

           14    government would have to prove to get a conviction in

           15    Counts 1 through 13?

           16                   THE DEFENDANT:       Yes, Your Honor.

           17                   THE COURT:       Have you gone over with your

           18    lawyer the elements of these offenses, what the

           19    government would have to prove?

           20                   THE DEFENDANT:       (No response).

           21                   THE COURT: Have you had a chance to discuss

           22    the charges and what the government would have to prove

           23    to get a conviction on those charges, with your lawyer?

           24                   THE DEFENDANT:       Yes, sir.

           25                   THE COURT:       Now, and you just heard the




                                            37
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 42 of 336
       Case 5:11-cr-00045-MFU Document 97 Filed 09/09/13 Page 16 of 34 Pageid#: 1231
                                                                                       16


            1    United States explain the penalties that are involved

            2    with these charges.

            3                   For Counts 1 through 12, it's imprisonment

            4    for not less than 15, not more than 30 years per count;

            5    and a fine of not more than $250,000; a period of

            6    supervised release of at least five years; and

            7    registration as a sex offender.

            8                   As to Count 13, the penalty is mandatory

            9    minimum of five years and not more than 20 if there's no

           10    prior conviction for sexual based offenses.

           11                   Does he have any convictions for prior

           12    sexual based offenses?

           13                   MS. HEALEY:       None known by us.

           14                   MR. BOSTIC:       No.

           15                   THE COURT:       The penalties both on Counts 1

           16    through 12 and on 13 go up even higher if there was a

           17    prior conviction for a sexual based offense.               But

           18    counsel indicates that's not applicable in this case.

           19                   Now, there are forfeiture provisions.             In

           20    other words, materials that are used, child pornographic

           21    material, materials that are used, any visual depictions

           22    that are unlawful, can be forfeited, as well as property

           23    traceable to gross proceeds obtained from the offense or

           24    property used in connection with the offense.               Also,

           25    there can be a money judgment as well.




                                            38
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 43 of 336
       Case 5:11-cr-00045-MFU Document 97 Filed 09/09/13 Page 17 of 34 Pageid#: 1232
                                                                                       17


            1                   There is a number of computer equipment and

            2    cameras that are set forth.          I take it those are in the

            3    notice of forfeiture in the indictment?

            4                   MS. HEALEY:       Yes, Your Honor, and those are

            5    what we would be seeking forfeiture of in this

            6    particular case.

            7                   THE COURT:       There's also a special

            8    assessment of $100.

            9                   The penalties, Mr. Dowell, for these various

           10    charges, are severe.        Do you believe you understand what

           11    the penalties are?

           12                   THE DEFENDANT:       Yes, sir.

           13                   THE COURT:       Have you talked with your lawyer

           14    about them?

           15                   THE DEFENDANT:       Yes, sir.

           16                   THE COURT:       Do you understand these

           17    penalties are the consequences of a plea of guilty in

           18    this case?

           19                   THE DEFENDANT:       Yes, sir.

           20                   THE COURT:       You've gone over those with your

           21    lawyer.

           22                   THE DEFENDANT:       Yes, sir.

           23                   THE COURT:       Now, the Court, in imposing a

           24    sentence in this case, if the Court accepts your guilty

           25    plea, will -- we will not know what the sentence to be




                                            39
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 44 of 336
       Case 5:11-cr-00045-MFU Document 97 Filed 09/09/13 Page 18 of 34 Pageid#: 1233
                                                                                        18


            1    obtained today.       That will be done at a later day, in

            2    January, after a pre-sentence report is prepared.                The

            3    Court will take the information contained in the

            4    pre-sentence report and will do some calculations under

            5    the Advisory Sentencing Guidelines and then we'll apply

            6    some statutory factors to those guidelines.

            7                   Have you talked with your lawyer about the

            8    Advisory Sentencing Guidelines and how they may impact

            9    your case?

           10                   THE DEFENDANT:       Yes, sir, I have.

           11                   THE COURT:       Have you talked with your lawyer

           12    about the sentencing process?

           13                   THE DEFENDANT:       Yes, sir.

           14                   THE COURT:       You'll be given a chance after

           15    today to talk to probation.          Probation will get

           16    information from you.        Your lawyer may be present.

           17    They'll get information from the United States.                They'll

           18    create a pre-sentence report.           That pre-sentence report

           19    will be given to you.        You've have a chance to object to

           20    it, make any corrections.          The Court will get it and

           21    I'll use that, along with sentencing memorandum I get

           22    from the United States and from your lawyer, to begin

           23    the assessment of the appropriate sentence in this case.

           24                   Now, as I told you earlier, the starting

           25    point these days under the law is the Advisory




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USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 45 of 336
       Case 5:11-cr-00045-MFU Document 97 Filed 09/09/13 Page 19 of 34 Pageid#: 1234
                                                                                       19


            1    Sentencing Guidelines.          We won't know today how the

            2    guidelines apply in your case because probation hasn't

            3    done a pre-sentence report and I haven't calculated the

            4    guidelines.      You may have talked to your lawyer about

            5    how they shake out in your case, but the guidelines that

            6    are applied in your case and the sentence that you

            7    ultimately receive in your case has not been determined.

            8    So the sentence may be greater than what you expect.

            9                   Do you understand that?

           10                   THE DEFENDANT:       Yes, sir.

           11                   THE COURT:       The Court will not, under normal

           12    circumstances, allow you to withdraw a guilty plea

           13    simply because the sentence is greater than you expect.

           14                   Do you understand that.

           15                   THE DEFENDANT:       I do, sir.

           16                   THE COURT:       When I do sentence you, if the

           17    plea is accepted, I will consider the nature and

           18    circumstance of the offense. I will consider things

           19    about you, your history, your characteristics. And I

           20    will consider more generalized considerations, such as

           21    deterrence, both as to you, to keep you from committing

           22    future crimes, to protect the public, and to deter

           23    others from committing such crimes.             I will consider the

           24    need for the sentence imposed to reflect the seriousness

           25    of the offense, to promote respect for the law, to




                                            41
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 46 of 336
       Case 5:11-cr-00045-MFU Document 97 Filed 09/09/13 Page 20 of 34 Pageid#: 1235
                                                                                            20


            1    provide just punishment.          I will consider the

            2    guidelines, the kinds of sentences available and the

            3    need to avoid unwarranted sentencing disparities.

            4                   Now, I say that all to you because that will

            5    come later on, but we will -- that will come at

            6    sentencing.      But again, if I accept your guilty plea

            7    today, regardless of what you're thinking as to what

            8    your sentence may be, the sentence in this case is up to

            9    the Court and you're not going to be allowed to withdraw

           10    your guilty plea.

           11                   Do you understand?

           12                   THE DEFENDANT:       I do, sir.

           13                   THE COURT:       Do you understand that if the

           14    sentence is more severe than you expect or has been

           15    estimated by your counsel, you will still be bound by

           16    your plea and have no right to withdraw it?

           17                   THE DEFENDANT:       Yes, sir.

           18                   THE COURT:       Do you understand in the federal

           19    system, there's no parole?          In other words, if I

           20    sentence you to a period of imprisonment, you will serve

           21    that entire term, less any good time credit earned.                   In

           22    other words, there's no early out.            There's no parole

           23    parole board that gives you an early out.              Do you

           24    understand that?

           25                   THE DEFENDANT:       Yes, sir.




                                            42
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 47 of 336
       Case 5:11-cr-00045-MFU Document 97 Filed 09/09/13 Page 21 of 34 Pageid#: 1236
                                                                                       21


            1                   THE COURT:       If you are sentenced to a period

            2    of incarceration, it will be followed by a period of

            3    supervised release.        If you violate the terms and

            4    conditions of supervision while you're on supervised

            5    release, you can be subjected to additional penalties,

            6    including incarceration.          In other words, if I sentence

            7    you to a period of years and thereafter you get out, you

            8    will be on supervision and the conditions will be things

            9    like you cannot break the law, you cannot possess a

           10    firearm, you cannot use illegal drugs.             In your

           11    particular case, given the nature of the conviction,

           12    there will be rather rigid conditions with regard to

           13    what you can and can't do, what your -- with regard to

           14    your ability to be around children, those kind of

           15    things. They're called tiered sex offender conditions.

           16                   My point of that is, if you violate any of

           17    those conditions, you can be put in jail for an

           18    additional period of time, even if you already served

           19    the entire sentence I have sentenced you to.

           20                   Do you understand that?

           21                   THE DEFENDANT:       Yes, sir.

           22                   THE COURT:       Now, you're giving up your right

           23    to trial by jury.       By pleading guilty, there will be no

           24    trial.    Normally, you would have a right to have 12

           25    folks sitting in that jury box to see whether the




                                            43
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 48 of 336
       Case 5:11-cr-00045-MFU Document 97 Filed 09/09/13 Page 22 of 34 Pageid#: 1237
                                                                                       22


            1    government has proved its case beyond a reasonable

            2    doubt, but you're giving that up by pleading guilty.

            3                   You're giving up your right to the

            4    assistance of counsel in your defense.

            5                   You're giving up your right to see, hear,

            6    cross-examine the government's evidence.

            7                   You're giving up the right to use the

            8    subpoena power of the Court to bring documents and

            9    things here to assist in your defense.

           10                   You're giving up your right to remain silent

           11    and not have that silence used against you.

           12                   If you persist in this plea of guilty in

           13    this case, there will be no trial and you are waiving

           14    your right to a jury trial.

           15                   Do you understand that?

           16                   THE DEFENDANT:       Yes, sir.

           17                   THE COURT:       Now, understanding the right to

           18    jury trial that you are waiving if you plead guilty, do

           19    you still intend to do so?

           20                   THE DEFENDANT:       Yes, sir.

           21                   THE COURT:       Are you fully satisfied with the

           22    advice and representation given to you by your lawyer in

           23    this case?

           24                   THE DEFENDANT:       Yes, I am, Your Honor.

           25                   THE COURT:       Anything you want to tell me




                                            44
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 49 of 336
       Case 5:11-cr-00045-MFU Document 97 Filed 09/09/13 Page 23 of 34 Pageid#: 1238
                                                                                       23


            1    before we continue?

            2                   THE DEFENDANT:       No, sir.

            3                   THE COURT:       Ask the United States to present

            4    the facts it would be prepared to prove were this case

            5    to go to trial.

            6                   MS. HEALEY:       Your Honor, we have prepared a

            7    written statement of facts, which I believe the

            8    defendant has signed.        Does the Court wish for me to

            9    read it out loud?

           10                   THE COURT:       The reason I do this, Mr.

           11    Dowell, is because I want to hear it in open court and I

           12    want you to hear it as well and I want to -- because if

           13    there's something in here you don't agree with or is not

           14    right, you can let us know.          Okay?

           15                   MS. HEALEY:       Thank you, Your Honor.

           16                   In late 2010 and early 2011, the defendant,

           17    John Stuart Dowell, stayed at a residence in Frederick

           18    County, Virginia, where two young girls, who were then

           19    approximately three and five years old were living,

           20    among others. During this stay, Dowell sexually molested

           21    the three-year-old girl on numerous occasions and

           22    videotaped several instances of this abuse.               Dowell

           23    additionally made two films that focused on the

           24    five-year-old girl's genitals.

           25                   Law enforcement officers first learned about




                                            45
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 50 of 336
       Case 5:11-cr-00045-MFU Document 97 Filed 09/09/13 Page 24 of 34 Pageid#: 1239
                                                                                       24


            1    some of these crimes when they obtained copies of some

            2    of the videos depicting the youngest girl, in two ways.

            3    First, in August, 2011, the Bureau of Immigration and

            4    Customs Enforcement, otherwise known as ICE, was

            5    informed by Interpol that Danish law enforcement had

            6    downloaded sexually explicit video clips depicting the

            7    girl and Dowell from the Internet.            While Dowell's

            8    identity was then unknown, it appeared he and the victim

            9    were both United States citizens.            The clips contained

           10    audio and there were items in the clips that suggested

           11    that they were filmed in the United States.

           12                   ICE obtained a "John Doe" warrant and began

           13    on working to identify the adult male in the videos, as

           14    Dowell.     At approximately the same time, a relative of

           15    Dowell's who resided in Florida turned over a copy of at

           16    least some of the same or similar video clips to the

           17    Federal Bureau of Investigation, FBI, and identified

           18    Dowell, the minor victim, and the residence in Frederick

           19    County that is depicted in the video.             The information

           20    provided by this relative led to Dowell's arrest in

           21    California on October 21st, 2011, where he had been then

           22    residing.

           23                   Prior to arresting the defendant, law

           24    enforcement officers observed him with a laptop on his

           25    lap and his pants down around his ankles.              Investigators




                                            46
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 51 of 336
       Case 5:11-cr-00045-MFU Document 97 Filed 09/09/13 Page 25 of 34 Pageid#: 1240
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            1    recovered several computers and a camera that belonged

            2    to him.

            3                   A Department of Justice computer forensic

            4    examiner from the High Tech Investigative Unit, HTIU, of

            5    the Child Exploitation and Obscenity Section examined

            6    the recovered digital evidence.           The review revealed

            7    multiple videos produced by the defendant which depict

            8    the primary three-year-old victim engaging in sexually

            9    explicit conduct.       Various videos show the defendant

           10    touching the girl's genital area, licking and kissing

           11    her genital area, and licking and kissing her buttocks

           12    and anus.     The girl referred to the defendant's acts of

           13    licking her essentially as "drinking" her body parts.

           14    The defendant is seen on one video with his penis

           15    displayed and engaging in conversation with the girl

           16    about her touching his penis and telling her she could

           17    "drink" his penis, too.         Dowell touches and strokes his

           18    penis during this video.         Metadata from the videos

           19    establishes that the different counts set forth in the

           20    superseding indictment are based on separate acts of

           21    production.

           22                   The HTIU examination revealed two notable

           23    videos depicting a five-year-old girl, during which

           24    Dowell focused on the girl's genital area as, referenced

           25    above.    One video shows the defendant focusing on this




                                            47
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 52 of 336
       Case 5:11-cr-00045-MFU Document 97 Filed 09/09/13 Page 26 of 34 Pageid#: 1241
                                                                                        26


            1    other girl's clothed, with underpants, genitals.                The

            2    second video shows him pulling down the girl's

            3    underpants to focus on her genital area.

            4                   Metadata indicated that the videos were

            5    produced using a Canon camera that was consistent with

            6    the Canon camera that was recovered from Dowell at the

            7    time of his arrest in California.            The Canon camera was

            8    manufactured outside of Virginia.            The metadata also

            9    provided information concerning the approximate dates

           10    and times when the various films were produced.                These

           11    dates were consistent with the information received

           12    during the investigation concerning when the defendant

           13    temporarily resided in the Frederick County home where

           14    the films were produced.

           15                   Investigators visited the Frederick County

           16    residence and confirmed it was the same residence

           17    depicted in the video clips. They also obtained some

           18    articles of clothing from the residence that matched

           19    what the younger victim was wearing in some of the

           20    videos.    They also met the minor victims.            The minors'

           21    parents confirmed the time period Dowell stayed at the

           22    residence and explained the circumstances surrounding

           23    the sexual abuse, e.g., that Dowell had been left alone

           24    with the minors at times.

           25                   The forensic analysis also revealed programs




                                            48
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 53 of 336
       Case 5:11-cr-00045-MFU Document 97 Filed 09/09/13 Page 27 of 34 Pageid#: 1242
                                                                                       27


            1    that allow users to create and edit videos and also

            2    revealed a large number of other non-self produced child

            3    pornography images and videos.           The transportation of

            4    child pornography charge was essentially based on the

            5    transportation of the self-produced child pornography

            6    from the Western District of Virginia to California.

            7                   Just as a caveat, obviously we can't charge

            8    possession of the images in California.

            9                   The video clips that were found on the

           10    Internet, which are a small subset of the depictions

           11    produced by the defendant, are described in more detail

           12    below.

           13                   The video begins with white text on a blue

           14    screen.     It reads, "New Stuff, 2011.          Videos 001 to 007

           15    Merged," and in parentheses, "004 Missing." "This is the

           16    only stuff of this girl to be made."

           17                   The video begins with the minor girl lying

           18    on a bed.     She is lying on her stomach and is naked from

           19    the waist down.       Dowell can be seen holding and moving

           20    the camera, recording the video.           Dowell begins licking

           21    the minor's anal area and kissing her buttocks while

           22    periodically moving the camera for filming from a

           23    different angle.

           24                   The minor then stands on the bed and turns

           25    around to expose her vaginal area.




                                            49
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 54 of 336
       Case 5:11-cr-00045-MFU Document 97 Filed 09/09/13 Page 28 of 34 Pageid#: 1243
                                                                                       28


            1                   The minor gets off the bed and lies down on

            2    her stomach on the floor, still nude from the waist

            3    down.    Dowell begins licking her anal area again.              He

            4    then tells her to turn over and he begins intermittently

            5    licking her vaginal area and rubbing her vagina with his

            6    finger, as well as kissing her stomach and chest.

            7                   They move from the floor and Dowell moves

            8    the camera.      The minor is now fully dressed.

            9                   Dowell is sitting down with his penis

           10    exposed.     He suggests that the minor touch it and kiss

           11    it.

           12                   They then move to the floor again, Dowell

           13    carrying the camera, and the minor lies down on her

           14    stomach.     Dowell pulls her pants and underwear down and

           15    begins licking her anal area and kissing her buttocks

           16    again.

           17                   The video then cuts to the same minor

           18    wearing a blue dress. She pulls down her underwear to

           19    her knees and lifts her dress to expose her vaginal

           20    area. Dowell takes her underwear off of one leg and

           21    spreads her legs. He positions the camera to film her

           22    vaginal area and begins intermittently licking her

           23    vaginal area, kissing her stomach and kissing her thigh.

           24                   The video cuts to the camera moving and

           25    filming the minor lying on her back with her legs spread




                                            50
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 55 of 336
       Case 5:11-cr-00045-MFU Document 97 Filed 09/09/13 Page 29 of 34 Pageid#: 1244
                                                                                       29


            1    to expose her genital area.           She has the same blue dress

            2    on, but it is pulled up to her chest.             Dowell again

            3    begins to intermittently lick her vaginal area and kiss

            4    her legs. He then directs her to put her legs up and

            5    begins licking her anal area and vaginal area.

            6                   Dowell then directs the girl to get up on

            7    her knees.     She is then on her knees with her head lying

            8    on a pillow.      He moves the camera to film her anal and

            9    vaginal areas from behind.           He then begins kissing and

           10    licking her vaginal and anal areas.            The video moves in

           11    a manner that indicates Dowell is holding or moving the

           12    camera the entire time.

           13                   The video cuts to the minor in a pink dress

           14    with pink underwear. Dowell maneuvers her so he can film

           15    her underwear.      He lays her down and lifts her dress to

           16    expose her underwear.           He then begins rubbing her vagina

           17    over her underwear.        He then runs his hands over her

           18    underwear and up and down her torso and legs.

           19                   The video then cuts to the minor in pajamas.

           20    Dowell helps her remove her clothing. He then places the

           21    camera so it is filming from the floor.             He maneuvers

           22    the minor so he can film her anal and vaginal areas from

           23    below while she was standing.

           24                   Other videos that were found during the

           25    forensic analysis show similar activity.              On all videos,




                                            51
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 56 of 336
       Case 5:11-cr-00045-MFU Document 97 Filed 09/09/13 Page 30 of 34 Pageid#: 1245
                                                                                       30


            1    the defendant's face is clearly visible and there's no

            2    question that Dowell produced the films and was the man

            3    depicted in engaging in sexual acts with the victims.

            4                   The forensic analysis revealed that the

            5    videos charged in each count of the indictment depict

            6    the conduct that is described in these charges.

            7                   THE COURT:       Thank you, Ms. Healey.

            8                   Mr. Bostic, is that statement of facts

            9    consistent with your understanding of the facts

           10    applicable to this case?

           11                   MR. BOSTIC:       Judge if I could address two

           12    minor matters of wording?

           13                   THE COURT:       All right.

           14                   MR. BOSTIC:       First, on the very first

           15    paragraph, I believe it would be the second sentence.

           16    It states "during this state, Dowell sexually molested a

           17    three-year-girl on numerous occasions and videotaped

           18    several incidents of this abuse."

           19                   When I was speaking with Mr. Dowell, we

           20    would actually state any sexual abuse was videotaped.

           21    It was not like there was other occasions and then just

           22    a small subset or small group that was videotaped.

           23                   That was the first change.

           24                   The second one, I guess, is a matter of

           25    wording, which is at the very top of page three, which




                                            52
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 57 of 336
       Case 5:11-cr-00045-MFU Document 97 Filed 09/09/13 Page 31 of 34 Pageid#: 1246
                                                                                       31


            1    would be the second line.          It states "Dowell touches and

            2    stroke his penis during this video."

            3                   My client wanted to make it clear, there was

            4    no masturbation.       He did have a finger on his flaccid

            5    penis. He was not erect at that time, but it was not as

            6    if he was masterbating.

            7                   We wanted to make that for clarification

            8    purposes.

            9                   THE COURT:       Mr. Dowell, you just heard a

           10    summary of the evidence against you and with those

           11    corrections made by your lawyer, did you hear anything

           12    in that summary with which you disagree?

           13                   THE DEFENDANT:       No, sir.

           14                   THE COURT:       Did you read the written

           15    statement of facts?

           16                   THE DEFENDANT:       Yes, I did.

           17                   THE COURT:       Did you have a chance to go over

           18    it with your lawyer?

           19                   THE DEFENDANT:       Yes, I did.

           20                   THE COURT:       Is there anything in this

           21    written statement of facts with which you disagree?

           22                   THE DEFENDANT:       No, sir.

           23                   THE COURT:       Did you sign it?

           24                   THE DEFENDANT:       Yes, sir, I did.

           25                   THE COURT:       Does your signature indicate




                                            53
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 58 of 336
       Case 5:11-cr-00045-MFU Document 97 Filed 09/09/13 Page 32 of 34 Pageid#: 1247
                                                                                       32


            1    that you agree that you did what's set forth in this

            2    statement of facts?

            3                   THE DEFENDANT:       Yes, sir.

            4                   THE COURT:       Did you, in fact, in Virginia,

            5    engage in the conduct set forth in the statement of

            6    facts with these small children and videotape it?

            7                   THE DEFENDANT:       Yes, sir, I did.

            8                   THE COURT:       Are you, in fact, guilty of

            9    what's charged in Counts 1 through 13 of the indictment?

           10                   THE DEFENDANT:       Yes, Your Honor, I'm guilty.

           11                   THE COURT:       Are you pleading guilty of your

           12    own free will?

           13                   THE DEFENDANT:       Yes, sir.

           14                   THE COURT:       Counsel, based on your

           15    investigation of the facts of this case, your

           16    understanding of your client, what took place in

           17    connection with the indictment, do you believe your

           18    client's plea of guilty is well advised and consistent

           19    with those facts?

           20                   MR. BOSTIC:       Yes, sir.

           21                   THE COURT:       Mr. Dowell, as to Counts 1

           22    through 13, inclusive of this indictment, how do you

           23    plead?

           24                   THE DEFENDANT:       Guilty.

           25                   THE COURT:       Listen to the clerk while she




                                            54
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 59 of 336
       Case 5:11-cr-00045-MFU Document 97 Filed 09/09/13 Page 33 of 34 Pageid#: 1248
                                                                                       33


            1    reads you the written guilty plea form.

            2                   (Guilty plea form read).

            3                   THE CLERK:       Is this correct?

            4                   THE DEFENDANT:       Yes, ma'am.

            5                   (Guilty plea form executed).

            6                   THE CLERK:       Your Honor, the guilty plea form

            7    has been executed.

            8                   THE COURT:       It is the finding of the Court

            9    in the case of United States vs. John Stuart Dowell,

           10    that Mr. Dowell is fully competent and capable of

           11    entering an informed plea, that he's aware of the nature

           12    of the charges and the consequences of his plea.                His

           13    plea of guilty to Counts 1 through 13, inclusive, of the

           14    indictment is knowing and voluntary -- rather, the

           15    superseding indictment -- is knowing and voluntary and

           16    supported by an independent basis in fact as to each of

           17    the essential elements of the offense.

           18                   Mr. Dowell, I accept your guilty plea as to

           19    all counts and I find you guilty of all 13 counts of the

           20    indictment.

           21                   A written pre-sentence report will be

           22    prepared by the probation office to assist me in

           23    sentencing. You'll be asked to give information for the

           24    report.    You may be present if you wish.            Your lawyer

           25    may be present if you wish.




                                            55
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 60 of 336
       Case 5:11-cr-00045-MFU Document 97 Filed 09/09/13 Page 34 of 34 Pageid#: 1249
                                                                                       34


            1                   The Court will permit the defendant and

            2    counsel to read the pre-sentence report before the

            3    sentencing hearing.

            4                   You and your counsel will be given the

            5    opportunity to object to and address any objections at

            6    sentencing.

            7                   Any victims will be afforded an opportunity

            8    to be heard at sentencing.

            9                   I refer the matter to the probation officer

           10    for the preparation of a pre-sentence investigation

           11    report.

           12                   Sentencing is set for January 16th, 2013, at

           13    two o'clock.

           14                   I remand the defendant to the custody of the

           15    United States Marshal pending sentencing.

           16                   Anything further I need to do for the

           17    parties at this time?

           18                   MS. HEALEY:       No, Your Honor.

           19                   MR. BOSTIC:       No, Your Honor.

           20                   THE COURT:       Mr. Bostic, thank you.

           21                   Ms. Healey and Ms. Katzin, thank you.

           22                   Mr. Dowell, I'll see you in January.

           23    "I certify that the foregoing is a correct transcript
                 from the record of proceedings in the above-entitled
           24    matter.

           25
                 /s/ Sonia Ferris                             September 9, 2013"




                                            56
USCA4 Appeal: 13-4576    Doc: 24    Filed: 11/22/2013   Pg: 61 of 336
                                                                                 1



         1                         UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF VIRGINIA
         2                            HARRISONBURG DIVISION

         3    UNITED STATES OF AMERICA,

         4                          Plaintiff,
                                                        No. 5:11-CR-45
         5         vs.                                  Harrisonburg, Virginia
                                                        July 18, 2013
         6    JOHN STUART DOWELL,

         7                          Defendant.

         8                   TRANSCRIPT OF SENTENCING PROCEEDINGS
                           BEFORE THE HONORABLE MICHAEL F. URBANSKI
         9                       UNITED STATES DISTRICT JUDGE.

        10    APPEARANCES:

        11    For the Government:

        12    NANCY SPODICK HEALEY                      DARCY FANCHON KATZIN
              US Attorneys Office                       US Dept. of Justice
        13    Room 104                                  Criminal Division
              255 West Main Street                      Child Exploitation and
        14    Charlottesville, VA 22902                   Obscenity Section
              434-293-4283                              1400 New York Avenue NW
        15                                              Washington, DC 20530
                                                        202-353-3420
        16

        17    For the Defendant:

        18    RUSSELL DARREN BOSTIC
              Bostic & Bostic, P.C.
        19    409 Virginia Avenue
              Harrisonburg, VA 22802
        20    540-432-1119

        21    Court Reporter:       Carol Jacobs, Official Court Reporter
                                    Registered Diplomate, Realtime Reporter
        22                          U.S. District Court
                                    1101 Court Street
        23                          Lynchburg, VA 24504
                                    434-847-5722, ext. 3
        24
                  Proceedings recorded by mechanical stenography;
        25    computer-assisted transcription.




                                            57
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013     Pg: 62 of 336
                                                                                     2



         1         (Call to Order of the Court at 10:10 a.m.)

         2                THE COURT:    Good morning.         Please call the case.

         3                THE CLERK:    Yes, Your Honor.          This is Criminal

         4    Action No. 5:11-CR-00045, United States of America versus

         5    John Stewart Dowell.

         6                THE COURT:    All right.        Good morning.     Let me see

         7    counsel.

         8                (At sidebar.)

         9                THE COURT:    On the issue of audio, okay, is there

        10    -- I'm told -- I don't want to close the courtroom unless I

        11    have to.     I'm told there's no way to shut off the speakers

        12    that are out there in the public area.                I wanted to do that,

        13    but we can't do that.        So is there a need to play the audio?

        14                MS. KATZIN:     Well, in terms of really clearly

        15    demonstrating the grooming process that was at play -- you

        16    know, initially the child, when he pulled down her

        17    underpants, "Stop it.        Why are you pulling down my

        18    underpants," that sort of thing.             And then in later videos,

        19    when you see them chronologically, she is initiating the

        20    conduct and saying, "Drink my body," things like that.                     So

        21    the videos demonstrate that.             And, in addition, in terms of

        22    evidence informing as to the vulnerable victim, just

        23    hearing --

        24                THE COURT:    No, I understand that issue.           I'm just

        25    trying to figure out what makes sense.                I don't -- the




                                            58
USCA4 Appeal: 13-4576   Doc: 24   Filed: 11/22/2013   Pg: 63 of 336
                                                                                3



         1    Court's concern is identification of a minor victim.              And I

         2    don't want -- I don't want someone to be able to identify

         3    this minor victim from their voice.           I don't know -- I

         4    haven't seen these.      I don't know whether they mention name

         5    in any respect.

         6               MS. KATZIN:    No.

         7               THE COURT:    They do not?

         8               MS. KATZIN:    I can't specifically remember if he

         9    ever says his name, but her name is not mentioned.

        10               MS. HEALEY:    That's true.       I don't think he ever

        11    says her name.

        12               THE COURT:    Does she say like "XXXXX" or anything

        13    like that?

        14               MS. KATZIN:    No.

        15               MS. HEALEY:    Just "John."

        16               THE COURT:    All right.      What do you-all think is

        17    appropriate, given this issue?

        18               MS. KATZIN:    You mean for closing the courtroom or

        19    not?

        20               MR. BOSTIC:    I don't have any problems closing the

        21    courtroom.

        22               THE COURT:    Mr. Bostic, do you have any issue with

        23    that?

        24               MR. BOSTIC:    No.

        25               MS. KATZIN:    Then I think that's the safest.




                                          59
USCA4 Appeal: 13-4576    Doc: 24    Filed: 11/22/2013   Pg: 64 of 336
                                                                                   4



         1                THE COURT:     All right.      I'm going to do that.         I'm

         2    going to close the courtroom just during the playing of the

         3    video.     Can we do that all at one time so that we don't --

         4                MS. HEALEY:     Yeah.

         5                MS. KATZIN:     Yeah, it doesn't --

         6                THE COURT:     All right.      Let's do that.       Just let me

         7    know before that and I'm going to get everybody to leave.

         8                MS. KATZIN:     Right at the end of the forensic

         9    examiner's testimony.

        10                THE COURT:     Okay.    I don't want to do that, but I

        11    think it is the most prudent thing to do, to make sure that

        12    we guard against any possibility of identification of the

        13    minor victim.

        14                And we'll do it without objection from the

        15    defendant.      Correct?

        16                MR. BOSTIC:     That will be good.

        17                MS. HEALEY:     We very much appreciate it.

        18                THE COURT:     Okay.

        19         (End of discussion at sidebar.)

        20                THE COURT:     Okay.    Good morning.         We are here for

        21    sentencing in this case.

        22                Is the United States ready to proceed?

        23                MS. HEALEY:     Yes, Your Honor.

        24                THE COURT:     All right.      Is the defendant ready to

        25    proceed?




                                            60
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 65 of 336
                                                                                  5



         1                MR. BOSTIC:    Yes, sir.

         2                THE COURT:    All right.      Mr. Dowell, do you remain

         3    fully satisfied with the advice and representation provided

         4    by your counsel in this case?

         5                THE DEFENDANT:     Yes, Your Honor.

         6                THE COURT:    Okay.    Let me recap where we are.            The

         7    defendant pled guilty to 13 counts of this indictment.                   The

         8    first -- Counts One through Thirteen.             The first 12 counts

         9    are similar -- actually, the first ten counts involve one

        10    victim.     Counts Eleven and Twelve involve another victim.

        11    And those are all -- all of those charge the involvement of

        12    minors in the production of visual depictions.                And then

        13    Count Thirteen is transportation of visual depictions using

        14    any means of interstate commerce.

        15                A change of plea hearing was held on October 3rd,

        16    2012.     The defendant pled guilty to Counts One through

        17    Thirteen.     The Court accepted the guilty plea at that time.

        18    There's no plea agreement in this case.

        19                I have read the presentence investigation report.

        20    I have read the sentencing memorandums in this case.                I

        21    thought they were excellently done.            I appreciate all of the

        22    time and effort that counsel put into it.                I have read all

        23    of the letters that have been provided on behalf of

        24    Mr. Dowell.     I have read the victim impact statements that

        25    were provided by the United States.            I have read everything




                                           61
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 66 of 336
                                                                              6



         1    that has been filed in this case and looked over the

         2    docket.    I have studied the objections to the presentence

         3    report.    I have read the case law that relates to these

         4    objections concerning -- with regard to the presentence

         5    report.    And I assume we will hear a bunch of evidence and

         6    argument today on these objections.

         7               And so let me just start by asking, has each side

         8    had a full and complete opportunity to go over the

         9    presentence investigation report?            And -- has the United

        10    States done that?

        11               MS. HEALEY:    Yes, Your Honor, we have.

        12               THE COURT:    And, Mr. Bostic, have you had a chance

        13    to go over the presentence investigation report with your

        14    client and to prepare appropriate responses and objections?

        15               MR. BOSTIC:    Yes.

        16               THE COURT:    Okay.     Now, does the United States wish

        17    to put on evidence with regard to any of the objections

        18    raised in the presentence report before the Court does the

        19    guideline calculations?        And just -- just so we're all on

        20    the same page, as I see it, the -- and I want you-all to

        21    help me if I'm wrong -- the objections fall into a number of

        22    categories.     One, there's -- the government believes and

        23    -- in the amended presentence report -- and you have seen

        24    that amended presentence report; correct, Mr. Bostic?               And

        25    you-all have had a chance to go over that?




                                           62
USCA4 Appeal: 13-4576   Doc: 24   Filed: 11/22/2013   Pg: 67 of 336
                                                                                 7



         1               MR. BOSTIC:     Yes.

         2               THE COURT:     The government objected to the original

         3    presentence report and indicated that a two-level

         4    enhancement should be given under 3A1.1 for a vulnerable

         5    victim, following the Ninth Circuit decision in United

         6    States versus Wright, 373 F.3d 935, and the Fifth Circuit's

         7    decision in United States versus Jenkins, 712 F.3d. 209.

         8    And so there's that issue.        The U.S. objected to that.

         9    Probation amended the presentence report to add that

        10    two-level enhancement.       The -- and so I assume we'll hear

        11    some evidence and argument on that today.

        12               Second -- and that deals with a number of

        13    paragraphs in the presentence report.            That deals with

        14    paragraph 24, that deals with paragraph 31, that deals with

        15    paragraph 38, that deals with paragraph 46, that deals with

        16    paragraph 53, that deals with paragraph 60, that deals with

        17    paragraph 67, that deals with paragraph 75, and that deals

        18    with paragraph 83, deals with paragraph 90.             And I think

        19    those are the ones.       Okay?

        20               Now -- and it is the same issue as to all -- well,

        21    actually -- yeah, it is the same issue as to all of them.                  I

        22    don't think that issue -- does that issue apply to Counts

        23    Eleven or Twelve?       I don't believe so.        There is no

        24    vulnerable victim enhancement as to Eleven or Twelve.                  It is

        25    just One through Ten.




                                           63
USCA4 Appeal: 13-4576   Doc: 24      Filed: 11/22/2013   Pg: 68 of 336
                                                                                     8



         1               MS. HEALEY:      That's correct.

         2               THE COURT:      And it is in each one of those counts.

         3    So that's one issue.

         4               The second issue, just so that we're all on the

         5    same page, is the enhancement for two levels for

         6    distribution.       And that is in Count Thirteen, under

         7    paragraph 110.       So we have that issue as well.

         8               And then we have the argument that the defendant

         9    makes that the enhancement in paragraph 112 and 126 is

        10    double counting; the five-level enhancement for each of

        11    those is double counting.           And so we have that argument as

        12    well.

        13               So I want to take up those.             And I also want to

        14    hear any other argument that you-all want to make.

        15               Mr. Bostic?

        16               MR. BOSTIC:      Judge, if I could just address the

        17    Court.

        18               With respect to the vulnerable victim, that also is

        19    in Count Thirteen.       It is paragraph 115.

        20               THE COURT:      Oh, I'm sorry.        Hold on.       You bet.   I

        21    missed that one.       Thank you, Mr. Bostic.              It is in 115.

        22    Yeah, it is in Counts One through Ten and Count Thirteen.

        23    It is just not in Eleven and Twelve.               Right?

        24               MR. BOSTIC:      (Nods head.)

        25               THE COURT:      Okay.     So let's hear evidence on any




                                             64
USCA4 Appeal: 13-4576   Doc: 24       Filed: 11/22/2013   Pg: 69 of 336
                                                                                   9



         1    and all of these objections, in whatever manner you want to

         2    put it on.     And then if there are other objections or other

         3    issues you want me to hear evidence on, let's do that.                   And

         4    then we'll do the argument.            Okay?     Okay.

         5               MS. HEALEY:       Your Honor --

         6               THE COURT:       So let's hear first from the United

         7    States.    Ms. Healey.

         8               MS. HEALEY:       Your Honor, we are going to put on

         9    evidence relating to what was found in the videos that would

        10    address both the distribution issue as well as, to some

        11    extent, the vulnerability of the youngest victim, through a

        12    forensic examiner.

        13               As discussed in chambers, I think the Court's

        14    preference is that we put on our witness to testify not only

        15    to that but anything else he would have testified to during

        16    this hearing, so it will cover other issues.

        17               THE COURT:       Sure.     You know, just for the sake of

        18    efficiency, so we don't have to have witnesses coming back

        19    and forth, put on -- I'm capable of parsing it, so put on

        20    whatever evidence you want to put on and we'll go from

        21    there.

        22               MS. HEALEY:       And that's fine.          Of course, I think

        23    probation agrees that both of these enhancements are

        24    appropriate.        I did want to state that.

        25               THE COURT:       The distribution and the vulnerable




                                              65
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 70 of 336
                                                                                10



         1    victim, that's right, they do.

         2                MS. HEALEY:     So to some extent, while it might be

         3    appropriate for Mr. Bostic to go first, we are more than

         4    happy to put our witness on first and then have the defense

         5    witness --

         6                THE COURT:     Let's have the government put on

         7    whatever evidence you want to put on as to these --

         8                MS. HEALEY:     Objections.

         9                THE COURT:     -- the objections.        And then we'll hear

        10    from Mr. Bostic as to these objections.              Let's just do it

        11    that way, if that suits you.

        12                MS. HEALEY:     That's fine.      We will reserve our

        13    psychologist for the later argument that has to do with what

        14    is a reasonable sentence within --

        15                THE COURT:     Under 3553(a), absolutely.

        16                MS. HEALEY:     Yes.   Thank you, Your Honor.

        17                THE COURT:     Okay.

        18                MS. KATZIN:     So the government calls James

        19    Fottrell.

        20              JAMES FOTTRELL, GOVERNMENT'S WITNESS, SWORN

        21                THE COURT:     Good morning, Ms. Katzin.

        22                MS. KATZIN:     Good morning, Your Honor.

        23                THE COURT:     Good morning, sir.

        24                THE WITNESS:     Good morning, Your Honor.

        25




                                            66
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 71 of 336
                                                                                11
                                         FOTTRELL - DIRECT


         1                             DIRECT EXAMINATION

         2    BY MS. KATZIN:

         3    Q.   Good morning, Mr. Fottrell.

         4    A.   Good morning.

         5    Q.   Can you please state your full name, and spelling it

         6    for the record, please?

         7    A.   My name is James Michael Fottrell.              The last name is F,

         8    as in "Frank," O-T-T-R-E-L-L.

         9    Q.   And, Mr. Fottrell, can you tell us where you work?

        10    A.   I work at the child exploitation and obscenity section

        11    within the Department of Justice in Washington, DC.

        12    Q.   And what is your position there?

        13    A.   I'm the director of the high technology investigative

        14    unit.

        15    Q.   And can you tell us what is the high technology and

        16    investigative unit?

        17    A.   There's a group of computer forensic specialists and

        18    digital investigative analysts who work with prosecutors in

        19    our office and around the country in conducting computer

        20    examination of seized materials, conducting an analysis and

        21    writing reports and testifying in court.

        22    Q.   And specifically what kind of cases does the child

        23    exploitation section and the high tech investigative unit

        24    work on?

        25    A.   On child exploitation cases and adult obscenity cases.




                                           67
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 72 of 336
                                                                       12
                                         FOTTRELL - DIRECT


         1    Q.   And when you say "child exploitation," what kind of

         2    child exploitation cases?

         3    A.   Typically it is Internet investigations where minors

         4    are engaged in sexually explicit conduct with adults and

         5    other minors.

         6    Q.   So cases involving child pornography?

         7    A.   Yes.

         8    Q.   And can you briefly describe your duties and

         9    responsibilities as the director of the high tech

        10    investigative unit?

        11    A.   I oversee a number of computer forensic specialists

        12    that work for me.     And I am responsible for divvying up

        13    assignments and caseload among the people there in my

        14    office.     And I kind of coordinate with the trial attorneys,

        15    to make sure that all of the cases are handled properly and

        16    the assignments are completed in a timely manner.

        17    Q.   And do you also conduct forensic examinations yourself?

        18    A.   Yes, I do.

        19    Q.   How long have you worked at the child exploitation

        20    section?

        21    A.   About 11 years.

        22    Q.   And can you just very briefly summarize your work

        23    experience prior to joining the Department of the Justice?

        24    A.   Prior to joining the Department of Justice, I worked

        25    for the U.S. Customs Service, which became the Immigration




                                           68
USCA4 Appeal: 13-4576   Doc: 24   Filed: 11/22/2013   Pg: 73 of 336
                                                                            13
                                         FOTTRELL - DIRECT


         1    Customs Enforcement, doing very similar cases, child

         2    exploitation cases for the U.S. Customs Service, as well as

         3    other crimes, general smuggling crimes, fraud cases,

         4    financial crimes.       So I did a more broad degree of crimes

         5    when I was with the U.S. Customs Service.

         6    Q.   Okay.    And can you tell us what your educational

         7    background is?

         8    A.   I have a bachelor's degree from the State University of

         9    New York at Oswego, in New York.

        10    Q.   Have you received specialized training in forensic

        11    examination of computers?

        12    A.   Yes, I have.

        13    Q.   And have you yourself provided training to other

        14    forensic examiners as well as law enforcement officers who

        15    work on child pornography cases?

        16    A.   Yes, I have.

        17               MS. KATZIN:     And just in the interests of time, and

        18    because I understand that the defense is stipulating to

        19    Mr. Fottrell's qualifications as an expert, I'm just going

        20    to offer into evidence what has been marked as Government's

        21    Exhibit No. 1, which is Mr. Fottrell's curriculum vitae,

        22    which lays out all of his experience and training.

        23               MR. BOSTIC:     No objection.

        24               THE COURT:     All right.     Government Exhibit No. 1

        25    will be received without objection.




                                          69
USCA4 Appeal: 13-4576    Doc: 24    Filed: 11/22/2013   Pg: 74 of 336
                                                                         14
                                          FOTTRELL - DIRECT


         1         (Government's Exhibit No. 1 was marked for

         2    identification and received in evidence.)

         3    BY MS. KATZIN:

         4    Q.   All right.      Mr. Fottrell, in the course of your work at

         5    the child exploitation section, have you become familiar

         6    with the legal definition of child pornography?

         7    A.   Yes, I have.

         8    Q.   And, in fact, have you seen child pornography images?

         9    A.   Yes, I have.

        10    Q.   And do your duties include reviewing collections of

        11    images and flagging specific images you believe fit that

        12    definition?

        13    A.   Yes, they do.

        14    Q.   And do you do this on a daily basis?

        15    A.   Yes.

        16    Q.   Have you previously been qualified as an expert in

        17    computer forensic examination in child pornography cases?

        18    A.   Yes.

        19    Q.   Approximately how many times?

        20    A.   Between 20 and 30 times in federal court.

        21    Q.   Have you ever been denied qualification as an expert?

        22    A.   No.

        23                MS. KATZIN:    So I understand there's a stipulation,

        24    but I just ask that Mr. Fottrell be deemed an expert in

        25    computer forensic examination in child pornography cases.




                                            70
USCA4 Appeal: 13-4576   Doc: 24      Filed: 11/22/2013   Pg: 75 of 336
                                                                               15
                                           FOTTRELL - DIRECT


         1               MR. BOSTIC:      No objection.

         2               THE COURT:      All right.       Without objection, and

         3    based on review of the evidence that has been presented here

         4    today and the Court's examination of Mr. Fottrell's resume,

         5    Government's Exhibit 1, the Court accepts Mr. Fottrell as an

         6    expert in those areas.

         7               Please proceed.

         8               MS. KATZIN:      Thank you.

         9    BY MS. KATZIN:

        10    Q.   Mr. Fottrell, directing your attention to approximately

        11    January of 2012, was your high tech investigative unit asked

        12    to examine evidence in the case of the United States versus

        13    Dowell?

        14    A.   Yes, it was.

        15    Q.   And in preparation for this proceeding, did you

        16    personally review all of the evidence in the case?

        17    A.   Yes, I did.

        18    Q.   And did you also familiarize yourself in general terms

        19    with the facts of the case?

        20    A.   Yes, I did.

        21    Q.   What items did you examine which contained evidence

        22    that is relevant to this sentencing?

        23    A.   There were a number of computer items that were seized

        24    in this case.       There was a Gateway laptop computer, a

        25    Toshiba laptop computer, and a Western Digital external hard




                                             71
USCA4 Appeal: 13-4576   Doc: 24       Filed: 11/22/2013   Pg: 76 of 336
                                                                                  16
                                            FOTTRELL - DIRECT


         1    drive.

         2    Q.   And I'm first going to ask you some questions about

         3    what was found on those devices.              And then I'll ask you more

         4    specific questions about the images that underlie the

         5    production counts in this case.

         6         So, first, turning to the collection of child

         7    pornography.        As part of your examination in this case, did

         8    you review the images that the defendant had on his

         9    computers and hard drive?

        10    A.   Yes.

        11    Q.   And did you, in fact, identify child pornography and

        12    child erotica images?

        13    A.   Yes, I did.

        14    Q.   On all three devices that you listed?

        15    A.   Yes.

        16    Q.   And in looking at the dates associated with those

        17    devices, is it fair to say that it appeared that the

        18    defendant first had the Gateway laptop, then switched some

        19    time in 2011 to the Toshiba laptop, and that the external

        20    hard drive spanned his use of both laptops?

        21    A.   Yes.

        22    Q.   And just for clarification, can you just tell us what

        23    an external hard drive is.

        24    A.   So the external hard drive is an external stage -- a

        25    box, if you will, a small box.              And then you have the




                                              72
USCA4 Appeal: 13-4576   Doc: 24   Filed: 11/22/2013   Pg: 77 of 336
                                                                                   17
                                        FOTTRELL - DIRECT


         1    capability -- you can then plug that thing in by a USB cord

         2    or a cable connection to a computer.            And you can view the

         3    contents of that hard drive on one computer, and you can

         4    unplug it and plug into another computer and then view the

         5    contents on another media.        It's a portable storage device

         6    that allows me to view the contents of that storage device

         7    on multiple computers.

         8    Q.   Now, regarding pornographic images that you identified

         9    on all three devices -- and first I want to direct your

        10    attention to all of the pornography, adult and child

        11    alike -- can you approximate what percentage of the total

        12    number of images that he had depicted either child

        13    pornography or child erotica?

        14    A.   Yes.    Approximately 75 percent.

        15    Q.   And are you familiar with the term "anime"?

        16    A.   Yes, I am.

        17    Q.   Can you tell us what is anime?

        18    A.   Anime originates from a Japanese term, where it depicts

        19    cartoon drawings.    It is not actual pictures.              It is

        20    drawings or cartoons that depict minors.                And in this case

        21    it is minors engaging in sexually explicit conduct.

        22    Q.   And what percentage of all of the images you found were

        23    of anime?

        24    A.   Approximately 10 percent.

        25    Q.   Okay.    So is it fair to say that -- 75 percent plus the




                                          73
USCA4 Appeal: 13-4576    Doc: 24    Filed: 11/22/2013   Pg: 78 of 336
                                                                                    18
                                          FOTTRELL - DIRECT


         1    10 percent anime, so 85 percent of his collection depicted

         2    minors engaged in some sort of sexually -- sexualized image?

         3    A.   Yes.

         4    Q.   And regarding the child pornography that is 75 percent,

         5    can you tell us a corresponding -- an approximate

         6    corresponding actual number of images that made up that 75

         7    percent?

         8    A.   Approximately 70,000 images and videos.

         9    Q.   Now, did the defendant have any images of adult

        10    pornography on his computers?

        11    A.   Yes, he did.     Approximately --

        12                THE COURT:     Did you say 70,000 images and videos?

        13                THE WITNESS:     Yes, in total.

        14                THE COURT:     In total.

        15                THE WITNESS:     In total, yes.

        16    BY MS. KATZIN:

        17    Q.   And regarding adult pornography, what percentage of the

        18    collection was adult pornography?

        19    A.   Approximately 10 percent was adult pornography.

        20    Q.   So 85 plus 10, we're at 95 percent.                  Can you tell us

        21    what made up the remaining 5 percent of his collection?

        22    A.   The remaining 5 percent I would characterize as fetish

        23    videos.     And they depicted what are called scat videos and

        24    bondage videos.      And basically those would be scatological,

        25    where they are incorporating feces into sexual acts, and




                                            74
USCA4 Appeal: 13-4576   Doc: 24     Filed: 11/22/2013   Pg: 79 of 336
                                                                            19
                                          FOTTRELL - DIRECT


         1    bondage, where people are using whips, chains, or some kind

         2    of -- inflicting physical pain on the participants.

         3    Q.   And regarding the scat videos, did you identify any

         4    videos that appeared to depict the defendant?

         5    A.   Yes, I did.

         6    Q.   Can you just briefly describe that.

         7    A.   There's an image of the defendant -- what appeared to

         8    be the defendant basically stripping and laying a clear

         9    plastic cloth on a bed and defecating on that clear plastic

        10    cloth and rubbing the feces on himself.

        11    Q.   Now, in examining the defendant's computers, were you

        12    able to determine what at least some of the technologies

        13    were that the defendant used to obtain the child pornography

        14    and erotica images?

        15    A.   Yes.

        16    Q.   Can you first just list out those technologies?         Then

        17    I'll ask you to explain each of them briefly.

        18    A.   Sure.    Usenet newsgroups is one of the technologies

        19    that was used.      One second.      BitTorrent is another one.

        20    Freenet is another one.         And Tor is another one.   So those

        21    are four different Internet technologies that were used to

        22    collect child pornography on the defendant's seized

        23    materials.

        24    Q.   And so first directing your attention to the evidence

        25    of Usenet newsgroups, can you tell us what Usenet newsgroups




                                            75
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013    Pg: 80 of 336
                                                                                     20
                                         FOTTRELL - DIRECT


         1    are?

         2    A.     Sure.   Usenet newsgroups are a different technology

         3    from other types of technologies.             So it is different from

         4    websites; it is different from email.

         5           And if I could just kind of briefly explain what it

         6    is.    The concept of newsgroups is similar to a newspaper,

         7    where there is different sections of a newspaper that you

         8    can subscribe to.     I might subscribe to the sports section

         9    or the national news section.            So a newspaper is divided

        10    into a number of sections, just like the newsgroups are

        11    divided into a number of sections.             Some of those newsgroups

        12    are regarding sports, regarding gardening.                There's 30,000

        13    different newsgroups that span the human endeavor.                So

        14    there's newsgroups for all different topics that exist,

        15    including adult pornography and child pornography.                So

        16    there's just lots of different groups that are available

        17    through Usenet newsgroups.

        18           The other distinction that I want to make with

        19    newsgroups is that it is similar to email messages, where

        20    email is like I'm communicating from one person to another

        21    person, and those are called email messages.                The concept of

        22    a newsgroup is anybody can be an author and -- it is called

        23    an article.     I could submit an article to a section.                So,

        24    for example, if I want to talk about a football team, I

        25    would submit an article to a particular newsgroup called DC




                                           76
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 81 of 336
                                                                                     21
                                         FOTTRELL - DIRECT


         1    Redskins or whatever it would be called.                 And then anybody

         2    else who chooses to read that newsgroup or read that section

         3    can read those articles.

         4         So it is not a one-on-one communication.                It is a

         5    one-to-many communication where I post it to a particular

         6    topic area, and whoever subscribes to that section of the

         7    newspaper can read those articles that are published in that

         8    area.

         9    Q.   And in addition to posting articles, can one post

        10    pictures?

        11    A.   Yes.    So predominantly the idea is very similar to

        12    newspapers.     Newspapers can include textual material.                And

        13    those -- just like an email message, you can include

        14    attachments to a textual story.           And those attachments can

        15    be pictures, can be videos, can be any kind of computer

        16    media.

        17         So it is very common on newsgroups where there's -- in

        18    some newsgroups there's not a lot of conversations that are

        19    going on.     Some newsgroups are just people posting images,

        20    posting content to it, especially in child pornography

        21    newsgroups.     So there's child pornography newsgroups.

        22    There's not a lot of discussion going back and forth; people

        23    are just using newsgroups to distribute child pornography

        24    images and videos.

        25    Q.   And are there search features as part of using




                                           77
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 82 of 336
                                                                                   22
                                         FOTTRELL - DIRECT


         1    newsgroups?

         2    A.   Yes.     So basically there's search features where you

         3    are choosing which newsgroups that you want to receive,

         4    which sections of the newspaper are -- so you can look at I

         5    want to get the sports section or the adult pornography

         6    section or the child pornography section.                 So you can search

         7    for those newsgroups, specific newsgroups, and then browse

         8    the content, and then download the content associated with

         9    those particular newsgroups.

        10    Q.   And in this case did you find examples of the kinds of

        11    groups that the defendant was accessing?

        12    A.   Yes.

        13    Q.   And can you tell us about that?

        14    A.   So there was a number of newsgroups that are named

        15    -- some of the names are very generic.              Some of the names

        16    are very specific.     So, for example, there's a newsgroup

        17    called Glad Models.      And that's a particular website.             And

        18    there's certain images that are associated with that

        19    website.     People have downloaded those images and they are

        20    posting them into that particular area.              So there's a number

        21    of different newsgroups where specific content is being

        22    located.     Another one that I recall was called BD Company.

        23    And BD Company stands for branded dolls.                 And that was a

        24    commercial child pornography website.             And it is a very

        25    specific type of content.         And so people that would be




                                           78
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 83 of 336
                                                                          23
                                         FOTTRELL - DIRECT


         1    posting the material in the BD Company newsgroup are posting

         2    the same type of material that was available on the branded

         3    dolls website.

         4    Q.   And did you find evidence of specific images that the

         5    defendant downloaded from some of these newsgroups?

         6    A.   Yes.

         7    Q.   And did those images include child pornography?

         8    A.   Yes.

         9    Q.   Now, turning to -- you mentioned BitTorrent was another

        10    technology the defendant used?

        11    A.   Yes.

        12    Q.   Can you please describe what BitTorrent is?

        13    A.   So BitTorrent is a relatively new technology, one of

        14    the new kids on the block.         It is a very effective

        15    technology.     And the idea is, with BitTorrent, it allows me

        16    or allows a user to download files not from one person but

        17    from multiple people who have that file simultaneously.          So,

        18    for example, if a hundred people have a video that is being

        19    shared on the BitTorrent network, and I wished to download

        20    it, it is going to be very efficient and very quick because

        21    I'm not just downloading it from one person; I'm

        22    simultaneously reaching out to multiple computers and I'm

        23    downloading bits and pieces of it from multiple people

        24    simultaneously, and that allows me to download videos or

        25    images very quickly.      So BitTorrent is a very high-speed




                                           79
USCA4 Appeal: 13-4576   Doc: 24     Filed: 11/22/2013   Pg: 84 of 336
                                                                                    24
                                          FOTTRELL - DIRECT


         1    protocol that allows me to download content very quickly

         2    from multiple locations.

         3    Q.    And did you identify specific child pornography images

         4    or videos that the defendant had accessed using BitTorrent?

         5    A.    Yes.    I found definitely images and videos that were

         6    downloaded through BitTorrent and the log records associated

         7    with when those file transfers occurred.

         8    Q.    And you mentioned Freenet.          Can you describe what that

         9    is?

        10    A.    So Freenet is a very different -- Freenet has been

        11    around for a long time, probably for about 15 years.

        12    Freenet is a project -- it was a website, the

        13    freenetproject.org, where it's the concept of -- it is an

        14    anonymous version of the Internet.

        15          So here is this network that exists that allows two

        16    things:      It allows individuals, when they are accessing the

        17    Internet, to basically do that anonymously.               So it is not

        18    really keeping track of their true location.               And then

        19    number two part of Freenet is that the websites -- the

        20    locations on the Internet that the individuals are going to,

        21    it is not -- it is not identifiable where those things

        22    physically exist.

        23          So Freenet is a separate Internet, if you will, which

        24    is very difficult for law enforcement to, A, find where

        25    these illegal sites are; and then, number two, where the




                                            80
USCA4 Appeal: 13-4576    Doc: 24       Filed: 11/22/2013   Pg: 85 of 336
                                                                                   25
                                             FOTTRELL - DIRECT


         1    individuals who are accessing these websites are located.

         2           So basically I have been aware of a number of Freenet

         3    investigations over the years that are very frustrating for

         4    law enforcement because we don't have good evidence as to

         5    where the sites are located and where the individuals are

         6    who are accessing Freenet.

         7           So we typically don't proactively learn about those

         8    cases.     We learn about them reactively, after a computer has

         9    been seized from some other offense, and then we find

        10    evidence associated with Freenet, which is what happened in

        11    this case.

        12    Q.     And in this case did you identify specifically child

        13    pornography images that the defendant had accessed using

        14    Freenet?

        15    A.     Absolutely.      There was websites and there was some

        16    sites that were accessed on Freenet.                 And there was great

        17    transactional log records of that content being downloaded

        18    on the defendant's computers.

        19    Q.     And finally you mentioned Tor.              What does Tor stand

        20    for?

        21    A.     Tor stands for The Onion Router.               It is very similar to

        22    the Freenet project that I just talked about, but it is its

        23    big brother.         So Tor is the big kid on the block right now.

        24    There has been a mass migration since 2010 where offenders

        25    are using Tor in child pornography investigations.




                                               81
USCA4 Appeal: 13-4576    Doc: 24    Filed: 11/22/2013   Pg: 86 of 336
                                                                               26
                                          FOTTRELL - DIRECT


         1         And the concept of Tor is -- I'm kind of repeating

         2    myself, but it is the same point.             Point one is I'm using

         3    -- I download and install the Tor software, and I go to a

         4    website, and if that website doesn't have my IP address or

         5    any information about where I'm physically located and able

         6    to -- if I take down that website, the website doesn't

         7    really keep track of my IP address, where I came from.                So

         8    I'm being anonymized as I'm passing through the Tor network.

         9    That's the first part of the problem.

        10         The second part of the problem with the Tor network is

        11    the websites themselves are on this Tor network.             So law

        12    enforcement does not know geographically where they are

        13    located.     So we're involved in a number of websites right

        14    now that have child pornography on them, we can access them

        15    and see that it is child pornography, but there's no method

        16    for law enforcement to track down the location of that

        17    website, because it is not referenced by an IP address or

        18    any identifier that ties back to where it is physically

        19    located.     So it is -- only in a few instance have law

        20    enforcement gotten lucky and we are able to identify where

        21    those websites were physically located.

        22    Q.   And in this case did you find child pornography images

        23    that the defendant had accessed using Tor?

        24    A.   So I did see the Tor software on the defendant's

        25    computer.      And there was saved bookmarks and saved




                                            82
USCA4 Appeal: 13-4576   Doc: 24      Filed: 11/22/2013   Pg: 87 of 336
                                                                               27
                                           FOTTRELL - DIRECT


         1    references to accessing child pornography websites on the

         2    Tor network, yes.

         3    Q.   And in addition to these four technologies you have

         4    described, did you also find any Google searches relating to

         5    child pornography?

         6    A.   Yes, I did.

         7    Q.   Can you describe that evidence?

         8    A.   So there was just some Google searches -- so, for

         9    example, one of them was like "underage prostitutes

        10    Detroit."     So there was just like specific terms associated

        11    with different locations regarding underage, or they might

        12    have a certain year, "10YO," ten-year-old, or certain search

        13    terms that were related to child pornography terms.

        14    Q.   Now, based on all of this evidence of the technologies

        15    that the defendant used, are you able to form an opinion

        16    regarding how sophisticated a user the defendant was in

        17    relation to other cases that you have worked on?             And also

        18    tell us the significance of that level of sophistication.

        19    A.   This is a very sophisticated offender who is using

        20    multiple technologies.         So in some instances -- in the

        21    majority of our cases the offenders are only using one

        22    technology.     It might be a peer-to-peer technology or a

        23    commercial website technology.             Here is an instance where we

        24    have multiple technologies, four or five different

        25    technologies.       We have newsgroups, which are fairly unknown




                                             83
USCA4 Appeal: 13-4576   Doc: 24   Filed: 11/22/2013   Pg: 88 of 336
                                                                            28
                                         FOTTRELL - DIRECT


         1    by the general population.        And this is an individual that

         2    is using a relatively lesser-known technology.          So

         3    newsgroups is a signal of sophistication.

         4               What really tips it is both Freenet and Tor.        So

         5    those are fairly sophisticated technologies that are used by

         6    a more sophisticated offender, A, to hide their identity and

         7    to access websites that are difficult for law enforcement to

         8    investigate and take down.

         9    Q.   Now I want to turn to asking you some questions about

        10    the videos that underlie the production counts in this

        11    case.

        12               THE COURT:     All right.     Before you do that, let me

        13    ask you, on BitTorrent -- which I understand is a peer-to-

        14    peer network?

        15               THE WITNESS:     Correct.

        16               THE COURT:     -- was the defendant's sharing feature

        17    turned on on BitTorrent?

        18               THE WITNESS:     No.   There was no -- there was no

        19    evidence of the BitTorrent stuff being shared.          I don't have

        20    complete information because there's not transactional log

        21    records -- there's not complete transactional log records.

        22    What I mean by that is when the videos or images are being

        23    downloaded, during that process, even though I don't possess

        24    the entire video, let's say I have only downloaded half of

        25    it and I'm in the process of downloading the other half,




                                          84
USCA4 Appeal: 13-4576   Doc: 24   Filed: 11/22/2013     Pg: 89 of 336
                                                                                  29
                                         FOTTRELL - DIRECT


         1    during that period I am sharing the half of the file or the

         2    partial file that I possess.            I'm still sharing it with

         3    other BitTorrent members.          But once the download completes

         4    and the person turns off the BitTorrent program, then it is

         5    no longer being shared; it is no longer being distributed.

         6    So it is only being distributed or being available while the

         7    BitTorrent program is active.           It's just the nature of how

         8    the software works.

         9               THE COURT:     So when the defendant is downloading

        10    child pornography using BitTorrent, and it is coming from a

        11    number of computers --

        12               THE WITNESS:     Yes.

        13               THE COURT:     -- to make the download fast --

        14               THE WITNESS:     Correct.

        15               THE COURT:     -- other people can access, through

        16    BitTorrent, that same download that he has downloaded -- the

        17    piece of the download that he has downloaded?

        18               THE WITNESS:     Absolutely correct.           So if he has

        19    downloaded the first ten pieces of it and while he's

        20    downloading the next ten pieces of it, he's downloading --

        21    those first ten ones --

        22               THE COURT:     Somebody else can come in BitTorrent

        23    and grab them.

        24               THE WITNESS:     And those parts as well.

        25               THE COURT:     Okay.    All right.        Thank you for that.




                                           85
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 90 of 336
                                                                               30
                                          FOTTRELL - DIRECT


         1                Let's -- do any of these mechanisms that you have

         2    talked about, any of these -- you know, Freenet and

         3    BitTorrent and Tor, was the defendant's -- was he -- I mean,

         4    you have talked about him downloading from these sources.

         5    Was he making the images, the 70,000 images that he had on

         6    his computer, available to others to access?

         7                THE WITNESS:     There's much less evidence of that,

         8    so I don't have a complete picture.            So there's some

         9    evidence of that, but not a lot.           So he's more of a person

        10    who is just downloading and receiving stuff.             There's much

        11    less evidence of him actually distributing stuff to other

        12    people in this particular case.

        13                THE COURT:     Well, when you say "much less" --

        14                THE WITNESS:     Yes.

        15                THE COURT:     -- is there any evidence of him doing

        16    that?     I mean, obviously, by the nature of BitTorrent,

        17    there's some of that.

        18                THE WITNESS:     Right.

        19                THE COURT:     But other than BitTorrent, is there

        20    evidence in this case that he was distributing child

        21    pornography to others?

        22                THE WITNESS:     Yes.     I mean, I would answer that

        23    question by looking -- by using Freenet as an example of

        24    that.     So Freenet, by the fact that you are using Freenet --

        25    when I am downloading and installing Freenet, part of that




                                           86
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 91 of 336
                                                                                31
                                          FOTTRELL - DIRECT


         1    agreement is that you are setting aside a certain portion of

         2    your hard drive for storage for the Freenet network.              So you

         3    have no idea -- you may not know specifically what is being

         4    stored on your little segment that you are making available

         5    to the Freenet community, but you are.              So you are making a

         6    portion of your hard drive available for storage on the

         7    Freenet network.

         8                THE COURT:     Okay.    All right.      Just so -- you know,

         9    just so the Court understands, when you participate in

        10    Freenet, part of that participation in Freenet means that

        11    part of your hard drive on which this person has images is

        12    by definition accessible to others?

        13                THE WITNESS:     Yes.

        14                THE COURT:     Go ahead.

        15                Thank you.

        16    BY MS. KATZIN:

        17    Q.   All right.     Mr. Fottrell, regarding the videos that

        18    form the basis of the production counts in this case, did

        19    you review those videos?

        20    A.   Yes, I did.

        21    Q.   And is it accurate that the creation dates associated

        22    with those videos range from November of 2010 through

        23    January of 2011?

        24    A.   Yes.

        25    Q.   And were those videos on the defendant's computers?




                                            87
USCA4 Appeal: 13-4576   Doc: 24   Filed: 11/22/2013   Pg: 92 of 336
                                                                          32
                                        FOTTRELL - DIRECT


         1    A.   Yes, they were.

         2    Q.   Can you tell us -- because you mentioned three devices

         3    before, the two laptops and the external hard drive -- which

         4    devices did you find these videos on?

         5    A.   So they were on the Gateway laptop computer and they

         6    were on the external Western Digital hard drive.        But at the

         7    point in time where the Toshiba computer was seized, they

         8    were not on the Toshiba laptop computer.

         9    Q.   But were you able to find evidence on the Toshiba that

        10    they had previously been there?

        11    A.   Yes.    So there was -- on the Toshiba laptop computer,

        12    there's -- Internet Explorer has some logs that indicate

        13    that the videos, or certainly those file names of those

        14    videos, existed on the Toshiba computer at a prior point in

        15    time.

        16    Q.   Now, are you aware that a compilation video containing

        17    several of these self-produced videos was found by law

        18    enforcement on the Internet and turned over to DHS or ICE?

        19    A.   Yes.

        20    Q.   Have you seen that compilation video?

        21    A.   Yes, I have.

        22    Q.   And did you look for a copy of that compilation video

        23    on the defendant's computers and hard drive?

        24    A.   Yes, I did.

        25    Q.   And did you find it?




                                          88
USCA4 Appeal: 13-4576   Doc: 24      Filed: 11/22/2013   Pg: 93 of 336
                                                                           33
                                           FOTTRELL - DIRECT


         1    A.   No, I did not.

         2    Q.   Are you aware that the FBI also came into possession of

         3    the clips that make up that compilation video?

         4    A.   Yes, I am.

         5    Q.   Okay.    And so the FBI didn't come into possession of

         6    the compilation video itself; is that correct?

         7    A.   Correct.       They only have the components, the five or

         8    six pieces of the compilation video, not the entire video.

         9    Q.   Okay.    And those clips that the FBI came into

        10    possession of are the same as the self-produced videos you

        11    found on the defendant's computers?

        12    A.   Yes.

        13                THE COURT:     Do you know how the FBI got access to

        14    these clips?

        15                THE WITNESS:      No, I don't have that direct

        16    information as to how that happened.

        17    BY MS. KATZIN:

        18    Q.   Well, having familiarized yourself with the facts of

        19    the case, have you learned as much as we know about how the

        20    FBI got it?

        21    A.   Yes.

        22    Q.   Can you tell us that?

        23    A.   So they -- somebody from the FBI received a piece of

        24    media, whether it was a CD or a thumb drive, from a family

        25    member, that contained these videos.




                                             89
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 94 of 336
                                                                                    34
                                          FOTTRELL - DIRECT


         1    Q.   From the defendant's family member?

         2    A.   Yes.

         3    Q.   And was that in Florida?

         4    A.   Yes.

         5    Q.   Okay.

         6                THE COURT:     All right.     I'm not sure I understand.

         7    Does that mean -- just help me with this.

         8                THE WITNESS:     Okay.

         9                THE COURT:     You examined these computers and you

        10    saw that there were these video clips on there.               Okay.

        11                The FBI, therefore, got from a family member in

        12    Florida these CDs or thumb drives.            And that is -- those

        13    came, obviously, from a computer that was not the

        14    defendant's computer; is that correct?

        15                THE WITNESS:     I don't have complete information.

        16    It may have been the defendant's computer.               It may have been

        17    another computer.        I just don't have any information about

        18    that.

        19                THE COURT:     Okay.     All right.     So the family member

        20    may have been, in fact, physically given a thumb drive or a

        21    CD by the defendant?

        22                THE WITNESS:     Right.

        23                THE COURT:     Or the other possibility is the

        24    defendant may have transferred those video files over the

        25    Internet and the family member may have put them itself on a




                                            90
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 95 of 336
                                                                               35
                                          FOTTRELL - DIRECT


         1    CD or a thumb drive, correct?

         2                THE WITNESS:     Correct.

         3                THE COURT:     You just don't know the answer to that

         4    question?

         5                THE WITNESS:     Yes.

         6                THE COURT:     All right.     I'm sorry.

         7                MR. BOSTIC:     Judge, I believe there's further

         8    information on that.

         9                THE COURT:     Well, if they want to put other

        10    evidence on, that's fine.           I'm just asking questions.

        11                MS. HEALEY:     Your Honor, may I just proffer

        12    something, just for the Court's information?

        13                THE COURT:     Yes.

        14                MS. HEALEY:     The way this case came about were

        15    through tips from ICE and from FBI.            As I understand what

        16    happened was FBI in Florida got word that a family member, a

        17    sibling of the defendant's, had received a copy either of a

        18    thumb drive or a disk.        What she told the FBI at that time

        19    was that she received -- she was a therapist.            She received

        20    it from a patient.        Originally she would not state much more

        21    than that.     She said she recognized the people in the

        22    videos, both the defendant and the victim in the videos.

        23    She also ended up recognizing the location in the videos.

        24                Eventually FBI was able to get her to give more

        25    -- and the ICAD, was able to get more information from this




                                            91
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 96 of 336
                                                                             36
                                         FOTTRELL - DIRECT


         1    woman about what was depicted, who -- where and who it was

         2    that was depicted in the videos.           However, to this date she

         3    has refused to give information as to more specifics of how

         4    she came into possession of that.

         5                Does that make any sense, Judge?

         6                I don't think -- do you have any problem with my

         7    proffer?

         8                MR. BOSTIC:    No.     That is an accurate proffer.     And

         9    what I really wanted the Court to be aware, this is not

        10    something where Mr. Dowell was sending something over -- to

        11    somebody in Florida and that's how it was received there.

        12                THE COURT:    Well, I think what the government is

        13    proffering and what the witness says is they don't know how

        14    the person got it and the government doesn't have any

        15    evidence to show that the defendant sent this over the

        16    Internet, at least that I have heard.

        17                Is that consistent, Mr. Bostic?

        18                MR. BOSTIC:    Yes.

        19                THE COURT:    Please proceed.

        20                MS. KATZIN:    Okay.

        21                All right.    So getting to that point with

        22    Mr. Fottrell.

        23    BY MS. KATZIN:

        24    Q.   Did you examine the defendant's computer for any

        25    evidence showing whether he had ever uploaded any of these




                                           92
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 97 of 336
                                                                             37
                                         FOTTRELL - DIRECT


         1    self-produced videos to the Internet?

         2    A.   Yes, I looked for evidence of that and I did not find

         3    any evidence of that.

         4    Q.   And can you just briefly tell us where did you look,

         5    how did you look, and what did you find?

         6    A.   So in this case it was easy; I could search by file

         7    name.     So I knew the file names of the components, I had the

         8    file name of the video, I could do a search for any

         9    information related to those file names and find if it

        10    -- and look for instances where it was related to some kind

        11    of transactional log record for being uploaded.          For

        12    example, an FPT log, an email log, a web server log.           So I

        13    was just looking for any kind of evidence associated with

        14    file-transfer activity associated with particular file

        15    names.     I looked for that and I did not find any evidence of

        16    that.

        17    Q.   Okay.    And are you aware that the defendant has

        18    suggested in this case that either a hacker or a virus that

        19    compromised his computer on approximately July 25th of 2011

        20    may have been responsible for uploading the self-produced

        21    videos to the Internet?

        22    A.   Yes, I'm aware of that.

        23    Q.   And when you became aware of that, did you examine the

        24    computer for evidence to either support or refute that

        25    claim?




                                           93
USCA4 Appeal: 13-4576    Doc: 24    Filed: 11/22/2013   Pg: 98 of 336
                                                                                 38
                                          FOTTRELL - DIRECT


         1    A.     Yes, I did.

         2    Q.     And can you tell us what did you do and what did you

         3    find?

         4    A.     So the first thing that I would look at it is -- in a

         5    virus analysis, is is there antivirus software on the

         6    defendant's computer, how is it configured, is it updated

         7    correctly, is it functioning normally.               So that's the first

         8    step that I looked for.         In this case there was no antivirus

         9    software on the defendant's computer.

        10           He did have antimalware software that looks for

        11    malicious software, but for some reason there was no

        12    antivirus software on the defendant's computer, so there was

        13    no records associated with its functionality.

        14           The second step that I would take is, taking the

        15    defendant's computer, in this case the Toshiba laptop

        16    computer, I would use my antivirus software.               So I used

        17    Microsoft Security Essentials.            And I updated it with the

        18    most recent virus definitions.            And then I scanned the

        19    defendant's Toshiba computer, to look for evidence of any

        20    viruses as of a more recent point in time, like a month

        21    ago.      And I did that.    And in this case I found

        22    approximately 29 viruses.          So I did find viruses on the

        23    defendant's computer.        A lot of them were related to Java

        24    and programming issues.         But there was and I documented in

        25    my report all of the instances of the viruses that I found




                                            94
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 99 of 336
                                                                                 39
                                          FOTTRELL - DIRECT


         1    on the defendant's Toshiba computer.

         2    Q.   Now, the viruses that you did find, did any of those

         3    viruses have the capability of reaching into the defendant's

         4    computer, taking files and uploading them to the Internet?

         5    A.   No, in my analysis I did not find any evidence of what

         6    their capabilities were.

         7                THE COURT:     You just don't know one way or the

         8    other?

         9                THE WITNESS:     Absolutely correct.         I don't have

        10    perfect information -- I don't have complete information to

        11    answer that question.

        12    BY MS. KATZIN:

        13    Q.   But just to clarify, are there viruses out there or

        14    hacking capabilities out there that would allow somebody to

        15    come into your computer, grab certain files, and remove them

        16    to the Internet?

        17    A.   Yes.     Yes, there are those types of viruses.           Correct.

        18    Q.   And did you find any evidence of any of those kind of

        19    viruses?

        20    A.   No.

        21    Q.   But we also know that shortly after the defense is

        22    suggesting the computer was hacked or compromised, there was

        23    a CCleaner program that was run on the computer; correct?

        24    A.   Yes.

        25    Q.   Can you tell us what CCleaner is and what it does?




                                           95
USCA4 Appeal: 13-4576    Doc: 24     Filed: 11/22/2013   Pg: 100 of 336
                                                                                  40
                                           FOTTRELL - DIRECT


         1    A.   So CCleaner is a program that is distributed by a

         2    company called Puraform.            It's a very popular program.         And

         3    what it does is it does a lot of housekeeping utilities for

         4    your computer.       It basically deletes and removes temporary

         5    files that are used by different programs on your computer.

         6         So your web browser creates and stores temporary files,

         7    your operating system does.            So there's a number of

         8    different locations on the computer where the operating

         9    system stores files temporarily.             The CCleaner program

        10    deletes them and -- basically identifies those files and

        11    deletes them from your computer.

        12    Q.   So is it fair to say that that CCleaner program could

        13    have deleted whatever evidence there was of a virus or a

        14    hacking attack, if that had happened?

        15    A.   Yes.     So typically in virus instances, the most common

        16    way that a virus gets on a computer is through a web

        17    browser.     So there are temporary Internet files associated

        18    with your web browser.         That's the first place you'd look

        19    for viruses and information related to viruses.

        20         In this case, once the CCleaner program had run, all of

        21    those files were deleted and removed.               So it kind of removed

        22    any capability of me identifying any viruses that were

        23    there.     So I don't have any files to look at to see if they

        24    are viruses or not.

        25    Q.   And, likewise, if there had been any evidence on the




                                             96
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 101 of 336
                                                                              41
                                         FOTTRELL - DIRECT


         1    computer of any of these videos being uploaded to the

         2    Internet, would running the CCleaner possibly have erased

         3    those entries in the Internet history?

         4    A.   Yes.

         5    Q.   So ultimately what, if anything, are you able to say

         6    about whether the defendant's computer was compromised --

         7    A.   I don't have any information that it was.            I can't say

         8    one way or another whether it was infected with a virus.             I

         9    just don't have any evidence of that, other than statements

        10    that were made.     There's no physical evidence that I can

        11    point to that says it was infected with a virus.            I just

        12    don't have complete information.

        13    Q.   Okay.    But just to clarify, running the CCleaner may

        14    explain -- if the self-produced videos had been uploaded

        15    from the defendant's computer, if that had ever happened,

        16    running the CCleaner program may explain why you are not

        17    finding evidence of that action?

        18    A.   Yes.

        19    Q.   Now, did the defendant's computer, any of his

        20    computers, have any video-editing software on them?

        21    A.   Yes, it did.

        22    Q.   Which computer was that?

        23    A.   On the Gateway computer.

        24    Q.   And what software was on the Gateway computer?

        25    A.   Microsoft Windows Moviemaker.           So it is a video-editing




                                           97
USCA4 Appeal: 13-4576   Doc: 24       Filed: 11/22/2013   Pg: 102 of 336
                                                                                 42
                                            FOTTRELL - DIRECT


         1    software that is part of the Microsoft Windows operating

         2    system.

         3    Q.   And can you just briefly describe its capabilities?

         4    A.   It is a very common video-editing software.              It allows

         5    a person to slice together two or more videos to make a

         6    compilation.        It allows you to truncate videos and edit

         7    them, as normal video editing would allow you to do.               It

         8    allows you to add different soundtracks or add different

         9    music files or just add different audio components, mixing

        10    different video files and audio files to make a new video.

        11    Q.   And could that software be used to make a compilation

        12    like the one that was -- that you reviewed that had been

        13    found on the Internet?

        14    A.   Yes.

        15    Q.   And was there any evidence that the defendant, in fact,

        16    had used that editing software to manipulate the self-

        17    produced videos?

        18    A.   Yes, there was.

        19    Q.   Can you briefly describe that?

        20    A.   So Microsoft Windows Moviemaker has these files; they

        21    are known as project files.            So in the course of editing a

        22    video, you can save your work along the way, and you get

        23    these files called "project files."               And there was a number

        24    of project files that were identified and recovered on the

        25    computer, I think four or five of them.




                                              98
USCA4 Appeal: 13-4576   Doc: 24       Filed: 11/22/2013   Pg: 103 of 336
                                                                              43
                                            FOTTRELL - DIRECT


         1           And those project files, if you look at the contents of

         2    those project files, it corresponds to other files that

         3    existed on the computer that contained the compilation of

         4    those clips.        So there is clear evidence that the person was

         5    using the video-editing software to produce a compilation

         6    -- a larger piece of a video, but not the larger video that

         7    was found on the Internet.            So there was evidence that the

         8    video-editing software was being used, but not evidence of

         9    it being used for the larger compilation video.

        10    Q.     But just to clarify, it was being used to manipulate

        11    the self-produced videos that underlie the production counts

        12    in this case?

        13    A.     Yes.

        14    Q.     Now, just getting back to the compilation video

        15    recovered by ICE and the clips recovered by the FBI, did you

        16    compare the compilation video with the clips that the FBI

        17    had?

        18    A.     Yes.

        19    Q.     And did you notice anything of significance regarding

        20    the file names of the video clips in those two pieces of

        21    evidence when you compared them?

        22    A.     Yes.

        23    Q.     And can you describe that?

        24    A.     So the compilation video that was downloaded and

        25    obtained by the ICE investigators, at the beginning of this




                                              99
USCA4 Appeal: 13-4576    Doc: 24       Filed: 11/22/2013   Pg: 104 of 336
                                                                                   44
                                             FOTTRELL - DIRECT


         1    compilation video there's a blue screen where there's some

         2    textual information.          And the text that is included says,

         3    "New stuff, 2011."         And then there's some "parts one through

         4    seven," and then there's a parentheses, you know, "part 0004

         5    is missing."         So there's that textual information that

         6    exists on the compilation video.

         7         If we look at the components that the FBI agents

         8    received, they don't -- the FBI agent only has those parts

         9    of the video; it doesn't have the full video.                 But those

        10    file names for the component match that text.                 So the file

        11    names include "New stuff 2011," and then there's some

        12    numbers, "1, 2, 3, 4, 5, 7," with 4 missing, and then it has

        13    parentheses and then those file names of the underlying

        14    original content.         So the file names of those components

        15    match the text at the beginning of the compilation video.

        16    Q.   And regarding these particular file names, where they

        17    start with "new stuff" and then have the number, were these

        18    videos saved on any of the -- either the laptops or the

        19    external hard drive under those file names starting with

        20    "new stuff"?

        21    A.   No.     So on the seized material -- on the seized

        22    computers, none -- the file names "New stuff 2011" don't

        23    exist.     I don't see them on the Toshiba, the Gateway laptop,

        24    or the external Western Digital hard drive.

        25    Q.   And just to sort of put that together, can you just




                                               100
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 105 of 336
                                                                                     45
                                         FOTTRELL - DIRECT


         1    tell us whether that sheds any light on the hacker claim

         2    that has been put forth here?

         3    A.   I mean, I think it is -- the evidence is -- those file

         4    names are good evidence that it is linked to the compilation

         5    video.    So it has lessened -- the hacker would have

         6    downloaded only the underlying file name, 006.AVI or 007; it

         7    would not have the "new stuff" file name.                  The only time

         8    where you see the "new stuff" file name is on that media

         9    that was turned over to the FBI, not on the computer, and it

        10    was linked to the compilation video that was downloaded by

        11    law enforcement over the Internet.

        12    Q.   So it suggests, then, that the compilation video was

        13    made from the clips that were turned -- the unique clips

        14    that were turned over to the FBI?

        15    A.   Yes.    So those unique clips that were turned over to

        16    the FBI exactly match the content of the compilation video.

        17    Q.   At this time, Mr. Fottrell, I'm going to show what has

        18    been marked as Government's Exhibit No. 2 for

        19    identification.

        20                MS. KATZIN:    May I approach the witness?

        21                THE COURT:    Oh, absolutely.        Please.

        22                No need to ask.        Just go ahead.         I'm sorry.

        23    BY MS. KATZIN:

        24    Q.   Can you tell us what that is?

        25    A.   This is a printout of a sample of a number of child




                                           101
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 106 of 336
                                                                             46
                                         FOTTRELL - DIRECT


         1    pornography images that I produced from the defendant's

         2    computers.     I just took a sample of some of those images.

         3    Q.   So these are images you recovered from the defendant's

         4    computer?

         5    A.   Yes.

         6                MS. KATZIN:    And at this point I would move

         7    Government's Exhibit No. 2 into evidence under seal,

         8    please.

         9                THE COURT:    Any objection?

        10                MR. BOSTIC:    No objection.

        11                THE COURT:    It will be received in evidence under

        12    seal.

        13         (Government's Exhibit No. 2 was marked for

        14    identification and received in evidence under seal.)

        15    BY MS. KATZIN:

        16    Q.   Mr. Fottrell, can you just briefly go through those,

        17    just to say --

        18                MS. KATZIN:    And, Your Honor, obviously, if you

        19    wanted to view the images yourself, you can.

        20    BY MS. KATZIN:

        21    Q.   But, Mr. Fottrell, can you just look through them and

        22    just describe them to the Court.           I believe there are 12

        23    images in there.

        24    A.   Okay.    I'm just going to go through a sample of them.

        25         So one of the images depicts an infant girl, a minor




                                           102
USCA4 Appeal: 13-4576    Doc: 24       Filed: 11/22/2013   Pg: 107 of 336
                                                                                   47
                                             FOTTRELL - DIRECT


         1    female, who is approximately one or two years old.               She's

         2    lying naked.         And an adult male is performing oral sex on

         3    her.

         4           There's another picture where -- there's a number of

         5    pictures that fit that category.               There's certainly a

         6    picture of a minor girl, who is probably one or two years

         7    old, and there's an adult penis pressed against her vagina.

         8           There's some other pictures towards the end that are

         9    more commercial child pornography, where it hadn't -- the

        10    image also includes a website logo that I testified about

        11    earlier.     So, for example, one of the images includes the

        12    text www.bdcompany.com, which stands for branded dolls.

        13    This is an example of an image that was previously

        14    downloaded -- at some point downloaded from the commercial

        15    website BD Company.          And the depictions there are a little

        16    more different.         There the minors are dressed up in

        17    costumes.      They are dressed up in different stockings.                They

        18    are wearing makeup.          They are a much more professional

        19    quality than other pictures that are more of an amateur-

        20    produced quality or self-produced material.

        21           So there's a combination of different types of

        22    material.

        23    Q.     Thank you.

        24           And now, Mr. Fottrell, I'm going to show what has been

        25    marked as Government's Exhibit No. 3 for identification.




                                               103
USCA4 Appeal: 13-4576    Doc: 24    Filed: 11/22/2013   Pg: 108 of 336
                                                                               48
                                          FOTTRELL - DIRECT


         1                THE COURT:     Just so I understand Exhibit 2, those

         2    -- that book, Exhibit 2, are examples of things that the

         3    defendant downloaded off the Internet; correct?

         4                THE WITNESS:     And possessed, correct.

         5                THE COURT:     And possessed?

         6                THE WITNESS:     Correct.

         7                THE COURT:     Those aren't images he produced

         8    himself?

         9                THE WITNESS:     Yes, Your Honor.

        10                THE COURT:     Okay.    Good.     All right.

        11    BY MS. KATZIN:

        12    Q.   All right.      So looking at Government's Exhibit No. 3,

        13    can you tell us what that is?

        14    A.   It is a CD that I created that contains a compilation

        15    video that I created of the produced materials that the

        16    defendant produced.

        17                MS. KATZIN:     Okay.    And at this time I would move

        18    Government's Exhibit No. 3 into evidence, also under seal.

        19                THE COURT:     Any objection?

        20                MR. BOSTIC:     No objection.

        21                THE COURT:     All right.       Let me just understand what

        22    it is.     It will be received -- Exhibit 3 will be received

        23    without objection.

        24         (Government's Exhibit No. 3 was marked for

        25    identification and received in evidence.)




                                            104
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013    Pg: 109 of 336
                                                                                49
                                          FOTTRELL - DIRECT


         1                THE COURT:     We have talked about compilations.

         2    Okay.     There was a compilation that ICE got from Denmark.

         3                THE WITNESS:     Yes.

         4                THE COURT:     Is this the compilation that is on

         5    Exhibit 3?     As I understand it, it is different.

         6                THE WITNESS:     It is different, Your Honor.        This is

         7    a compilation that I created.            So there was a number of

         8    videos that were seized from the defendant's computer that

         9    has those two minors, minor one and minor two, on them --

        10                THE COURT:     This is a group -- okay, to use a

        11    different term, this is a group of video clips that you have

        12    taken from the defendant's seized computers that are the

        13    videos that he produced?

        14                THE WITNESS:     Yes, Your Honor.

        15                THE COURT:     Okay.    All right.       Go ahead.

        16    BY MS. KATZIN:

        17    Q.   And did you prepare this just for purposes of

        18    sentencing so that -- as an exhibit for the Court to review?

        19    A.   Yes.    I didn't want to include all of the videos.

        20    There were, you know, many 30, 40, 50 minutes long.              This is

        21    a much shorter video -- it is only seven minutes long -- of

        22    the progression of the materials.            So it is just an excerpt,

        23    if you will, a highlight reel of those produced material.

        24                THE COURT:     Let me ask you.        You watched all of

        25    these?




                                           105
USCA4 Appeal: 13-4576    Doc: 24    Filed: 11/22/2013   Pg: 110 of 336
                                                                                 50
                                          FOTTRELL - DIRECT


         1                THE WITNESS:     Yes, I did, Your Honor.

         2                THE COURT:     Okay.      How many videos were there that

         3    the defendant produced of his encounter with these two minor

         4    victims?

         5                THE WITNESS:     There were multiple locations, Your

         6    Honor.     So in one case -- my numbers might be slightly

         7    wrong -- there was, like, 12 to 15, a smaller number, on the

         8    Gateway computer, for example, that was located in one

         9    place.     On the external hard dive there was the similar

        10    materials, so certainly it was backed up and it was stored

        11    in multiple locations, but there was this other program

        12    called VLC Player that allows you to view videos.

        13                One of the functionalities of VLC is, kind of like

        14    this, you can make a highlight reel.              You can make a

        15    highlights video.        So there was instances where -- we have

        16    the -- if you will, we have the uncut footage that was

        17    produced.      And then we have different periods of time where

        18    excerpts of it were produced and extracted, if I'm

        19    explaining that clearly.            So it existed in multiple

        20    locations at multiple different points --

        21                THE COURT:     Can you tell from looking at the videos

        22    how many different occasions these videos were produced in?

        23                THE WITNESS:     I know it was a number.        It certainly

        24    wasn't one particular occasion, because the participants are

        25    wearing different clothes and you can clearly see that it is




                                            106
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 111 of 336
                                                                                       51
                                         FOTTRELL - DIRECT


         1    different days.     Do I have a number?          I don't have a

         2    specific number --

         3               THE COURT:     There's ten counts in the complaint on

         4    specific days to which the defendant has admitted and pled

         5    guilty.

         6               A different question, all right, you talk about the

         7    uncut footage.

         8               THE WITNESS:     Right.

         9               THE COURT:     Okay.    What is the universe in terms of

        10    the time that this uncut -- in ballpark terms, that this

        11    uncut footage encompasses?

        12               THE WITNESS:     I would estimate about like 60 to 70

        13    minutes of uncut footage.

        14               THE COURT:     All right.      Thank you.         Go ahead.

        15               MS. KATZIN:     And I just also want to clarify.

        16    BY MS. KATZIN:

        17    Q.   On that -- does that excerpt that you prepared --

        18    A.   Created.

        19    Q.   -- or created include video both of Minor A and Minor B

        20    in this case?

        21    A.   Yes, it does.

        22    Q.   Okay.    And where do the Minor B clips fall?

        23    A.   At the very end.      So basically, the first part of it --

        24    the majority of it is depicting Minor A.                  Only the last

        25    maybe 30 seconds or the last 40 seconds includes Minor B.




                                           107
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013     Pg: 112 of 336
                                                                                      52
                                         FOTTRELL - DIRECT


         1               MS. KATZIN:    And, Your Honor, that's all I have at

         2    this time.     I don't know if we -- you know, we do want to

         3    play the video for the Court.             I don't know if we want to do

         4    that now or after cross?           Now?

         5               THE COURT:    Do you want to play it now?

         6               MS. HEALEY:    I think we should, Your Honor, because

         7    it is government's evidence.

         8               THE COURT:    Okay.       All right.

         9               I have -- is there a motion, therefore, by the

        10    United States, that we do this under seal?

        11               MS. KATZIN:    Yes, Your Honor.

        12               THE COURT:    That they are played under seal?

        13               MS. KATZIN:    Yes.

        14               THE COURT:    Any objection from the defendant?

        15               MR. BOSTIC:    No objection.

        16               THE COURT:    All right.         As we have talked -- as

        17    counsel have talked about here at the bench, the Court is

        18    going to review these videos under seal.                    And because there

        19    is both video and audio associated with these videos and to

        20    make sure that there's no possibility of identification of

        21    the minor victims, during the playing of these videos the

        22    Court is going to clear the courtroom.                All right?      Because

        23    I want to make sure that there is no possibility that these

        24    minor victims can be identified.

        25               So I am going to -- except for the government




                                           108
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 113 of 336
                                                                                   53
                                          FOTTRELL - DIRECT


         1    agents in this case and the court personnel and the

         2    defendant, obviously, I'm going ask the other folks who are

         3    here to step outside for the seven or so minutes while the

         4    Court views these videos.

         5                Thank you all.

         6         (Courtroom cleared.)

         7                MS. HEALEY:     Judge, do you have a problem if our

         8    case agent runs it and Mr. Fottrell sits up there --

         9                THE COURT:     No.     Whatever you can do to move this

        10    along.

        11                MS. KATZIN:     And Mr. Fottrell copied the disk onto

        12    the computer, so we can just run it off the computer, if

        13    that's acceptable.

        14                THE COURT:     Okay.     Any objection, Mr. Bostic?

        15                MR. BOSTIC:     No objection.

        16                THE COURT:     Okay.     Please proceed.

        17                MR. BOSTIC:     Judge, if I can have just one minute

        18    -- I guess we don't really need this now.                 We had kind of

        19    physically worked out how we were going to do it --

        20                THE COURT:     Yeah.     And as we talked about, there

        21    was one -- we wanted to make sure that the videos weren't

        22    accessible to the folks in the audience who did not need to

        23    see them.     The concern that we talked about with the Court

        24    and counsel was whether -- I asked whether or not we needed

        25    to hear the audio.        The government said they wanted the




                                           109
USCA4 Appeal: 13-4576   Doc: 24     Filed: 11/22/2013   Pg: 114 of 336
                                                                              54
                                          FOTTRELL - DIRECT


         1    Court to hear the audio.            And so, therefore, to make sure

         2    there's no issue with victim identification, that is why I

         3    have asked the folks to step outside while we play the

         4    audio, because the clerk tells me that we can't restrict the

         5    audio to simply the Court; it would have been played in the

         6    entire courtroom.       And so, out of an abundance of caution,

         7    without objection from the defendant, that's why I have done

         8    that.

         9               Please proceed.

        10         (Government's Exhibit No. 3 was attempted to be

        11    published to the Court by audio and video.)

        12               THE COURT:     Is there supposed to be a video on the

        13    screen?    Because none of us can see it.

        14               THE WITNESS:      May I help, Your Honor?

        15               THE COURT:     You may stand down to -- Mr. Fottrell,

        16    we have it.

        17               (Pause.)

        18               THE WITNESS:      I'm going to start it again.

        19         (Off-the-record discussion between counsel and the

        20    clerk.)

        21         (Government's Exhibit No. 3 was published to the Court

        22    by video and audio.)

        23               MS. KATZIN:     Just for the record, this clip and the

        24    next one of Minor B.       These are Minor B now.

        25         (Government's Exhibit No. 3 was further published to




                                            110
USCA4 Appeal: 13-4576   Doc: 24   Filed: 11/22/2013    Pg: 115 of 336
                                                                                55
                                         FOTTRELL - CROSS


         1    the Court by video and audio.)

         2               MS. HEALEY:    Your Honor, do you want to us open the

         3    door and let --

         4               THE COURT:    Oh, yeah.       Yeah.    Yeah.   That's fine.

         5    Yes.

         6               Is that the end of the clips?

         7               MS. KATZIN:    That is, Your Honor.

         8               THE COURT:    Okay.    Thank you.

         9               MS. KATZIN:    And, just for the record, they did

        10    play a little -- they were a little more choppy than they

        11    have appeared on other media.           But hopefully they were

        12    sufficient for you to see the sexually explicit conduct.

        13               THE COURT:    All right.       Any cross-examination?

        14               MR. BOSTIC:    Yes, sir.

        15                             CROSS-EXAMINATION

        16    BY MR. BOSTIC:

        17    Q.     Investigator, let me go back to a little bit when you

        18    were talking about BitTorrent and how that works and Freenet

        19    and how that works.

        20    A.     Okay.

        21    Q.     It is my understanding from listening to everything

        22    that you have said up until now, the file-sharing feature

        23    for Mr. Dowell's computer was cut off; correct?

        24    A.     I'm not sure what you mean by that.            So the BitTorrent

        25    program -- when the BitTorrent program is running, you are




                                          111
USCA4 Appeal: 13-4576    Doc: 24      Filed: 11/22/2013   Pg: 116 of 336
                                                                                56
                                             FOTTRELL - CROSS


         1    sharing files that are in the designated BitTorrent folder.

         2    They are available to other BitTorrent users.

         3    Q.   But as to files that were on his computer, there was

         4    not a file-sharing program that was cut on at that point in

         5    time or when any of the videos were downloaded, as far as

         6    you can tell?

         7    A.   Correct.        I have very little information about the

         8    totality of the sharing information through BitTorrent.

         9    There is just very little information available.              There's no

        10    transactional log records associated with the BitTorrent

        11    program.

        12    Q.   And the BitTorrent, the way that actually works, just

        13    to make sure I understand it, is as you are downloading

        14    something, other people have access to that same file?

        15    A.   Correct, to the portions of the file that you had

        16    already downloaded.         So, for example, if a file, as an

        17    example, is broken up into a hundred components, after you

        18    have downloaded the first 50, you are still in the process

        19    of downloading the last 50, those parts of the file that you

        20    have successfully downloaded are available for other

        21    BitTorrent users to get those parts of the file.

        22    Q.   So they would physically have to come in and get that

        23    from the program as well?

        24    A.   It is built into the program.              So it is a built-in

        25    capability of the program that that file is available.                 So




                                              112
USCA4 Appeal: 13-4576    Doc: 24      Filed: 11/22/2013   Pg: 117 of 336
                                                                           57
                                             FOTTRELL - CROSS


         1    the BitTorrent protocol recognizes the unique

         2    characteristics of that file, and that file is being

         3    available for other BitTorrent users to access.

         4    Q.   And as soon as that file does get downloaded onto a

         5    computer, in this case Mr. Dowell's, then that file sharing

         6    is no longer available and that file or any part of that

         7    file is not available?

         8    A.   No.     It depends on how the BitTorrent program is

         9    configured.      So as long as -- if, for example, the

        10    BitTorrent program was configured to share the MyShare

        11    folder directory, as long as the BitTorrent program is

        12    active, even though he is no longer downloading stuff -- it

        13    is idle, if you will, but the BitTorrent program is still

        14    running on the computer, then those things are still being

        15    shared.     If the person moves them out of that common share

        16    folder and puts them into another location that is not

        17    accessible by the BitTorrent program, then they would not be

        18    sharing them.        So it does depend on the specific

        19    configuration of the BitTorrent program.

        20    Q.   Or if he actually cut off the BitTorrent program?

        21    A.   Yes.     Absolutely.      As soon as you turn off the

        22    BitTorrent program, it is no longer being shared.

        23    Absolutely correct.

        24    Q.   And there was no evidence that he continued to run it

        25    or that other people continued to come in and get parts of




                                              113
USCA4 Appeal: 13-4576    Doc: 24      Filed: 11/22/2013   Pg: 118 of 336
                                                                                  58
                                             FOTTRELL - CROSS


         1    different files?

         2    A.   Correct.        There's no -- correct.          I have no information

         3    about that.      I have no transactional log records to show the

         4    duration of when it is being used and when it is not being

         5    used.     I just don't have any transactional log records

         6    associated with that.

         7    Q.   Thank you.

         8         As to Freenet, you indicated that there's a portion of

         9    a computer, when somebody has Freenet on their computer,

        10    that is specifically designated for Freenet users?

        11    A.   Yes.

        12    Q.   And do you know what portion of Mr. Dowell -- which

        13    computer was on and what portion of the hard drive was

        14    designated for that?

        15    A.   So there's a configuration folder.                I don't recall the

        16    specific folder name.          It is the default folder that is

        17    associated with the Freenet program.                It is going to create

        18    a data folder.        And in that data folder is this storage

        19    container that is available to the Freenet group, the

        20    Freenet project or the Freenet software, for this common

        21    sharing.

        22    Q.   So even if Mr. Dowell -- or me, for example, if I

        23    wanted to -- I had Freenet, downloaded something into that

        24    particular section --

        25    A.   Correct.




                                              114
USCA4 Appeal: 13-4576    Doc: 24    Filed: 11/22/2013   Pg: 119 of 336
                                                                                     59
                                           FOTTRELL - CROSS


         1    Q.   -- even if I don't have the file-sharing aspect of the

         2    program on, people can still come into my computer?

         3    A.   Yes.     Absolutely.    So as long as the Freenet program

         4    -- it is kind of the agreement when you install the Freenet

         5    program.     So part of the installation process of Freenet is

         6    that it designates this folder for storage on the Freenet

         7    program.     You can't look at this.         Even the defendant can't

         8    navigate to that folder and see this is a picture or this is

         9    an image, because it is stored in a proprietary format, but

        10    that folder is available for storage generically through the

        11    -- through the Freenet project.            And that's --

        12    Q.   You said the agreement of doing this.                 Is this a

        13    written agreement?       Is this something that you click on

        14    "Yes, I agree to allow part of my computer to be used" or it

        15    just automatically comes up as part of the program?

        16    A.   It is an automatic feature of the program.                 When I

        17    download and install and run the Freenet program, it is kind

        18    of the default configuration for how it operates.                 It is one

        19    of the components that makes Freenet work.

        20                THE COURT:     And was this defendant's computer

        21    configured according to the default configuration?

        22                THE WITNESS:     Yes, very standard configuration.

        23                THE COURT:     All right.      Let me ask you this

        24    question.      This defendant obviously had these videos, clips

        25    of just -- clips of which I just saw; okay?




                                            115
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 120 of 336
                                                                                 60
                                          FOTTRELL - CROSS


         1                THE WITNESS:     Yes.

         2                THE COURT:     And you said there was around 60 to 70

         3    minutes of it --

         4                THE WITNESS:     Yes.

         5                THE COURT:     -- of the raw footage on his hard

         6    drive; correct?

         7                THE WITNESS:     Yes.

         8                THE COURT:     Now, the information that is accessible

         9    to Freenet on his hard drive, is that just information that

        10    this defendant got from Freenet or would -- by means of

        11    accessing Freenet, is some of this raw footage that he took

        12    in these files accessible to Freenet?

        13                THE WITNESS:     No.    Absolutely not, Your Honor.

        14    That's a good point.

        15                So the Freenet software designates a folder for

        16    storage.     So it is just looking for a storage mechanism.

        17    Let's just say it is ten megabytes in size.               So part of the

        18    Freenet program is -- the default configuration is I'm going

        19    to reserve ten megabytes of disk space for storage for the

        20    Freenet.     It is certainly not related to his images,

        21    certainly not related to anything else on his computer, and

        22    it is certainly not related to anything that he

        23    specifically, if he did, physically uploaded to Freenet.

        24    That might be stored on somebody else's computer.               It is

        25    just a storage location for the entire Freenet program.




                                           116
USCA4 Appeal: 13-4576   Doc: 24   Filed: 11/22/2013    Pg: 121 of 336
                                                                                     61
                                         FOTTRELL - CROSS


         1               THE COURT:     Okay.     So that unless he moved

         2    -- unless there was evidence that he moved the images that

         3    he produced that we just saw a video of to Freenet, then

         4    there's no way for the other Freenet users to access it?

         5               THE WITNESS:     Correct, Your Honor.            Correct, Your

         6    Honor.

         7    BY MR. BOSTIC:

         8    Q.   And, in fact, there is no evidence that he ever moved

         9    any of the individual videos onto the Freenet area?

        10    A.   That is correct.

        11    Q.   One other thing that -- in response to the question the

        12    judge just asked you, you indicated ten megabytes is -- that

        13    is the maximum --

        14    A.   No, I'm just using ten megabytes as a reference.                  I

        15    don't recall what the specific number is.                 But just a

        16    concept, if you will.       The Freenet system, the Freenet

        17    network, requires storage for web pages, for information

        18    associated with Freenet.          So the Freenet software -- all of

        19    us collectively using Freenet -- all of the Freenet users

        20    collectively need disk space.           And they need redundant disk

        21    space.    So that if I'm using Freenet for a day or a week and

        22    then I disconnect from the Freenet network, I don't want to

        23    lose that data.

        24         So the agreement is, as using Freenet, I'm going to

        25    basically be using a -- designated a portion of my hard




                                          117
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 122 of 336
                                                                                62
                                          FOTTRELL - CROSS


         1    drive for storage.     And the Freenet software is going to

         2    replicate that content on multiple computers.             It is

         3    replicated so that one or more -- one or more of those

         4    Freenet users can disconnect from the Freenet network and

         5    the network still survives.         There's enough redundancy in

         6    the software that the information is stored on multiple

         7    computers and it can withstand multiple failures, multiple

         8    people withdrawing from the Freenet network.

         9         So as long as there's still a body, a corpus of people

        10    using Freenet, the contents there are still associated with

        11    it, but it's not tied to a specific person.

        12         I know -- there's no way that Mr. Dowell could know

        13    what content was -- what specific content was stored on his

        14    computer, but just generically that content was stored on

        15    his computer.

        16    Q.   But there's no information or no evidence whatsoever

        17    that the individual files or the compilation file, for that

        18    matter, ever ended up on Freenet?

        19    A.   Correct, I did not find that.

        20    Q.   Now, when you -- the individual videos that you have

        21    been talking about, those videos, if you actually look at

        22    them by file name, essentially go by numbers; is that

        23    correct?

        24    A.   Yes.

        25    Q.   And I believe 0, 01, 002, .avi?




                                           118
USCA4 Appeal: 13-4576   Doc: 24   Filed: 11/22/2013   Pg: 123 of 336
                                                                        63
                                         FOTTRELL - CROSS


         1    A.    Correct.

         2    Q.    And all of these are avi files?

         3    A.    Yes.

         4    Q.    And what was actually found on Mr. Dowell's computer

         5    were the individual videos of 001.avi, 002, 003, -4, -5, -6,

         6    -7?

         7    A.    Correct.

         8    Q.    And what ultimately ended up on -- as part of the

         9    compilation video ended up with a completely different file

        10    name?

        11    A.    Correct.

        12    Q.    Is that correct?

        13    A.    A new file name, a new 2011 file name.

        14    Q.    And, in fact, that file name is file -- F-I-L-E --

        15    space name dot wmv; correct?

        16    A.    Correct.

        17    Q.    And you did a complete exhaustive search of the -- each

        18    of the hard drives, each of the computers?

        19    A.    Yes, I did.

        20    Q.    And was that particular file ever found on any of

        21    Mr. Dowell's computers or hard drives?

        22    A.    No, it was not.

        23    Q.    Okay.   Now -- and that would indicate to you that that

        24    particular file never actually existed on any of those

        25    computers?




                                          119
USCA4 Appeal: 13-4576    Doc: 24      Filed: 11/22/2013   Pg: 124 of 336
                                                                                  64
                                             FOTTRELL - CROSS


         1    A.   I just don't have information.               It was not there at the

         2    point in time that it was seized.              At the point in time when

         3    the evidence was seized, that file name does not exist.

         4    That doesn't tell me -- it may have existed there at a

         5    previous point in time and been moved or deleted.                I just

         6    don't have -- at the point in time it was seized, that file

         7    name did not exist on the computer.

         8    Q.   And when you are actually doing a search of these, you

         9    are not actually doing by file name necessarily; you are

        10    also using a MD5 hash value?

        11    A.   Correct.        There's multiple ways that I could search for

        12    the file.      I could search for it by file name, which may or

        13    may not give me the answer that I'm looking for.                But I also

        14    have -- from a forensic point of view, every file name has a

        15    unique hash value associated with it.                So I could look for

        16    that particular hash value.            If the person renamed the

        17    file -- if I changed the name of it or changed part of the

        18    file name, I will still find the file by the unique contents

        19    of that file as designated by the hash value; that's

        20    correct.

        21    Q.   So if what is listed as compilation video file space

        22    name .wmv, if that was on his computer under a different

        23    name, it still would have had the same hash?

        24    A.   I would have found it; correct.

        25    Q.   Okay.     And there was no -- the hash value for that




                                              120
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 125 of 336
                                                                                  65
                                          FOTTRELL - CROSS


         1    particular file name was never found on any of Mr. Dowell's

         2    computers?

         3    A.   That's correct.

         4    Q.   Okay.     Now, there was -- in looking at his computer,

         5    there was a couple of different things as far as when

         6    programs were actually activated.

         7    A.   Okay.

         8    Q.   Correct?

         9    A.   Yes.

        10    Q.   And I want to turn your attention to July 25th of

        11    2011.

        12    A.   Okay.

        13    Q.   And July 25th, his particular computer -- if you look

        14    under one of the names, I believe John Tosh -- did not show

        15    that the laptop camera had been activated.                But if you go

        16    under a different user name, which I believe was like

        17    MCX-John Tosh -- so it was a separate user name -- it does

        18    show that the video camera was, in fact, activated.                Is that

        19    correct?

        20    A.   No, I'm not really sure, but let me just clarify.

        21         There's a user of the computer on the -- we're talking

        22    about the Toshiba computer.         So when you install the

        23    operating system, they ask you for a user name.                And there

        24    was a user John Tosh; that was a user of the computer.                   He

        25    referenced another user name, "MCX_JohnToshPC."                MCX stands




                                           121
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013    Pg: 126 of 336
                                                                                  66
                                          FOTTRELL - CROSS


         1    for Microsoft Windows media extender.              So basically

         2    Microsoft Windows has this new feature called media

         3    extender, so that your PC could be sharing files with your

         4    Xbox or your other device in your house.

         5         So as part of the operating system, this media extender

         6    user is defined.     So, basically, if I have videos on my

         7    computer, they would be available to my Xbox or my other

         8    personal devices in my house.            That's different than two

         9    different users' accounts on the computer.

        10                So to answer your second point, there's some

        11    discussion about the video camera being turned on.                And my

        12    analysis there was there was Google searches that the

        13    defendant had typed.      And I'm going to paraphrase it, "Why

        14    is my camera turned on?"           There was Google searches that

        15    had, you know, "Blue light video camera Toshiba,"

        16    indicating, you know, why is my video camera turned on?                  And

        17    there was certainly other Google searches related to -- I'm

        18    going to paraphrase, you know, "Was my webcam being hacked?"

        19    or "Was my web camera being turned on?"               The defendant was

        20    clearly doing Internet searches for information related to

        21    his computer being hacked and his webcam being hacked on or

        22    about that date that you mentioned, July 25th, 2011.

        23    Q.   On.     Now -- and you also -- when you used the -- when

        24    you went under -- it was MCX?

        25    A.   MCX, right.




                                           122
USCA4 Appeal: 13-4576    Doc: 24      Filed: 11/22/2013    Pg: 127 of 336
                                                                                      67
                                              FOTTRELL - CROSS


         1    Q.   And when you went under that and you made a

         2    determination CCleaner, in fact, was executed on July 27th;

         3    is that correct?

         4    A.   I don't recall -- right.               I don't recall the exact

         5    date, but right around that time.               So, yes, there was clear

         6    evidence that the person had gone out to the Internet,

         7    downloaded the CCleaner program, and then run it right

         8    away.     So there was clear evidence on a particular -- right

         9    around that time the person downloaded and ran the CCleaner

        10    program.

        11    Q.   And, in fact, there was also evidence that the

        12    particular videos of the 001.avi through the 007.avi, that

        13    all of those were accessed immediately prior to the CCleaner

        14    being executed?

        15    A.   Yes, it was.

        16    Q.   Okay.     So that would indicate to you that somebody had

        17    -- whether it was Mr. Dowell or his computer was hacked,

        18    somebody had accessed those videos, and then immediately

        19    after that Mr. Dowell ran the CCleaner video program?

        20    A.   Correct.        Correct.

        21         And so what we're looking at, we're looking at

        22    Microsoft Internet Explorer entries, log entries.                  To

        23    further answer your question, the person accessed those

        24    videos through the Windows Explorer program.                  So like the --

        25    part of the operating system navigated to the folder where




                                              123
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013     Pg: 128 of 336
                                                                               68
                                         FOTTRELL - REDIRECT


         1    those videos were and looked at the contents of those

         2    folders.

         3         It doesn't tell me -- it is not clear if the person

         4    played them, because it's a short window of time.             It is

         5    only a few seconds.       All of those file names have the exact

         6    same time stamp information.             So it's certainly not enough

         7    time for the person to play and view those videos.             But it

         8    is enough time to navigate to a folder and look at the

         9    contents of a folder at that particular point in time.

        10                MR. BOSTIC:     I have no further questions, Judge.

        11                THE COURT:    Thank you, Mr. Bostic.

        12                Any redirect?

        13                MS. KATZIN:     I just have one.

        14                THE COURT:    Please, take your time.

        15                              REDIRECT EXAMINATION

        16    BY MS. KATZIN:

        17    Q.   Mr. Fottrell, regarding the -- what Mr. Bostic was just

        18    asking you about, about the self-produced videos, there

        19    being an indication that they were accessed on July 27th,

        20    right before CCleaner was run --

        21    A.   Yes.

        22    Q.   -- when we use the term "accessed," I just want to

        23    clarify, was there any indication that those videos were

        24    uploaded to the Internet?

        25    A.   No.     I have no -- I have no information about those




                                           124
USCA4 Appeal: 13-4576    Doc: 24      Filed: 11/22/2013   Pg: 129 of 336
                                                                                    69
                                           FOTTRELL - RECROSS


         1    videos being uploaded.          And the fact that the CCleaner

         2    program was downloaded and run would have deleted some of

         3    that evidence that would have documented -- that potentially

         4    could have documented where it was located.                  But I just have

         5    no evidence, nothing that I can look to that says those

         6    files were uploaded or downloaded.               I just have no evidence

         7    to answer that.

         8    Q.   But regarding the access that we do see, are you able

         9    to conclude that that does not reflect anybody moving those

        10    files off of the computer?

        11    A.   Correct.        That is just somebody navigating to the

        12    folder and displaying the contents of the folder and looking

        13    at those videos that were there.              It is accessing, not even

        14    viewing.     It is navigating your computer to the folder that

        15    those videos were in.

        16    Q.   So, for example, if you were in that folder and

        17    highlighted all six videos at one time, that could account

        18    for that entry in the Internet Explorer history?

        19    A.   Yes, it could have.

        20    Q.   Thank you.

        21                THE COURT:      Any recross?

        22                MR. BOSTIC:      Judge, just about two quick questions.

        23                               RECROSS-EXAMINATION

        24    BY MR. BOSTIC:

        25    Q.   When you say they were activated, it could also have




                                              125
USCA4 Appeal: 13-4576    Doc: 24    Filed: 11/22/2013   Pg: 130 of 336
                                                                                  70
                                         FOTTRELL - RECROSS


         1    been that somebody actually pulled them up, looked at them

         2    momentarily, shut them down, and then actually downloaded

         3    them off the computer?

         4    A.   I don't think that's enough time to actually view

         5    them.     If you look at that record, it is all with the same

         6    second.     It is all the same time stamp information.             So I

         7    have no -- there's no progression of time between the first

         8    one and the last one in the series.             It all has the same

         9    time stamp.      So, based on that, I can't draw any information

        10    of them actually viewing anything.             It is just navigating to

        11    a folder at a particular moment in time.

        12    Q.   Actually access.       Okay.

        13                MR. BOSTIC:    No further questions, Judge.

        14                THE COURT:    Okay.     Any further questions for this

        15    witness?     May he be excused?

        16                MS. KATZIN:    Yes, Your Honor.

        17                THE COURT:    Thank you.       You may stand down,

        18    Mr. Fottrell.

        19                Call your next witness.

        20                MR. BOSTIC:    Judge, my client has requested a break

        21    after the witness got done.

        22                THE COURT:    Okay.     We can do that.        We can also

        23    take -- let's just see.         It is ten minutes until 12.

        24                What would the government propose to put on as your

        25    next bit of evidence?




                                            126
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013     Pg: 131 of 336
                                                                                      71



         1                MS. HEALEY:     Judge, the only other witness that we

         2    will have will be Dr. Moore.             And she goes more towards the

         3    reasonableness of the sentence and our sentencing

         4    recommendation.     I think we're prepared to argue --

         5                THE COURT:     Okay.   Do you have evidence that you

         6    want to put on with regard to these guidelines issues?

         7                MR. BOSTIC:     With -- I do have one witness I do

         8    wish to call very briefly to clarify a couple of things that

         9    Mr. Fottrell said.

        10                THE COURT:     Okay.   Let's do this.           Let's take a

        11    ten-minute recess.        We'll hear whatever evidence, we'll deal

        12    with the guidelines issues, and then we'll proceed from

        13    there.    Okay?

        14                MS. HEALEY:     Thank you.

        15                THE COURT:     So let's recess until 12 noon.

        16                Ask the marshal to declare a recess.

        17         (Recess at 11:50 a.m.)

        18         (Call to Order of the Court at 12:05 p.m.)

        19                THE COURT:     Okay.   On the issue of the -- that

        20    we're talking about, these objections to the presentence

        21    report and the guideline calculations, does the government

        22    have any other evidence you want to put on?

        23                MS. HEALEY:     Not evidence, Your Honor.            Just

        24    argument.

        25                THE COURT:     Okay.   How about the defendant?




                                           127
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 132 of 336
                                                                          72
                                          GARRETSON - DIRECT


         1                MR. BOSTIC:     The defense does have one witness.

         2                THE COURT:     Okay.   Call your witness.

         3                MR. BOSTIC:     Your Honor, we would like to call

         4    Mr. Alan Garretson.

         5                THE COURT:     All right.

         6                  ALAN GARRETSON, DEFENSE WITNESS, SWORN

         7                THE COURT:     Good afternoon, sir.

         8                THE WITNESS:     Good afternoon.

         9                               DIRECT EXAMINATION

        10    BY MR. BOSTIC:

        11    Q.   State your name for the Court.

        12    A.   Alan James Garretson.         It is A-L-A-N, James,

        13    G-A-R-R-E-T-S-O-N.

        14    Q.   Mr. Garretson, you currently do have a computer

        15    investigation firm?

        16    A.   Yes, I do.     I'm self-employed, but as a computer

        17    forensic and cell phone forensic examiner.

        18    Q.   And as part of that, do you also have a curriculum

        19    vitae that has been prepared?

        20    A.   Yes, I do.

        21    Q.   And does that go into all of the prior experience and

        22    training that you have had as a --

        23    A.   Yes, it does.

        24    Q.   -- computer forensic analyst?

        25    A.   Yes.




                                           128
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 133 of 336
                                                                                    73
                                        GARRETSON - DIRECT


         1               MR. BOSTIC:    Your Honor, I have marked as Defense

         2    Exhibit No. 1 -- if I could approach?

         3               THE COURT:    Certainly -- yes.          Certainly.   Go

         4    ahead.

         5    BY MR. BOSTIC:

         6    Q.     And if you would describe to the Court, is this the

         7    curriculum vitae?

         8    A.     Yes, it is.

         9    Q.     And that does accurately state what your credentials

        10    are?

        11    A.     Yes, sir.

        12               MR. BOSTIC:    Your Honor, we move to have this

        13    admitted as Defense Exhibit No. 1.

        14               THE COURT:    Any objection?

        15               MS. KATZIN:    No, Your Honor.

        16               THE COURT:    It will be received without objection.

        17           (Defense Exhibit No. 1 was marked for identification

        18    and received in evidence.)

        19    BY MR. BOSTIC:

        20    Q.     Now, Mr. Garretson, I do want to go through a couple of

        21    your qualifications.      If you can just briefly outline what

        22    your career is, dating back, I believe, all of the way to

        23    1968, in the computer field?

        24    A.     Right.   In the late '60s I was employed by IBM as a

        25    systems engineer, designing computer systems for customers;




                                           129
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013     Pg: 134 of 336
                                                                               74
                                        GARRETSON - DIRECT


         1    then became an FBI agent, was in the field for seven years,

         2    transferred to headquarters, the technical service division,

         3    where I did redesign the NCIC network, was in charge of

         4    developing the major case investigative system, attended

         5    numerous training and schools from other government agencies

         6    during that time for computer forensics.

         7         After that I was on the -- assigned TDY to the west

         8    coast, actually undercover, selling stolen computer secrets

         9    from IBM to various people.         And during that time I was back

        10    with IBM, learning some -- again, there are trade secrets,

        11    if you will, on computers.         Next time I was back in

        12    computers I was back in the Washington field office on the

        13    foreign counterintelligence side of the House and ran a

        14    squad where we did technical penetrations, and as a result

        15    of that did a lot of work with computers and PCs and file

        16    systems.     And I think the rest of that is classified.          But,

        17    anyway, spent a lot of time working with computers and file

        18    systems during that.

        19         After that went back to IBM, doing all of their theft

        20    of technology, industrial espionage cases all over the

        21    world.     Retired from there and set up a business

        22    approximately ten years ago.             And have attended numerous

        23    weeks of training from, like, Guidance Software, the makers

        24    of EnCase; Forensic Toolkit from AccessData; Paraben Network

        25    E-mail Examiner, weeks of training there; and several weeks




                                           130
USCA4 Appeal: 13-4576   Doc: 24   Filed: 11/22/2013    Pg: 135 of 336
                                                                        75
                                        GARRETSON - DIRECT


         1    of training every year at annual conferences up through this

         2    point.

         3    Q.   Is a lot of what your current occupation is in the

         4    computer forensics examination?

         5    A.   That's almost 100 -- 100 percent is in computer and

         6    cell phone forensics.

         7    Q.   And have you ever been certified -- excuse me.

         8         Have you ever been declared as an expert in the field

         9    of computer forensics?

        10    A.   Yes, in state courts in Mississippi and North Dakota.

        11    Q.   And have you ever been denied --

        12    A.   No, I have not.

        13               MR. BOSTIC:    Your Honor, we would move to have him

        14    declared as a computer forensic specialist.

        15               THE COURT:    Any objection?

        16               MS. KATZIN:    No.

        17               THE COURT:    Yes, he'll be received as a computer

        18    forensics specialist expert.

        19               MR. BOSTIC:    Expert.       Excuse me.

        20    BY MR. BOSTIC:

        21    Q.   I want to turn your attention to a lot of the testimony

        22    of Mr. Fottrell.    A lot of the opinions that he gave on the

        23    stand are things that you would confirm; is that correct?

        24    A.   I'm sorry, that I would what?

        25    Q.   A lot of the conclusions that he drew on the stand are




                                          131
USCA4 Appeal: 13-4576    Doc: 24      Filed: 11/22/2013    Pg: 136 of 336
                                                                                     76
                                           GARRETSON - DIRECT


         1    things that you would confirm; is that correct?

         2    A.   Absolutely.

         3    Q.   Now, there was a couple of things that I just wanted to

         4    hit on quickly.        We went into it with Mr. Fottrell and I

         5    want to go through it with you as well.

         6         When you did your examination, you actually obtained

         7    what is called a forensic image of each of the computer hard

         8    drives of Mr. Dowell?

         9    A.   That's correct.

        10    Q.   And how -- when you went about doing that, you did not

        11    get the actual videos or visual images; is that correct?

        12    A.   No, sir.        They would have been -- they were on the

        13    forensic image.        I had the forensic image of each of the

        14    systems.     And the forensic image contains everything that

        15    was on the computers.          I never opened or viewed any of the

        16    video files or picture files.               I operated strictly from file

        17    names and MD5, or message digest 5, hashes.                   And I reviewed

        18    event logs, registry entries, but never looked at or viewed

        19    any of the images or videos.

        20    Q.   And where was that --

        21    A.   Those exams were conducted at the Frederick County

        22    Sheriff's Office.

        23    Q.   Okay.     And you currently don't have any of those videos

        24    or pictures; correct?

        25    A.   That's absolutely correct.




                                              132
USCA4 Appeal: 13-4576    Doc: 24    Filed: 11/22/2013   Pg: 137 of 336
                                                                              77
                                         GARRETSON - DIRECT


         1    Q.   Okay.     Now, when you were doing your examination, you

         2    actually did put on your computer all of the -- what I

         3    believe you have referred to as digital signatures; is that

         4    correct?

         5    A.   Yes.     The process is that you have to create a case, so

         6    to speak.      And I used a tool called Forensic Toolkit, FTK.

         7    And in creating that case, the only thing I did was expand

         8    the compound files, any container files that would have been

         9    zipped files or PSDs, files like that, and created a digital

        10    fingerprint, a 32-digit character called an MD5 hash, for

        11    each of the files.      And there were like 3,224,000 files in

        12    total that I created the digital fingerprint for.

        13    Q.   Now, just to go ahead and move this along.            You had the

        14    MD5 hash value for each of the individual videos; is that

        15    correct?

        16    A.   Yes, I did.     Mr. Fottrell had furnished me the file

        17    names and the MD5 hash of the individual videos as well as

        18    an MD5 hash of the compilation video and the file name of

        19    the compilation video.

        20    Q.   And the compilation video is the one that was actually

        21    discovered in Denmark, as far as you understand?

        22    A.   As far as I understand.          I don't have any direct

        23    knowledge of that.

        24    Q.   Okay.     Now, you did a complete search of all of the

        25    hard drives that Mr. Dowell had; is that correct?




                                            133
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 138 of 336
                                                                             78
                                        GARRETSON - DIRECT


         1    A.   Yes, sir.

         2    Q.   And were you able to find each of the individual videos

         3    on those hard drives?

         4    A.   Yes.     The individual videos were located both by file

         5    name and by the MD5 hash value.

         6    Q.   And the one video which is -- actually goes by file

         7    name space or file space name dot wmv, you also had that as

         8    well as the MD5 hash value?

         9    A.   That -- I had that file name and I had the MD5 hash

        10    value furnished by Mr. Fottrell, yes, sir.

        11    Q.   And you did a complete search of all of the hard drives

        12    of Mr. Dowell's computers?

        13    A.   Yes, I did.

        14    Q.   And were you able to find that --

        15    A.   No, that --

        16    Q.   -- anywhere?

        17    A.   -- that file was not on any of the -- any of the three

        18    million pieces of evidence -- or three million files, was

        19    not there.

        20    Q.   Okay.     Now, I want to turn your attention to around

        21    July 25th to July 27th of 2011.           You did a search of the

        22    computer concerning that particular time frame and the web

        23    camera execution and the CCleaner execution; is that

        24    correct?

        25    A.   That's correct.     And the -- you do that by analyzing




                                           134
USCA4 Appeal: 13-4576    Doc: 24     Filed: 11/22/2013     Pg: 139 of 336
                                                                                 79
                                          GARRETSON - DIRECT


         1    the Internet -- temporary Internet files, the Internet

         2    cache, and -- for program execution, the registry, which is

         3    basically the database that makes your whole system run.

         4    Q.   Okay.

         5                MR. BOSTIC:     Your Honor, could I approach the

         6    witness?     I have two exhibits.

         7                THE COURT:     Certainly.         Absolutely.

         8    BY MR. BOSTIC:

         9    Q.   Now, I want to show you what has been marked as Defense

        10    Exhibit No. 2 and also what has been marked as Defense

        11    Exhibit No. 3.       If you would identify those to the Court and

        12    describe what they show.

        13    A.   Okay.     Defense Exhibit No. 2 came from the registry of

        14    the Toshiba computer.         And under what is called the user

        15    assist key, it indicates that a program called

        16    twebcamera.exe was executed the first time on July 25th,

        17    2011 at 2100 hours UTC time.               And that program had been

        18    executed two times.

        19         Exhibit No. --

        20    Q.   The most recent one would be the July 25th time; is

        21    that correct?

        22    A.   That would be the -- that would be the first time that

        23    it was activated.        So it was --

        24                THE COURT:     July 25th?

        25                THE WITNESS:      Of 2011 at 2123 UTC time.




                                             135
USCA4 Appeal: 13-4576   Doc: 24   Filed: 11/22/2013   Pg: 140 of 336
                                                                              80
                                       GARRETSON - DIRECT


         1               THE COURT:   Okay.

         2    BY MR. BOSTIC:

         3    Q.   Now, the second exhibit shows that the CCleaner was

         4    activated and run on July 27th; is that correct?

         5    A.   Yes, it did.   And it came again from the user assist

         6    key from the user's ntuser.dat file.            And it was executed

         7    one time, on July 27th, 2011, at 3:26 UTC time.

         8    Q.   Now, on both of those, how did you come about getting

         9    those, as far as -- did you use a print screen?

        10    A.   I used a print screen, yes.         I used a program from

        11    AccessData called Registry Viewer, which allows you to view

        12    the contents of static registries.           And I drilled down to

        13    this key and value.     And when this came up, I did a print

        14    screen to obtain these.

        15    Q.   And what that basically shows is that the webcam on the

        16    laptop was executed on July 25th; correct?

        17    A.   There's a program on there called twebcamera.exe that

        18    was executed at that time, yes, sir.

        19    Q.   And that is what would activate the web camera?

        20    A.   Yes, sir.

        21    Q.   And there's also -- it shows the CCleaner.exe was run

        22    on July 27th, 2011?

        23    A.   That's correct.

        24    Q.   And that basically means -- when we were talking

        25    earlier about the program was accessed, it was actually




                                          136
USCA4 Appeal: 13-4576    Doc: 24     Filed: 11/22/2013    Pg: 141 of 336
                                                                                81
                                          GARRETSON - DIRECT


         1    accessed at that time?

         2    A.   Yes, sir.       It was actually run at that time.

         3    Q.   Okay.

         4    A.   Executed.

         5                MR. BOSTIC:     Judge, we would move to admit Defense

         6    Exhibit 2 and 3 into evidence.

         7                THE COURT:     Any objection?

         8                MS. KATZIN:     No, Your Honor.

         9                THE COURT:     Received without objection.

        10                (Defense Exhibit Nos. 2 and 3 were marked for

        11    identification and received in evidence.)

        12    BY MR. BOSTIC:

        13    Q.   Now, the last matter I wanted to get to, you reviewed

        14    Mr. Dowell's computer to determine whether or not it was

        15    operating continuously from July 25th to July 27th; is that

        16    correct?     In other words, from the time --

        17    A.   Right.      I'm trying to recall the last boot -- the last

        18    boot session indicated it was turned on on the 25th, I

        19    believe.     Right.

        20    Q.   Okay.     And when was -- and do you have any evidence to

        21    show that the computer was cut off after that?

        22    A.   Not until -- when you review a file called the

        23    setupapi.dev.log file, it would show the next activity was

        24    approximately two days later.              There was not another boot

        25    session between that time.           So that would indicate the




                                             137
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 142 of 336
                                                                                82
                                        GARRETSON - DIRECT


         1    computer remained on during that time.

         2    Q.   And -- so if the web camera had been activated on the

         3    25th and it had not been shut off, it would have continued

         4    on until the 27th?

         5    A.   It could have.     I don't know whether it -- whether it

         6    was turned off after that time or not.              This just shows you

         7    the time the program was executed that would turn it on.

         8    Q.   Okay.     And as Mr. Fottrell testified in his testimony,

         9    that log does not show when it was actually cut off; it just

        10    shows when it was accessed?

        11    A.   Right.

        12    Q.   Okay.

        13         (Pause.)

        14    Q.   Now, let me just back you up.           When we actually

        15    originally talked about having you do this, we went over and

        16    met with Mr. Dowell; is that correct?

        17    A.   Yes, sir.

        18    Q.   And in conversations we had with Mr. Dowell, did he

        19    describe to you what had actually happened as best he could

        20    from his --

        21    A.   Yes.     As best he could remember, he was in the Detroit

        22    area, at an Extended Stay Hotel in late July or early August

        23    of 2011.     And one evening, when he had his computer on, the

        24    webcam activated and a black box appeared on the screen,

        25    which he described as a telnet box, which would appear as a




                                           138
USCA4 Appeal: 13-4576    Doc: 24     Filed: 11/22/2013   Pg: 143 of 336
                                                                                  83
                                            GARRETSON - DIRECT


         1    black box come up.          And there were words displayed on his

         2    computer to the effect of "Don't turn this machine off," or

         3    words to that effect.          And he said that that freaked him

         4    out.      He did not know what caused that.            He was -- did have

         5    his Xbox that he was sharing with his computer at that time,

         6    but he -- he did not know what caused that activity.

         7    Q.     Okay.    He stated to you he did not actually take any of

         8    the individual videos and ever upload that; is that correct?

         9    A.     Yes.    He was very adamant that he had never uploaded

        10    any videos to the Internet.

        11    Q.     Okay.    And essentially the -- he also advised you that

        12    he had immediately downloaded or run the CCleaner after that

        13    event occurred?

        14    A.     Yes, he did.

        15    Q.     Soon after that?

        16    A.     Yes, sir.

        17    Q.     Now, there were also --

        18                  MR. BOSTIC:     If I could have one second, Judge.

        19           (Pause.)

        20    BY MR. BOSTIC:

        21    Q.     Now, Mr. Dowell also advised you that at some later

        22    date he was actually talking to a -- via the Internet, by

        23    instant messaging, Morgan Dowell; is that correct?

        24    A.     Yes, he had a Google chat with Morgan Dowell.

        25    Q.     And as part of that he actually told you that he had




                                             139
USCA4 Appeal: 13-4576   Doc: 24   Filed: 11/22/2013   Pg: 144 of 336
                                                                                   84
                                        GARRETSON - DIRECT


         1    mentioned to Morgan that his computer had been hacked?

         2    A.   That's correct.     He said right after that happened he

         3    had a video chat and it was -- he described what had

         4    happened with his webcam and the black box popping up on his

         5    computer to Morgan Dowell.

         6    Q.   And were you able to go into his Gmail account and

         7    actually download a printout version of that?

         8    A.   There's -- not directly from his Gmail account.             I

         9    didn't go into his Gmail account, but -- no -- yes, there is

        10    a printout version of that that came from a cache file.

        11    Q.   Okay.

        12               MR. BOSTIC:    Your Honor, I have already previously

        13    filed with the sentencing memorandum Defense Exhibit No.

        14    -- Defense Exhibit A, which is -- has a printout version of

        15    the chat with Morgan Dowell in which he mentions that his

        16    computer was hacked.

        17               THE COURT:    Yes.     And I read that.       And it is

        18    already in the record.

        19               MR. BOSTIC:    Okay.     Thank you.

        20               Judge, I don't believe I have any further

        21    questions.

        22               THE COURT:    Thank you, Mr. Bostic.

        23               Any cross-examination?

        24               MS. KATZIN:    Just a couple of questions.

        25




                                          140
USCA4 Appeal: 13-4576   Doc: 24   Filed: 11/22/2013   Pg: 145 of 336
                                                                       85
                                        GARRETSON - CROSS


         1                             CROSS-EXAMINATION

         2    BY MS. KATZIN:

         3    Q.   Good afternoon.    I just have a few follow-up questions,

         4    just to clarify a couple of points.

         5         Regarding that entry in the Internet history from July

         6    25th, where you see that the webcam was executed --

         7    A.   Right.

         8    Q.   -- looking at that entry, you can't tell how the webcam

         9    was activated on the computer?

        10    A.   That's correct.    It just shows that the program was

        11    executed.

        12    Q.   So if the user of the computer had chosen to use the

        13    webcam, you would see the same sort of entry on the Internet

        14    Explorer history?

        15    A.   That actually came from the registry, the user assist

        16    key of the registry.     And, yes, it just shows the program

        17    was executed at that time.

        18    Q.   Okay.    And regarding this, like, black box message that

        19    Mr. Dowell described to you, you don't know exactly what

        20    that is or what that meant, do you?

        21    A.   I have no idea.

        22    Q.   Okay.    And, in fact, when you reviewed the computers,

        23    you didn't find any evidence that there had been a virus on

        24    the computer or that the computer had been hacked; correct?

        25    A.   I didn't run any virus scans on the evidence files.




                                          141
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 146 of 336
                                                                              86
                                         GARRETSON - CROSS


         1    Q.   Well, it is true that in your report, as part of your

         2    conclusion, you stated, "I did not find any evidence that

         3    would support or refute Dowell's claim that his Toshiba

         4    laptop was taken over by an unknown person while he was at

         5    the hotel in Detroit"; is that correct?

         6    A.   That's correct.

         7    Q.   And even hypothetically, just for the purpose of the

         8    question, if we say that there was a virus or that the

         9    computer was compromised in some way by a hacker at some

        10    point, we have no idea what virus that was or what the

        11    capabilities of the hacker would have been; correct?

        12    A.   That's correct.

        13    Q.   And also there's no evidence showing that even

        14    -- there's no evidence showing that the self-produced videos

        15    were ever uploaded from any of Mr. Dowell's computers to the

        16    Internet; correct?

        17    A.   Are you -- if you are referring to the .001 through

        18    007, those files?

        19    Q.   Correct.

        20    A.   Yes, I have no evidence to show that.

        21    Q.   Okay.    Thank you.

        22               THE COURT:    All right.       Any redirect?

        23               MR. BOSTIC:     No redirect.

        24               THE COURT:    Thank you, Mr. Garretson.        Appreciate

        25    you being here.     You may stand down.




                                           142
USCA4 Appeal: 13-4576   Doc: 24     Filed: 11/22/2013   Pg: 147 of 336
                                                                                87



         1               THE WITNESS:      Okay.

         2               THE COURT:     Okay.      Mr. Bostic, any other evidence

         3    on these guidelines issues?

         4               MR. BOSTIC:     No other evidence on the guidelines

         5    issues.

         6               Judge, could I release him as a witness?

         7               THE COURT:     Oh, absolutely.

         8               Thank you.     You are free to go.

         9               And I'll admit all of your exhibits --

        10               MR. BOSTIC:     Thank you, Judge.

        11               THE COURT:     -- if I haven't already done that.

        12               Okay.    All right.       Let's hear argument on the

        13    guidelines issues.

        14               MS. KATZIN:     Your Honor, I'll briefly address the

        15    distribution issue and then Ms. Healey will address the

        16    other issues.

        17               Regarding the distribution enhancement, I think it

        18    is clear from the testimony that we can't say exactly how

        19    these videos got onto the Internet or into the custody of

        20    the defendant's sister in Florida, but we do know a number

        21    of things.

        22               We know, first, that the defendant obviously

        23    produced all of the videos.           We also know that on his

        24    computer he had the video-editing software which has the

        25    capability of creating compilations --




                                            143
USCA4 Appeal: 13-4576   Doc: 24      Filed: 11/22/2013   Pg: 148 of 336
                                                                               88



         1                THE COURT:     The distribution enhancement is only in

         2    paragraph 110.

         3                MS. KATZIN:     Right.

         4                THE COURT:     And that's related to Count Thirteen.

         5                MS. KATZIN:     Right.

         6                THE COURT:     Okay.     And as I understand it, the

         7    factual basis for Count Thirteen is that the defendant had

         8    all of these images on his computer and he traveled to

         9    California; correct?

        10                MS. KATZIN:     Correct.

        11                THE COURT:     All right.       That's the factual basis

        12    for Count Thirteen.

        13                MS. KATZIN:     And including the self-produced --

        14                THE COURT:     Including the self-produced images.

        15    Okay.     All right.     Go ahead.

        16                MS. KATZIN:     Right.

        17                So regarding -- at least -- well, what we're

        18    focused on -- because we don't have -- we don't have

        19    definitive evidence of distribution of any particular file,

        20    so basically our argument is circumstantial evidence of the

        21    distribution --

        22                THE COURT:     Well, why doesn't the two-point

        23    enhancement apply simply by virtue of the BitTorrent, that

        24    Mr. Fottrell testified to, or the Freenet software?             Why

        25    doesn't that plainly apply as to that?




                                             144
USCA4 Appeal: 13-4576   Doc: 24   Filed: 11/22/2013   Pg: 149 of 336
                                                                                  89



         1               MS. KATZIN:    Well, in general terms it could, Your

         2    Honor.    We don't have the evidence to point to a specific

         3    image that was distributed.        So in general terms, that

         4    capability was on the computer.          But in terms of being able

         5    to identify a particular image that --

         6               THE COURT:    Isn't it reasonable to assume, given

         7    the fact that he had over 70,000 images on his computer and

         8    he was downloading these images, that that information would

         9    have been freely -- freely accessible?             I mean -- and he was

        10    on BitTorrent; that's peer to peer.           When he's downloading

        11    stuff, other people can take it from him.                When he's on

        12    Freenet, a part of his hard drive is available for others to

        13    come in and access.      And when you have got 70,000 images on

        14    your computer in the percentages that you talked about

        15    earlier, why isn't it reasonable to assume that such images

        16    were transported?

        17               MS. KATZIN:    I think it is reasonable to assume

        18    that some images would have been at some point.                Just for

        19    purposes of -- I don't want to mislead the Court, because we

        20    cannot point to a particular image, so --

        21               THE COURT:    Okay.    Then why do you believe the

        22    two-point enhancement is appropriate under 2G2.2(b)(3)(F)?

        23               MS. KATZIN:    Well, because we know that the self-

        24    produced images did appear elsewhere, so they had to have

        25    come -- you know, tracing it back, they had to have come




                                          145
USCA4 Appeal: 13-4576   Doc: 24       Filed: 11/22/2013   Pg: 150 of 336
                                                                                    90



         1    from the defendant.         That's what we were focused on in our

         2    distribution analysis, because those are the only specific

         3    images that we can point to having been found elsewhere,

         4    from the defendant's computer elsewhere.

         5               THE COURT:       But you don't know how they were

         6    transported.        You don't know that he ever made those -- or

         7    how they -- you don't know if he ever uploaded those or

         8    distributed those on the computer.               You don't have any

         9    evidence of that.

        10               MS. KATZIN:       Correct.       So it is basically a

        11    circumstantial argument to say that he had the capability of

        12    making compilations; we know he used that software to make

        13    some compilations, even though the compilation that was

        14    found in Denmark was not on his computer.

        15               We know that -- I think one of the most interesting

        16    points to support our argument regarding the self-produced

        17    images is that the file names that are referenced on that

        18    first text slide in the compilation video, where they

        19    reference the file names as "new stuff" 001 through 007,

        20    match the file names of the clips that were recovered from

        21    the sister in Florida.

        22               So, basically, Mr. Fottrell's point was that the

        23    strongest evidence we have showing how -- where -- trying to

        24    follow the path of these videos from the defendant's

        25    computer onto the Internet is that -- because the only place




                                              146
USCA4 Appeal: 13-4576   Doc: 24     Filed: 11/22/2013     Pg: 151 of 336
                                                                                   91



         1    where those videos are named "new stuff," then the rest of

         2    the tag, is on that media that the defendant's sister had in

         3    Florida, which suggests that they were named on that media

         4    and then put onto the Internet in some way.

         5               So because they were found in the defendant's

         6    sister, that's obviously a very close relationship in terms

         7    of looking at the defendant's responsibility for --

         8               THE COURT:     But you have no evidence how those came

         9    into the possession of the defendant's sister.

        10               MS. KATZIN:     Correct.         Right.     I mean, this -- it

        11    is what it is.      But, you know, it is our position that but

        12    for the defendant producing them, saving them to his

        13    computer and handling them however he did, you know,

        14    following their production, they wouldn't have ended up on

        15    the Internet, they wouldn't have ended up in his sister's

        16    custody, and they are going to stay on the Internet forever.

        17               THE COURT:     This is res ipsa.            I mean, that is

        18    almost what you are arguing.              He produced them; they are

        19    found in Denmark; therefore, he must have distributed them.

        20               MS. KATZIN:     Right.         And also the absence of any

        21    conclusive evidence that a hacker came into his computer --

        22               THE COURT:     He says it was hacked and then he

        23    cleaned -- he tried to clean things up.                 I mean, he says it

        24    was hacked.     And there is some evidence here that his

        25    computer was hacked, as we have heard.




                                            147
USCA4 Appeal: 13-4576    Doc: 24      Filed: 11/22/2013   Pg: 152 of 336
                                                                                      92



         1                MS. KATZIN:      Yeah, but even if we accept the

         2    argument that his computer was hacked, there's no evidence

         3    that that hacker had the capability of reaching in and

         4    taking files.        There is no indication that those files were

         5    ever taken from the computer --

         6                THE COURT:      And there's no indication that they

         7    weren't.

         8                MS. KATZIN:      Correct.

         9                THE COURT:      It is speculative.

        10                MS. KATZIN:      Both ways, yes.

        11                THE COURT:      But it is your burden.

        12                MS. KATZIN:      Well, that's our argument.             It is

        13    basically the circumstantial argument that but for the

        14    defendant's actions, the videos would not have ended up on

        15    the Internet.

        16                THE COURT:      All right.       And your argument is

        17    focused on the videos he produced.

        18                MS. KATZIN:      Right, because those are the only

        19    actual files that we can identify came from the defendant's

        20    collection and appeared elsewhere.

        21                THE COURT:      All right.       Okay.     Thank you.

        22                Let's hear about the other guidelines issues.

        23                We'll hear from the government all at one time and

        24    then I'll hear from you.

        25                MR. BOSTIC:      Oh, okay.




                                              148
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 153 of 336
                                                                              93



         1                MS. HEALEY:    Judge, with respect to the vulnerable

         2    victim enhancement, I understand Mr. Bostic's argument that,

         3    generally speaking, any type of enhancement that already is

         4    taken into consideration under an offense guideline is

         5    generally not grounds to have a special offense

         6    characteristic added.       So the usual view is if age is

         7    accounted for in a guideline, you are not going to ask for

         8    the vulnerable victim enhancement for unusual age.

         9                THE COURT:    And the guidelines say that.

        10                MS. HEALEY:    Yes, they do.       And so we acknowledge

        11    that.

        12                However, as the Court has seen -- as the Court

        13    noted before, the Jenkins case out of the Fifth Circuit --

        14    that's 712 F.3d 209, which was issued March 20th of this

        15    year -- and the Ninth Circuit case of U.S. v. Wright --

        16    that's W-R-I-G-H-T, 373 F.3d 935; that was issued in 2004 --

        17    those support the use of a vulnerable victim enhancement in

        18    certain situations for age.         And we believe it applies in

        19    this particular case.

        20                I would note that Jenkins, which, of course, is a

        21    pretty new case, cited --

        22                THE COURT:    Jenkins just follows Wright.

        23                MS. HEALEY:    Correct.

        24                THE COURT:    What are the age of the children in

        25    Jenkins?




                                           149
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 154 of 336
                                                                                      94



         1                MS. HEALEY:     Jenkins talks about babies and

         2    toddlers.     However --

         3                THE COURT:     The majority of the images in Jenkins

         4    were kids seven to ten, I thought.

         5                MS. HEALEY:     Actually, what it says -- that may be

         6    right.    I think it says on page -- hold on one second.

         7    Early on in the decision --

         8                THE COURT:     It is hard to parse.           It says right

         9    here --

        10                MS. HEALEY:     It is.

        11                THE COURT:     Well, I have it on a Post-it somewhere.

        12                MS. HEALEY:     I think it is page -- yeah, it's at

        13    page 211.     It says, "The presentence report stated that 36

        14    image files and 110 video files depicting child sexual

        15    exploitation were found on Jenkins' computer.                 The PSR

        16    described the images and videos as follows:

        17                "The images and videos were prepubescent children,

        18    a majority between the ages of seven and ten and a small

        19    number of them were infants/toddlers.             The images and videos

        20    reflected the penetration of an adult penis into a child's

        21    vagina or anus" -- and then it goes into the damage and

        22    talks also about some bondage images.             But it looks like, as

        23    the Court has noted, the majority were between seven and

        24    ten, clearly prepubescent, and then a small number were

        25    infants and toddlers.




                                           150
USCA4 Appeal: 13-4576    Doc: 24      Filed: 11/22/2013   Pg: 155 of 336
                                                                               95



         1                That case, notably, was not even a production

         2    case.     That is a trafficking case or otherwise other child

         3    pornography offenses.          I believe it was -- the defendant in

         4    that case was convicted of receiving child pornography,

         5    distributing child pornography, possessing child

         6    pornography, and receiving obscene material depicting sexual

         7    abuse of a minor, and possessing obscene material depicting

         8    the sexual abuse of a child.

         9                So in that case I think it is relevant because,

        10    when we consider not only the videos in this case, the self-

        11    produced videos, which in large part show the young three-

        12    year-old victim, Minor A in this case, we also have -- if

        13    the Court wants to consider based on Jenkins and if the

        14    Court has looked at the first sealed exhibit we put into

        15    evidence, there are other pictures in the defendant's

        16    collection that portray babies in sexually explicit

        17    conduct.     So just like Jenkins --

        18                THE COURT:      Jody, let me see that exhibit.   I

        19    haven't seen that.        Let me see that, Jody.

        20                Go ahead.

        21                MS. HEALEY:      So the government's argument is, you

        22    know, based on Jenkins and Wright, the Court can consider

        23    adjusting this offense level for two levels under the

        24    vulnerable victim enhancement.

        25                The cases do discuss, you know, obviously




                                              151
USCA4 Appeal: 13-4576   Doc: 24     Filed: 11/22/2013   Pg: 156 of 336
                                                                              96



         1    vulnerability may depend on a particular child.            The Court

         2    watched some of the videos, of course, that we put into

         3    -- or the excerpts of the videos that we put into evidence

         4    with the three-year-old child.            It is clear that she was a

         5    very young child.        And unlike somebody who was a ten -- or

         6    seven, even -- five, six, seven, eight, nine, ten, 11, 12

         7    and up, that child is unusually vulnerable because of her

         8    young age.

         9                THE COURT:     Well, let's talk about the facts of

        10    this case for a minute.         We have two victims, one three and

        11    one five.

        12                MS. HEALEY:     Correct.

        13                THE COURT:     And we know what happened to each of

        14    those.

        15                MS. HEALEY:     Okay.

        16                THE COURT:     And we have seen the videos.      And we

        17    have seen the exploitation of the three-year-old that is

        18    different by material degree to the exploitation of the

        19    five-year-old.      They are both exploited.

        20                MS. HEALEY:     Sure.

        21                THE COURT:     But the three-year-old -- and the Court

        22    has to wonder why is that?          And why is it that the three-

        23    year-old was subjected to this?            And that's because the

        24    three-year-old didn't have the cognitive ability or the

        25    psychological development -- I mean, that child tried to say




                                            152
USCA4 Appeal: 13-4576   Doc: 24       Filed: 11/22/2013   Pg: 157 of 336
                                                                                     97



         1    no.     That child tried to say no.           That child did say no.

         2    That child kept pulling her pants back up in these videos.

         3    But that child didn't have the age and maturity to be able

         4    to stop this, didn't understand what was going on, perhaps,

         5    even that the five-year-old had.

         6                Because one has to wonder -- you know, I mean,

         7    there's a difference there in the conduct.                   And that goes

         8    right to the heart of this vulnerable victim enhancement.                    I

         9    mean, it is -- it is what the court was talking about.

        10    That's what the Ninth Circuit was talking about in the

        11    Wright case.        That's what the Fifth Circuit was talking

        12    about in Jenkins.        And it is sort of -- it is sort of right

        13    smacking me in the face in this case because we have

        14    different levels of conduct involving children of different

        15    ages.     So I offer that observation for what it is worth.

        16                MS. HEALEY:      And I think the Court is exactly on

        17    point on that particular issue, because, as the Court has

        18    now seen and has heard and has seen in the sentencing

        19    memoranda, the three-year-old initially tried to -- she was

        20    confused.     It's clear she was confused.              You know, "Why is

        21    this guy pulling down my pants?"              She's learning about

        22    things that she shouldn't know about or be exposed to at

        23    such a young age.

        24                And by virtue of that young age he was able to

        25    groom her and get her eventually -- I mean, the movies even




                                              153
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013     Pg: 158 of 336
                                                                                     98



         1    show a pattern where they have a kid who was initially

         2    reluctant to do anything, and then it progresses to, okay,

         3    she's comfortable with it, and then it even progresses to

         4    the point where she seems to accept it and want it.                   And --

         5                THE COURT:    The Court watched the videos.

         6                MS. HEALEY:    Right.        And I think -- so I do think

         7    that that particular child was unusually vulnerable.                   But an

         8    alternative basis that the Court can also uphold the

         9    enhancement is by looking at the collection, because -- as

        10    the Jenkins court had, the Jenkins court considered the fact

        11    that the defendant's collection there had babies and

        12    toddlers, and I think if the Court does look at that sealed

        13    notebook -- I think that is Government 2?                   I don't remember

        14    what number.

        15                THE COURT:    Yes.

        16                MS. HEALEY:    Government's Exhibit 2, there are

        17    pictures that appear to depict, if not a baby, a very, very,

        18    very, very young toddler.

        19                And we know from the birth date of the three-year-

        20    old that the conduct occurred only a couple -- began to

        21    occur only a couple of months after Minor A turned the age

        22    of three.     So that is the government's position.

        23                THE COURT:    Okay.     Let's talk about the --

        24                MS. HEALEY:    Double counting?

        25                THE COURT:    The interplay of 2G2.2(b)(5) and




                                           154
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013     Pg: 159 of 336
                                                                                    99



         1    4B1.5(b)(1), the alleged double counting --

         2               MS. HEALEY:    Okay, Your Honor.

         3               THE COURT:    -- or the argued double counting.

         4               MS. HEALEY:    And we address that.              Actually what I

         5    ended up doing -- I have had this discussion or argument

         6    before Judge Moon before.          And I had briefed it even more

         7    extensively than we briefed in our memo.

         8               What is significant about those particular

         9    enhancements, one comes under, obviously, the offense

        10    characteristics or the offense levels of Chapter 2.                  Chapter

        11    4 is a different bird.       The United States v. Schellenberger

        12    case which comes out of the Fourth Circuit, which is an

        13    unpublished case, but it's found at 246 Fed. Appendix 830.

        14               THE COURT:    I read it.         I have it.       I understand

        15    what it says.

        16               MS. HEALEY:    Right.         It is directly on point.

        17               THE COURT:    Let me ask you this question.

        18               MS. HEALEY:    Sure.

        19               THE COURT:    This double-counting issue only applies

        20    to Count Thirteen.

        21               MS. HEALEY:    That's correct.

        22               THE COURT:    Right?

        23               MS. HEALEY:    That's correct.

        24               THE COURT:    It doesn't -- and at the end of the

        25    day, all right, at the end of the day, if you take -- if you




                                           155
USCA4 Appeal: 13-4576   Doc: 24       Filed: 11/22/2013     Pg: 160 of 336
                                                                                    100



         1    put Count Thirteen aside, just for the sake of argument, and

         2    you look at Count One, if you apply the vulnerable victim

         3    for Count One, probation calculates the adjusted offense

         4    level as 40.        Then you increase the guidelines by -- because

         5    there is -- let's see --

         6               MS. HEALEY:       I think there are a couple that are

         7    calculated --

         8               THE COURT:       No, I got it.          I got it.   Because there

         9    is -- then you go to paragraph 121.                 And because there's so

        10    many different units, you have got to add five; so that

        11    would take you to 45.          Subtract three for acceptance of

        12    responsibility; that's 42.            And then you add the five under

        13    Chapter 4; that's 45.          The highest you can go in the

        14    guidelines is 43.        The practical implication of this is

        15    -- of this double-counting argument is does it really matter

        16    at the end of the day?

        17               MS. HEALEY:       That's correct.           But it is legally --

        18               THE COURT:       I know.         I have to deal with it.    And

        19    I'm going to deal with it.            But I'm just sort of wondering.

        20               MS. HEALEY:       And I see where the Court is going on

        21    this.

        22               I would point out there are other cases.                United

        23    States v. Bastian, B-A-S-T-I-A-N, 650 Fed. Supp. 2d 849, at

        24    869-70, it was a Northern District of Iowa case which

        25    acknowledged the two provisions involved the same pattern of




                                              156
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 161 of 336
                                                                               101



         1    activity but explaining that the sentencing commission

         2    intended cumulative application of 2G2.2(b)(5) and

         3    4B1.5(b)(1), and that the sections concerned conceptually

         4    separate notions in that the 2G2.2 enhancement is a specific

         5    offense characteristic for crimes involving child

         6    pornography while 4B1.5 was created to address recidivism

         7    concerns.     And that cites the commentary to 4B1.5.          That was

         8    affirmed at 603 Fed.3d 460 by the Eighth Circuit in 2010.

         9                U.S. v. Wilson, 2007 Westlaw 3070361, at star two,

        10    is an Eastern District of Virginia 2007 unpublished case and

        11    said even where a five-level enhancement applies to one

        12    particular count under Section 2G2.2(b)(5), an additional

        13    five-level enhancement may apply under 4B1.1.

        14                There's another case out of New Mexico, United

        15    States v. Fred, 2008 Westlaw 22298527, at star nine, which

        16    cites Schellenberger case and also states the court's belief

        17    is that there is some cumulative nature to what the

        18    guidelines do and that Congress intends the guidelines to be

        19    cumulative for sex crimes against minor victims.

        20                I could go on on other cases if the Court would

        21    like.     There was an Eleventh Circuit case, U.S. v. Carter,

        22    292 Fed. Appendix 16, at page 20, Eleventh Circuit 2008,

        23    also unpublished, where the Eleventh Circuit rejected a

        24    defendant's argument that application of both sections could

        25    be constituted impermissible double counting.             First, the




                                           157
USCA4 Appeal: 13-4576   Doc: 24   Filed: 11/22/2013   Pg: 162 of 336
                                                                                  102



         1    court noted that the sentencing commission intended for

         2    guideline sections to apply cumulatively.                Second, the court

         3    relied on the specific language of the guidelines to hold

         4    that the two sections were not mutually exclusive as

         5    4B1.5(b)(1) explicitly states that the enhancement shall be

         6    five plus the offense level determined under Chapters 2 and

         7    3.   And the Eleventh Circuit found that that language is

         8    indicative of the commission's intent.             The court reasoned

         9    that the two sections addressed different harms, and,

        10    therefore, no double counting occur.

        11               So while 2G2.2(b)(5) addressed the fact that the

        12    offense itself involved a pattern of sexually exploiting

        13    minors, the 4B1.5 enhancement looked at the likelihood that

        14    the defendant could become a repeat offender and whether a

        15    lengthy incarceration was therefore needed to protect the

        16    public.

        17               So that is the government's argument on that, Your

        18    Honor.

        19               And I would note too, in some ways, even though we

        20    are already at the maximum of the guidelines, because the

        21    grouping was actually only allowing a limited number of

        22    offenses to be grouped and then you get some freebies, there

        23    are other acts that were being sort of unaccounted for by

        24    the fact that we are already at the maximum and you can only

        25    group -- I think it is five offenses or six offenses.




                                          158
USCA4 Appeal: 13-4576   Doc: 24       Filed: 11/22/2013   Pg: 163 of 336
                                                                                  103



         1                THE COURT:      That's right.

         2                MS. HEALEY:      Thank you, Your Honor.

         3                THE COURT:      All right.

         4                Mr. Bostic.

         5                MR. BOSTIC:      Judge, as to the first matter we are

         6    going to deal with, the distribution enhancement, we

         7    objected to that.        The government basically used what the

         8    Court referred to as a res ipsa approach on this:                It is out

         9    there; he must have distributed it.               The evidence actually

        10    indicates the exact opposite with respect to those videos.

        11                The compilation video, which was actually found in

        12    Denmark, was -- from everything that we know, was not on his

        13    computer, was never on his computer.

        14                THE COURT:      How did it get on the Internet?         He

        15    produced it.        How did it get on the Internet?

        16                MR. BOSTIC:      Looking at the email --

        17                THE COURT:      He produced it.         How did it get on the

        18    Internet?

        19                MR. BOSTIC:      He produced it and put it on his

        20    computer.     He did not put it on the Internet.

        21                THE COURT:      He put it on his computer and somehow

        22    it shows up in Denmark.           Doesn't that demonstrate

        23    distribution?

        24                MR. BOSTIC:      No, sir.

        25                THE COURT:      I mean, practically speaking, for




                                              159
USCA4 Appeal: 13-4576    Doc: 24    Filed: 11/22/2013   Pg: 164 of 336
                                                                                 104



         1    goodness sakes.

         2                MR. BOSTIC:    It ended up as a distribution.          But

         3    what we also have is an email where he actually was talking

         4    to a friend of his and describes his computer was hacked.

         5    We have the physical evidence from both of the two computer

         6    forensic specialists.        And both of them testify those videos

         7    were accessed and then CCleaner was run immediately

         8    thereafter, which is what his story has been from the very

         9    beginning.

        10                So I think we actually had the email that he

        11    actually talked about this; didn't talk anything about what

        12    was actually hacked or what was taken, and didn't know at

        13    that time.      He simply has on there, "My computer was

        14    hacked."

        15                So we have -- that's before any investigation,

        16    before anything was seen on the Internet, before anything.

        17    He simply is talking about it.            That is verbatim statements,

        18    not realizing there is going to be any future

        19    investigation.

        20                So I would submit to the Court that as far as him

        21    actively going out and distributing it, that there simply

        22    -- other than it being on the Internet, we don't have

        23    anything else to show that it was.             It was certainly not on

        24    his computer, from both of the experts.               And there was a

        25    conversation that he said, "My computer was hacked."               So




                                            160
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 165 of 336
                                                                                105



         1    that is what the -- the evidence that the Court has.

         2                There's nothing showing that those images -- that

         3    he ever uploaded those images.           So --

         4                THE COURT:     Why wouldn't the distribution

         5    enhancement apply by virtue of his -- by virtue of the

         6    Fourth Circuit cases?        And there's an Eastern District case,

         7    United States versus McVey; and then Fourth Circuit, United

         8    States versus Layton; Fourth Circuit, United States versus

         9    Brunner.     Merely by the fact that he is using the BitTorrent

        10    and the Freenet software and that he is -- by engaging in

        11    those peer-to-peer on BitTorrent and then making his --

        12    pieces of his computer available, that 10 -- whatever it was

        13    on the hard drive available to Freenet, and given the number

        14    of child pornography images on his computer, you take that,

        15    you combine it with the fact that he took these and produced

        16    these videos and they end up in Denmark, isn't both of those

        17    together -- doesn't that provide sufficient evidence that

        18    the government has met its burden with regard to this

        19    two-point enhancement?

        20                MR. BOSTIC:     The government --

        21                THE COURT:     He made his computer and images on his

        22    computer accessible to others on the Internet.              And we know

        23    he had 70,000 child porn images on his computer.              And he

        24    made it available by using BitTorrent.              He made it available

        25    by using Freenet.        And we know the videos he produced end up




                                           161
USCA4 Appeal: 13-4576   Doc: 24       Filed: 11/22/2013   Pg: 166 of 336
                                                                                106



         1    in Denmark in a compilation form.              Isn't that enough to

         2    -- for the government to meet its preponderance burden on

         3    the application of this two-point enhancement?

         4               MR. BOSTIC:       No, for one reason.

         5               THE COURT:       All right.

         6               MR. BOSTIC:       The Court is aware and the Court heard

         7    testimony on this, the file sharing, which is what I believe

         8    almost all of those cases that deal with this particular

         9    issue, if you voluntarily leave the file-sharing aspect of

        10    your computer on, then people come in and out of your

        11    computer and get things.              But there's no evidence on the

        12    BitTorrent or with the Freenet --

        13               THE COURT:       Free network, absolutely, 10 percent of

        14    your computer is accessible to the rest of the world, to the

        15    folks who are on that free network.

        16               MR. BOSTIC:       But there's no evidence that the

        17    videos -- there's no evidence that the videos were

        18    downloaded -- videos or pictures downloaded and put in that

        19    particular folder.

        20               THE COURT:       But it doesn't matter whether it is

        21    these videos, because the enhancement applies to any child

        22    pornography.        It doesn't have to be these particular

        23    videos.    The government is arguing that, but it doesn't have

        24    to be.

        25               MR. BOSTIC:       Any of the other videos -- there's no




                                              162
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 167 of 336
                                                                                 107



         1    evidence that any of those were put into the Freenet

         2    folder.     What the evidence is, that it was somewhere on his

         3    computer --

         4                THE COURT:    Don't you think it is reasonable to

         5    assume that they were, because he had 70,000 images?

         6                MR. BOSTIC:    Reasonable to assume --

         7                THE COURT:    Or am I speculating?

         8                MR. BOSTIC:    I believe that's speculation.          I think

         9    there's no actual evidence of it.

        10                THE COURT:    All right.

        11                All right.    Let's talk about the double-counting

        12    issue, Mr. Bostic.

        13                MR. BOSTIC:    Judge, with respect to the double

        14    counting, I have read a variety of cases on this and I know

        15    what the law is.     It just --

        16                THE COURT:    Do you have any law that is on your

        17    side?

        18                MR. BOSTIC:    I have not found any.

        19                THE COURT:    That's what I thought.          I mean, you

        20    know that Section 2 of the guidelines and Chapter 2 of the

        21    guidelines and Chapter 4 of the guidelines are there for

        22    different -- they address different purposes.               You know

        23    that.     That's what the cases say.        That's what the Fourth

        24    Circuit says in Schellenberger.

        25                Have you got any case law that supports your




                                           163
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 168 of 336
                                                                                  108



         1    position?

         2                MR. BOSTIC:    I do not.

         3                THE COURT:    Okay.    Now, there's one other

         4    -- there's one other thing that you talked about in your

         5    sentencing memo or maybe in a -- no, it was early on in an

         6    objection.     You objected to paragraph 111.             And we haven't

         7    talked about that yet here today.           And that was the one

         8    which -- you said, "I haven't seen the videos yet and I

         9    don't know about the four-point enhancement that's in

        10    paragraph 111."     Are you continuing to press that

        11    objection?

        12                MR. BOSTIC:    No.

        13                THE COURT:    You have now seen the videos; you agree

        14    that's an appropriate enhancement?

        15                MR. BOSTIC:    I do.

        16                THE COURT:    Is there anything else you want to say

        17    about the enhancements?

        18                MR. BOSTIC:    No, sir.

        19                THE COURT:    Okay.    Does the government wish to say

        20    anything else?

        21                MS. KATZIN:    Regarding the distribution

        22    enhancement, we just want to make sure that it is clear that

        23    while the defendant was using technologies that would allow

        24    others to come in and -- you know, would allow images to be

        25    sent out, we can't point to any particular image, including




                                           164
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013    Pg: 169 of 336
                                                                               109



         1    the self-produced images, you know, that was shared --

         2               THE COURT:    I understand that and I appreciate

         3    that.

         4               MS. KATZIN:    Okay.

         5               THE COURT:    All right.        Anything else with regard

         6    to the guideline calculations that you-all want to raise

         7    with the Court?

         8               MS. HEALEY:    Not with the guidelines, Your Honor.

         9               MR. BOSTIC:    No, sir.

        10               THE COURT:    Okay.     Could counsel approach, please?

        11         (Off-the-record discussion at sidebar.)

        12               THE COURT:    Let's go back on the record.

        13               Off the record we discussed the fact about whether

        14    we should take a lunch break.            That was all that was

        15    discussed.     And we are going to take a lunch break until

        16    -- a half-an-hour break, until 1:30, because the Court wants

        17    a little bit of time to get my thoughts in order with regard

        18    to all of these guideline issues.

        19               Now, are there any other issues that need to be

        20    addressed with regard to the guidelines or the objections to

        21    the guidelines?

        22               MR. BOSTIC:    Judge, it was just brought to my

        23    attention, there was one other objection, paragraph --

        24               THE PROBATION OFFICER:          44.

        25               MR. BOSTIC:    -- 44.




                                           165
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 170 of 336
                                                                               110



         1               THE COURT:    All right.

         2               MR. BOSTIC:    Judge, I went back and reviewed that

         3    particular -- the video concerning that particular one, and

         4    we would withdraw that objection.

         5               THE COURT:    You withdraw your objection to 44.

         6               MR. BOSTIC:    I think it would qualify.         And I don't

         7    think I have a legitimate argument that it would not.

         8               THE COURT:    All right.       So you withdraw that, as

         9    well as the objection you had to 111.

        10               All right.    Now, have we addressed all of the

        11    guidelines objections?

        12               MR. BOSTIC:    Yes.

        13               MS. HEALEY:    I think so, Your Honor.

        14               THE COURT:    All right.       Let's recess until 1:30, at

        15    which time I will make my guideline findings.             Then I will

        16    hear any evidence and argument related to an appropriate

        17    sentence under 3553.      Then we will hear -- if there are any

        18    victims, the Court would like to address the victims and

        19    hear from them.     And then, of course, the Court will hear

        20    allocution from the defendant.

        21               Ask the marshal to declare a recess.

        22         (Recess at 1:00 p.m.)

        23         (Call to Order of the Court at 1:40 p.m.)

        24               THE COURT:    Okay.     We are back in session.

        25               Is there anything else that occurs to either the




                                           166
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 171 of 336
                                                                                111



         1    United States or the defendant that you would like to raise

         2    at this time before the Court makes its guidelines

         3    findings?

         4                MR. BOSTIC:    Not at this time.

         5                THE COURT:    Okay.    I went back and looked at the

         6    addenda to the presentence report during the recess and

         7    looked at the objections.          And I do have something I want to

         8    raise with you, Mr. Bostic.          I don't know if you have got

         9    that in front of you.

        10                I think we have dealt with -- and I'm talking about

        11    the addenda to the presentence report.              I think we have

        12    dealt with here today all of the objections, perhaps with

        13    the exception to objection two that you raised.              And I don't

        14    know if -- whether you are satisfied with the probation's

        15    response to your objection number two.

        16                And it was -- objection number two was "Defense

        17    counsel objects to a second statement within the offense

        18    conduct section describing the same or similar video

        19    clips."     And then probation says, "I based this on what was

        20    in the written statement of facts."

        21                I just want to make sure -- I wanted to know if you

        22    have any additional argument or anything else you wanted to

        23    say about that particular objection?

        24                MR. BOSTIC:    Judge, I guess what -- I was trying to

        25    remember exactly when I filed that objection, because I




                                           167
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 172 of 336
                                                                                112



         1    believe it was the same video, as I understood it at the

         2    time.

         3               THE COURT:     What you said from your letter of

         4    February 18th -- would you like to see that?              What you said

         5    was at the bottom of page four and going on to page five, it

         6    states that "The same or similar video clips were obtained

         7    from Mr. Dowell's sister.          It was, in fact, the same

         8    compilation video that contained the videos of Mr. Dowell

         9    and the two girls.       And I would note an objection to the

        10    characterization of 'the same or similar video clips.'"

        11               And I think all that probation was saying there was

        12    -- and this was with regard to paragraph five, that -- all

        13    that probation was saying there was that "I took this

        14    language directly from the statement of facts."

        15               So do you have anything else you want to say about

        16    that?

        17               MR. BOSTIC:     No, sir.

        18               THE COURT:     Okay.    All right.

        19               Let's go through these objections.

        20               Objection one filed by the government, to which we

        21    have heard extensive argument and the Court has -- we have

        22    also had evidence here today, particularly the video

        23    evidence, concerns the vulnerable victim enhancement and

        24    whether or not that's appropriate.            And that is the

        25    enhancement under 3A1.1(b)(1), and whether that is




                                           168
USCA4 Appeal: 13-4576    Doc: 24    Filed: 11/22/2013   Pg: 173 of 336
                                                                             113



         1    appropriate in this case where the enhancement under

         2    2G2.2(b)(2) is given because that enhancement applies --

         3    under 2G2.2(b)(2) applies when the material involved a

         4    prepubescent minor or a minor who had not attained the age

         5    of 12 years.

         6                The Court is going to apply the vulnerable victim

         7    enhancement in this case.           Recently the Fifth Circuit held

         8    in United States versus Jenkins, 712 F.3d 209, at 213, Fifth

         9    Circuit 2013, that "The vulnerable victim enhancement under

        10    3A1.1(b)(1) may be applied when victims are very young

        11    despite giving the 2G2.2(b)(2) enhancement given when the

        12    material involved a prepubescent minor or a minor who had

        13    not attained the age of 12 years."

        14                I think this case points up exactly why -- exactly

        15    why -- and the specific facts of this case point up exactly

        16    why -- the Court is persuaded by the Jenkins decision, given

        17    the specific facts of this case, to apply that additional

        18    vulnerable victim enhancement in this case, as I will

        19    explain.

        20                In Jenkins the Court noted that while the

        21    vulnerable victim enhancement explicitly states that the

        22    enhancement can never be applied to a count for a

        23    vulnerability that is related to age when the specific

        24    offense guideline provides for an enhancement on the age of

        25    the victim.      The 2G2.2(b)(2) enhancement is a specific




                                            169
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 174 of 336
                                                                                  114



         1    offense guideline that provides for an enhancement based on

         2    the age of the victim.       The Fifth Circuit, however, noted

         3    that the vulnerable victim enhancement may be given in the

         4    case where the vulnerability of the victim stems from

         5    something other than just the age of the victim.

         6    Specifically, the Fifth Circuit held that there was no

         7    logical reason why a victim-under-the-age-of-12 enhancement

         8    should bar application of the vulnerable victim enhancement

         9    when the victim is especially vulnerable, even as compared

        10    to most children under 12.         The Fifth Circuit upheld the

        11    application of the enhancement in the case where the

        12    presentence report indicated the images included children

        13    between the ages of seven and eight and included infants and

        14    toddlers.

        15                And, of course, in Jenkins, of course, that was

        16    simply a trafficking in child pornography.                It was not a

        17    production case, as this one is.

        18                In coming to this conclusion, the Fifth Circuit

        19    relied primarily on United States versus Wright, 373 F.3d

        20    935, from 2004, where the Ninth Circuit held that a

        21    3A1.1(b)(1) vulnerable victim enhancement was appropriate

        22    along with a Section 2G2.2(b)(2) enhancement based on

        23    prepubescent younger-than-12-year-old children, where the

        24    victims ranged in age in that case from 11 months to four

        25    years.




                                           170
USCA4 Appeal: 13-4576    Doc: 24    Filed: 11/22/2013    Pg: 175 of 336
                                                                               115



         1                 The Ninth Circuit explained that the victim's

         2    vulnerability is not fully incorporated in the victim-under-

         3    12 adjustment because most children under 12 are well beyond

         4    the infancy and toddler stages of childhood during which

         5    they are the most vulnerable.             The Ninth Circuit further

         6    explained that though the characteristics of being an infant

         7    or toddler tend to correlate with age, they can exist

         8    independently of age, and are not the same thing as merely

         9    not having attained the age of 12 years, the criteria for

        10    the four-level increase in 2G2.2(b)(2).

        11                 Particularly the Ninth Circuit focused on three

        12    reasons, all of which exist independent of the victim's

        13    age.      One, physical characteristics; small physical size

        14    increased vulnerability, inability to walk increased pain

        15    upon penetration.      Two, cognitive development; differing and

        16    not necessarily linked to age.             And, three, unique concerns

        17    about the moral and psychological development of the child.

        18    I think the reasons two and three particularly bear on this

        19    case.

        20                 The Ninth Circuit held that because the traits and

        21    characteristics associated with infancy and the toddler

        22    state can exist independently of age and because the factors

        23    of extreme youth and small physical size recognize a

        24    vulnerability beyond age per se, the application of both

        25    enhancements is not impermissible.




                                            171
USCA4 Appeal: 13-4576   Doc: 24   Filed: 11/22/2013   Pg: 176 of 336
                                                                              116



         1               Now, in this case I watched the video.          And it is

         2    clear to me -- from the video clip that we have seen in

         3    evidence in this case, it is clear to me of how vulnerable

         4    this child is and how -- the minor victim A, and how her

         5    cognitive abilities just do not allow her to appreciate what

         6    is going on with her, what is being done to her, and the

         7    progression of this vile abuse that was inflicted on her.

         8               From my own viewing of the videos and looking at

         9    what happened over the progression, seeing that she plainly

        10    doesn't understand what is going on here, focusing on her

        11    cognitive development, I believe this victim is particularly

        12    vulnerable.

        13               First and foremost, the concern of this Court notes

        14    that the psychological effect of this abuse is clear based

        15    on the progression of abuse in this case due to the

        16    vulnerabilities of minor child A.          At first the Court notes

        17    that the child is giggling and laughing and saying, "Stop

        18    it," and attempting to put her pants back on, her underpants

        19    back on, as the defendant was beginning to groom her and

        20    begin his abuse.    And due to her cognitive state, she just

        21    thought he was just playing with her.            He was picking her

        22    up, upside down, laughing.        She's laughing particularly when

        23    she's held upside down while he was doing other things.

        24               And it is clear from viewing the progression, as

        25    depicted in the evidence, throughout the several months that




                                          172
USCA4 Appeal: 13-4576   Doc: 24      Filed: 11/22/2013     Pg: 177 of 336
                                                                                      117



         1    this happened, the child went from telling the defendant

         2    "No" to requesting such conduct, demonstrating the

         3    particular vulnerability psychologically in this child.

         4               In that regard, the Court notes what I pointed out

         5    earlier, the different levels of abuse inflicted on minor

         6    victim A and minor victim B.               Both these children are under

         7    12 years old.       And 2G2.2(b)(2) treats them the same, treats

         8    them the same.       And that points up more than anything for me

         9    why 2G2.2(b)(2) doesn't cover the waterfront here.

        10               There is a stark difference in the abuse inflicted

        11    on minor victim A and minor victim B.                 And that points up

        12    the very reason why the under-12 enhancement in 2G2.2(b)(2)

        13    paints with too broad a brush.               Minor victim A is much less

        14    cognitively capable of understanding her abuse.                    She's much

        15    more psychologically susceptible to accepting and welcoming

        16    this conduct than an older child would be.                    She is, in fact,

        17    a more vulnerable victim.            And I believe the two-point

        18    enhancement is not double counting.

        19               The Court is persuaded on the specific facts of

        20    this case that the Jenkins and Wright cases got it right,

        21    and I'm going to apply it.

        22               All right.      That takes care of vulnerable victim.

        23               MR. BOSTIC:      Judge, the Court will note my

        24    exception.

        25               THE COURT:      Absolutely.         Your objection and




                                             173
USCA4 Appeal: 13-4576   Doc: 24   Filed: 11/22/2013    Pg: 178 of 336
                                                                                  118



         1    exception to that is noted.

         2               All right.   Objection one by the defendant,

         3    probation took care of in the presentence report.                That was

         4    -- the presentence report was amended.

         5               We have taken care of objection two with regard to

         6    the same or similar video clips.           We just dealt with that.

         7    That is -- that particular reference comes straight out of

         8    the statement of facts that has been agreed to by the

         9    defendant, and it is appropriate.

        10               Objection number three deals with paragraph 44 of

        11    the presentence report.       That was withdrawn by the defendant

        12    after further -- his further -- counsel's further review of

        13    the video evidence.

        14               Objection number four deals with the two-level

        15    enhancement in paragraph 110.           And that's the distribution

        16    enhancement that we have talked about in this case.

        17               I understand the government's argument.           I

        18    understand the defendant's argument.             And the Court is

        19    persuaded that the government has not met its burden of

        20    establishing distribution to apply this enhancement.

        21               I think the government concedes that it doesn't

        22    have any specific evidence that these particular videos were

        23    uploaded by this defendant or that any of the information

        24    available on BitTorrent or free network were, in fact, child

        25    pornography that were shared.           And because of that, the




                                          174
USCA4 Appeal: 13-4576    Doc: 24    Filed: 11/22/2013   Pg: 179 of 336
                                                                            119



         1    Court is going to give the defendant the benefit of the

         2    doubt and find that the government hasn't established

         3    distribution to apply the enhancement under -- two-point

         4    enhancement under paragraph 110, so I'm not going to apply

         5    that under the specific facts of this case.

         6                 All right.   Objection number five was paragraph

         7    111.      And the defendant has withdrawn that, based on our

         8    prior conversation, after further review of the videos in

         9    this case.

        10                 All right.   Objection number six from the defendant

        11    is the -- objection number six is the double -- the

        12    so-called double-counting objection, the five points under

        13    2G2.(b)(5) and 4B1.(b)(1).

        14                 Now, the Fourth Circuit has held that double

        15    counting occurs when a provision of the guidelines is

        16    applied to increase punishment on the basis of a

        17    consideration that has been accounted for by application of

        18    another guideline provision or by application of the

        19    statute.      That is United States versus Reed, 264 Fed.3d 151,

        20    158, Fourth Circuit, 2004.          Double counting is generally

        21    authorized unless the guidelines expressly prohibit it,

        22    United States versus Crawford, 18 Fed.3d 1173, 1179, Fourth

        23    Circuit, 1994.

        24                 In this particular case there is no prohibition

        25    against this -- applying both of these five-point




                                            175
USCA4 Appeal: 13-4576   Doc: 24      Filed: 11/22/2013   Pg: 180 of 336
                                                                                        120



         1    enhancements.       And, in fact, the Fourth Circuit has approved

         2    this very application.

         3               In United States versus Schellenberger, 246 Fed.

         4    Appendix 830, 832, Fourth Circuit, 2007, the Fourth Circuit

         5    specifically said it is not impermissible double counting to

         6    apply both of these enhancements.             It says each guideline

         7    applies because Schellenberger's conduct fell squarely

         8    within its definition.         That's plainly the same in this

         9    case.

        10               Moreover, Section 4B1.5(b)(1) states that the five-

        11    level enhancement is to be added to the offense levels

        12    determined under Chapters Two and Three.                    So the guidelines

        13    themselves contemplate the cumulative application of these

        14    enhancements.

        15               Not only do the guidelines themselves contemplate

        16    that the enhancements be applied cumulatively, not only does

        17    the Fourth Circuit say, "Look, double counting is authorized

        18    unless the guidelines prohibit it," it makes sense in this

        19    case to allow both of these enhancements to apply.                    And that

        20    is because they deal with separate things.

        21               2G2.(b)(5) is a specific offense characteristic for

        22    crimes involving child pornography.              4B1.5 is there for

        23    different reasons.       It is there for recidivism.               This

        24    guideline applies to offenders whose instant offense of

        25    conviction is a sex offense committed against a minor and




                                             176
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 181 of 336
                                                                                121



         1    who presents a continuing danger to the public.              The courts

         2    have consistently found that these two guidelines can be

         3    applied together, do not constitute impermissible double

         4    counting.

         5                The defendant could identify no cases which went

         6    the other way.

         7                The government cites a number of cases from around

         8    the circuit, in addition to Schellenberger, which is enough

         9    of itself; the Bastion case from Ohio; the Wilson case -- I

        10    think from Texas; the Friend case.              There's a plethora of

        11    precedents supporting it.

        12                I'm going to apply both of those, the Chapter Two

        13    five points and the Chapter Four five points as well.

        14                All right.    And your exception is noted.

        15                MR. BOSTIC:    Thank you, Judge.

        16                THE COURT:    All right.      Now let's go to the

        17    guidelines calculations.           All right?

        18                Anything from the government?

        19                MS. HEALEY:    Just a point of clarification.         I know

        20    the Court found the vulnerable victim enhancement under the

        21    transportation charge, but I'm assuming the Court also found

        22    that it is applicable under 2G2.1, and not just 2G2.2?              The

        23    production guideline allows for an enhancement if the child

        24    is between 12 and 16 and another enhancement if the child is

        25    below 12.     And I think Mr. Sheffield had put in vulnerable




                                           177
USCA4 Appeal: 13-4576   Doc: 24      Filed: 11/22/2013   Pg: 182 of 336
                                                                                   122



         1    victim enhancements for the three-year-old in the various

         2    counts that were applicable.

         3                THE COURT:     It is the Court's intention to apply,

         4    for the reasons I just said, the vulnerable victim

         5    enhancement to every count here, across the board.              That was

         6    my intention.       If I used a (b)(1) or a (b)(2)

         7    inappropriately in my oral recitation, I apologize for

         8    that.     It is my intention, based on the evidence that I have

         9    seen, to apply the victim-related adjustment for a

        10    vulnerable victim to every count in this indictment.

        11                All right.

        12                MS. HEALEY:     Except for the two that have to do

        13    with minor --

        14                THE COURT:     Except for Eleven and Twelve.

        15                MS. HEALEY:     Yes.     Thank you, Your Honor.

        16                THE COURT:     So it is One through Ten and Thirteen.

        17    All right.

        18                Okay.    Now -- thank you for that.

        19                Let's go through the -- let's go through the

        20    guideline calculations.          All right?      And I am going to

        21    differ from -- in my guideline calculations and what the

        22    Court is going to find -- and I'll tell you why -- from what

        23    probation has calculated.

        24                All right.     All right.       The statutory penalties in

        25    this case for Counts One through Twelve are a mandatory




                                             178
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 183 of 336
                                                                                123



         1    minimum per count of 15 years, a statutory maximum of 30

         2    years.     Count Thirteen, the transportation count, bears a

         3    mandatory minimum of five years, a statutory maximum of 20.

         4    There's a period of supervised release of five years to life

         5    and a fine of up to $250,000 per count.              There's, of course,

         6    a $100 mandatory special assessment per count.

         7                All right.    And I'm going to do this count by

         8    count, just so that we're all clear.             And I know it will be

         9    a bit tedious, but there are 13 counts and they are a little

        10    bit different, so I'm going to go through them.

        11                For Count One the base level offense is a 32.           And

        12    that's founded on 2G2.1.           You have got the four-level

        13    enhancement under 2G2.1(b)(1)(A).           You have a specific

        14    offense characteristic of plus two because the defendant was

        15    in a supervisory role or in the custody or care.              There's a

        16    -- I'm applying the vulnerable victim enhancement --

        17                MR. BOSTIC:    Judge, can I address the Court on

        18    that?     To -- if the Court would note, just for the record --

        19                THE COURT:    You didn't object to it.

        20                MR. BOSTIC:    Yes.

        21                THE COURT:    You didn't object to it.

        22                MR. BOSTIC:    I objected to the vulnerable --

        23                THE COURT:    Victim, right.

        24                MR. BOSTIC:    -- victim, yes.

        25                THE COURT:    But you didn't -- what do you want to




                                           179
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 184 of 336
                                                                                  124



         1    address me on, Mr. Bostic?         I'm sorry.

         2                MR. BOSTIC:    I was just going to say for each of

         3    the vulnerable victim enhancements for each count, to note

         4    an objection.

         5                THE COURT:    Absolutely.      Absolutely.      No.   Your

         6    objections as to the Court's -- across the board on

         7    vulnerable victim, your objection as to the five plus five

         8    is noted.

         9                MR. BOSTIC:    Thank you.

        10                THE COURT:    All right.      Thank you.      All right.

        11                Vulnerable victim, plus two, for an adjusted

        12    offense level of 40.       That's for Count One.

        13                Count Two is exactly the same.

        14                Count Three is exactly the same.

        15                Count Four is different.        Count Four starts with

        16    the same base offense level, 32.           There is a minor victim

        17    under 12, so you add four.         This one adds two more points

        18    because this specific count, Count Four, alleges sexual

        19    contact.     So you get two more points under 2G2.(b)(2)(A).

        20    So that -- and then the other two, the vulnerable victim and

        21    under the custody or care.         So the adjusted offense level

        22    for Count Four is a 42.

        23                For Count Five, it is the same as Count One.

        24                For Count Six, it is the same as Count One.

        25                For Count Seven, it is the same as Count One.




                                           180
USCA4 Appeal: 13-4576   Doc: 24       Filed: 11/22/2013   Pg: 185 of 336
                                                                                   125



         1                For Count Eight and Count Nine, it is the same as

         2    Count Four, because each of those counts alleged touching.

         3    And so the sexual contact two points apply.

         4                For Count Ten, it is the same as Count One.

         5                All right.      For Counts Nine -- excuse me.          For

         6    Counts Eleven and Twelve, the same base offense level, 32;

         7    plus four for under 12; plus two for custody or care.                    There

         8    is no vulnerable victim for Counts Eleven or Twelve.

         9    Therefore, the base offense level -- or the total -- excuse

        10    me.     Excuse me.     The adjusted offense level is 38.

        11                All right.      Now, for count -- the last count, Count

        12    Thirteen, starts with a base offense level of 22.                 You add

        13    two for the under 12.          You add two for -- no.        I'm -- I am

        14    not accepting the paragraph 110 two points for

        15    distribution.        I'm adding four for the paragraph 111.              I'm

        16    adding five for paragraph 112, under 2G2.(b)(5).                I'm adding

        17    the use of the computer, plus two.               And because it involves

        18    600 or more images, under paragraph 114, I'm adding five

        19    more.     And, of course, we have the vulnerable victim there,

        20    so that is a plus two.          And so that is an adjusted offense

        21    level of 42.

        22                All right.      That is going to impact, therefore,

        23    item number -- it is going to make a change under paragraph

        24    119.

        25                THE PROBATION OFFICER:           It is, Your Honor.




                                              181
USCA4 Appeal: 13-4576    Doc: 24    Filed: 11/22/2013   Pg: 186 of 336
                                                                                   126



         1                THE COURT:    The adjusted offense level for group 13

         2    should be 42; correct?

         3                THE PROBATION OFFICER:         Correct.

         4                THE COURT:    That still leaves it at a one unit,

         5    however?

         6                THE PROBATION OFFICER:         Correct.

         7                THE COURT:    Okay.     All right.

         8                Now, the greater of the adjusted offense levels is

         9    42 now.     That is under paragraph 120.

        10                Because there are so many groups, that has to take

        11    it up to a 47, so you go to plus five.

        12                Let me ask the United States about acceptance of

        13    responsibility.      The United States didn't go to trial in

        14    this case.      Is there sufficient evidence of acceptance of

        15    responsibility?

        16                MS. HEALEY:    Your Honor, he accepted early enough

        17    that we did not have to prepare for trial.                 That's fine,

        18    Your Honor.

        19                THE COURT:    All right.       Are you satisfied with

        20    that, Mr. Bostic?

        21                MR. BOSTIC:    Yes.

        22                THE COURT:    All right.       I'll give Mr. Dowell the

        23    full measure of acceptance of responsibility.                 That takes

        24    the subtotal offense level in paragraph 125 to 44.

        25                He gets the five points under 4B1.5(b)(1).              That




                                            182
USCA4 Appeal: 13-4576   Doc: 24      Filed: 11/22/2013    Pg: 187 of 336
                                                                                   127



         1    takes his total offense level up to 49.                 That's a little

         2    different from the presentence report, which had it at 51.

         3    And that's just because of the paragraph 110 and the

         4    distribution.       But the highest guideline level is 43.            So we

         5    come back to the same point, 43.

         6               Now, in computing -- in going from there -- I got

         7    it.

         8               Okay.     I now want to go to paragraph 151.

         9    Actually, the -- yes.         151 says the calculated offense level

        10    is 49 -- actually, that would have been an error, wouldn't

        11    it, Mr. Sheffield?       It should have said 51 under your --

        12    isn't that right?

        13               THE PROBATION OFFICER:            It should be.

        14               THE COURT:      It doesn't.        It says "49."     So you and

        15    I must have been thinking on the same wavelength

        16    intuitively.

        17               So we are at 49.          So paragraph 151 does not have to

        18    be changed.     So we know we are at 43, which is the highest

        19    you can get under the guidelines.

        20               Then you go to paragraph 152.               And this is what I

        21    want to mention at this time.              And this is where I'm going

        22    to, with all due respect, disagree with what probation has

        23    done with regard to the guideline range.

        24               Paragraph 152 says, "If the sentence imposed on the

        25    count carrying the highest statutory maximum is less than




                                             183
USCA4 Appeal: 13-4576   Doc: 24   Filed: 11/22/2013   Pg: 188 of 336
                                                                            128



         1    the total punishment, then the sentence imposed on one or

         2    more of the other counts shall run consecutively, but only

         3    to the extent necessary to produce a combined sentence equal

         4    to the total punishment.          In this case, the statutorily

         5    authorized maximum sentences are less than the maximum of

         6    the applicable guideline range, life," because the guideline

         7    range in this case, even at a -- he has a criminal history

         8    category of I, because he has no prior criminal history --

         9    the guideline range is life.

        10               And what the probation officer does is he simply

        11    totals up all of the -- the maximum statutory penalty on

        12    each count and adds them all up and gets to 4,560 months.

        13    Now, I don't believe that 5G1.2(d) requires the probation

        14    officer to take the maximum of every sentence of every count

        15    to reach the total punishment.          The total punishment under

        16    the guidelines is life.       And based on a base offense level

        17    -- based on a total offense level of 43 and a criminal

        18    history category of I.

        19               And if you read 5G1.2(d), when it says, "But only

        20    to the extent necessary to produce a combined sentence equal

        21    to the total punishment," well, it is a fact of our

        22    existence that 4,560 months is far more than necessary to

        23    produce a combined sentence equal to the total punishment.

        24    And -- so, therefore, I don't think that the guideline range

        25    ought to be 4,560 months, because I think that is far more




                                          184
USCA4 Appeal: 13-4576    Doc: 24    Filed: 11/22/2013   Pg: 189 of 336
                                                                                    129



         1    than is necessary to produce a combined sentence equal to

         2    the total punishment.

         3                 So I don't think you have to run all of the counts

         4    consecutive in order to be able to do that.

         5                 MS. HEALEY:    Your Honor?      At some time, at some

         6    point, may we respond to that?

         7                 THE COURT:    You may say whatever you want.

         8                 MS. HEALEY:    I would beg to differ.            I believe the

         9    cases that have been -- and these cases frequently end up

        10    resulting in what we find are guideline sentences that are

        11    well above the number of months that you could possibly live

        12    your life.      Of course, the Court has to --

        13                 THE COURT:    What does that mean?            What does that

        14    mean?      Your argument would say -- "But only to the extent

        15    necessary to produce a combined sentence equal to the total

        16    punishment," you would read that right out of the

        17    guidelines.

        18                 MS. HEALEY:    I did not -- I may have done it in the

        19    Cobler memo -- I don't recall if I wrote more on this

        20    issue -- but the government's position is that the

        21    guidelines -- the guidelines have to -- since the guidelines

        22    advise life, but the statutory maximum doesn't meet life,

        23    then the guidelines still have to be the maximum you can

        24    get.      And in this case, the maximum --

        25                 THE COURT:    What is your case law for that?




                                            185
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013     Pg: 190 of 336
                                                                                   130



         1               MS. HEALEY:    I don't -- I didn't know this was

         2    going to be an issue, I'm sorry, Judge, so I do not have it

         3    before us.     It may have been briefed.            I may have put

         4    something in -- extra in the Cobler memo that I don't have

         5    before the Court right now.

         6               I would point out, in looking at -- I was provided

         7    a chart, for example -- and this doesn't tell you the legal

         8    answer, but I actually queried our listserv for certain

         9    sentences that were given around the country.                There was an

        10    AUSA, I think out of Texas, who had requested from the

        11    department any statistical data they had on sentences

        12    exceeding -- I think it was 600 months, or 50 years,

        13    effectively.

        14               And the chart -- and I'm happy to show the Court; I

        15    think they come from official data -- you can see -- they

        16    calculate numbers in months.             And, for example, there was a

        17    case in the Northern District of Alabama where the defendant

        18    was sentenced to 11,520 months because of the statutory

        19    maximum in that case.       That has been affirmed, as I

        20    understand, on appeal.

        21               But the chart indicates -- here you have prison

        22    time that these guys were sentenced to.                And they are 3,720

        23    months, at 11,000, 3900, 840, some have life.                But there are

        24    these huge numbers -- or include these huge numbers that

        25    would obviously exceed --




                                           186
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 191 of 336
                                                                                    131



         1                THE COURT:     So you are telling me you think that

         2    that provision in the guidelines means nothing?                  Because it

         3    says "but only to the extent necessary."                  And we all know

         4    that 4,000 months is way too much.            And so, therefore, if I

         5    do anything other than give, according to your reasoning,

         6    4,560 months, I have got to vary from the guidelines?                  If I

         7    do something other than give 4,560 months, I have got to

         8    vary from the guidelines?

         9                MS. HEALEY:     That's correct.       That is my position,

        10    Your Honor.

        11                THE COURT:     Well, I want to know what your

        12    authority is for it.

        13                MS. HEALEY:     I didn't know this was an issue.            This

        14    came up in Cobler.        We did brief it.       I did not think -- I

        15    know the Court accepted -- in that case it was 1,440 months,

        16    I know it is separate facts, but I know that was not made an

        17    issue.     I do not have that.      I can get that, if I have time

        18    to actually brief that.        But, yes, I do think --

        19                THE COURT:     It is 380 years.

        20                MS. HEALEY:     Yes, Your Honor.        I'm well aware of

        21    that.     But I do think that in these types of situations,

        22    where the guideline is life, but the statutory maximum does

        23    not allow for a technical life sentence, the Court is

        24    supposed to aggregate the maximum sentences and --

        25                THE COURT:     Yes, but only to the extent necessary




                                           187
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 192 of 336
                                                                                   132



         1    to produce a combined sentence equal to the total

         2    punishment.     That's what the guidelines says, "but only."

         3    Okay?     And are you telling me there's case law that says I

         4    can't do that?

         5                MS. HEALEY:    I don't have -- I honestly did not

         6    perceive that this was going to be an issue.              This was

         7    always my understanding --

         8                THE COURT:    No, I'm telling you -- do you have case

         9    law to support that proposition?

        10                MS. HEALEY:    Not right now I do not, Your Honor.

        11                THE COURT:    Have you got the Cobler brief?

        12                MS. HEALEY:    And maybe I did not put it in, but I

        13    thought I might have put in more.

        14         (Pause.)

        15                THE COURT:    Is the probation officer aware of any

        16    case law that supports the proposition that I am required to

        17    add up every count, the maximum penalty, and result in a

        18    4,560-month sentence, and then in order to do something that

        19    -- other than that, I would have to vary from the

        20    guidelines?

        21                THE PROBATION OFFICER:        Your Honor, I'm not aware

        22    of any case law.     I can tell the Court that it has been the

        23    practice of this district to add the maximum penalties

        24    available for the total punishment.

        25         (Pause.)




                                           188
USCA4 Appeal: 13-4576   Doc: 24   Filed: 11/22/2013   Pg: 193 of 336
                                                                                  133



         1               THE COURT:    Okay.      All right.     Hold on.     Hold on.

         2               Let me just say that at the end of the day -- I

         3    mean, I -- no, I have got it right here.

         4               At the end of the day the total punishment in this

         5    case under the guidelines calls for life.                And we're almost-

         6    we're almost debating an academic point, because -- but I

         7    want to get it right.

         8               All right.    The case that you cited in Cobler was

         9    Schellenberger.

        10               MS. HEALEY:    And I -- Your Honor, I'm sorry --

        11               THE COURT:    No.      Hold on.   Hold on.

        12               MS. HEALEY:    -- I didn't know this would be an

        13    issue.

        14               THE COURT:    That's okay.        Just let me look at it.

        15    I don't want to create a problem.            If the Fourth Circuit

        16    says that what I was about to do isn't right, well, then,

        17    let's do what is right.

        18               MS. HEALEY:    I think it says the same thing as the

        19    present case as well.

        20         (Off-the-record discussion between the Court and the

        21    law clerk.)

        22               THE COURT:    All right.      Schellenberger, from the

        23    Fourth Circuit, says exactly what I said.                It quotes the

        24    guidelines, quotes United States versus White, 238 F.3d 537,

        25    at 543, and says, "In a case of multiple counts of




                                          189
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 194 of 336
                                                                             134



         1    conviction the guidelines instruct that if the total

         2    punishment mandated by the guidelines exceeds the highest

         3    statutory maximum, the district court must impose

         4    consecutive terms of imprisonment to the extent necessary to

         5    achieve the total punishment."

         6                The United States versus White case that is cited

         7    in Schellenberger, all of which -- both White -- well, White

         8    is -- White is preBooker -- doesn't say anything

         9    differently.

        10                MS. HEALEY:    Your Honor, may I offer a possible

        11    explanation for why the cases -- or why the language is "to

        12    the extent necessary"?

        13                THE COURT:    Certainly.

        14                MS. HEALEY:    Because I think in the normal

        15    situation where this happens is we don't always end up in an

        16    advisory life situation.           So you might end up with -- you

        17    might have a multiple drug case -- or a multiple drug

        18    conviction case where the guidelines say 240 months or 360

        19    months, and we have charged possession or some

        20    distributions, petty distributions, and where -- since the

        21    distributions might be five years to something, not as high

        22    as the production charges that we're talking about here, you

        23    want to get those up as close to the guideline range as

        24    possible.     So where normally if the guidelines exceed the

        25    statutory sentences, then you have got that -- I'm not




                                           190
USCA4 Appeal: 13-4576   Doc: 24      Filed: 11/22/2013   Pg: 195 of 336
                                                                                  135



         1    saying this articulately.

         2               I'm trying to explain that in most cases we're not

         3    talking about, necessarily, an advisory life situation and

         4    we're often talking about lower statutory maximums.                And I

         5    get that, but --

         6               THE COURT:      It is "to the extent necessary."          And

         7    in this -- in this world I guess what I was thinking was why

         8    do I have to add all of the sentences for all of the counts

         9    to come up with a sentence that is over 300 years when it

        10    makes -- when no -- everybody knows that that is way beyond

        11    what is necessary to achieve the total punishment, which is

        12    life.

        13               MS. HEALEY:      But then the Court would be in the

        14    position of having to sort of do an actuarial assessment as

        15    to how long can the defendant live.              We know that production

        16    sentences result in huge sentences that far exceed the

        17    possible potential -- or possible or potential life span of

        18    these defendants.       And I do -- I don't have anything to give

        19    to the Court.       I would love to see --

        20               THE COURT:      I don't think Schellenberger or White

        21    say anything different than what the guideline says, nothing

        22    different.

        23               MS. HEALEY:      And they may not.          It is still the

        24    government's position that the combined statutory maximums

        25    have to be used in a life situation because there's got to




                                             191
USCA4 Appeal: 13-4576    Doc: 24       Filed: 11/22/2013   Pg: 196 of 336
                                                                                 136



         1    be a number of years.           Life arguably extends beyond any

         2    number of years.

         3                 So I know what the Court is trying to say.           And

         4    nobody is trying to say the Court cannot vary from the

         5    guidelines --

         6                 THE COURT:      I'm not trying to -- I'm just trying to

         7    figure out -- and I appreciate your argument.                 I

         8    understand.      But I'm just trying to figure out what -- under

         9    5G1.2(d) it says -- if you buy your argument, then you are

        10    reading out of the guideline the "but only to the extent

        11    necessary to produce a combined sentence equal to the total

        12    punishment."         Therefore, I am not going to go along with

        13    you.      And I'm going to set a guideline range, something

        14    lower than 4,560 months.               I'm going to set a guideline range

        15    -- I'm going to do it to the extent necessary to produce a

        16    combined sentence equal to the total punishment.

        17                 And if you want to ask the Fourth Circuit to tell

        18    me I did this wrong, then Godspeed, you have got the right

        19    to do it.      Okay?     But this is what I'm going to do.

        20                 I do not believe that the Court -- I do not believe

        21    that the Court must add up all of the maximum sentences

        22    -- let me just be very clear about what I am doing.               I do

        23    not believe that the guidelines themselves -- when 5G1.2(d)

        24    says, "but only to the extent necessary to produce a

        25    combined sentence equal to the total punishment," I do not




                                               192
USCA4 Appeal: 13-4576   Doc: 24     Filed: 11/22/2013   Pg: 197 of 336
                                                                                    137



         1    believe that requires the Court to add up the maximum

         2    penalty on each and every count, yielding thousands upon

         3    thousands of months, and thus requiring the Court to vary

         4    from the guidelines in order to make -- to reach a sentence

         5    that is anything other than astronomical.                  I just -- I mean,

         6    it would be -- if I gave a guideline sentence in this case

         7    at 4,560 months, or 380 years, that just seems to me to make

         8    no practical sense in this case.

         9               So what I'm going to do in this case -- and I'm

        10    learning as I go along -- is I am going to set the guideline

        11    range in this case at 960 months.            And I'm doing it -- I'm

        12    running -- I'm doing it under counts -- I'm running Counts

        13    Eight and Nine consecutive at 30 years, their maximum

        14    punishment.     I am running 180 months -- that's 360 months on

        15    Count Eight, 360 months on Count Nine, 180 months on Count

        16    Eleven, 180 months on -- and 60 months on Count Thirteen.

        17    That, I believe, 960 months, or 80 years, is sufficient

        18    -- is to the extent necessary to produce a combined sentence

        19    equal to the total punishment, given this defendant's age.

        20               So I'm setting the guidelines at 960 months.

        21    That's 360 plus 360 plus 180 plus 60.              That is 960 months.

        22               Okay.    Now, what arguments do the parties have with

        23    regard to the 3553(a) factors?

        24               MS. HEALEY:     Your Honor, I do have some evidence to

        25    put on.    I just want to make it clear, we do think that's




                                            193
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 198 of 336
                                                                                   138



         1    procedural error.        Obviously, we know the Court has the

         2    right to vary, but we do think the Court has to justify

         3    -- if the Court were to determine to vary, that the Court

         4    would have to justify a variance from the 4,600 months.                    I

         5    just want to make that clear, so we have a record.                 But with

         6    all due respect to the Court, that is the government's

         7    position.

         8                THE COURT:     Absent some authority -- I have got the

         9    case you cited in Cobler, Schellenberger.                 I have got the

        10    White case that is cited in there.            I've looked at both of

        11    them.     They don't say anything different than what the

        12    guidelines say, and that is -- and I just don't see that the

        13    guidelines -- I don't see that the guidelines require me to

        14    find that -- anything that is beyond what is necessary to

        15    produce a combined sentence equal to the total punishment.

        16    So that's what I'm doing.          I'm imposing guidelines of 960

        17    months.

        18                All right.

        19                MS. HEALEY:     And, Your Honor, I understand.           But,

        20    as the Court is well aware, the case law also says, you

        21    know, if you have a bigger -- if you are varying, you have

        22    to justify whatever level of variance.              A bigger variance

        23    deserves a bigger justification, which is why we think,

        24    because we don't know what the Court is going to do, the

        25    Court would have to justify a variance from the higher




                                           194
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013    Pg: 199 of 336
                                                                                 139



         1    level.    And I just wanted to set that for the record.

         2               Thank you, Your Honor.          I understand your holding.

         3               THE COURT:    That's fine.

         4               MS. HEALEY:    Go ahead.        I'm sorry?

         5               MR. BOSTIC:    Judge, I guess -- are we done with

         6    that particular issue?       Okay.       I was -- with respect to the

         7    psychological evaluations, moving on to the next thing, the

         8    defense had previously requested and had been granted one

         9    evaluation that was done, actually, by the Public Defenders

        10    Office, prior to my involvement in this case.               Then I filed

        11    a motion requesting that the Court grant a follow-up on that

        12    basically, in part due to a change in circumstances of

        13    Mr. Dowell's situation up until the time I filed the motion.

        14               Based upon the information I have received from

        15    Dr. Fracher, it is my view now -- number one, I'm not going

        16    to call him as a witness.          He did advise me that he had

        17    changed his position somewhat.            And we would request to

        18    withdraw both of those two evaluations at this time.

        19               THE COURT:    All right.        Any objection from the

        20    United States?

        21               MS. HEALEY:    No, Your Honor.          I think it is fair to

        22    say that the change of opinion would be adverse to the

        23    defendant.     And, yes, we think it is appropriate for the

        24    Court to disregard those particular reports.               There are

        25    admissions, of course, in those report that the defendant




                                           195
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 200 of 336
                                                                                  140



         1    made, knowing that they would be made available to the Court

         2    and revealed to the Court, but the findings should be

         3    disregarded.

         4                THE COURT:    I will disregard the reports in their

         5    entirety.     And I'll grant the defendant's motion.

         6                All right.    What evidence does the United States

         7    have, you want to put on, for the 3553(a) factors?

         8                MS. HEALEY:    Yes, Your Honor.         The only witness we

         9    have for this is Dr. Donna Moore.

        10                THE COURT:    All right.

        11                MR. BOSTIC:    Judge, at this time I would like to

        12    note an objection to Ms. Moore being called, as the defense

        13    has withdrawn its psychological evaluations.              I don't

        14    believe there's any statutory authority for her to testify.

        15                MS. HEALEY:    And, Your Honor, I do think this type

        16    of evidence is relevant to 3553(a).            Obviously, the Court

        17    -- some of the factors the Court has to consider under

        18    3553(a) deals with the offender characteristics as well as

        19    the danger posed by a particular defendant to society as a

        20    whole and the argument of a strict sentence being

        21    deterrence.     We're, obviously, seeking the highest potential

        22    sentence that the Court could impose.             And we think her

        23    testimony is highly relevant as to the 3553(a) factors that

        24    this Court must consider.

        25                THE COURT:    All right.      The 3553(a) factors span a




                                           196
USCA4 Appeal: 13-4576   Doc: 24       Filed: 11/22/2013   Pg: 201 of 336
                                                                                      141



         1    wide waterfront for the Court to consider.                   And I would be

         2    happy to hear what evidence the government wants to put on,

         3    including the evidence from this witness.                    I believe it is

         4    relevant.     And let's just put the evidence on.

         5                 DONNA MOORE, GOVERNMENT'S WITNESS, SWORN

         6                THE CLERK:      Thank you.       Please have a seat.

         7                MR. BOSTIC:      Judges, if I could just raise one

         8    thing before she actually testifies.

         9                THE COURT:      Sure.

        10                MR. BOSTIC:      Judge, as I'm reading Rule 12.2, it

        11    appears that with respect to sentencing purposes --

        12                THE COURT:      All right.       Hold on.        Just let me get

        13    it in front of me.        12.2.       All right.

        14                MR. BOSTIC:      It seems to me that with respect to

        15    -- let me see if I can get exact where I was.

        16                THE COURT:      12.2 deals with an insanity defense.

        17                MR. BOSTIC:      Yes, sir.       I was looking at what other

        18    authority under that would we have to deal with the

        19    admission of psychological evaluation.

        20                THE COURT:      I don't think 12.2 has anything to do

        21    with what we're talking about.              And, you know, the

        22    government can put on whatever evidence the government wants

        23    to put on addressing the 3553(a) factors.                    And I'm going to

        24    allow it.

        25                Go ahead.




                                              197
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 202 of 336
                                                                             142
                                          MOORE - DIRECT


         1               MR. BOSTIC:    The Court will note my exception.

         2               THE COURT:    Certainly.

         3                             DIRECT EXAMINATION

         4    BY MS. HEALEY:

         5    Q.   Good afternoon.

         6    A.   Good afternoon.

         7    Q.   Would you please tell the Court your name?

         8    A.   Donna Moore, M-double O-R-E.

         9    Q.   All right.     And how are you employed?

        10    A.   I'm a psychologist.

        11    Q.   And where are you employed?

        12    A.   I'm employed at Moore Psychology Services.           It is a

        13    private practice that I have outside of Nashville,

        14    Tennessee.

        15    Q.   Okay.    How long have you been so employed?

        16    A.   I have had that practice since 2006, but I have been

        17    working in the field of mental health treatment since 1993.

        18    Q.   All right.     Let's talk a little bit about your

        19    background.     Can you please summarize your educational

        20    background as it relates to your position?

        21    A.   I have a bachelor's degree in psychology, a

        22    counseling -- a master's degree in counseling, and a Ph.D.

        23    in psychology as well.

        24    Q.   All right.     And have you been engaged in continuing

        25    education in terms of what you do now?




                                           198
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013    Pg: 203 of 336
                                                                                    143
                                           MOORE - DIRECT


         1    A.   Yes.    Yes.

         2    Q.   And has part of that included receiving specialized

         3    training in the field that you work?

         4    A.   Yes.    Yes.   I have specialized training.              I'm a

         5    certified forensic examiner in the state of Tennessee.                  I'm

         6    a licensed psychologist in the state of Tennessee and the

         7    state of Virginia.        And I'm an approved sex offender

         8    treatment provider in the state of Tennessee as well.

         9                MS. HEALEY:     Your Honor, would you like me to wait?

        10                THE COURT:     No.     I'm listening.

        11    BY MS. HEALEY:

        12    Q.   Okay.    Do you provide any training for anyone else?

        13    A.   Yes.    As part of -- in the state of Tennessee, to be an

        14    approved provider of sex offender violation and treatment

        15    services, persons have to be trained and retrained every

        16    year.     And I'm one of the trainers for those new providers.

        17    Q.   Okay.    Can you describe your practice, your present

        18    practice?

        19    A.   My present practice is a private practice, but I also

        20    contract with other agencies.            My practice consists of five

        21    sex offender treatment groups in my practice.                  And then I

        22    contract, where I provide evaluations as well as treatment

        23    services, for men and women, but mostly men, that have

        24    presented with issues of sexual deviance.                  And the majority

        25    of them have gone through the court system or have pending




                                           199
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 204 of 336
                                                                                  144
                                           MOORE - DIRECT


         1    charges or they anticipate getting charges.

         2         I also contract one day a week with an agency that I

         3    started working with in 1993, called Centerstone.                It's a

         4    community mental health agency.           And through that contract

         5    we contract with the Middle District of Tennessee to provide

         6    services for their clients that are on probation for sex

         7    offenses.     So I have two groups under that contract as well.

         8    Q.   All right.     And what is the percent of time you work

         9    with sex offenders?

        10    A.   Most of the time.       Probably, I would guess, one day is

        11    also devoted to forensic evaluations of competency and

        12    mental condition.        If I don't have a forensic evaluation, I

        13    usually plug in some work with -- psychosexual work or work

        14    with offenders.     So I would guess easily 90 percent.

        15                THE COURT:     90 percent of your work?

        16                THE WITNESS:     Yes.   And the majority of my

        17    career -- at times it has been 100 percent offender work.

        18    BY MS. HEALEY:

        19    Q.   And what percentage of sex offenders are you dealing

        20    with child sex offenders?

        21    A.   Most of them are child sex offenders.                I have also

        22    worked at Butner in the prison program there and in the

        23    state prison program.        In the state of Tennessee, offenders

        24    that have adult victims tend to get prison sentences and

        25    they do not come for community mental health treatment.                   So




                                           200
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013    Pg: 205 of 336
                                                                                     145
                                          MOORE - DIRECT


         1    I tend to see more child offenders, voyeurism, exhibitionism

         2    offenders, just because of the nature of the sentences.

         3         So I have treated -- I do have a couple of clients with

         4    adult offenders, but I have treated -- had more experience

         5    treating them in the correctional system.

         6    Q.   All right.     Since you have raised the issue of working

         7    at Butner previously, could you briefly summarize the prior

         8    work experience that you have in this particular area?

         9    A.   I started working in 1993 with my master's degree at

        10    the community mental health center.             And I was going to go

        11    to school at night getting my doctorate.                   And once I was

        12    getting ready to graduate, I did my predoctoral internship

        13    in the sex offender treatment program for the state.                   And

        14    that's our model for the state system, the program that we

        15    teach for providers who want to come provide services.                      So

        16    that's the model that we use.            So I was an intern there.

        17         And then, after I graduated, I went back to the

        18    community mental health facility and worked there until

        19    2001.     I went to Butner and worked at Butner in the sex

        20    offender treatment program there until 2003.                   And then --

        21    Q.   That's the Federal Bureau of Prisons?

        22    A.   Yeah, the Federal Bureau of Prisons, in the sex

        23    offender program.     And then I came back to the agency

        24    again.     And I'm still contracting there, but in 2006 started

        25    my own practice.




                                           201
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 206 of 336
                                                                         146
                                          MOORE - DIRECT


         1    Q.   Okay.    And how often have you conducted psychosexual

         2    examinations of defendants?

         3    A.   I would guess 20 years, of maybe a hundred referrals a

         4    year, easily 1200.

         5    Q.   Okay.    And have you ever conducted evaluations at the

         6    request of prosecutors like myself?

         7    A.   Yes, I have.

         8    Q.   All right.     Have you ever performed any work at the

         9    request of defense attorneys?

        10    A.   Yes.    Yes.

        11    Q.   Are you a member of ATSA, A-T-S-A?

        12    A.   Yes, the Association for Treatment of Sexual Abusers.

        13    I'm a clinical member and have been, I think, since 2004.

        14    Q.   And do they have certain -- does ATSA have certain

        15    guidelines that they suggest should be used in the course of

        16    your practice?

        17    A.   Yes.    It is an organization that is a professional

        18    organization that deals with people who work with this

        19    population.     And they have a best practices model and

        20    standards of care as well as ethics that we adhere to.        And

        21    in the state of Tennessee, our state model also uses those

        22    ethics standards and guidelines.

        23    Q.   All right.     Do you follow the ATSA guidelines in the

        24    course of your work?

        25    A.   Yes.




                                          202
USCA4 Appeal: 13-4576    Doc: 24       Filed: 11/22/2013   Pg: 207 of 336
                                                                                    147
                                              MOORE - DIRECT


         1    Q.     Okay.    Have you ever testified about any of the

         2    findings that you have made during your evaluations?

         3    A.     In psychosexual evaluations and forensic evaluations,

         4    yes.      This is probably either 98 or 99.              I am in between --

         5    I have given direct testimony in one case and I am expecting

         6    to do my cross next week.             So I think this is either 98 or

         7    99 in providing testimony.

         8    Q.     Have you been deemed as an expert when you have

         9    testified?

        10    A.     Yes.    In forensic evaluations or psychosexual and sex

        11    offender evaluation and treatment.

        12    Q.     And specifically in this case that we're going to be

        13    talking about in a minute, that would be with psychosexual

        14    evaluations and sex offenders?

        15    A.     Yes.    Typically, the forensic, the way I'm using it

        16    from Tennessee, is competency and mental condition

        17    evaluations.         And the other deals with people presenting

        18    with sex offense charges.

        19    Q.     Okay.    Have you ever been denied expertise in any of

        20    those areas?

        21    A.     I have not.

        22    Q.     Okay.

        23                  MS. HEALEY:     Your Honor, may I have Dr. Moore's CV

        24    marked as a government's exhibit?

        25                  THE COURT:     Yes.




                                              203
USCA4 Appeal: 13-4576   Doc: 24   Filed: 11/22/2013     Pg: 208 of 336
                                                                               148
                                          MOORE - DIRECT


         1               Any objection?

         2               MR. BOSTIC:    No objection.

         3               MS. HEALEY:    What are we up to, Jody?         Is it 4?

         4               THE CLERK:    It is 4.

         5               MS. HEALEY:    Okay.

         6               Your Honor, if I may move it into evidence as

         7    Government's Exhibit 4.

         8               THE COURT:    Yes.     It will be accepted without

         9    objection.

        10               MS. HEALEY:    Thank you.

        11         (Government's Exhibit No. 4 was marked for

        12    identification and received in evidence.)

        13    BY MS. HEALEY:

        14    Q.   Dr. Moore --

        15               MS. HEALEY:    Actually, Your Honor, may I also move

        16    her in as an expert in psychosexual evaluations and sex

        17    offender --

        18               THE COURT:    Any objection?

        19               MR. BOSTIC:    No, sir.

        20               THE COURT:    Yes.     She will be permitted to testify

        21    as an expert in those areas.            Please proceed.

        22               MS. HEALEY:    Thank you.

        23    BY MS. HEALEY:

        24    Q.   Dr. Moore, did you have an occasion to conduct an

        25    evaluation of this particular defendant, John Stuart Dowell?




                                          204
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 209 of 336
                                                                            149
                                          MOORE - DIRECT


         1    A.   Yes.

         2    Q.   How did you come to conduct this particular evaluation?

         3    A.   You requested that I evaluate the prior psychological

         4    evaluation that he had and as well as conduct an evaluation

         5    of Mr. Dowell.

         6    Q.   And I assume you were paid or you are going to be paid

         7    for this particular evaluation?

         8    A.   I am hoping to be paid.         I have not been paid.   But,

         9    yes, I have billed, so, yes, I am.

        10    Q.   And you are also going to be paid for your travel

        11    expenses as well?

        12    A.   Yes.

        13    Q.   And do you know about how much you are going to be paid

        14    for the evaluation itself and your court testimony?

        15    A.   The evaluation and -- closing the practice and the

        16    evaluation I think was billed at 3,000 for the days of

        17    travel and coming to do the evaluation and writing the

        18    report.     And the travel and coming here for this is billed

        19    at 2,000.

        20    Q.   When you conducted an evaluation of the defendant, did

        21    you meet with him in person?

        22    A.   Yes.

        23    Q.   All right.     And what date was that?

        24    A.   I met with him on May 31st of this year, 2013.

        25    Q.   And prior to doing that, did you review any particular




                                          205
USCA4 Appeal: 13-4576   Doc: 24     Filed: 11/22/2013   Pg: 210 of 336
                                                                                 150
                                           MOORE - DIRECT


         1    materials?

         2    A.   Yes.    I did.

         3    Q.   Could you summarize what you reviewed.

         4    A.   Yes.    And if I may look at my report for -- as I have

         5    noted in my psychosexual evaluation dated June 17th, I

         6    looked at -- I evaluated him; I gave him a test; I did a

         7    risk assessment; and I reviewed his criminal history;

         8    investigations from ICE -- I'm just going to kind of

         9    summarize, if that's okay -- computer account information;

        10    subscriber information; emails from different agencies

        11    looking for -- Interpol, ICE, etc.; FBI information;

        12    incident report from Frederick County Sheriff's Office;

        13    supplementary reports from Frederick County Sheriff's

        14    Office; arrest warrants; criminal complaint from the United

        15    States District Court; statement of facts in support of

        16    complaint/arrest; warrants; San Jose Police Department

        17    records; probable cause; grand jury testimony; NCMEC

        18    records; computer forensic examination report; the reports

        19    of Dr. Fracher; the images from the computer, I reviewed

        20    those; and the videotapes that were produced, I reviewed

        21    those; and then a motion to continue sentencing; and an

        22    order entered in January of this year.               So I reviewed all of

        23    those.

        24    Q.   And having sat here during this testimony, you are

        25    aware, of course, that Dr. Fracher's report will no longer




                                           206
USCA4 Appeal: 13-4576   Doc: 24      Filed: 11/22/2013   Pg: 211 of 336
                                                                                     151
                                             MOORE - DIRECT


         1    be relied upon in this?

         2    A.   Correct.       Correct.

         3    Q.   But that was part of what you were being paid to do is

         4    to evaluate that report as well; is that correct?

         5    A.   Correct.

         6    Q.   How long did you -- approximately how long did you meet

         7    with the defendant?

         8    A.   Approximately -- I got there about -- a little bit

         9    before nine o'clock.        And I didn't get to see him until

        10    9:30.     And I interviewed him until a little bit after 11.

        11    And then he took a paper-and-pencil test.                   And that took

        12    another probably hour and a half.             And I had some follow-up

        13    questions and left at that time.             So I left.        Probably from

        14    about ten until nine when I got there until almost one

        15    o'clock when I left the facility.

        16    Q.   So fair to say that the evaluation included basically

        17    an interview of the defendant's history and his version as

        18    well as administering certain tests?

        19    A.   Yes.    Some background information, talked to him about

        20    the case, other history.          And I gave him a paper-and-pencil

        21    test, the MMPI-2.       The STATIC-99R, which I also used in the

        22    evaluation, is a risk assessment that I did outside of

        23    meeting with Mr. Dowell.

        24    Q.   So the STATIC-99, which we might talk about later, that

        25    is sort of a ten-question test that you don't have to meet




                                             207
USCA4 Appeal: 13-4576   Doc: 24      Filed: 11/22/2013    Pg: 212 of 336
                                                                                        152
                                            MOORE - DIRECT


         1    with the defendant to complete?

         2    A.   Correct.       Yes.   Correct.        It is done from the records.

         3    And it is an actuarial measure that we use to get a baseline

         4    of risk, to kind of start to get some ideas about somebody's

         5    risk level.

         6    Q.   All right.       And just briefly can you describe what the

         7    MMPI-2 is?

         8    A.   The Minnesota Multiphasic Personality Inventory 2, or

         9    second edition, is the most widely used psychological test.

        10    And I give that to get an idea -- it has got validity

        11    scales, to see how someone's presentation is during the

        12    interview; scales that -- we have what they call a lie

        13    scale, a defensiveness scale, another scale to detect

        14    malingering, which may be more common in a forensic

        15    evaluation than would be for maybe a psychosexual

        16    evaluation.

        17         And then there are clinical scales that look at

        18    psychiatric problems, depression, anxiety, mania,

        19    psychopathic deviants, and then paranoia.                    So there's

        20    different clinical scales.           If a person had a psychiatric

        21    condition with -- presumably, I'd have a high score in one

        22    of those clinical scales.

        23    Q.   Okay.    And can you tell the Court what the results of

        24    the MMPI showed -- or the MMPI-2 showed?

        25    A.   Okay.    If I can look at my report, from the MMPI-2,




                                            208
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 213 of 336
                                                                             153
                                          MOORE - DIRECT


         1    under the testing, the validity scales -- just kind of a

         2    summary, the validity scales were a little bit elevated,

         3    where someone who might be defensive or denying their

         4    behavior.     And so that is -- typically what that does, when

         5    someone is scoring high on a validity scale, except for the

         6    malingering scale, it will decrease their scores on other

         7    scales.

         8         Despite that, he had a profile that is loaded high on

         9    the scales for psychopathic deviance and paranoia, with

        10    paranoia being a little bit higher than psychopathic

        11    deviance.     And just some of the traits -- and this is just a

        12    profile of somebody that had that two-scale spike would be

        13    somebody who might be narcissistic and self-indulgent, as I

        14    have written in my report; a person who might make a lot of

        15    demands on others, but not -- but feel somewhat resentful if

        16    people asked them to do similar things; persons may see them

        17    as irritable or argumentative.           And one of the aspects of

        18    this profile is that they may deny psychological problems

        19    and try to shift the blame or responsibility on to other

        20    people.     So they are really not at times -- not good -- to

        21    be good candidates for therapy due to that, that lack of

        22    responsibility; since they also tend to present vague

        23    emotional and physical complaints, just a lot of complaints

        24    about -- but nothing very specific that someone might

        25    -- such as with a depression or a clinical depression or a




                                          209
USCA4 Appeal: 13-4576   Doc: 24   Filed: 11/22/2013   Pg: 214 of 336
                                                                                  154
                                         MOORE - DIRECT


         1    clinical anxiety present with.

         2    Q.   Okay.    As a result of your evaluation, which includes

         3    both the tests and the interviews that you conducted, did

         4    you form any opinion or any diagnosis of the defendant?

         5    A.   I offered the diagnosis of pedophilia, sexually

         6    attracted to females, nonexclusive type -- and nonexclusive

         7    type means attracted to adults as well as children, primary

         8    focus was attracted to females.          I also diagnosed a sexual

         9    abuse of a child as perpetrator, again, based upon a review

        10    of records I had.    And I did a rule-out, which means more

        11    information is needed to refute or confirm a diagnosis for

        12    depressive disorder, largely based on some of the

        13    information from the other reports and also the statements

        14    of Mr. Dowell kind of having these underlying depressive

        15    symptoms throughout his life.

        16    Q.   Now, I notice you said that the defendant had a

        17    diagnosis of pedophilia but nonexclusive.                What do you mean

        18    by that and is that common?

        19    A.   Sometimes we think about people attracted to children

        20    sexually, that they are exclusively attracted to children

        21    and they're not also attracted to adults.                The research, I

        22    think, speaks to only about 7 percent of people with

        23    pedophilia are exclusively attracted to children.                So it is

        24    not uncommon to find people with pedophilia to be married,

        25    to have or to have had sexual relationships with adults.




                                          210
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 215 of 336
                                                                         155
                                          MOORE - DIRECT


         1         And so based on Mr. Dowell's statements that he had

         2    been married and he has had sexual relationships with adult

         3    women, I diagnosed him as the nonexclusive type.

         4    Q.   Can you explain to the Court what your basis of -- your

         5    diagnosis of pedophilia was based on?

         6    A.   Well, based upon -- largely -- somewhat based on his

         7    statements about his attraction and the materials he was

         8    viewing.     Also based upon the collection that -- I viewed a

         9    number of images, although not the entire collection of the

        10    images.     And the images he produced to me suggested that

        11    that met the criteria for pedophilia, which is a sexual

        12    attraction, arousal, interest in children; that that arousal

        13    and attraction persists for six months or longer and can

        14    cause some distress, if nothing but legal distress.       So I

        15    felt like he met that diagnostic criteria, again, largely on

        16    some of the data that I viewed as well as the statements by

        17    Mr. Dowell.

        18    Q.   Did the defendant admit that he was sexually aroused by

        19    images of child pornography?

        20    A.   He said that he had been viewing images and had been

        21    aroused by those since the year 2000.

        22    Q.   And before I get to anything else, did you prepare a

        23    report based on your review and your diagnosis?

        24    A.   Yes.

        25                MS. HEALEY:   Your Honor, that is already in the




                                           211
USCA4 Appeal: 13-4576    Doc: 24     Filed: 11/22/2013   Pg: 216 of 336
                                                                               156
                                            MOORE - DIRECT


         1    report.     May I have that officially part of the record as

         2    Government Exhibit 5, to remain under seal?

         3                THE COURT:     Yes.      It will be admitted.

         4                Any objection --

         5                MR. BOSTIC:     No objection.

         6                THE COURT:     -- other than you have already stated?

         7                MR. BOSTIC:     Yes.

         8         (Government's Exhibit No. 5 was marked for

         9    identification and received in evidence.)

        10    BY MS. HEALEY:

        11    Q.   Dr. Moore, how would you characterize any claim -- or

        12    the defense claim that this was a crime of opportunity?

        13    A.   Well, as I said in my report, pedophilia is not

        14    opportunistic.       It is a preference for children.        And as

        15    sexual beings and creatures, we tend to want to be sexual

        16    and to be sexual with the objects of our interests and

        17    desires.     And to say that it is opportunistic because

        18    children are around and people have multiple opportunities,

        19    it just seemed like that is not consistent with the data

        20    that there was planning involved.             Again, the camera and a

        21    lot of the other elements of this particular offense

        22    behavior doesn't seem opportunistic.

        23         That would fit more of a one-time event, that was not

        24    repeated, that seemed to not -- that seemed to be a little

        25    bit more nonsensical.         That didn't really, in my opinion,




                                             212
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 217 of 336
                                                                                  157
                                          MOORE - DIRECT


         1    fit in this case.

         2    Q.   All right.     Now, going to your report, the defendant at

         3    times characterized his problem as a sex addiction or as a

         4    pornography addiction, to be used for self-soothing and

         5    things like that.     Can you comment on those

         6    characterizations of his issues or problems?

         7    A.   Yes.    That's fairly typical in persons that I

         8    evaluate.     When they come in, they may come in with a

         9    multitude of sexual problems, of sexual charges, and say

        10    they have a sex addiction.         If they are using images of some

        11    sort, they will say they have a pornography addiction.

        12         A sexual addiction is not recognized as a legitimate

        13    sexual disorder or a psychiatric disorder.                It is not in the

        14    DSM-IV.     And I don't believe, based upon my brief perusal of

        15    the DSM-5 that has just come out, that it is in there as

        16    well.

        17         So it is not a recognized clinical disorder.               It tends

        18    to be a belief from -- more consumer-driven than data-

        19    driven.     And it is typically from 12-Step or other self-

        20    help-type groups more than from people who are trained and

        21    licensed to provide certain services.

        22    Q.   So have you heard other people that you have diagnosed

        23    as pedophiles claim that they just had a sex addiction or a

        24    pornography addiction?

        25    A.   Yes.    Again, it is very common for people that get into




                                           213
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 218 of 336
                                                                               158
                                          MOORE - DIRECT


         1    trouble -- again, it is not uncommon for maybe family

         2    members or others to encourage them to go to a SA or

         3    Sexaholics Anonymous group.         It's very popular or common in

         4    the church to recommend people to go to these types of

         5    groups.     And it tends to come more from kind of an ignorance

         6    of the problem.

         7         I see people with exposure offenses and voyeurism

         8    offenses, child pornography offenses, incest offenses, and

         9    they all kind of get the same label.             And I think that just

        10    doesn't capture the complexity of what we are talking

        11    about.

        12         I think also, again, my diagnosis of Mr. Dowell is with

        13    pedophilia.     And I think that's a better fit from a

        14    diagnostic perspective of where a person would look in terms

        15    of any kind of treatment recommendations or plan.

        16    Q.   All right.     So it sounds like that did not change the

        17    diagnosis that he was a pedophile?

        18    A.   It did not.     Again, that's not a recognized diagnosis.

        19    So, no, it did not for me.

        20    Q.   All right.     What about the defendant's suggestion to

        21    you that he didn't do anything to Minor A that she didn't

        22    want him to do?     I noticed that in your report.          Is that

        23    something he said to you at some point?

        24    A.   Yes.    Yes.   He made some statements about that, about

        25    -- yes, kind of implying about her being more into it and




                                           214
USCA4 Appeal: 13-4576   Doc: 24      Filed: 11/22/2013    Pg: 219 of 336
                                                                                    159
                                            MOORE - DIRECT


         1    things that she wanted to do.              And, again, that's not

         2    uncommon for people that have sexual misconduct against

         3    children, as well as adults, to be able to -- you know, part

         4    of the offending behavior or offending cycle includes a

         5    number of cognitive distortions.              And that is part of how

         6    they are able to commit these offenses.                 They tell

         7    themselves that it is something else, "I'm not really

         8    hurting somebody.       I'm doing it because they want it too.

         9    They like it too."       And that's something we would address

        10    clinically.

        11         So, yes, certainly those things are present, more so in

        12    an evaluation setting with someone that has not had any

        13    intervention.       And Mr. Dowell had not had the opportunity to

        14    have any treatment at the time I saw him.

        15    Q.   And what is a cognitive distortion?                 Is that --

        16    A.   A distortion of -- you know, again, if you look through

        17    a window that had water and it was distorted so you could

        18    see it, but it wouldn't -- it would look differently until

        19    you cleared it up.       So it is really kind of -- sometimes in

        20    the language of treatment people call it stinking thinking

        21    or a distortion.       And it is really just a form of denial.

        22    It is just denial from minimization, denial from shifting

        23    responsibility.       And it is just one of the components that

        24    we work on fairly heavily in the treatment is to kind of

        25    redirect some of those thinking patterns.




                                             215
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 220 of 336
                                                                                160
                                          MOORE - DIRECT


         1    Q.    All right.    Now, did you challenge him on his claim

         2    that he didn't do anything that Minor A didn't want him to

         3    do?

         4    A.    I challenged just a few things in the evaluation, but,

         5    again, it was really more of gathering data.              I think for an

         6    evaluation perspective, I see a number of -- more

         7    evaluations, psychosexual evaluations, I do are when people

         8    are coming to treatment.           So if I were setting the pace and

         9    the tone for therapy, I might say some things at that time

        10    to say perhaps that is or not.

        11          I think I did challenge more about -- early on when he

        12    said -- referenced he was not interested in graphic images.

        13    I do recall that was fairly early in the interview.              And I

        14    said that based on what I had viewed, that didn't seem to

        15    fit with what I viewed.        So really just in that term -- that

        16    forum may be a little bit of a challenge, but not too much.

        17    Q.    What about the defendant's claim that he wasn't

        18    interested in the actual sex acts but rather just wanted to

        19    collect more images of sex abuse of a minor?

        20    A.    Again, that's -- that, to me, didn't fit with what I

        21    viewed.    And that explanation is not uncommon.            Again, part

        22    of persons who engage in behavior that is very upsetting to

        23    them as well have to -- seem very interested in maintaining

        24    an ego, an ego that is not consistent with a person who does

        25    bad things and hurts other people.            So there's a lot of




                                           216
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 221 of 336
                                                                          161
                                          MOORE - DIRECT


         1    investment personally in trying to maintain that image, not

         2    just for others outside of them, but for themselves as

         3    well.     So to say, "I didn't do it for sexual reasons" or "I

         4    didn't hurt anybody," that's, again, part of the distorted

         5    thinking process that is part of the offending cycle.

         6    Q.   All right.     Now, your report indicates that the

         7    defendant stated on various occasions he had a history of

         8    depression?

         9    A.   Yes.

        10    Q.   Does -- is depression something that causes somebody to

        11    become either a pedophile or to molest children?

        12    A.   No, it is not.     But he -- and he spoke of it in

        13    somewhat vague terms, said when he was younger he had more

        14    physical symptoms; and when he was older, as an adult, it

        15    tended to be more resulted from relationships causing him

        16    problems.     That's fairly typical in this population of

        17    people with sexual misconduct that they have a very -- they

        18    have problems with emotional regulation and they have a hard

        19    time feeling any discomfort.

        20         So instead of being able -- like we all have bad days

        21    and we all feel sad and we all have things that happen.

        22    Instead of being able to address that, there's this

        23    expectation they shouldn't have to, they shouldn't feel bad.

        24         So, again, that's not uncommon to kind of have these

        25    vague symptoms.     But he had never been hospitalized in a




                                           217
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 222 of 336
                                                                             162
                                          MOORE - DIRECT


         1    psychiatric facility.       And even any prior therapy he had

         2    seemed somewhat vague in terms of not at a psychiatric

         3    hospital.     He talked about doing meditations and some other

         4    kind of mind-body work that didn't seem as traditionally

         5    mental health based as it did kind of more counseling and

         6    self-help-type therapy.

         7    Q.   Okay.    Overall, how does this defendant compare to

         8    other men who you have diagnosed as pedophiles?

         9    A.   I felt that it was fairly -- his behavior was fairly

        10    consistent.     Those types of statements that he made had some

        11    distortions, which, again, when somebody has not had

        12    treatment, that's fairly common.           He presented with a lack

        13    of history of criminal misconduct before; that's, again, not

        14    uncommon.

        15         So I felt like he was not atypical from somebody else

        16    that I would be asked to evaluate with this type of offense

        17    behavior.

        18    Q.   Okay.

        19         Did you make any determination as to whether this

        20    particular defendant was a risk to reoffend?

        21    A.   I felt like he was at risk.          And I think that's more of

        22    a qualitative statement rather than a quantitative one.              I

        23    think it is really hard to predict what someone may do in

        24    the future.     He may never do anything else again or he may

        25    do something else again.




                                           218
USCA4 Appeal: 13-4576   Doc: 24       Filed: 11/22/2013   Pg: 223 of 336
                                                                                      163
                                             MOORE - DIRECT


         1         We do have an actuarial measure which is the standard

         2    that we use in sex offender diagnosis and treatment called

         3    the STATIC-99R.        And that R means for revised.           And that's

         4    just a ten-item measure that looks at factors that have been

         5    predictive of sexual reoffense among people who have been

         6    charged or convicted of a sexual offense or sexual

         7    misconduct.     So someone could be charged with something that

         8    gets pled down to a simple assault, but it is sexual in

         9    nature, and it still would be used for that charge as well.

        10         And it is a simple tool, but it only really gives us an

        11    idea and a baseline of somebody's risk.                 And it tends -- and

        12    it's predicted mainly on factors that we know from a

        13    criminal record, heavily weighted on prior charges.                 So a

        14    person that has molested a family member that is older, that

        15    has no criminal history, would score a zero.                 And that

        16    doesn't mean no risk.          That means that they are in the low

        17    risk category compared to other offenders.

        18         And typically most of the people I see are going to be

        19    low risk on that measure.             So it is really rare for someone

        20    to score higher.        They tend to score higher because they

        21    have other criminal behavior or charges, thefts, other

        22    misconduct that may not be sexual that elevates that score

        23    or they might be younger men, because younger persons get

        24    more points.        They also get points for not having a long-

        25    term relationship.        So a younger man is going to almost




                                              219
USCA4 Appeal: 13-4576    Doc: 24    Filed: 11/22/2013   Pg: 224 of 336
                                                                                   164
                                           MOORE - DIRECT


         1    always be in a low-moderate risk category just because of

         2    his age.

         3         So it gives us a baseline of risk.              And we know that

         4    this only tells us about half of the variants of things that

         5    are -- for offending.        So this just kind of gives me an

         6    idea.     Not unlike if you went to a physician and they told

         7    you you were at risk for heart disease based on your family

         8    mystery or something you couldn't change, your age, like

         9    other static factors in the sexual measure.

        10         But we would also have dynamic factors that we know we

        11    can change.      And those would be the treatment targets.             So

        12    just like if a doctor said don't smoke and you can eat and

        13    you can keep your risk level at the lowest baseline, that's

        14    what we do in sex offender evaluation too.                 We start with a

        15    STATIC-99 score, which Mr. Dowell was low, and I looked at

        16    other factors.

        17         But it is not uncommon at the evaluation stage, which

        18    is really a snapshot, because all I know is what he tells

        19    me, which may be influenced not by him deliberately trying

        20    to deceive me, but because of his own -- the distortions

        21    that support that diagnosis he has and his offending cycle.

        22    So he may not have an accurate self-awareness to tell me

        23    things that I need to know.

        24         So what I find over time in treatment with people is

        25    that I find out much more information.               So their risk tends




                                           220
USCA4 Appeal: 13-4576    Doc: 24      Filed: 11/22/2013   Pg: 225 of 336
                                                                            165
                                              MOORE - DIRECT


         1    to get higher once they get into treatment and we find out

         2    more information, particularly after they have a sexual

         3    history polygraph once they start in treatment.

         4         So it is not uncommon for people to have a low score.

         5    It is not uncommon for people to look like they don't have

         6    much risk or it is not a big deal, when, in fact, there may

         7    be some other things that we just cannot count in this

         8    measure.

         9    Q.   So, in other words, I think what you are saying is the

        10    STATIC-99 in large part is based on prior court events or

        11    criminal contacts?

        12    A.   Charges.        Charges.    And some kind of sanction.

        13         So someone who might be, again, a teacher, and they

        14    don't have any legal action but they might be involved in

        15    sexual misconduct with their students, administratively

        16    might be moved to different places, so they would score as a

        17    zero on this too, because it looks at prior convictions,

        18    prior violent convictions, prior sexual convictions.

        19         A person absent a criminal history -- and, again, most

        20    people with child pornography offenses have no criminal

        21    history at all.        Sometimes we'll see guys with other sexual

        22    offense behavior that come in that may have some other

        23    criminal history, but rarely, rarely does that happen.          So,

        24    again, most of the people are going to be low on this

        25    instrument.




                                              221
USCA4 Appeal: 13-4576    Doc: 24    Filed: 11/22/2013   Pg: 226 of 336
                                                                                    166
                                           MOORE - DIRECT


         1    Q.   And just for clarification, are you aware of how often

         2    or whether there's a problem with reporting of child sex

         3    offenses by the victims or by offenders?

         4    A.   Yes.     It is fairly common knowledge in the community

         5    treating and evaluating sex offenders and victims that these

         6    cases are underreported.         And so this looks at actual

         7    charged offenses that we can use.

         8         So I have seen a number of men that get zero.              And the

         9    R, or the adjustment, the revised, has added -- where people

        10    are older, they actually get negative scores.               And so

        11    Mr. Dowell actually has a negative one on this measure.

        12         So what we know is based upon charged offenses.

        13    However, the diagnosis of pedophilia is something one

        14    doesn't age out of.        So that's more of a clinical

        15    assessment --

        16                THE COURT:     What do you mean that's a diagnosis

        17    that one doesn't age out of?

        18                THE WITNESS:     It is a lifelong persistent

        19    condition.      So one doesn't just get old and they don't have

        20    it anymore.      It is a chronic condition.           And so from a

        21    treatment perspective, that's what I like to teach my

        22    clients:     This is something you have to be aware of, so you

        23    can't think you are safe because you haven't used

        24    pornography in ten years and start using pornography.

        25                So it doesn't go away.         So while someone's score




                                           222
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 227 of 336
                                                                               167
                                          MOORE - DIRECT


         1    might be low because they have had no formal charges -- and

         2    typically we think of people at higher risk for any kind of

         3    misconduct, criminal, violent, sexual, are under the age of

         4    25, where people are more impulsive, are more immature.                And

         5    as people get older, they tend to age out and not have as

         6    many criminal charges.       That's not true with people with

         7    pedophilia that may not even present until someone is

         8    middle-aged or later.       So it doesn't go away, if that makes

         9    sense.

        10    BY MS. HEALEY:

        11    Q.   You are aware, of course, that there has been numerous

        12    recidivism studies that look at -- or that try to predict

        13    the number of people that will recidivate in these types of

        14    crimes?

        15    A.   Yes.    And you look at general recidivism.          So what I

        16    see in my practice is a number of people, again, that may

        17    have criminal charges, that also, interestingly, have a lot

        18    of denial, that may fail their first polygraph, tend to

        19    violate and get another charge for some kind of nonsexual

        20    violation.     They are using drugs.        They fail a drug test.

        21    They have possession of pornography.             They have violated

        22    something else.

        23         So recidivism studies vary depending on what they are

        24    looking at as criteria.        Did someone recidivate with a

        25    violent offense?     Did someone recidivate with a sexual




                                          223
USCA4 Appeal: 13-4576    Doc: 24    Filed: 11/22/2013   Pg: 228 of 336
                                                                                       168
                                           MOORE - DIRECT


         1    offense?

         2         And some of the times of measure are fairly short.                    I

         3    have had people in my practice that have gone -- I have had

         4    somebody go 14 years in between offenses.                  So it's not

         5    uncommon for people to have up to ten years in between, and

         6    seemingly everything is fine and then they reoffend.

         7         So some of those studies look at recidivism data from

         8    four to six years, which is really -- as they say -- the

         9    authors, I think, of some of those studies say over time --

        10    those numbers tend to increase over time.

        11    Q.   And with the studies that tend to say lower risk to

        12    recidivate, is it fair to say that a lot of those studies

        13    are based primarily either on self-report or official court

        14    records which, as you said, might not reflect the true scope

        15    of the problem?

        16    A.   Yes.     Yes.   It doesn't capture everybody that could be

        17    included in those charges, yes.

        18    Q.   All right.      And are you aware that there are other

        19    recidivism studies where when they add in physiological

        20    assessments such as polygraphs or the penile plethysmographs

        21    that the recidivism rates are actually higher?

        22    A.   Well, I'm aware that they sometimes will find higher

        23    rates of abuse or contact offenses among people using the

        24    polygraph or self-report.          That's what I found in my own

        25    practice.      And in my practice with the Middle District of




                                           224
USCA4 Appeal: 13-4576   Doc: 24       Filed: 11/22/2013   Pg: 229 of 336
                                                                            169
                                             MOORE - DIRECT


         1    Tennessee, we have a fairly small program, and a number of

         2    those men have come in and they have -- they look like

         3    pornography-only offenses or having no contact offenses, and

         4    after treating them and having polygraphs, I found that 75

         5    percent of our population there have contact offenses; and

         6    we knew of a very small percentage before that.

         7         So self-report confirmed by polygraph once they are in

         8    treatment -- because one of -- if they are not in denial of

         9    their instant offense, their first polygraph and treatment

        10    is a sexual history, to get a full picture of their

        11    offending -- other sexual disorders, other sexual behaviors

        12    that may be part of the treatment plan that we would want to

        13    target.

        14    Q.   All right.       Now, the STATIC-99 is based on static

        15    factors; correct?

        16    A.   Unchangeable, yes.          So the problem is if one gets a

        17    high score, it takes a long time -- it takes about 15 years

        18    in the community offense-free before getting a start to make

        19    adjustments.        But if somebody has been convicted of a number

        20    of offenses, those convictions will always be there, so they

        21    will get a high score.

        22    Q.   All right.       But are there always dynamic risk factors

        23    that are not accounted for in the STATIC-99?

        24    A.   Yes.    So what they have tried to look at are things

        25    that are more predictive among this population of what is




                                             225
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 230 of 336
                                                                                 170
                                          MOORE - DIRECT


         1    likely to relate to future sexual offenses.               And they tend

         2    to be grouped in general categories of sexual deviance

         3    factors, so attraction to children, attraction to other

         4    sexually deviant material, having self-regulation problems

         5    in terms of masturbating a lot, going to strip clubs; using

         6    the Internet for engaging in sexual behavior.               So sexual

         7    self-regulation, that a person really is using a lot of

         8    different avenues to explore and to engage in sexual

         9    behavior.

        10         General self-regulation problems, again, as we talked

        11    about earlier about depression or other kind of mood states,

        12    sometimes sex offenders or people with sex-offending

        13    problems don't do a good job at managing anger and other

        14    emotions, so they have a hard time with just having coping

        15    skills to address those.

        16         Anger and hostility have been found also to be dynamic

        17    factors that we would address in treatment as well as

        18    intimacy deficits in terms of addressing relationship

        19    problems.     So those are some of the dynamic factors that we

        20    would look at.

        21    Q.   What did you base your determination that the defendant

        22    poses a recidivism risk?

        23    A.   Well, again, the primary is the instant offense

        24    behavior, the diagnosis of pedophilia, his reliance on not

        25    only the instant offense of the creating the images and




                                          226
USCA4 Appeal: 13-4576   Doc: 24   Filed: 11/22/2013   Pg: 231 of 336
                                                                              171
                                          MOORE - DIRECT


         1    producing the images and in the course of that abusing the

         2    two victims, but also having that collection.            So, again,

         3    just almost immersed in this pedophilic subculture of

         4    looking at these images, using these images, making these

         5    images.    And so I felt --

         6               THE COURT:     Does it impact on your analysis here

         7    that, as I understand the facts, this defendant viewed child

         8    pornography images for about ten years before he engaged in

         9    a contact with the two minor victims.            Now, does that impact

        10    your analysis one way or the other?           A -- and one of the

        11    things that the defendant argues is that, look, he didn't do

        12    anything after the fact; he just had this one encounter; and

        13    he has gone to counseling and all of that.

        14               And so you have this history where for ten years

        15    he's looking at the pictures and for a period of months he

        16    engaged in contact -- making these videos and engaged in the

        17    contact, and then after that he is no longer -- there's no

        18    evidence of a contact offense.          With that history, does that

        19    change or impact your view on this?

        20               THE WITNESS:     I think I would -- I would be more

        21    confident that nothing happened with a polygraph and

        22    treatment, because, again, it is not uncommon for someone to

        23    come in and say, "I have never done this," and what we found

        24    in that 75 percent that had contact offenses, most of them

        25    had more than ten victims; they had double-digit victims.




                                          227
USCA4 Appeal: 13-4576   Doc: 24       Filed: 11/22/2013     Pg: 232 of 336
                                                                                         172
                                             MOORE - DIRECT


         1    And no one ever knew that until we had an opportunity to

         2    look at other places as well.               So that would be one.

         3               If that's true, that would also suggest, again, an

         4    immersion in that culture, and more support for that.                       So it

         5    seems like that became more of a focus rather than trying to

         6    engage adult women in relationships.

         7               So just a very -- again, I feel very confident in

         8    the diagnosis of pedophilia.                I don't know that that would

         9    lower the risk, because I haven't seen the arguments

        10    clinically or empirically that masturbating and fantasizing

        11    about child images is a safe -- quote/unquote, safe

        12    alternative.        Because I think if we think about something we

        13    want and we think about it and fantasize about it, and we

        14    pair that behaviorally, a thought with an action, a sexual

        15    gratification, that's very powerful.                  So we have to unpair

        16    that.

        17               So he has had a lot of practice, if that was

        18    something he liked and was gratified by.                       And I can't say

        19    that that was all that was gratifying.                   So it didn't change

        20    in terms of -- so I can't really put a quantitative number

        21    on what his risk level is, but to say I feel like he is at

        22    risk and that pedophilia, that is, those interests, are the

        23    highest predictor we have of interest in children, in

        24    sexually acting out with children.

        25    BY MS. HEALEY:




                                             228
USCA4 Appeal: 13-4576   Doc: 24       Filed: 11/22/2013    Pg: 233 of 336
                                                                                      173
                                             MOORE - DIRECT


         1    Q.   Now -- and then the Court referenced the counseling he

         2    said he went to.        He indicated he went to that counseling

         3    before he did the contact offending; correct?

         4    A.   He said he went to SLA, Sex and Love Addicts Anonymous,

         5    or SAA groups for about four months.                 And he said his

         6    sponsor fired him.        And those are self-help groups.              And

         7    those have not really been found to be as effective in

         8    treating sexual disorders.

         9    Q.   All right.       That's not something to treat someone who

        10    is looking at child pornography or --

        11    A.   Someone who has a sexual disorder -- and in my opinion

        12    pedophilia is a sexual disorder -- and that would not be

        13    adequate.     And, in fact, in the people that I provide

        14    treatment to in our state, in Tennessee, that is not

        15    acceptable treatment.          And for people to be in that kind of

        16    treatment, it really undermines the other treatment because

        17    this message is saying, "You are an addict, and you can't

        18    help it," while the treatment of the disorder is, "You are

        19    responsible.        Here are some things that you did that

        20    increase that, those images and urges and desires.                 Here is

        21    some ways that you can change that."

        22         So they are really kind of conflicting in the approach

        23    for both of those treatments.               And, again, one of them is

        24    really not a treatment; it is self-help by other people who

        25    have had similar problems and are really not skilled or




                                             229
USCA4 Appeal: 13-4576   Doc: 24       Filed: 11/22/2013   Pg: 234 of 336
                                                                            174
                                             MOORE - DIRECT


         1    qualified to provide that level for somebody that needs that

         2    level.

         3         Now, maybe if somebody is looking at adult images and

         4    they don't have any kind of serious or diagnosable

         5    condition, that might be -- a self-help group might be more

         6    appropriate.        But anyone with any kind of chronic condition

         7    would need what is the standard of care for that condition.

         8         If one had diabetes, the standard of care would not be

         9    go to a support group.          It would be you can go to a support

        10    group in addition.        But you would have to look at what the

        11    standard of care is.         And the standard of care for sexual

        12    disorders tends to be something to address the disorder

        13    behavior.

        14    Q.   And I think you said he mentioned to you that he had

        15    been booted out of the program by his sponsor?

        16    A.   That his sponsor had fired him, yes.

        17    Q.   Okay.    All right.       Now, you heard this morning

        18    Mr. Fottrell testify about some of the nature of the images

        19    that were found on his computer?

        20    A.   Yes.

        21    Q.   All right.       And in that testimony I think you heard him

        22    describe some scatological images that were found in that

        23    computer.     Is scat considered another -- or an interest in

        24    scat considered a paraphilia?

        25    A.   Well, it is -- in the clinical world it is coprophilia,




                                             230
USCA4 Appeal: 13-4576   Doc: 24     Filed: 11/22/2013   Pg: 235 of 336
                                                                                 175
                                           MOORE - DIRECT


         1    or the interest in feces, and urophilia, so some people may

         2    also or instead of been interested in urination.               And I had

         3    seen in the collection of Mr. Dowell there were at least one

         4    image I recall seeing of a child, a very young child,

         5    urinating.     And I had asked him about his interests.            And he

         6    said he had interests in urination and defecation, but would

         7    never engage in that behavior.

         8         So, again, it is fairly rare, relative to other

         9    paraphilia behaviors among other clients that I have seen.

        10    But it is certainly one of a paraphilia -- paraphilic

        11    behaviors that we would want to look at from a treatment

        12    perspective as relevant to the overall treatment plan for

        13    sexual problems.

        14    Q.   All right.     And was there any effect on your opinion

        15    about Mr. Dowell given that you now know that there was a

        16    video of Mr. Dowell himself engaging in copraphilia or

        17    scatological images?

        18    A.   Well, he said he would never do it.               So I think it

        19    just, again, speaks to maybe a lack of awareness through his

        20    disordered behavior or an attempt to misdirect.               And I can't

        21    say which one.      But he said he wouldn't be interested in

        22    doing that but he was interested in that.

        23    Q.   All right.

        24         Is there any concern that somebody who has multiple

        25    paraphilias might be more of a risk than somebody with a




                                            231
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013    Pg: 236 of 336
                                                                                    176
                                           MOORE - DIRECT


         1    single paraphilia?

         2    A.   Well, typically, again, I think we have to look at the

         3    overall picture.     I think the length of time, I think

         4    someone can be very immersed with one paraphilia and it be

         5    strong enough to load fairly high.             But multiple paraphilia

         6    I think is not --

         7                THE COURT:     What is paraphilia?

         8                THE WITNESS:     It is a sexual disorder.

         9                THE COURT:     Just sort of generalized?

        10                THE WITNESS:     Yes.    It could be voyeurism,

        11    exhibitionism, or any of those.            So it is not uncommon for

        12    offenders to have multiple --

        13                THE COURT:     Multiple kinds of disorders.

        14                THE WITNESS:     Yes.

        15                THE COURT:     Okay.    All right.

        16                THE WITNESS:     And their pornography collections

        17    also reflect other interests.            They may have hidden

        18    cameras.     Cameras are very small, so I have a number of

        19    people that like to get those cameras.               So, again, the

        20    urophilia, the copraphilia, people may have that in their

        21    collection and have --

        22                THE COURT:     What is copraphilia?

        23                THE WITNESS:     Interest in defecation.         So either

        24    the person is defecating or wants the other person to

        25    defecate on them.        And they have an interest in doing things




                                           232
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 237 of 336
                                                                              177
                                          MOORE - DIRECT


         1    with that material -- that organic matter, I guess.

         2               THE COURT:     Sorry I asked.       Go ahead.

         3               THE WITNESS:     Yes.     So I think, not unlike someone

         4    with substance abuse issues -- if a person had a number of

         5    different substance they were using, the treatment of their

         6    overall substance-abusing problem would be more difficult

         7    because there would be a lot of areas in which they could

         8    continue to engage.       And so that is not unlike someone with

         9    multiple sexual disorders.          It is just -- again, we want to

        10    look at that to address from a treatment perspective.

        11    BY MS. HEALEY:

        12    Q.   All right.     Is pedophilia --

        13               MR. BOSTIC:     Your Honor, could we approach?

        14               THE COURT:     Please.

        15         (Off-the-record discussion at sidebar.)

        16               THE COURT:     Ask the marshal to declare a recess.

        17               While we are in recess, since you have been on the

        18    stand testifying, I'd ask that you not discuss your

        19    testimony with anyone else.          You can leave the box though.

        20    You can leave all of your stuff right there.

        21               Let's take a -- let's see.          Say about ten minutes.

        22         (Recess at 3:20 p.m.)

        23         (Call to Order of the Court at 3:35 p.m.)

        24               THE COURT:     Please proceed.

        25               You are still under oath.




                                          233
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 238 of 336
                                                                               178
                                            MOORE - CROSS


         1                MS. HEALEY:    Judge, I only have one more question.

         2                THE COURT:    Okay.

         3    BY MS. HEALEY:

         4    Q.   You just informed the Court what paraphilia is.             Is

         5    pedophilia a paraphilia?

         6    A.   Yes.    Pedophilia is one of the paraphilias.

         7                MS. HEALEY:    That's it.

         8                THE COURT:    Thank you, Ms. Healey.

         9                Mr. Bostic, do you have any questions?

        10                MR. BOSTIC:    Yes, sir.      I have a few, Judge.

        11                              CROSS-EXAMINATION

        12    BY MR. BOSTIC:

        13    Q.   Dr. Moore, I wanted to ask you just a couple of quick

        14    questions.     And going back to -- as much as I really don't

        15    want to get into this subject, on the scat and -- what was

        16    the other?     Copraphilia?

        17    A.   Copraphilia is -- I think legal people call it scat and

        18    a clinical person calls it copraphilia.

        19    Q.   It is all the same thing?

        20    A.   Yeah, we're talking about the same thing.

        21    Q.   Okay.    Mr. Dowell did admit to have some interest at

        22    some point in that?

        23    A.   Yes.    Yes.

        24    Q.   And -- but I think you had actually talked about seeing

        25    a picture and I think a discrepancy as to whether or not you




                                          234
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 239 of 336
                                                                               179
                                            MOORE - CROSS


         1    may have thought he was lying to you?

         2    A.   I'm sorry?

         3    Q.   Was there a discrepancy to where you thought he was

         4    lying to you about something?

         5    A.   He said that he -- let me see where I have got that.

         6    He said he had -- and this is from my report.             He had an

         7    interest in urination and defecation that he said was

         8    arousing.     And he said the idea was appealing, although

         9    viewing images -- through viewing images, but the practice

        10    was less appealing.      And he denied any experimentation.            And

        11    I'm referring to the testimony from this morning that he had

        12    made a video.

        13    Q.   Okay.    But that was not -- the video that had him did

        14    not have he and anybody else; correct?

        15    A.   Correct, just him.       And I just said there was a

        16    discrepancy in what he said and that information I heard

        17    today.

        18    Q.   Okay.    Now -- now, in your report, one of the things

        19    that you put in where you had the diagnosis of pedophilia,

        20    you also did put in that it was a permanent condition, but

        21    it was a condition that is manageable?

        22    A.   It -- yeah.    It is a lifelong condition, but one that

        23    can be managed.     And that is what treatment addresses.             So

        24    treatment does not reject persons that have the pedophilia

        25    diagnosis, because it can be managed.             It is believed to be




                                          235
USCA4 Appeal: 13-4576    Doc: 24    Filed: 11/22/2013   Pg: 240 of 336
                                                                                   180
                                             MOORE - CROSS


         1    incurable.

         2    Q.   And over the time period when -- strike that.

         3         How long did you actually talk to him?

         4    A.   A little over, let's see, about an hour and 45 minutes

         5    talking to him.      And then the rest of the time he was taking

         6    the test.      And then we had some follow-up for maybe another

         7    five minutes.

         8    Q.   And during that time period, what was the conversation

         9    that you-all were having?          You were primarily pulling

        10    information -- or getting information from him?

        11    A.   I have a -- I go down and I have a list of questions

        12    that -- I basically have this report and I go through all of

        13    these -- filling in all of these questions.                 So I ask all of

        14    these questions about background history, about his sexual

        15    history, and ask him to kind of explain his version of the

        16    behavior in question.        So, yes, it is a fairly structured

        17    interview, but I may ask questions based on what he tells

        18    me, yes.

        19    Q.   And one of the things that you talked about is the

        20    diagnosis that you have given him of pedophilia and a lot of

        21    people that fit the same general criteria.                 Let me see if I

        22    can get the words that you used.            "In providing information,

        23    they give somewhat of a distorted view of how they view

        24    things"?

        25    A.   Correct.




                                           236
USCA4 Appeal: 13-4576    Doc: 24    Filed: 11/22/2013   Pg: 241 of 336
                                                                                181
                                             MOORE - CROSS


         1    Q.   As compared with you, who would be looking at it and

         2    you would not have that distorted effect, I guess?

         3    A.   That other people might have another perspective,

         4    correct.

         5    Q.   And that often leads to people thinking -- or people

         6    that kind of fit this category into thinking what they were

         7    doing to the child was not -- they were not really hurting

         8    the child and things of that nature, so that would be

         9    typical for people that are in that category?

        10    A.   Correct.

        11    Q.   Now, you understand he will be in prison for a pretty

        12    good time period; is that correct?

        13    A.   I understand that.

        14    Q.   And during -- while he is in prison he will be

        15    receiving treatment for this, in all likelihood; would that

        16    be correct?

        17    A.   I don't -- I don't have any basis to which to speak

        18    about that.      I know that in programs in prisons I have been

        19    affiliated with, someone had to get closer to their end date

        20    to be eligible for certain programs.              So I'm not -- I'm not

        21    affiliated with any prison programs to be able to speak

        22    about that currently.

        23    Q.   The judge can make recommendations to send him to a

        24    particular prison that has sexual deviant behavior

        25    counseling or treatment?




                                           237
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 242 of 336
                                                                             182
                                            MOORE - CROSS


         1    A.   I would imagine, yes, he could; yes.

         2    Q.   Okay.    And there -- were you aware that there were a

         3    lot of different ways that the Court -- in fact, a lot of

         4    things the Court has to order as part of somebody that has

         5    child pornography convictions as far as where they can live,

         6    where they can go to, ability to have contact with

         7    children?     There's a lot of different things that the Court

         8    will order as part of that order if the person was ever to

         9    be released?

        10    A.   Yes.

        11    Q.   Is that correct?

        12    A.   Yes.

        13    Q.   And would those type of things help as far as lower

        14    that risk when you set him as a risk of deviant behavior or

        15    a further risk of either contact offenses or --

        16    A.   No, it would not.      It would not lower one's risk.      What

        17    it does, it provides external barriers while somebody is

        18    learning to manage their risk.           So while someone comes to

        19    treatment, they come to treatment with their problems.           And

        20    part of treatment is to teach them how to manage

        21    internally.     So what we start with is a fairly intensive

        22    external management.

        23         So it makes sense that persons, when they first get in

        24    trouble, they may go to prison, they may get probation, they

        25    may get community correction, they may get a mixture of




                                          238
USCA4 Appeal: 13-4576    Doc: 24    Filed: 11/22/2013   Pg: 243 of 336
                                                                                       183
                                             MOORE - CROSS


         1    several of those, and they have a lot of external components

         2    in place.      Because they demonstrated their decision-making

         3    has not been good, that their access to certain materials or

         4    persons has been problematic, so we kind of take away that

         5    decision-making through external barriers.                  And then as they

         6    get healthier, we remove some of those external, because

         7    eventually they will be -- theoretically eventually they

         8    will be on their own and totally relying on the internal.

         9         So that doesn't lower one's risk.              It just is a

        10    restriction that helps a person while they are learning to

        11    lower their risk.

        12    Q.   Okay.     So if -- if he was on house arrest, for

        13    instance, wouldn't that lower the risk substantially?

        14    A.   No.     No, it wouldn't lower the risk.               His risk is

        15    internal.

        16    Q.   So the risk is the same whether he's in prison or out

        17    of prison?

        18    A.   Correct.

        19    Q.   Okay.     And I believe one of the things you did talk

        20    about a little bit and I think were asked by the judge, do

        21    you have any evidence whatsoever of any contact crimes prior

        22    to November -- late November of 2010?

        23    A.   No, sir.

        24    Q.   And have no evidence of any contact crimes after

        25    January of 2011?




                                           239
USCA4 Appeal: 13-4576    Doc: 24       Filed: 11/22/2013     Pg: 244 of 336
                                                                                      184
                                                MOORE - CROSS


         1    A.   No.

         2    Q.   Now, one of the things you also had in your report is

         3    you talked very much about a lack of empathy for others, a

         4    tendency to be very narcissistic, very self-centered, that

         5    sort of thing?

         6    A.   I'm not sure what you are referring to.                    You mean the

         7    testing section?

         8    Q.   Yes.

         9    A.   That's the testing profile, from his scores.

        10    Q.   And his scores would tend to indicate somebody like

        11    that, had very little empathy with anyone else?

        12    A.   It tended to be narcissistic, which, again, is not

        13    uncommon in this population.                 So I didn't diagnose him with

        14    a narcissistic or other personality disorder.                    But this

        15    profile from his MMPI, that's what his elevations suggested.

        16    Q.   Okay.     I think one of the other things that you were

        17    looking at is he was -- did not seem to be receptive towards

        18    counseling or that was an indication of somebody with his

        19    type of scores?

        20    A.   That's what the MMPI profile suggests, that a person

        21    who -- that shifts responsibility for their behavior and

        22    wants to deny psychological problems is not a good candidate

        23    for therapy.         And that's the MMPI profile.

        24    Q.   But you did understand from speaking to him that he has

        25    had various counselors for years; is that correct?                    As a




                                              240
USCA4 Appeal: 13-4576   Doc: 24   Filed: 11/22/2013   Pg: 245 of 336
                                                                          185
                                           MOORE - CROSS


         1    result of going back to his father dying when he was in

         2    college and depression and then marital counseling and had a

         3    variety of different therapists over the years?

         4    A.   I understood he had been in some -- he had had some

         5    therapy before.

         6    Q.   And that would -- his willingness to actually undergo

         7    therapy on his own would be an indication that he would be

         8    somebody that might be amenable to treatment or at least

         9    seek out treatment?

        10    A.   That could -- yes, that could be one explanation.

        11    Q.   And certainly one of those is he attended Sex and Love

        12    Anonymous -- or Sex and Love Addicts Anonymous; that would

        13    also be an indication that he would be somebody that would

        14    be amenable to treatment?

        15    A.   He said he was willing to get into treatment, yes.

        16               MR. BOSTIC:    Judge, if I could have one moment?

        17               THE COURT:    Yes, sir, Mr. Bostic.

        18         (Pause.)

        19    BY MR. BOSTIC:

        20    Q.   Dr. Moore, have you seen any of the letters that were

        21    filed with the presentence report concerning friends of his

        22    or anything of that nature?

        23    A.   No, I have not.

        24    Q.   In those letters, a lot of those, it explains the work

        25    that he did with them.      And I believe he actually did




                                          241
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 246 of 336
                                                                              186
                                            MOORE - CROSS


         1    describe to you that he had helped other people in several

         2    different types of therapy or several different types of --

         3    I think dance is one of the things he was doing, things of

         4    that nature?

         5    A.   Yes.    Yes.   I recall him saying he was very active in

         6    the dance community, yes.

         7    Q.   And did you have anything -- any reason to disbelieve

         8    the fact that he was, in fact, helping other people in dance

         9    and also I think -- I forget what the name is.            It is a

        10    particular type of psychotherapy, Hakomi?

        11    A.   Yes.    I have no reason to disbelieve Mr. Dowell.         I

        12    felt he was telling --

        13    Q.   So those are indications he would be also helping

        14    others or be involved with treatment and certainly

        15    interested in treatment and counseling and even helping

        16    others with treatment and counseling?

        17    A.   It seemed like he sought out treatment throughout his

        18    life.

        19    Q.   Okay.

        20                MR. BOSTIC:    I have no further questions, Judge.

        21                MS. HEALEY:    Your Honor --

        22                THE COURT:    Any redirect?

        23                MS. HEALEY:    Just briefly.

        24

        25




                                          242
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 247 of 336
                                                                              187
                                            MOORE - REDIRECT


         1                              REDIRECT EXAMINATION

         2    BY MS. HEALEY:

         3    Q.   Dr. Moore, you were asked a question about whether you

         4    had received any evidence of any other contact offenses

         5    other than the ones that brought him to court today, you

         6    were just asked by Mr. Bostic.

         7    A.   Yes.

         8    Q.   It is not your job to collect evidence; correct?

         9    A.   Correct.

        10    Q.   All right.     And the defendant's statements to you are

        11    purely self-report other than the investigatory materials

        12    that you received to review?

        13    A.   Yes.

        14    Q.   All right.     Did you perform a polygraph or a PPG to

        15    determine the accuracy of any denial of any other contact?

        16    A.   No, I did not.

        17                MS. HEALEY:    Thank you.      I have no further

        18    questions.

        19                THE COURT:    Thank you.      You may stand down.

        20                May this witness be excused?

        21                MS. HEALEY:    Yes, Your Honor.

        22                THE COURT:    Okay.    Does the government have any

        23    other evidence the government wants to put on?

        24                MS. HEALEY:    Your Honor, the only other evidence

        25    would be a couple of excerpts from victim impact statements,




                                           243
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013     Pg: 248 of 336
                                                                                   188



         1    including one from "Vicky" who requests that her victim

         2    impact statement be read at sentencing proceedings and also

         3    we have the father of the victims who would like to make a

         4    victim allocution.        Perhaps we could do that first?           It is

         5    up to the Court what the Court wishes to do on that.                 Would

         6    that be okay, so he may leave, if he can?

         7                THE COURT:     Yes.    Yes.     Whatever you want to do.

         8                MS. HEALEY:     All right.

         9                Would you like to come forward?

        10                And he knows not to put his name on the record.

        11    And I think the Court intends to address him as well at some

        12    point, I believe.

        13                VICTIMS' FATHER:       Bear with me.

        14                THE COURT:     Well, the Court appreciates you being

        15    here.     I know this is difficult.          And it has to be hard for

        16    you, so I want you to take your time.               And this is a

        17    difficult circumstance; it has to be for you.               And, you

        18    know, we are sorry that you are here and having to do this.

        19    And -- but I appreciate your willingness to come forward and

        20    tell me what you have to say.             And thank you for being here.

        21                VICTIMS' FATHER:       My purpose for being here is to

        22    give my children a voice through me and how it has been over

        23    the last 21 months.        And it has been incredibly difficult

        24    and painful; many sleepless nights and a lot of guilt,

        25    blaming myself that if I had been a better husband and not




                                           244
USCA4 Appeal: 13-4576    Doc: 24    Filed: 11/22/2013   Pg: 249 of 336
                                                                                    189



         1    had gotten a divorce that this happened; a lot of empty

         2    bottles of whiskey when I was alone; a loss of motivation;

         3    just an incredible amount of pain.             Apart from losing a

         4    child, I cannot think of anything more unbearable to go

         5    through.      And through that, it has been trying on my ex-wife

         6    and her husband and our children.

         7                 There has been a silver lining that it has drawn my

         8    ex-wife and I and her husband very close.                  And we are very

         9    much a family; if not an unorthodox family, a family,

        10    nonetheless.

        11                 And through the anger and the grieving, there has

        12    been temptation to go into hatred and bitterness and rage

        13    and everything.      And my purpose in coming here today is to

        14    get this out to John and just for the Court and also to know

        15    that I have worked through this.            And by the grace of God I

        16    am able to come to a stand of forgiveness and to look at

        17    you, John, and say, "I forgive you."              And I am praying for

        18    you.      And no matter how hard this next 25 years will be with

        19    whatever damage that has been done to my children, I wish

        20    you no ill will.      And I will continue to pray for you and

        21    your life henceforth.        And -- but it has not been easy.

        22                 And I think that is all I had to say.              But thank

        23    you for letting me address that.            And that is --

        24                 THE COURT:   Sir, let me say that I thank you for

        25    that.      And it takes a person of incredible character to come




                                           245
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 250 of 336
                                                                                   190



         1    forward and do what you have done.            So I don't think you

         2    should hold yourself accountable for what has happened.

         3    Your words are remarkable.         Your ability to forgive is

         4    admirable.

         5               We all -- everybody here hopes and prays for the

         6    best for your girls --

         7               VICTIMS' FATHER:       Thank you.

         8               THE COURT:     -- everybody.       And I hope they are

         9    doing well.     I hope they will continue to do well.

        10               And I want to commend you on, A, coming up here in

        11    a very, very difficult circumstance.             I just can't imagine

        12    how hard this is for you.         And for you to demonstrate the

        13    level of compassion and understanding and humanity that you

        14    have done speaks very highly of you, very highly of you.

        15    And I just -- I want you to know I appreciate it.

        16               VICTIMS' FATHER:       Thank you.

        17               THE COURT:     I appreciate it.        And we all hope and

        18    pray the best for those two little girls in your family.

        19               VICTIMS' FATHER:       Thank you.      Appreciate it.

        20               THE COURT:     Ms. Healey.

        21               MS. HEALEY:     Yes, Your Honor.         The only other

        22    evidence, Your Honor, are a few excerpts from some victim

        23    impact statements.       I'm aware that the Court has, obviously,

        24    read them.     So I will keep them brief.           I have picked out

        25    excerpts from, I think, three.




                                          246
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 251 of 336
                                                                                191



         1               The first one is from the -- what is known as the

         2    "Jessica" series.     And it states as follows:           "The sexual

         3    exploitation of a child is a crime that can be compared to

         4    the severity of that of murder.           While the victims are still

         5    left breathing in most cases, but sadly not all, their

         6    futures have been permanently scarred, not due to their own

         7    fault, but due to the wrong of someone else.

         8               "My daughter was sexually abused by her own

         9    father.    Her pictures were transmitted over the Internet.

        10    It has been explained to me that trading child pornographic

        11    pictures for a pedophile is like a common child trading

        12    baseball cards.     In order to get more 'cards' or better

        13    'cards' you need to trade or share.            Because of this

        14    practice, pictures of my beautiful, innocent, and loving

        15    daughter have been circulated all over the world for these

        16    sick people to view for their disgusting pleasure.

        17               "Once pictures are transmitted via the Internet,

        18    they cannot be retrieved.         These photographs are in

        19    cyberspace forever and will constantly be viewed by sick

        20    perverted minds.

        21               "My daughter has aspirations, like all young girls,

        22    of being a model or a movie star.           Because of her

        23    exploitation, I do not foster her dreams as I normally would

        24    in a normal situation.       I fear her becoming famous, and

        25    someone digging up the 'dirt' about her unfortunate past.




                                          247
USCA4 Appeal: 13-4576    Doc: 24    Filed: 11/22/2013   Pg: 252 of 336
                                                                                     192



         1                "To see my daughter today, you would never know

         2    what transpired in her early childhood.               Her father has been

         3    and will be permanently out of her life.                   He is currently

         4    incarcerated for a term of 18 years for his abuse.                   The

         5    repercussions of his actions are too numerous and depressing

         6    to list.     But through the support and love of family and

         7    friends and counseling, we have overcome this tragedy and

         8    have thankfully moved on in our lives.

         9                "Unfortunately, this horror will never go away

        10    entirely.      I am constantly receiving notifications from all

        11    over the United States that my daughter's photos have popped

        12    up on another pedophile's portfolio.              I can choose to stop

        13    receiving the notifications, but I don't.                   If my words can

        14    help keep a pedophile off the streets to protect our young

        15    innocent children, then that is what I need to do.

        16                "When it comes to deciding how long the offender

        17    should be punished for, we need to remember that the victims

        18    in the case have also been punished, but their punishment is

        19    a lifelong scar rather than just a few years like the

        20    offender.      We should try and make it more and more difficult

        21    for this type of crime to occur, and the punishments for the

        22    pedophiles should be more severe in hopes of making them

        23    think twice before doing the act they do.                   A slap on the

        24    hand is not proper punishment for the loss of innocence and

        25    dreams of a child.




                                           248
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 253 of 336
                                                                               193



         1               "In the words of my daughter when I asked her years

         2    ago what the police should do to the bad guys, 'Punch them

         3    really hard, mommy.'"

         4               And I say these things, Judge, because I know we

         5    have focused, of course, in large part on the contact

         6    offenses that led to the production in this particular case,

         7    but, as the Court has heard, this guy had a very large

         8    substantial collection of child pornography and other

         9    sexualized images of children.           Children should never be

        10    posed sexually.

        11               And we know from seeing these victim impact

        12    statements that the effects are profound, enduring; they

        13    last a lifetime.     And we hear it time and time again that it

        14    is not just the initial abuse, but also the knowledge that

        15    their life can truly never go on by knowing what happened.

        16               So the other two I have are one paragraph from the

        17    "Jan_Feb" series -- or -- or a couple of small paragraphs.

        18    "Throughout this nightmare" -- this is from, I think, the

        19    mother.    "Throughout this nightmare I have longed to put my

        20    arms around my child and comfort her.             But her experience

        21    left her distrustful of any touch.            A hug, a kiss, an arm

        22    around the shoulder all met with disdain and shouts of 'No

        23    smooshies.'     For months, the only creature she would hug was

        24    the stuffed toy she carried to bed with her.

        25               "The little girl who once played at dress-up and




                                          249
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 254 of 336
                                                                                 194



         1    who called for me to come and see how beautiful she was now

         2    hates being called pretty.         She has learned that being

         3    pretty attracts the type of attention that she dreads.

         4    After extensive therapy she is beginning to recover now.

         5    She no longer smears food on her face or pulls tangled hair

         6    over her eyes to hide behind as she used to.               It is less

         7    often that she rubs her hands raw, washing them over and

         8    over again, trying to feel clean.           She even comes to mom for

         9    hugs now and then.

        10                "But the fear is not entirely gone.            The

        11    strategically placed broken toys on the floor, 'to hurt the

        12    feet of the bad man if they try to sneak into our house,'

        13    have been replaced with martial arts lessons, which she

        14    practices with a grim determination 'to learn how to protect

        15    myself.'     And then there is the shadow that still comes over

        16    her face if a stranger gives her an unexpected compliment.

        17    The pictures are still out there."

        18                And this is a very long statement.            I will not read

        19    more; I know the Court has.         It is a very compelling

        20    statement.

        21                And the final one is from "Vicky."            "Vicky" is one

        22    of the most widely traded child pornography series.               In

        23    fact, it is pretty frequent that the primary investigator in

        24    that case is called upon to testify around the country.                  He

        25    testified in one of my trials that I had.




                                          250
USCA4 Appeal: 13-4576    Doc: 24      Filed: 11/22/2013    Pg: 255 of 336
                                                                                     195



         1                And she states as follows.             This is an Updated

         2    Victim Impact Statement from December of 2011.                   "I live

         3    every day with the horrible knowledge that many people

         4    somewhere are watching the most terrifying moments of my

         5    life and taking grotesque pleasure in them.                   I am a victim

         6    of the worse kind of exploitation:                child porn.     Unlike

         7    other forms of exploitation, this one is never ending.

         8    Everyday, people are trading and sharing videos of me as a

         9    little girl being raped in the most sadistic ways.                   They

        10    don't know me, but they have seen every part of me.                   They

        11    are being entertained by my shame and pain.

        12                "My world came crashing down the day I learned that

        13    pictures of me being sexually abused had been circulated on

        14    the Internet.        Since then, little has changed except my

        15    understanding that the distribution of these pictures grows

        16    bigger and bigger by the day and there's nothing I can do

        17    about it.      The enormity of this has added to my grief and

        18    pain and given me a paranoia.               I wonder if the people I know

        19    have seen these images.           I wonder if the men I pass in the

        20    grocery store have seen them.               I feel totally out of

        21    control.     They are trading around my trauma like treats at a

        22    party and it feels like I am being raped all over again by

        23    every one of them.        It sickens me to the core, terrifies me,

        24    and makes me want to cry.             So many nights I have cried

        25    myself to sleep thinking of a stranger somewhere staring at




                                              251
USCA4 Appeal: 13-4576   Doc: 24   Filed: 11/22/2013   Pg: 256 of 336
                                                                                   196



         1    their computer with images of a naked me on the screen.                    I

         2    have nightmares about it often.          I can never feel safe so

         3    long as my images are out there; every time they are

         4    downloaded I am exploited again, my privacy is breached, and

         5    I feel in danger again.       I fear that any of them may try to

         6    find me and do something to me.

         7               "I have a right to know who has my pictures and who

         8    is trading them.    While it hurts to know, not knowing makes

         9    me feel more in danger.       To be criticized for wanting to

        10    know what is going on with the humiliating pictures of me,

        11    to exercise the few rights I have under the law, only makes

        12    the hurt that much worse.        How can such people not

        13    understand or care?

        14               "I am justified in my paranoia.               Some of these

        15    perverts have contacted me.        I have received emails

        16    suggesting making porn with these strangers; one has stalked

        17    me.   Another created a slideshow of me on YouTube.

        18               "As I go on with my life the effects of these

        19    crimes still hurt me and I hope the Court and everyone

        20    involved will understand this and how serious it is.                 While

        21    the abuse from my biological father was awful, as time goes

        22    on that is farther and farther away from me.                 He is in jail

        23    and can never hurt me.      That is over.        The men that download

        24    my pictures are all around me for all I know and it will

        25    keep going on forever.      I have no control over it at all.




                                         252
USCA4 Appeal: 13-4576    Doc: 24    Filed: 11/22/2013   Pg: 257 of 336
                                                                                197



         1    This is frightening, beyond belief.

         2                "I still have nightmares that come from knowing

         3    that pictures of me are spread around the Internet by people

         4    with perverted interests in my pain.              I have panic attacks

         5    and flashbacks.      I can't sleep a lot of nights, no matter

         6    how early I go to bed or how early I wake up in the

         7    morning.     Even if I've barely slept for days and am

         8    exhausted, sleep doesn't come easy.             I take afternoon naps

         9    just to function, but something about the night time puts my

        10    mind at alert and after all these years and going to

        11    different counselors, I still haven't learned the trick to

        12    let my mind rest.      When I do sleep, my dreams are vivid and

        13    I remember them for weeks.          A common theme is finding myself

        14    naked in front of a crowd of people or in an enclosed space

        15    and I can't escape or run away fast enough.

        16                "Most days I can put away the thoughts of the

        17    previous night and function okay, but some days I get

        18    'stuck' and zone out.        When this happens, I sit in the same

        19    spot motionless for a long time.            My mind will come back at

        20    some point later in the day, maybe 30 minutes later or maybe

        21    six hours later.      I can't remember what I did during that

        22    time but I look around my apartment for clues.              This happens

        23    a few days out of the month, more frequently if I'm under a

        24    lot of stress.

        25                "I have left my home in this 'zoned-out' state of




                                           253
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013    Pg: 258 of 336
                                                                                   198



         1    mind a few times.     Friends and family who've seen me in this

         2    stage describe me as "loopy" and tell me that they can talk

         3    me out of it by pointing out my odd behavior and talking me

         4    through some deep breaths.         They have told me my personality

         5    changes when this happens.         I can't remember things I have

         6    said in that state, and then they repeat them back to me" --

         7    "when they repeat them back to me it is really surprising.

         8               "I have struggled off and on with this, which I

         9    now" -- "I know now" -- "I now know is called

        10    disassociating.     This last year I felt under such stress, I

        11    started zoning out, or disassociating, a few times a week

        12    and having the personality issues so bad that my friends

        13    were really concerned about me.            They keep telling me I

        14    wasn't acting normal, especially at night.                 I had missed a

        15    lot of the first two weeks at school so I have the added

        16    stress of trying to catch up.            It felt like I couldn't

        17    control it.     I never knew when I was going to zone out and I

        18    kept missing classes and appointments.               It seems crazy, but

        19    it took me a long time to recognize what was going on and to

        20    get myself to start working on my coping skills again.

        21               "School has been a struggle.            I have had to quit

        22    two different times.      I cannot attend a regular college away

        23    from home due to my paranoia.            Over the last year I have

        24    disassociating and missing classes.             This puts me behind and

        25    hurts my grades.     I am doing my best to salvage my grades




                                          254
USCA4 Appeal: 13-4576   Doc: 24      Filed: 11/22/2013    Pg: 259 of 336
                                                                                    199



         1    and do all of the extra credit I can do to compensate.                     My

         2    struggles with sleep due to the fear of unknown people

         3    watching my images and coming after me compounds all of the

         4    other problems.       It frustrates me because I hate the feeling

         5    of being out of control, yet these effects can get triggered

         6    when I least expect it.

         7                "My paranoia about pornography and panic attacks

         8    has so far made a serious relationship beyond my

         9    capabilities.       The paranoia of knowing people are viewing

        10    videos of me messes with my mind and adds a back burner type

        11    of stress to my life constantly that is brought to the front

        12    of my mind by unexpected situations and still throws me for

        13    a loop, the episodes of disassociation and personality

        14    change and stress management.              Many of my PTSD symptoms have

        15    gotten better.       One thing that has gotten worse is that the

        16    stress affects my health and makes me sick.                  I sometimes

        17    stress out to the point of not being able to keep food down

        18    for days.     It also seems to wear down my immune system

        19    because I seem to be getting sick more often.                  In my efforts

        20    to counteract this I try to work on doing regular exercise,

        21    eating healthy, and take vitamins every day.

        22                "I want you to know that dealing with the effects

        23    of the stress of random men looking at pictures of my sexual

        24    abuse as a child is like a full time job that wears me down

        25    and colors every aspect of my life.               Please think of me and




                                            255
USCA4 Appeal: 13-4576    Doc: 24       Filed: 11/22/2013   Pg: 260 of 336
                                                                                        200



         1    what I am going through."

         2                And that's her most recent one.                   There are, of

         3    course, other ones, Your Honor.               She is not the only one who

         4    has actually been stalked.             We know of another very popular

         5    series where CS, DOJ, and others have been dealing with

         6    trying to give some protection to another victim as well.

         7                These -- from what I understand about "Vicky," they

         8    discovered -- there was a discovery by the victim that the

         9    images were out there well after the investigation of the

        10    abuse, and so it was an ongoing thing.

        11                And as the Court may know -- I'm not sure whether I

        12    put this -- we put this in our memo or not -- we requested

        13    back in mid June, I think June 19th, a report from the

        14    National Center for Missing and Exploited Children, just to

        15    see whether the videos of the -- of Minor A had made it into

        16    other collections.         And, to our sadness, they had made it

        17    into numerous collections.

        18                I have shared this with Darren.                   And if the Court

        19    wishes to see it, the Court can see it.                  But otherwise I

        20    understand that these have already been found in numerous

        21    collections.         And I believe even Mr. Fottrell had actually

        22    checked with NCMEC and I think there's even a larger number

        23    since June 19th when we last checked.                 The Internet is

        24    forever.

        25                You know, I don't know -- one of the things I have




                                              256
USCA4 Appeal: 13-4576   Doc: 24       Filed: 11/22/2013   Pg: 261 of 336
                                                                                       201
                                             DOWELL - DIRECT


         1    tried to figure out, is it better to tell a kid who may grow

         2    up and not know?        Does she have a right to know at the age

         3    of 18 what happens?         What happens then?          What happens if she

         4    finds out?     Her face -- as the Court saw in those videos,

         5    all -- you know, clearly, her face is front and center

         6    stage, as is the five-year-old as well, although we don't

         7    have any evidence the five-year-old images are online.

         8                So that's the evidence we have.                  We, obviously,

         9    have argument.

        10                Thank you, Your Honor.

        11                THE COURT:      Thank you, Ms. Healey.

        12                All right.      Mr. Bostic, do you wish to put on any

        13    evidence?

        14                MR. BOSTIC:      Yes, sir.       Judge, if I could call Bill

        15    Dowell.

        16                Mr. Dowell.

        17                        BILL DOWELL, DEFENSE WITNESS, SWORN

        18                THE CLERK:      Please have a seat on the witness

        19    stand.

        20                THE COURT:      Good afternoon.

        21                THE WITNESS:       Good afternoon.

        22

        23                                DIRECT EXAMINATION

        24    BY MR. BOSTIC:

        25    Q.   State your name for the Court.




                                             257
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 262 of 336
                                                                                    202
                                          DOWELL - DIRECT


         1    A.   Bill Dowell.

         2    Q.   Mr. Dowell, what is your relationship to John Dowell?

         3    A.   John is my brother.

         4    Q.   And how many brothers and sisters do you have,

         5    including John?

         6    A.   Well, there's four brothers total, including John, and

         7    one sister.

         8    Q.   And where is John in the line as far as --

         9    A.   He's by far the youngest.

        10    Q.   Okay.    How much younger is he than the next youngest

        11    child?

        12    A.   I think he's about nine to ten years younger than my

        13    sister, who is the youngest of the rest of the group.

        14    Q.   Now, were you aware of what John's relationship was

        15    with his parents when he was growing up?

        16    A.   Of course.     Yes.

        17    Q.   Yes.    Could you describe that briefly for the Court?

        18    A.   Well, of course, the home was pretty empty.                 We had all

        19    left.     The rest of us siblings had left.               My dad was an

        20    alcoholic and they had a difficult marriage.                  John spent a

        21    lot of time alone.     They lived on a farm.               I don't know what

        22    age John was when that started, but he was young.                  And so he

        23    was -- he was fairly isolated.           And there was a fair amount

        24    of trauma in the household.

        25    Q.   Now, at some point John left high school and went to




                                          258
USCA4 Appeal: 13-4576    Doc: 24      Filed: 11/22/2013   Pg: 263 of 336
                                                                                  203
                                             DOWELL - DIRECT


         1    college?

         2    A.     Yes.

         3    Q.     And where did he go to college at?

         4    A.     Down at VPI.

         5    Q.     And at some point you ended up going down to pick him

         6    up; is that correct?

         7    A.     Yes.

         8    Q.     If you would describe to the Court the circumstances,

         9    what was going on in the family and why you went down to

        10    pick him up?

        11    A.     Yeah.   Well, my dad was dying of cancer.             And he was in

        12    the house there.        My mom was a nurse.          So we were nursing

        13    dad.      And John just wasn't coping in school, deeply

        14    depressed.      So I went down and found him -- found him, you

        15    know -- he was incapacitated with depression.                His apartment

        16    was littered in trash and stuff.              And so I packed him up and

        17    brought him home.

        18    Q.     And are you aware of mental issues that he has had over

        19    the years?

        20    A.     I think a lot of depression is the main thing that I

        21    know of, and loneliness, and some struggles with

        22    relationships with women.

        23    Q.     And there was a time period -- let me kind of jump

        24    forward here.        There was a time period in 2009 where he

        25    actually came back to Virginia; is that correct?




                                             259
USCA4 Appeal: 13-4576    Doc: 24       Filed: 11/22/2013   Pg: 264 of 336
                                                                                      204
                                              DOWELL - DIRECT


         1    A.   Yes.

         2    Q.   And there was a -- I think a young man that had

         3    obtained -- had obtained -- had been diagnosed with cancer?

         4    A.   Yes.     My nephew -- my oldest brother's oldest son had

         5    brain cancer.

         6    Q.   And did John come back to Virginia?

         7    A.   Yes.     John came back.         He was asked to come back -- or

         8    maybe he volunteered; I don't remember -- to help care for

         9    Jason.     He was in the home.          And we were all trying to care

        10    for him.     And John came back to be of some help in that.

        11    Q.   And was John -- kind of, basically, his responsibility,

        12    when he had moved back in, in 2009, was to care for Jason?

        13    A.   That was his main function when he was there during

        14    that time period, yes.

        15    Q.   Okay.     And did you see John with Jason a lot?

        16    A.   Yes.     Yes.

        17    Q.   And what type of things on a daily basis would he do to

        18    help him?

        19    A.   Oh, I don't know.          He would help -- moving him was a

        20    big problem.         He helped move him and bathe him and at times

        21    I think probably feed him.             I don't remember that

        22    specifically.         But Jason needed -- he was still mobile

        23    somewhat, so he needed a lot of attention.                    He couldn't talk

        24    in the latter months.           So our job was to try to interpret

        25    what he wanted or didn't want.               John was a big help in that.




                                              260
USCA4 Appeal: 13-4576   Doc: 24     Filed: 11/22/2013   Pg: 265 of 336
                                                                               205
                                           DOWELL - DIRECT


         1    Q.     At some point did Jason die?

         2    A.     Yes.

         3    Q.     Now, do you know where John went after that?

         4    A.     Well, he went back to California.

         5    Q.     Now, at some point he actually became homeless while he

         6    was in California?

         7    A.     He what now?

         8    Q.     At some point did he become homeless when he was in

         9    California?

        10    A.     Yes.

        11    Q.     And how did you become aware of that?

        12    A.     Well, I think John told me about it, I'm sure.          Yeah.

        13    Q.     And if you would describe, what was your impressions of

        14    him during that time period, prior to November when he came

        15    back in 2010?

        16    A.     Well, I mean, we were all deeply worried about him.             He

        17    was living in a park.        John has got a lot of skills.       He's a

        18    very skilled carpenter.         He's a skilled computer person.         He

        19    has got a lot of marketable skills.             And yet he was living

        20    in a park and claimed he was happy doing that.             But -- so

        21    we were -- all of us, the whole family, was concerned about

        22    him.

        23    Q.     Did you have concerns for how his mental health was

        24    doing during that time period?

        25    A.     Yes, I certainly did.        Yeah.




                                            261
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 266 of 336
                                                                               206
                                          DOWELL - DIRECT


         1    Q.   Now, he ended up moving back to Virginia around

         2    Thanksgiving 2010?

         3    A.   Yes, I think that's right.

         4    Q.   And would you describe what his mental state was during

         5    that period of time, from your perspective?

         6    A.   Yeah.    I don't know, he was very uncommunicative and

         7    more distant and seemed depressed and anxious.             He was -- he

         8    was like I had never seen him before.             I tried to get him to

         9    come over and spend time at my house and help me with some

        10    carpentry projects and so on, but I just couldn't get him

        11    motivated.     He was just disconnected.

        12    Q.   Did he seem a lot different than he had been in the

        13    past --

        14    A.   Yes.    Much, much different, yeah.

        15    Q.   Did you happen to notice if he was much more withdrawn

        16    or things of that nature?

        17    A.   Yes.    He was much more withdrawn.           I couldn't

        18    -- normally he would spend quite a bit of time with me when

        19    he was in Virginia, and he just didn't want to.             And he

        20    didn't participate in the activities with my family at all.

        21                MR. BOSTIC:    I don't have any further questions,

        22    Judge.

        23                MS. HEALEY:    We have no questions, Your Honor.

        24                THE COURT:    Mr. Dowell, thank you.

        25                Is Patti your wife?




                                          262
USCA4 Appeal: 13-4576   Doc: 24     Filed: 11/22/2013   Pg: 267 of 336
                                                                                 207
                                           DOWELL - DIRECT


         1               THE WITNESS:      Yes.

         2               THE COURT:     I read her letter.          And tell her I

         3    appreciate that as well.         Thank you.

         4               Thank you.     I know this is difficult for you.

         5    Thank you for coming up here and providing that testimony.

         6    Appreciate it.

         7               THE WITNESS:      Yes.

         8               THE COURT:     Thank you.

         9               MR. BOSTIC:     Can I have one second?

        10               THE COURT:     Yes.

        11           (Pause.)

        12           (Off-the-record discussion between the defendant and

        13    defense counsel.)

        14               MR. BOSTIC:     Your Honor, I would like to call John

        15    Dowell.

        16               THE COURT:     All right.       Come on up and be sworn,

        17    sir.

        18               THE CLERK:     Please raise your right hand.

        19                        JOHN DOWELL, DEFENDANT, SWORN

        20               THE CLERK:     Thank you.       Please have a seat.

        21               THE COURT: Good afternoon.

        22               THE WITNESS:      Good afternoon.

        23                              DIRECT EXAMINATION

        24    BY MR. BOSTIC:

        25    Q.     If you would, state your name for the Court.




                                           263
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 268 of 336
                                                                               208
                                          DOWELL - DIRECT


         1    A.   John Dowell.

         2    Q.   Now, Mr. Dowell, you have entered a plea of guilty to

         3    all of the counts in the indictment, One through Twelve on

         4    production and then the one count of transportation; is that

         5    correct?

         6    A.   Yes, I have.

         7    Q.   And you have admitted that you committed those

         8    offenses; is that correct?

         9    A.   Yes.

        10    Q.   Now --

        11    A.   (Defendant crying.)

        12         Sorry.

        13                THE COURT:   Jody, tissue.

        14    BY MR. BOSTIC:

        15    Q.   Tell me when you are ready.

        16    A.   I'm ready.

        17    Q.   Now, Mr. Dowell, I kind of want to go back and explain

        18    to the Court the time frame -- what was going on in your

        19    life prior to the time -- say, prior to 1998.             If you would

        20    describe to the Court, there was a lot of different things

        21    that you were doing during that time period, if you would

        22    describe those things to the Court.

        23    A.   I guess you mean like rock climbing and --

        24    Q.   Yes.

        25    A.   I was a carpenter at the time.            And I guess you are




                                          264
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 269 of 336
                                                                                   209
                                          DOWELL - DIRECT


         1    probably referring to -- in 1996, that was when my wife

         2    divorced me and I entered therapy for the first time.                 And

         3    that led me to getting involved with contact improvisation,

         4    which is a dance form, kind of a martial dance form.

         5    Q.    Kind of a what dance form?

         6    A.    Martial, as in martial arts.          It is one way to describe

         7    it.

         8    Q.    And is that -- that actually is with adults; correct?

         9    A.    Is what?

        10    Q.    With adults?

        11    A.    Yes.    Yes.

        12    Q.    And who -- what were the age group of the people that

        13    were in these contact improv dance classes?

        14    A.    Everything.    Anywhere from college kids up to -- I have

        15    seen 80-year-old people in the space.

        16    Q.    Is it couple dancing or --

        17    A.    It is -- it has roots in aikido martial arts and in

        18    -- sometimes it looks like swing dancing.                 It is a partner

        19    dance.    It is about relating to other people in movement.

        20    Q.    Now, it -- all during that time period you were doing a

        21    variety of different type of things with other people; is

        22    that right?

        23    A.    I -- I did have a lot of isolation during that period

        24    after my divorce, but I was looking for community for sure.

        25    Q.    Okay.    You actually did --




                                          265
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 270 of 336
                                                                        210
                                          DOWELL - DIRECT


         1    A.   So I had climbing partners that I went climbing with

         2    regularly.     And I went to the contact improvisation classes

         3    and jams, like a jazz jam is what that means.

         4    Q.   And with those, would you be dancing with women?

         5    A.   Yes -- you know, with women and with men, actually.

         6    Q.   Now, let's just go ahead and jump right into the

         7    point.    When did you actually start looking at and becoming

         8    attracted to younger females?

         9    A.   Well, I started looking at naturist pictures I think

        10    around '99 -- '98 and '99, somewhere in that period.

        11    Q.   Now, was there ever a point when you were 18 years old

        12    or around that time frame where you had actually bought a

        13    child pornographic magazine in Washington, DC?

        14    A.   I guess I described to Dr. Fracher, I bought a magazine

        15    -- one magazine when I was 18 from a shop in Georgetown that

        16    might have had underage females in it; I actually don't

        17    know.

        18    Q.   Okay.    But it was what you described --

        19    A.   It wasn't very young girls, but they were younger than

        20    what you usually see.

        21    Q.   Okay.    And in that, say, '98-to-2000 range, that's when

        22    you actually started looking at younger women, was that on

        23    the Internet at that time or how did you --

        24    A.   That was on the Internet.

        25    Q.   And describe the type of things that you were looking




                                          266
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 271 of 336
                                                                                 211
                                          DOWELL - DIRECT


         1    at at that point.

         2    A.   Well, at first it was the naturist videos -- or

         3    pictures and series like MclT.           It was all very kind of

         4    artistic.     And I guess at the time I interpreted it as being

         5    fairly innocent.     I see now that that was a very wrong

         6    interpretation.     But at the time I guess I rationalized it

         7    and thought it was not that big of a deal.

         8    Q.   Now, that progressed much more into much more different

         9    types of child pornography, did it not?

        10    A.   Yes, it did.    It was very -- it was very addictive.

        11    Q.   And Dr. Moore described people that have a pedophilia

        12    addiction or a pedophilia diagnosis, I guess, as looking

        13    through a different lens or having a completely different

        14    distorted view of things.         After sitting in jail for quite

        15    some time now, has that kind of started to clear some?

        16    A.   It cleared somewhat just by not being exposed to the

        17    images.     And it cleared a little bit by talking to other men

        18    and seeing the various kinds of pedophiles.               And then just

        19    very recently I have been confronted with a lot of

        20    information that has cleared my head up quite a bit more.

        21    Q.   You actually reviewed the victim impact statements,

        22    even though they were redacted; is that right?

        23    A.   Yes, I did.    I wish I had read them a long time ago.               I

        24    -- I -- I think it might have at least pushed me to seek out

        25    professional help.




                                          267
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 272 of 336
                                                                               212
                                          DOWELL - DIRECT


         1         I was looking for help for years, but it is just so

         2    hard.     It was just so much condemnation and shame, that it

         3    is just very hard to get help.

         4    Q.   And you did seek treatment for other types of things;

         5    is that right?

         6    A.   I did.

         7    Q.   What type of mental issues did you perceive that you

         8    had back when you were looking at counseling and then what

         9    brought you to the point of seeking out SLAA in 2010?

        10    A.   Well, I had -- I had suffered from depression of

        11    various levels for as long as I can remember.             Even as a

        12    child, I remember just being kind of very -- on kind of one

        13    level, my emotional state.         Where the other kids were kind

        14    of up and down, I just remember being kind of overly still

        15    or something.

        16         And then there was the episode after my father died

        17    when -- I had actually helped care for him for the last

        18    three months that he was alive.           And that just -- that was

        19    too intense for me at the time and put me into a really

        20    desperate place.

        21         But, really, it wasn't until after my marriage that I

        22    sought therapy.     I had tried other things like -- I went to

        23    Youth With A Mission right after my father died as an

        24    attempt to change myself, get free of the depression.             But

        25    then, when my wife left me, she pretty much stated that the




                                          268
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 273 of 336
                                                                              213
                                           DOWELL - DIRECT


         1    reason she was leaving me was because of my depression.               I

         2    didn't think that was a very good reason to leave, but I

         3    thought it was a pretty good reason to change.

         4    Q.   Now, if you --

         5    A.   And then -- let me just get to the last part of your

         6    question which was why I started -- why I went to SLLA.               So

         7    when I was living in Santa Cruz, for the first time in my

         8    life I had community on a level that I had never had before,

         9    people supporting one another on a level that I had never

        10    had before.

        11         And I found myself, after a very hard struggle, able to

        12    quit smoking cigarettes.        And I was in a men's group at the

        13    time.     And I just started -- I was just working very hard to

        14    get my inner ideals to fit my outer life, which they didn't

        15    up to that point, because I had these secret addictions.                  So

        16    I started looking very hard for support at that point to

        17    quit looking at child pornography.            And that's what

        18    eventually led me to SLLA.

        19    Q.   Now, in 2009 you actually ended up coming back and

        20    spending a lot of time with Jason?

        21    A.   That's true.     Yes.

        22    Q.   And if you would describe to the Court just very

        23    briefly what condition was he in, what type of things did

        24    you do to help him?

        25    A.   Well, it was pretty much as my brother said.           When I




                                           269
USCA4 Appeal: 13-4576    Doc: 24    Filed: 11/22/2013   Pg: 274 of 336
                                                                                    214
                                           DOWELL - DIRECT


         1    first got there, he actually could talk a little bit.                  But

         2    within just two or three days he lost the ability to speak.

         3    And so I took care of him.          I went over there and -- myself

         4    and his wife were his primary caregivers.                  And we changed

         5    his clothes, his diapers, his -- moved him around, fed him,

         6    everything.      I did some amount of physical therapy on him,

         7    just kind of moving his limbs around, because he couldn't

         8    move quite completely.

         9    Q.   So were you the primary person trying to take care of

        10    him at that point or --

        11    A.   Well, his wife was.        And I was helping.           I was -- I was

        12    the person helping most besides his wife.

        13    Q.   Now, let me take you back to the time -- there was a

        14    point where you were very heavily involved in a variety of

        15    different activities, including dancing, counseling, I think

        16    hiking, cave diving.       If you could describe to the Court the

        17    type of things that were going on in your life at that

        18    point?

        19    A.   Well, that's pretty much my -- from the time I was 18

        20    until I was arrested, that's -- when I was -- when I went to

        21    school in Blacksburg, I got very involved in the caving

        22    community.      I spent -- we actually logged our hours, and I

        23    spent like 3,000 hours underground.             So I was very involved

        24    in that.     And then when I moved to the west coast, I was

        25    very involved in rock climbing.            I actually put up new




                                           270
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 275 of 336
                                                                                    215
                                          DOWELL - DIRECT


         1    routes and it is in guide books.           It was pretty much

         2    carpentry and rock climbing there for a long time.

         3         And then more recently I have gotten very -- I got very

         4    much into serving.     But contact improvisation since 1996

         5    until the present was kind of the center of my life.                  I was

         6    heavily involved in the dance communities.                  I taught dance

         7    class, ran dance jams, organized events.                  It was kind of a

         8    very transformative experience for me.

         9    Q.   And there was a number of people that actually you

        10    assisted with that; is that correct?

        11    A.   Excuse me?

        12    Q.   There was a number of people that you assisted with

        13    that?

        14    A.   Oh, sure.

        15    Q.   Correct?

        16    A.   Yeah.    Well, I had my -- I had some buddies, like Matt

        17    Faw, who -- we just liked to rock climb and dance together.

        18    And then there was people who were more students, like

        19    Andrea Namaste.     She was a student of mine for several years

        20    and later -- she is still my best friend, really.

        21    Q.   And both of them have written letters on your behalf;

        22    is that correct?

        23    A.   They have, yes.

        24    Q.   And you have had the opportunity to read those letters?

        25    A.   Yes, I have.




                                           271
USCA4 Appeal: 13-4576    Doc: 24       Filed: 11/22/2013   Pg: 276 of 336
                                                                                 216
                                              DOWELL - DIRECT


         1    Q.   And everything they say about your assisting them,

         2    helping them with counseling, helping them -- being involved

         3    with them in outdoor activities and dancing, is all of that

         4    stuff that you would state as well?

         5    A.   Yes, sir.

         6    Q.   I believe you also had a good friend Erica Pagels?

         7    A.   Uh-huh.         She was in my Hakomi psychotherapy training

         8    with me.     I wouldn't actually say that she's a very -- a

         9    super-close friend, but she was in the training with me.

        10    And we were in a nonviolent communication group together as

        11    well.

        12    Q.   Needless to say, it looks like throughout a good time

        13    period of your life you actually have sought out counseling

        14    or assisted in counseling; would that be accurate?

        15    A.   Well, it has been my goal for the past ten or 15 years

        16    to be a therapist.         And I have worked with a lot of clients

        17    as well.     I was a therapist in training, primarily.            And it

        18    is -- yeah, it has been a -- it is my favorite thing to do.

        19    Q.   And throughout all of it you had this addiction lying

        20    under -- or this --

        21    A.   I did.

        22    Q.   -- disorder underneath --

        23    A.   I had this secret addiction.               I was very aware that --

        24    in the last couple of years I began -- as I was really

        25    trying to work on my practice, I became very aware that that




                                              272
USCA4 Appeal: 13-4576    Doc: 24    Filed: 11/22/2013   Pg: 277 of 336
                                                                              217
                                           DOWELL - DIRECT


         1    addiction was isolating me and making it very hard for me to

         2    promote myself.      It is like it is a lull around me.        And I

         3    can't really fully commune with other people as long as it

         4    exists.

         5    Q.   You realize that the Court is going to sentence you to

         6    a very lengthy term in prison no matter what; is that

         7    correct?

         8    A.   Yes, sir.

         9    Q.   As part of that prison sentence there's a high

        10    likelihood that you also will receive treatment, therapy,

        11    specifically for child pornography, or pedophilia?

        12    A.   Yes, sir.

        13    Q.   Would you be willing to get as involved with that as

        14    possible and to utilize that and see if you can get as much

        15    treatment as possible?

        16    A.   I would very much like to be free of -- or not be

        17    controlled by that.

        18    Q.   If at some point --

        19                THE COURT:     You are 47 years old, aren't you?

        20                THE WITNESS:     Yes, sir.      Yes, Your Honor.

        21    BY MR. BOSTIC:

        22    Q.   If at some point you actually are released from prison,

        23    there's going to be a wide variety of things that you would

        24    actually have to do, including where you could live, who you

        25    could associate with, probably very intensive counseling.




                                           273
USCA4 Appeal: 13-4576   Doc: 24   Filed: 11/22/2013     Pg: 278 of 336
                                                                                   218
                                          DOWELL - CROSS


         1    Would you agree to do everything possible not to have any

         2    type of recidivism or any type of reoffending?

         3    A.   I will do anything possible not to ever offend in any

         4    way or be involved in child pornography in any way again,

         5    whatever I have to do.

         6    Q.   Tell the Court now how you feel about what you have

         7    done.

         8    A.   It really can't be expressed in words now that I have

         9    seen how -- how just completely out of my mind I was and how

        10    awful just the repercussions have been for my family and for

        11    the girls and their parents.            I'll just do my best to spend

        12    the rest of my life making reparations for those two months

        13    and the previous ten years.        That's all I can do.

        14    Q.   John, is there anything else that you want to tell the

        15    Court?

        16    A.   I think that about sums it up.             I will -- I will spend

        17    the rest of my life doing my best to make reparations for

        18    what I have done.

        19               MR. BOSTIC:    I have no further questions, Judge.

        20               THE COURT:    Any cross?

        21               MS. HEALEY:    Yes, Your Honor.           Just briefly.

        22

        23                             CROSS-EXAMINATION

        24    BY MS. HEALEY:

        25    Q.   You just said you would do anything to not be involved




                                         274
USCA4 Appeal: 13-4576    Doc: 24    Filed: 11/22/2013   Pg: 279 of 336
                                                                                  219
                                            DOWELL - CROSS


         1    in child pornography offenses again; right?                But you weren't

         2    just involved in child pornography; right?

         3    A.   Yes, I was.

         4    Q.   No.     You did other things, like serially molesting a

         5    three-year-old; right?

         6    A.   Yes, I did.

         7    Q.   You took her up to your room; correct?

         8    A.   That is correct.

         9    Q.   Right.      You were allowed to stay in that household;

        10    correct?

        11    A.   That is correct.

        12    Q.   And you took that girl up to the room where you were

        13    living; correct?

        14    A.   Right.

        15    Q.   And you took her over and over and over again; correct?

        16    A.   That's right.

        17    Q.   And you kept trying to get her to engage in different

        18    sex acts with you; correct?

        19    A.   Different sex acts?        Could you be more specific,

        20    please?

        21    Q.   All right.      Well, you started out -- you have seen the

        22    videos.     You made the videos; right?           And you started out by

        23    pulling down her pants; correct?

        24    A.   Yes, I did.

        25    Q.   And she didn't want you to do that, did she?




                                           275
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013    Pg: 280 of 336
                                                                                     220
                                           DOWELL - CROSS


         1    A.   No, I don't believe so.         Not -- not -- not now that I

         2    have recently seen the videos, she did not.

         3    Q.   When she was saying "Pull my pants up.                  Why are you

         4    doing that," you didn't realize she didn't want you to do

         5    that?

         6    A.   At the time I was very much in rationalization and I

         7    did not see or hear what she was saying.                   I didn't interpret

         8    it the way that I interpret it now, that's for sure.

         9    Q.   So when was it that you first realized that she really

        10    didn't want it?     While you have been sitting in jail,

        11    knowing you are facing a sentence?

        12    A.   No, actually.     It wasn't until very recently, as I've

        13    been confronted -- actually, I had a big revelation today

        14    just watching that video, just listening to her, because I

        15    had this one story in my head that I was telling myself, to

        16    keep myself -- to try to tell myself I'm not a horrible

        17    monster, so I had this story.            And it was a false story.           It

        18    was very false and wrong.

        19    Q.   Well, you are clearly -- you have seen those videos

        20    again.    You are clearly focused on making sure you get done

        21    what you want to get done to her; correct?

        22    A.   I believe that's correct, yes.

        23    Q.   And then -- and that included not only touching her,

        24    not only showing off her genital area, but also you

        25    performing oral sex on her and licking her anal area; is




                                          276
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 281 of 336
                                                                         221
                                           DOWELL - CROSS


         1    that correct?

         2    A.   That is true.

         3    Q.   And you even tried to get her to do the same things to

         4    you that you were doing to her; right?

         5    A.   Yes, I did.

         6    Q.   That's not soft core child pornography, is it?

         7    A.   No, ma'am.

         8    Q.   And so when you called what you are doing an addiction

         9    -- well, first of all, you heard Dr. Moore testify.       This

        10    isn't an addiction, is it?

        11    A.   I believe it was my pornography addiction that I had

        12    from the time I was ten that led me into this behavior.          But

        13    I do not at this point agree that it is just an addiction.

        14    It is way beyond that.

        15    Q.   Well, it is not the -- you know, if you are saying you

        16    had a pornography addiction, that addiction doesn't include

        17    going after a three-year-old, does it?

        18    A.   No, it does not.

        19    Q.   And you tried to also get images of the five-year-old;

        20    correct?

        21    A.   Yes.     Yes, that's correct.

        22    Q.   In fact, that second video shows you physically and

        23    intentionally pulling down her pants; right?

        24    A.   Yes.

        25    Q.   But as you told Dr. Moore, she just wasn't into it; is




                                          277
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 282 of 336
                                                                           222
                                           DOWELL - CROSS


         1    that right?

         2    A.   That is true.

         3    Q.   Does that mean you think the three-year-old was into

         4    what you were doing originally?

         5    A.   Actually what I think now is -- I agree with the judge

         6    that she was -- she was vulnerable and not cognitively able

         7    to even know what was happening to her.

         8    Q.   Well, she's three years old; right?

         9    A.   Yes.

        10    Q.   Three-year-olds don't know everything that is going on;

        11    right?

        12    A.   Yes.

        13    Q.   Are three-years-old even supposed to know about sex?

        14    A.   No, they do not know about sex.

        15    Q.   The other thing I heard you testifying about, you had

        16    testified about the images -- being exposed to the images,

        17    as if these images -- you just happened upon these images.

        18    That's what you just testified to; right?

        19    A.   Yes.

        20    Q.   But that's not the case; correct?

        21    A.   Well, no, actually, that was the case.

        22    Q.   Oh, so when you were going on Tor and Freenet and

        23    BitTorrent --

        24    A.   Well, that was only in the past three years.         I thought

        25    you were just asking me about 1998.




                                          278
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 283 of 336
                                                                                     223
                                           DOWELL - CROSS


         1    Q.   You just happened upon child pornography?

         2    A.   Yes.     You'll find that the entry-level images are mixed

         3    with normal pornography.

         4    Q.   But you made the choice to go search for more child

         5    pornography, not only on Google searches, but on, as you

         6    heard from -- Mr. Fottrell testified to, sites that most

         7    people don't even know exist; isn't that correct?

         8    A.   That is correct.

         9    Q.   And Tor is one of those types of -- Tor and some of the

        10    other software are the types of things that mask your

        11    identity by changing your IP address; correct?

        12    A.   That is correct.

        13    Q.   You didn't want to get caught; right?

        14    A.   No, I did not.

        15    Q.   Right.     So if you didn't want to get caught, that

        16    doesn't seem to me like you wanted to go get therapy for

        17    your problem?

        18    A.   The two are not contraindicative, if that's a word.

        19    Q.   Now, I do want to ask you one thing.                 Mr. Bostic

        20    brought up something that you told Dr. Fracher way back

        21    when.     You met with Dr. Fracher twice; correct?

        22    A.   Yes, I did.

        23    Q.   You have seen -- you have reviewed his report?

        24    A.   Yes, I did.

        25    Q.   All right.     And you know that the second report is very




                                          279
USCA4 Appeal: 13-4576    Doc: 24    Filed: 11/22/2013   Pg: 284 of 336
                                                                           224
                                            DOWELL - CROSS


         1    similar to the first report; correct?

         2    A.     Yes.

         3    Q.     All right.

         4    A.     I didn't see it, though.

         5    Q.     Well, Mr. Bostic just asked you about an incident or

         6    something that you were exposed to when you were 18 years

         7    old.      And your testimony just now was that it had some

         8    pictures, not all of it children, maybe older children, but

         9    nothing really extreme was what I understood you to say; is

        10    that accurate?

        11    A.     There was a magazine that I bought in Georgetown, in a

        12    legal pornography shop.         And I do remember the girls in it

        13    being -- seeming very young, teenagers, perhaps.

        14    Q.     Well, you did not correct what you had stated for

        15    Dr. Fracher to write in the second report, which states,

        16    "When Mr. Dowell was approximately 18 years old, he

        17    purchased a magazine in Washington depicting prepubescent

        18    girls in the nude."

        19    A.     That's not true.     I didn't say that.

        20    Q.     You did not say that?

        21    A.     No, I did not.

        22    Q.     Did you see the first report before you met with him

        23    the second time?

        24    A.     I saw it when it was first produced, yes.

        25    Q.     All right.    So you didn't think to correct that to




                                           280
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 285 of 336
                                                                            225
                                           DOWELL - CROSS


         1    Dr. Fracher?

         2    A.   I don't even -- I'm sorry.          I don't even know what you

         3    are asking.

         4    Q.   All right.     And what about the statement that

         5    Dr. Fracher had made that you indicated that you were

         6    strongly aroused by the pictures in the magazine, a

         7    preference that would continue in your life, was that not

         8    accurate either?

         9    A.   It probably was accurate, yes.

        10    Q.   All right.     So back when you were 18 you already had

        11    started becoming aroused to images -- naked images of girls?

        12    A.   Yes.

        13    Q.   So it wasn't just in 2000 that you started getting

        14    aroused to the idea of sexualized images of children?

        15    A.   Well, the girls in that magazine -- I mean, I don't

        16    know.     I was -- I don't know how to answer that.       There

        17    wasn't anything between 1984, when that happened, and 1998,

        18    which is a long time span.         The only thing I ever looked at

        19    was like Playboy.

        20    Q.   But you started to look at -- you have acknowledged to

        21    both Dr. Moore and Dr. Fracher that you increasingly looked

        22    at more hard-core images over the years; correct?

        23    A.   That is true.

        24    Q.   And that you found these highly arousing; correct?

        25    A.   That is true.




                                           281
USCA4 Appeal: 13-4576    Doc: 24      Filed: 11/22/2013   Pg: 286 of 336
                                                                                    226
                                              DOWELL - CROSS


         1    Q.     And you acknowledge also that the great majority of

         2    your collection of images is child-oriented; correct?

         3    A.     Yes.

         4    Q.     And even the images that don't necessarily qualify as

         5    child pornography are sexualized images of children;

         6    correct?

         7    A.     Yes.

         8    Q.     So even the, quote, modeling or what you might have

         9    referred to as legal artistic poses are pictures designed to

        10    elicit a sexual response in you; correct?

        11    A.     I'm sorry?     What was the last part of that?

        12    Q.     They are pictures that would be sexually exciting to

        13    you?

        14    A.     Yes.

        15    Q.     Okay.

        16                  MS. HEALEY:    I have no further questions, Your

        17    Honor.

        18                  MR. BOSTIC:    No follow-up, Judge.

        19                  THE COURT:    Thank you, Mr. Dowell.           You may stand

        20    down.

        21                  Okay.   Any other evidence from you, Mr. Bostic?

        22                  MR. BOSTIC:    Defense rests.

        23                  THE COURT:    All right.       Now, let's hear any

        24    argument from the United States.

        25                  MS. HEALEY:    Your Honor, I know in these types of




                                             282
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013     Pg: 287 of 336
                                                                               227



         1    cases it is hard to stay brief, and I'm sorry that we have

         2    had a long day in court, but obviously the stakes are high

         3    in this particular case and the Court has a tough decision

         4    to make.     The Court can sentence the defendant to anything

         5    between 15 and the adjusted guidelines range the Court has

         6    of, I think, 960 months.

         7                In this case --

         8                THE COURT:    No, the Court can -- if the Court wants

         9    to, the Court can vary upwards, if the Court wants to.

        10                MS. HEALEY:    Okay.    To a total number of roughly

        11    4,600 months --

        12                THE COURT:    No.   The Court can sentence him to

        13    life.

        14                MS. HEALEY:    I'm not sure that's correct

        15    technically because it is a first offense.

        16                THE COURT:    Technically.        It would have to be on

        17    each and every offense.

        18                MS. HEALEY:    Right.        Or it would have to be the

        19    number of months, correct, Your Honor.

        20                And, of course, as the Court is aware, the

        21    government feels very strongly --

        22                THE COURT:    But if I wanted to run each and every

        23    count consecutive, it would result in 380 years, or 4,560;

        24    right?

        25                MS. HEALEY:    Which is tantamount to a life




                                          283
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 288 of 336
                                                                                 228



         1    sentence.     I totally get that.

         2                THE COURT:    And there's a lot less that is

         3    tantamount to a life sentence because there hasn't been a

         4    person that has lived 380 years yet.

         5                MS. HEALEY:     Not yet, that's true.         You never know

         6    about modern technology.        I don't know.

         7                THE COURT:    I ain't living that long.

         8                MS. HEALEY:     In this case, Your Honor, we do

         9    believe a guideline sentence is well appropriate.               The Court

        10    has heard a lot of evidence in this particular case.               The

        11    Court has seen the videos.         We apologize for subjecting the

        12    Court to that, but we do think it is important for the Court

        13    to get a full understanding and realization of the nature of

        14    the offense and the nature of the offender in this

        15    particular case.

        16                THE COURT:    Well, you know, I think, frankly, given

        17    the vulnerable victim enhancement, I think the Court had to

        18    see it.     And so be it.

        19                MS. HEALEY:     So this is -- you know, what the Court

        20    is faced with today is a 47-year-old man who, by his own

        21    testimony just now, indicated he started becoming sexually

        22    aroused to pictures of minors when he was 18 years old.                  So

        23    it has not been just this last ten years, but, rather, it

        24    has been nearly 30 years that he has had an interest in

        25    seeing minors in a sexual way.           And I think that is




                                           284
USCA4 Appeal: 13-4576    Doc: 24       Filed: 11/22/2013   Pg: 289 of 336
                                                                                      229



         1    significant.         This is a long pattern.

         2                And as you have heard from Dr. Moore, this person

         3    is unquestionably a pedophile.               And that is significant both

         4    in terms of our concern for him under society's rules and to

         5    make sure that, under 3553, we do something to make sure we

         6    protect him from those interests, because we know that this

         7    person has progressed from looking at images to acting in a

         8    horrendous way against very young victims.                    And the five-

         9    year-old was very young as well.               The three-year-old, of

        10    course, is even younger and, as the Court has acknowledged,

        11    was a vulnerable victim.

        12         (Off-the-record discussion between the Court and the

        13    clerk.)

        14                MS. HEALEY:       But even, of course, before -- I know

        15    Mr. Bostic is going to make a point that this defendant has

        16    no other crimes.         He has no other criminal history.             Most of

        17    the defendants that we get in child pornography cases or

        18    child production cases or things like that have no criminal

        19    history.     So he is not unlike practically any of the

        20    defendants that I have prosecuted.                We have some who have

        21    offense histories, but a lot of them simply just don't get

        22    caught.     Child pornography and child exploitation is one of

        23    the most, if not the most, under-reported crime there is.

        24    And, therefore, we don't have a good sense of what these

        25    guys do.




                                              285
USCA4 Appeal: 13-4576   Doc: 24     Filed: 11/22/2013   Pg: 290 of 336
                                                                                     230



         1                Dr. Moore testified that in her own experience that

         2    75 percent of her -- or 70-some-odd percent of her patients,

         3    once presented with a polygraph, actually disclosed contact

         4    offenses.     And I think she stated that the average number of

         5    victims often was over ten.          And that has been borne out by

         6    other studies that we know have been presented at sentencing

         7    hearings as well.      There are studies -- some studies would

         8    say it is a very low risk to reoffend; others, when you

         9    combine them with polygraph or some type of physiological

        10    test, show a much higher likelihood of recidivism, which is

        11    important under 3553.

        12                But even besides the evidence that we have now that

        13    he is a contact offender, he's not just a child pornography

        14    offender, what we know from Mr. Fottrell is that this

        15    defendant is a very sophisticated computer user, very

        16    sophisticated.      He used software that I might not even know

        17    how to find, that is -- that he could exploit to make sure

        18    he could get what he wanted, which was gradually more

        19    explicit images of children.

        20                And, you know, I think they were -- I don't know if

        21    someone referred to it, but there are special Internet sites

        22    and he stored images in multiple ways.               He collected images

        23    in multiple ways.      Did he distribute them?               I don't know.   I

        24    know the Court thought with 70,000 images maybe at some

        25    point he had to have distributed images.                   But whether or not




                                           286
USCA4 Appeal: 13-4576    Doc: 24       Filed: 11/22/2013   Pg: 291 of 336
                                                                               231



         1    he did, the fact is each and every image that he downloaded

         2    is a permanent representation of sexual exploitation of a

         3    minor, even though, quote, modeling legal child pornography

         4    images I would submit most of those would constitute an

         5    exploitation of a minor.            And these children are harmed

         6    every single time their pictures are viewed.

         7                 And we know also the defendant has admitted that

         8    these particular images -- these images were highly sexually

         9    arousing to him.         His collection, which was primarily girls

        10    and included a lot of young children, you know, had many

        11    images that were the same age as his contact victims.

        12    That's significant.

        13                 And, you know, to state that somebody like him

        14    might not be a recidivism risk is kind of interesting.              When

        15    you get a guy that, if you assume arguendo, that he never

        16    did anything before he did anything to these kids, he

        17    chooses at the age of 44 to begin molesting kids.             That's

        18    significant.         I don't think that goes towards saying that

        19    he's not a risk, since he chose at middle age to go and

        20    reach out and touch these children.

        21                 And I'm going to try to cut to the chase.         I know

        22    the Court has heard about the other types of images that he

        23    had.      He had scat; he had other things that were paraphilia

        24    which, of course, sort of go into this whole deviant

        25    thinking.




                                              287
USCA4 Appeal: 13-4576    Doc: 24      Filed: 11/22/2013   Pg: 292 of 336
                                                                                      232



         1                But, as the Court is aware, the fact that he preyed

         2    upon two very young victims is sort of front and center in

         3    this particular case.

         4                I know Mr. Bostic in his sentencing memo noted that

         5    the initial videos showed no contact offenses.                 And he is

         6    correct.     Some of the images didn't show any contact

         7    offenses.      They show the defendant somehow positioning the

         8    girls so that they can have their vagina or vaginal area

         9    exposed to the camera.          We get that.        The guidelines take

        10    that into account.        He didn't get certain points for that.

        11                However, I would submit to you, Your Honor, the

        12    reason that some of those initial videos did not show some

        13    sexual contact was because he was going through a methodical

        14    process of grooming at least the younger victim.                 He's

        15    grooming her.        The Court has seen that.           The Court made that

        16    determination in its ruling that the child was vulnerable.

        17    The child -- really, truly you can see the progression --

        18    starts out as being reluctant, then is okay with it, and

        19    then a willing participant.            That should never happen to a

        20    three-year-old.

        21                Regarding the second victim too, just to clarify

        22    any mistake in any of the memoranda, of course, one of those

        23    videos does show very clearly his intent to get naked

        24    genitals on that camera.           Who knows why the second victim

        25    didn't get pictured more?            Maybe because she was old enough




                                             288
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 293 of 336
                                                                                    233



         1    to think about reporting what was wrong?                  She's a little bit

         2    older than the three-year-old.           She wasn't found to be

         3    unusually vulnerable.

         4                Regarding the therapy, much has been made about

         5    whether therapy is a good thing, whether therapy could help

         6    this guy.     The fact that he has gone to therapy --

         7    Mr. Bostic just brought out from examining the defendant

         8    that this defendant has sought therapy many times.                  But what

         9    we do know is, despite these multiple attempts at therapy,

        10    including whatever Sex and Love Addicts Anonymous is, we

        11    know that after that therapy, at the age of 44, he began

        12    abusing these children.        So I don't know that the therapy

        13    that he has tried to receive is anything that we can say

        14    would mitigate.

        15                Regarding the idea that going to try to

        16    rehabilitate yourself should be a mitigator for his

        17    sentence, Mr. Bostic cites the Stern case.                  And I reread the

        18    Stern case.     And I would submit that that is very

        19    distinguishable.     Stern very clearly distinguished offenders

        20    who were producers and distributors.             That was a case where

        21    the defendant, Mr. Stern, was convicted of possession only.

        22    And the court was very careful to say, "This is not a

        23    producer; this is not a distributor."             So from the get-go it

        24    distinguishes that particular case.

        25                The other thing that Stern -- the Stern court found




                                          289
USCA4 Appeal: 13-4576   Doc: 24      Filed: 11/22/2013   Pg: 294 of 336
                                                                                      234



         1    significant was the age of the defendant, in that case the

         2    youth of the defendant.          It was a very young defendant.               And

         3    in that case the court had noted that the defendant at the

         4    age of 14 started looking at other 14-year-olds and just

         5    continued looking at children as he progressed to

         6    adulthood.     So I would suggest to the Court that that case

         7    is irrelevant for this.

         8               With respect to any claim that this defendant was

         9    close to this youngest victim and cared for this youngest

        10    victim, the videos don't depict someone who is close to the

        11    victim.    You look at those videos, and it is clear to the

        12    government he was very single-minded.               He wanted to get done

        13    what he wanted to get done.           I didn't see a tender loving

        14    relationship.       Even his play, his, quote, play, was focused

        15    on getting the job done, getting her pants down, doing

        16    anything else.       I would submit to the Court that those

        17    videos do not show a close relationship.                    I think even in

        18    one of the videos there is some dialogue where "We had

        19    better go downstairs," because they are making a lot of

        20    noise and he just wants to get it done.                So that's something

        21    I thought was interesting too.

        22               I don't need to address, of course, vulnerable

        23    victim at this point, because the Court has stated that.

        24    But one thing I did want to add about vulnerable victim, not

        25    only was the victim vulnerable in this case, but the




                                            290
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 295 of 336
                                                                                235



         1    defendant also betrayed the trust of the parents of that

         2    victim -- those victims.           These parents trusted the

         3    defendant to take care of these very young children.              And he

         4    betrayed their trust.

         5               And what we know, and as the father just testified,

         6    the terrible thing about that is not only betraying their

         7    trust, but the parents are likely to go through a period of

         8    wondering what they could have done differently.              So it is

         9    not just the abuse to the child; these parents are

        10    victimized.     They will live with the questioning of

        11    themselves for the rest of their lives.              "Why did we leave

        12    them with this guy?      Why didn't we see any indicators?          What

        13    did we do wrong?" when they didn't do anything wrong.

        14               Regarding the distribution, we know -- and, you

        15    know, the government accepts the Court's ruling on

        16    distribution, because we don't know conclusively how this

        17    material ended up on the Internet.            But I would state that

        18    whether or not the defendant is legally accountable for

        19    distribution, the simple fact is that his risky behavior and

        20    his conscious choice to, one, film the acts of sexual abuse;

        21    and, two, make a permanent depiction of them; and, three,

        22    transfer them to his computers; and, four, be on all of

        23    these different types of technology that is used by all of

        24    these other people makes him responsible for that stuff

        25    being on the -- if not legally, makes him responsible for




                                           291
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013    Pg: 296 of 336
                                                                                     236



         1    the fact that that -- that the three-year-old's images will

         2    be out there for other men like the defendant to masturbate

         3    to perhaps for the rest of their lives.               Who knows for how

         4    long?     We do know that these images stay out there forever

         5    and ever.

         6                So it is his acts that are responsible for the fact

         7    that those images are out there forever.                   He chose that.    He

         8    chose to engage in risky behavior.             He chose to be in

         9    Internet community.      He was using technology with like-

        10    minded individuals who would have been very interested in

        11    seeing his collection.

        12                And the interesting thing is -- even though -- if

        13    you look at that exhibit that was in the defense memo where

        14    he freaked out because he thought he had been hacked,

        15    interesting, he freaks out that he gets hacked.                   He uses

        16    CCleaner to get rid of all this stuff, to make sure nobody

        17    else can get his stuff.        But, notably, he doesn't get rid of

        18    his collections at that time.            Obviously, that didn't make

        19    him start thinking, "You know, maybe I have got to stop my

        20    ways.     Maybe I have got to stop looking at child

        21    pornography," because you know he has got 70,000 images of

        22    child pornography and erotica.            So I think that is important

        23    as well.

        24                As a brief address to the attack on the guidelines,

        25    this is something that has been a common attack in child




                                          292
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 297 of 336
                                                                                    237



         1    pornography sentences.       I would note that Mr. Bostic cited a

         2    lot of things that we frequently see in these particular

         3    cases.     However, the cases cited by the defense in this

         4    particular case attack 2G2.2 primarily, not 2G2.1, the

         5    production guideline.

         6                And I would note that there are Fourth Circuit

         7    cases that have held that we need to be mindful of

         8    Congress' judgment that these cases deserve serious

         9    attention anyway.     Even without the production cases or the

        10    production acts, we need to be mindful about the signal we

        11    send in regular child pornography trafficking cases.                  And

        12    this case, obviously, has a lot of other child pornography

        13    in that.

        14                One thing I would like to hand up to the Court, if

        15    I can find it -- I know Mr. Bostic -- we didn't -- we chose

        16    not to file a responsive memo, but I know Mr. Bostic had, I

        17    think, cited a bunch of cases that had -- where courts had

        18    departed from the sentencing guidelines.                  And I have a copy

        19    for Darren and then I just would like to give a copy to the

        20    Court.     These are the child pornography trafficking cases.

        21                This is a list -- just a list of cites, string

        22    cites, where courts around the country have found and upheld

        23    guideline sections -- sentences, I'm sorry.                  And I think

        24    they go by circuit.      So you could even get down to the

        25    Fourth Circuit as well.        They go serially by circuit.            And




                                          293
USCA4 Appeal: 13-4576    Doc: 24     Filed: 11/22/2013     Pg: 298 of 336
                                                                                         238



         1    they have cases all of the way up until 2013.

         2                I just give that for the Court's information that

         3    it is not every court that is deciding that a guideline

         4    sentence in a regular child pornography trafficking case is

         5    inappropriate.       Of course, here we are not primarily dealing

         6    with 2G2.2, but we have the aggravating 2G2.1 because of the

         7    hands-on stuff.

         8                Again, the victim impact is huge, you know, because

         9    we know that girl's images are going to be out there

        10    forever.     Her face is clearly visible.               The Court saw that.

        11    Hopefully she'll never know about it and hopefully somebody

        12    won't recognize her when she's older.                 Who knows?     But

        13    that's something that she may have to deal with forever.

        14    And that's, of course, a terrible thing.

        15                And, of course, there's the thousands of other

        16    victims in this case.         So, you know, what is -- we have to

        17    get down to what is a reasonable sentence?                    Again, the

        18    guidelines advise -- the advisory guideline range is life.

        19    We think that is with good reason.

        20                We know the Court, of course, must start with the

        21    guidelines, as we have been talking about.                    So we first go

        22    to the offense and offender characteristics.                    And we know it

        23    is repeated sexual acts against minors who trusted him,

        24    especially against that three-year-old and then exploitation

        25    of a second personal victim.               But, again -- but since she




                                            294
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013    Pg: 299 of 336
                                                                                 239



         1    wasn't into it, we don't have that many videos of that older

         2    minor.

         3                So then we have, of course, the rest of his offense

         4    characteristics show the thousands of other images he

         5    acquired for which he found sexual pleasure and to which he

         6    masturbated.

         7                And we know, yes, he doesn't have a criminal

         8    history.     But, frankly, Judge, knowing that he at least

         9    started looking at child pornography around 2000, even if

        10    you discount the 18-year-old interest in a magazine that he

        11    bought on the street of DC, we know he has been looking at

        12    child pornography for many, many years and he never got

        13    caught.     And part of the reason he probably never got caught

        14    is because he used all of those sophisticated technologies

        15    we heard about from Mr. Fottrell.            So he may have a clean

        16    criminal record in terms of not getting caught, but he has

        17    committed crimes for many, many years.               So I think that's

        18    important as well.

        19                No other contact offenses.          We have no evidence

        20    that he did anything other than what we know of in this

        21    case.     That's all we know of.         So -- who knows, though.

        22                And I know there was some point made, I think in

        23    one of the psychological reports, that the defendant wasn't

        24    really interested in the sex acts with the child, just

        25    wanted the images or wanted to create images, that was the




                                          295
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 300 of 336
                                                                                  240



         1    thing that was sexually arousing.           That is sort of hard for

         2    the government to understand when -- given the staggering

         3    number of child pornography images that are already on the

         4    Internet and videos that are already on the Internet, you

         5    need to find new images to make?           I would suggest that just

         6    sounds implausible that he wasn't into the sexual act,

         7    especially when he's trying to get the little girl to touch

         8    him and do the same things to him that he did to her.

         9               Dr. Moore, of course, convincingly explained why

        10    he's a pedophile.     And the information she relied on is

        11    corroborated by the forensic evidence of his collection.

        12    And her testimony really demonstrated there's good reason to

        13    be concerned that he is a risk to sexually reoffend.

        14               As we know, 3553(a) includes deterrence.           We need

        15    to -- it includes an aspect of deterrence both of him and

        16    for others.     And, therefore, I would suggest there's no

        17    reasons to deviate from the guidelines in this case.                This

        18    is an aggravated case when you consider the age of the

        19    victim and the multiple times that he did this.

        20               Another aspect of sentence:           Retribution and,

        21    quote, just deserts is still a valid goal of sentencing.

        22    There's nothing wrong with saying that you need to get the

        23    just deserts here.

        24               With respect to any claim that this would

        25    constitute an unwarranted disparity to put him in jail for




                                          296
USCA4 Appeal: 13-4576    Doc: 24     Filed: 11/22/2013    Pg: 301 of 336
                                                                                      241



         1    the rest of his life, I have shown and have shared with

         2    Mr. Sheffield a chart of those cases that I referred to

         3    earlier, which, of course, I don't have in front of me this

         4    second.     But if the Court wants to see it, it can, but -- is

         5    that it?     No, that is not it.           All right.        I might have

         6    taken it up there.

         7                But I think it is clear that there are numerous

         8    cases of production, some or many of which don't even get to

         9    the aggravated position in this case, that have upheld

        10    sentences or have imposed sentences that are tantamount to a

        11    life sentence.       Some sentences have imposed thousands and

        12    thousands of years; others have imposed hundreds of years.

        13    So I don't think there would be an unwarranted -- any

        14    unwarranted disparity for the Court to follow the guidelines

        15    in this case and to send him to jail for the rest of his

        16    life.

        17                And with respect to any argument that, you know,

        18    this guy is going to be on certain conditions for the rest

        19    of his life, supervised release, he is going to have to

        20    register as a sex offender, he's going to have all of these

        21    collateral consequences that will be imposed upon him, and

        22    therefore the Court doesn't have to sentence him for as long

        23    a period of time, I would like to cite something from the

        24    Irey case that comes out of the -- I think it is the

        25    Eleventh Circuit.       So in U.S. v. Irey, I-R-E-Y, 612 F.3d




                                            297
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 302 of 336
                                                                                 242



         1    1160 -- it is an Eleventh Circuit, 2010 case -- it addressed

         2    a claim that, you know, supervised release may be a

         3    substitute for some jail time.

         4                And what the Court says on page 1210 is as

         5    follows:     "While it is true that someone on supervised

         6    release is not entirely free, it is equally true that he's

         7    not confined in a prison either.           As the Supreme Court has

         8    held, supervised release, in contrast to probation, is not a

         9    punishment in lieu of incarceration," stating the Supreme

        10    Court case, "and a term of supervised release does not

        11    replace a portion of the sentence of imprisonment, but,

        12    rather, is an order of supervision in addition to any term

        13    of imprisonment imposed by the court.             If being on

        14    supervised release were the punitive equivalent of being in

        15    prison, if it serves the just deserts function as well,

        16    there would be no need to put most criminals in prison.                  We

        17    could put them on supervised release instead.             If the

        18    punitive impact of the two were the same, convicted

        19    criminals would not ask for a longer term of supervised

        20    release in hopes of getting a shorter term of imprisonment.

        21    Yet they do."

        22                So I think that is notable.          And also that case

        23    also addresses the issue that somebody at an older age might

        24    not commit certain crimes and ends up actually citing crimes

        25    that had been committed by older males primarily.




                                          298
USCA4 Appeal: 13-4576   Doc: 24     Filed: 11/22/2013   Pg: 303 of 336
                                                                                  243



         1               So -- I think I am winding up.

         2               But the other thing I think I need to say to the

         3    Court is any suggestion that recidivism declines as a person

         4    ages, again, is sort of taken away in this particular case

         5    by the fact that he began his contact offenses at least by

         6    the age of 44.      There may not be any test available to

         7    determine the recidivism risk of a particular individual,

         8    but given the admitted escalation of conduct in this case,

         9    there's reason for us to be concerned that this defendant

        10    will potentially pose a risk in the future.                So I think

        11    that's a valid goal.

        12               And I think for the fact that -- for all of the

        13    facts that we have stated, that a reasonable sentence -- the

        14    only reasonable sentence in this case is one that would fall

        15    within the guidelines.

        16               I do have -- if the Court wants to see, I do have

        17    some -- a printout of some caseload statistics that an

        18    attorney in Texas had -- an AUSA in Texas had requested.                  I

        19    think it is between FY 2008 and FY 2013 where he requested

        20    just to see production sentences that resulted in terms of

        21    50 years or more.      If the Court wishes to see it, it can see

        22    it.   I know Mr. Sheffield has seen it.              But I don't need to

        23    provide it to the Court unless the Court needs to see

        24    examples of other sentences.

        25               You can look at it too, if you want to see it.




                                           299
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013    Pg: 304 of 336
                                                                                 244



         1                And other than that, Your Honor, just to remind the

         2    Court in this particular case, as we stated in chambers, we

         3    are asking for a deferral of any restitution judgment for a

         4    period of 90 days, to determine whether the contact victims

         5    or the parents in this particular case may incur costs.                  I

         6    believe there are some cases that -- where they have

         7    actually set up a trust for a kid in case something happens

         8    to them and they need treatment.            So that's one thing.

         9                We are seeking forfeiture.          I believe the

        10    preliminary order of forfeiture was finally filed today.                     We

        11    are asking for forfeiture of all of the computer items that

        12    were set forth in the indictment.            And, obviously, we're

        13    asking in this case for a life sentence, what is tantamount

        14    to a life sentence.

        15                Thank you, Your Honor.

        16                THE COURT:    If you want to hand me that list of

        17    -- whatever you want to give me that you gave Mr. Bostic,

        18    I'll be happy to consider it.            If you don't want to, that's

        19    fine too.

        20                MR. BOSTIC:    I can't make hide nor hair of it,

        21    Judge.

        22                THE COURT:    I probably won't either, if you

        23    can't --

        24                MR. BOSTIC:    I am just trying to figure it out.                I

        25    can't figure out what the --




                                          300
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 305 of 336
                                                                                    245



         1         (Off-the-record discussion between counsel.)

         2               MR. BOSTIC:    So that only goes to 50 years or

         3    more?

         4               MS. HEALEY:    Yeah, we just asked for 50.              So I'm

         5    trying to eliminate -- he had -- his search parameters were

         6    50 years' sentencing or more.

         7               THE COURT:    Thank you.

         8               MS. HEALEY:    Thank you.

         9               THE COURT:    Mr. Bostic.

        10               MR. BOSTIC:    Judge, the Court is really dealing

        11    with two things, and that's it.           Everything Ms. Healey has

        12    stood up here amounts to basically her statement of "This is

        13    a horrible guy.     Put him away for life."               You can synthesize

        14    everything she said to that one statement.

        15               We're looking at -- whenever I look at the

        16    guidelines, I look at basically two different things -- or

        17    when I look at the 3553 what I really see are two different

        18    things.    What is the retribution really going to be, which

        19    encompasses all of the seriousness of offense, promote

        20    respect for law, provide for just punishment, adequate

        21    deterrence, protect the public.           That is the retribution

        22    aspect of what the Court is going to do.

        23               Mr. Dowell knows, I know, everybody in this

        24    courtroom knows, based upon what the guidelines are, an

        25    extremely long sentence is forthcoming.              We know that.      And




                                           301
USCA4 Appeal: 13-4576    Doc: 24     Filed: 11/22/2013   Pg: 306 of 336
                                                                                      246



         1    the question really is, is life and whatever sentence the

         2    Court -- if the Court gave 380 -- well, 380 years or if the

         3    Court gave what the current guideline range is, is that

         4    sufficient but not greater than necessary to accomplish the

         5    goals of 3553?       And we do have other goals that are there,

         6    which are the rehabilitation aspect and what I would call

         7    the "Is this person savable at some level?"

         8                The Court is going to impose, if he is -- at some

         9    point makes supervised release, a wide variety of conditions

        10    that are going to put an enormous amount of strings on any

        11    movement that he has, on the people he can contact, on the

        12    use or lack of use of a computer, up to and including -- I

        13    know in state court recently we did one where the only use a

        14    person could have of a computer was at the probation

        15    officer's -- in the presence of the probation officer, at

        16    his office, with their computer.             And those were things like

        17    if he was doing banking or had an email that he was getting

        18    job interviews.      So it was an incredible amount of things

        19    that were already put on that defendant.                    He was also put on

        20    electronic monitoring.         And we are essentially going to be

        21    in that type of a situation.

        22                We do have an individual that has sought out

        23    treatment, therapy, in the past.             The Court has read the

        24    letters.     And what Ms. Healey has described as this horrible

        25    monster, he did do some -- without question, some horrible




                                            302
USCA4 Appeal: 13-4576   Doc: 24      Filed: 11/22/2013   Pg: 307 of 336
                                                                                  247



         1    things.    He took advantage of some situations.

         2               There's no question we're dealing with mental

         3    illness, we're dealing with a high probability of

         4    pedophilia.     As you heard Mr. Dowell, it has taken him a

         5    long time to get his brain to the point where he is now

         6    recognizing just how severe his crimes were, the amount of

         7    advantage he took over a very young female.

         8               But what I would suggest to the Court is we do have

         9    somebody that has some redeemable qualities.                And I would

        10    submit to the Court that a sentence of life in prison is

        11    greater than is necessary to accomplish all of the factors

        12    set forth in 3553.       So we would ask the Court to consider

        13    something that would at least give him the opportunity to

        14    get out, to live a life outside of prison.

        15               As the Court has heard, there has been absolutely

        16    no evidence -- and one of the reasons we believe this was a

        17    crime that does have as a certain element of it the fact of

        18    where he was, he was with a child that he could take

        19    advantage of.       There's no evidence whatsoever he was ever in

        20    that type of situation before.             So we do think that there

        21    was a certain element of the way this actually occurred

        22    where he took advantage of a situation and it was more of a

        23    situational-type thing rather than him constantly going out

        24    and -- I guess what I would call more the predatory type of

        25    situation.




                                            303
USCA4 Appeal: 13-4576   Doc: 24       Filed: 11/22/2013   Pg: 308 of 336
                                                                                    248



         1                This was more of what I would call a crime of

         2    opportunity considering where things occurred and how it

         3    occurred.     No evidence anything occurred before Thanksgiving

         4    2010 or after January of 2011.

         5                So that is simply what we would ask the Court to

         6    consider.

         7                THE COURT:      Thank you, Mr. Bostic.

         8                All right.      Are there any other victims who wish to

         9    be heard before the Court imposes sentence?

        10                MS. HEALEY:      No, Your Honor.

        11                THE COURT:      All right.       Mr. Dowell, your lawyer put

        12    you on the witness stand and asked you some questions.                  And

        13    I know, obviously, you, even after that, have heard a lot of

        14    things that have been said here.              You have spent all day

        15    hearing things about you.            Is there anything else that you

        16    want to tell me -- to tell the Court by way of allocution

        17    that -- before the Court imposes sentence in this case?

        18                THE DEFENDANT:        Your Honor, I'm not very good at

        19    monologues, which is why I got up on the stand.

        20                All I know is -- Nancy did say one thing that

        21    wasn't true.        Everything else I pretty much agree with.               I'm

        22    pretty much a scumbag, based on what I did.                  But I did love

        23    that little girl.        And I betrayed myself by betraying her.

        24    And I'm going to pay for it for the rest of my life.                  And

        25    she's going to pay for it and the family is going to pay for




                                             304
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 309 of 336
                                                                               249



         1    it.   I'm very, very sorry.        And I hope to have some way to

         2    do something about that.        To help other people with my

         3    condition is my primary goal at this point for the rest of

         4    my life.

         5                Thank you, Your Honor.

         6                THE COURT:     Well, thank you for that, Mr. Dowell.

         7    I think that -- that recognition, I think, is important.

         8    And the interest in helping other folks -- I know some of

         9    the letters I read from family members asked that you be

        10    housed at Butner.        And, of course, it is up to the Bureau of

        11    Prisons to do that.        But perhaps there's some opportunity

        12    for you to help other folks to get to the point where you

        13    have gotten to in terms of your own recognition of -- your

        14    acceptance of responsibility for what has happened.

        15                Now, is there anything else that anybody else wants

        16    to say, from the government or the defendant, before the

        17    Court imposes sentence in this case?

        18                MR. BOSTIC:     No, sir.

        19                MS. HEALEY:     No, Your Honor.

        20                THE COURT:     All right.

        21                This may be a minute, so you can sit down.

        22                I want to first make clear that I have had a chance

        23    to look at the law some more, my guidelines finding.             The

        24    presentence report calls for 4,560 months based on 5G1.2,

        25    which is nothing more than simple arithmetic.             It is adding




                                           305
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 310 of 336
                                                                                250



         1    up the statutory maximum for all 13 counts in this

         2    indictment to which he has pled guilty.              4,560 months is 380

         3    years.

         4                But 5G1.2 does not require that I make such a

         5    guideline finding.     5G1.2 doesn't say just add up all of the

         6    maximum.     5G1.2 requires the Court to run sentences

         7    consecutive, quote, only to the extent necessary to produce

         8    a combined sentence equal to the total punishment, end

         9    quote.

        10                With a total offense level of 43 and a criminal

        11    history category of I, that yields a guideline range -- a

        12    total punishment range in this case called for under the

        13    guidelines of life.      That's clear.        It is a total punishment

        14    of life called for by the guidelines.

        15                I don't think what I have done by picking 960

        16    versus what probation did by picking 4,560 versus what the

        17    United States wants, 4,560, is any different, given the

        18    defendant's age at 47 years.

        19                With that in mind, the total punishment of life, in

        20    applying 5G1.2, I had to determine what sentences -- what

        21    counts needed to be run consecutively to achieve the total

        22    punishment level.     So I take the maximum sentence for two of

        23    the first 12 counts.      I picked Eight and Nine.          There's a

        24    reason for that, as I'll explain.           But you take two of the

        25    first 12 counts, plus the maximum sentence for Count




                                          306
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 311 of 336
                                                                                  251



         1    Thirteen, for a total of 960 months.             That's 80 years.

         2               That's -- the Court finds that the defendant is 47

         3    years old and that, applying 5G1.2, the Court needs -- using

         4    the word in 5G1.2 "necessary" -- needs to run consecutive

         5    two of the 30-year maximum terms and then Count Thirteen,

         6    the 20-year maximum term.         That is what I believe, given his

         7    age, under 5G1.2(d), is the extent necessary to produce a

         8    combined sentence equal to the total punishment of life.

         9               I believe that this guideline finding is consistent

        10    not only with the plain language of the guideline but the

        11    Fourth Circuit case law.        The United States cited one case

        12    in another prosecution that I had, U.S. versus

        13    Schellenberger.     And Schellenberger approves the stacking of

        14    maximum offenses but does not require the stacking of each

        15    and every count, as the government advocates.

        16    Schellenberger cites United States versus White, 238 F.3d

        17    537, Fourth Circuit, 2001, which I believe is the leading

        18    case in the Fourth Circuit on this topic.

        19               White likewise does not say that the Court must

        20    stack all of the maximum sentences for all 13 counts and

        21    -- to conclude that the guideline range is 4,560 months.

        22    White, in fact, expressly says that the guidelines call for

        23    the Court to stack only, quote, until the guideline

        24    punishment is achieved, end quote.

        25               Specifically, in White the Fourth Circuit, in the




                                          307
USCA4 Appeal: 13-4576   Doc: 24     Filed: 11/22/2013     Pg: 312 of 336
                                                                                     252



         1    penultimate paragraph of White, address this issue.                The

         2    last sentence of that paragraph says, "And in light of its

         3    determination that White's total punishment under the

         4    guidelines should be 360 months' imprisonment, the district

         5    court would have been obligated to reach that total sentence

         6    by imposing a term of imprisonment of 240 months or less on

         7    each count of conviction and ordering those terms to be

         8    served consecutively to achieve the total punishment

         9    mandated by the guidelines."              To be sure, White doesn't deal

        10    with what we're dealing with here:               a case of total

        11    punishment calling for life.

        12               I simply find that given defendant's age, running

        13    three counts consecutive, two of the first 12 and Count

        14    Thirteen, results in the same point:                a life -- a life

        15    guidelines term.

        16               The defendant will be -- under this guideline range

        17    the defendant will be 127 years when this term runs out, be

        18    127 years old.      Given his age, there's no practical reason,

        19    no reason under the guidelines or the case law, to calculate

        20    the guidelines to run any additional sentences consecutive

        21    beyond the 960 months.

        22               Therefore, I accept the presentence report, as

        23    amended, with the changes to paragraphs 110, which takes out

        24    the -- takes out the two points for the distribution, makes

        25    that change in paragraph 119, and in paragraph 152 I find




                                           308
USCA4 Appeal: 13-4576   Doc: 24     Filed: 11/22/2013   Pg: 313 of 336
                                                                                     253



         1    the guidelines to be 960 months.

         2               All right.     Now, thank you all for the manner in

         3    which you have conducted yourselves today.                 This is a

         4    difficult case for everyone, for everyone.                 And I appreciate

         5    the professionalism, courtesy shown by counsel in this case.

         6               The United States argues for a life term.                 The

         7    United States argues that the defendant, for the purpose of

         8    creating videos, molested Minor Victim A and took videos of

         9    Minor Victim B naked.        The government argues there's a large

        10    amount of child pornography on his computer and has -- and

        11    has put into evidence multiple images of infants and

        12    toddlers engaged in sexually explicit conduct.                 The

        13    government says there's 78,532 images and 893 videos.

        14               The government argues that the defendant sought out

        15    this material.      And the defendant (sic) seeks a life term.

        16    The government argued lots and lots of other things, but

        17    that is what it comes down to.

        18               You know, the difference between this case and many

        19    of the child pornography cases we see is the contact, the

        20    contact, the contact, the touching, the touching, and more,

        21    the touching.

        22               The defendant argues that he began viewing and

        23    downloading child pornography in 2001 and he was arrested in

        24    October of 2011 and but for this short period between

        25    November and January of -- November of 2010 and January of




                                           309
USCA4 Appeal: 13-4576    Doc: 24      Filed: 11/22/2013   Pg: 314 of 336
                                                                                    254



         1    2011 he was not involved -- there's no evidence that he was

         2    involved in any contact offenses.              He has no criminal

         3    history.

         4                There's no evidence he was involved with any minors

         5    except for the two young girls in this period.                  The

         6    defendant argues that this is situational rather than

         7    predatory.      The defendant argues it is a crime of

         8    opportunity.

         9                The defendant argues that, on brief, he never

        10    intended to distribute the videos of these two children he

        11    made; he didn't make the compilation video.                  The defendant

        12    argues, look, after January of 2011 he didn't engage in any

        13    further contact crimes.           He has -- he has in his life

        14    suffered from depression.             I heard from his brother about

        15    those issues.        I heard from Mr. Dowell himself.            I heard

        16    from Mr. Dowell his efforts to reach treatment with Sex and

        17    Love Addicts Anonymous and that, citing the Stern case, he

        18    should get some credit for going to get rehab, going to get

        19    some treatment precharge.             Defendant asks me to focus not so

        20    much on the retribution aspects of punishment under 3553(a)

        21    but don't forget the rehabilitation aspects of 3553(a).

        22                I have read the sentencing memorandums.               I have

        23    listened to everything that you-all have carefully and

        24    professionally presented here today.                I read -- I listened

        25    to Mr. Dowell, listened to his brother, read the letter from




                                              310
USCA4 Appeal: 13-4576    Doc: 24    Filed: 11/22/2013   Pg: 315 of 336
                                                                                255



         1    Patti Dowell, read other letters from other family members

         2    that are in the record.

         3                 Three friends from California wrote letters on your

         4    behalf; I read those.        They talked about your involvement

         5    and helping with their lives in terms of some of this dance

         6    work that you talked about.

         7                 So I have done all I can to try to get as clear a

         8    picture as I can and to do what is right and to apply the

         9    law.      And I intend to do that.

        10                 The starting place is, of course, the guidelines.

        11    And I determine the guidelines are 960 months, or 80 years.

        12    Under -- that's the starting point.             Under 18 United States

        13    Code Section 3553(a) I have got to consider the nature and

        14    circumstances of the offense and the history and

        15    characteristics of the defendant.

        16                 Well, as regards the nature and circumstances of

        17    the offense, the offense -- I have to disagree with

        18    Mr. Bostic.      This isn't just a crime of opportunity.          As

        19    regards that three-year-old child, this crime is predatory.

        20    This crime is premeditated.          This crime is calculated.         This

        21    crime was designed to get that child to a point where she,

        22    in her young, young, young, and undeveloped cognitive state,

        23    became interested in this behavior.             It is cold.   It is

        24    calculated.      It is heinous.      So that's the nature and

        25    circumstances of the offense.




                                            311
USCA4 Appeal: 13-4576    Doc: 24    Filed: 11/22/2013   Pg: 316 of 336
                                                                                     256



         1                 And it was done for the purposes of making videos

         2    so that they could be later on abused.               And as we have

         3    heard, they ended up in Denmark and they have ended up in

         4    other places around this country and I'm sure around the

         5    world.      So perhaps there are -- so the conduct is extremely,

         6    extremely serious.

         7                 As to the defendant himself, to be sure, he has

         8    suffered from some depression and he has had some ups and

         9    downs in his life.         But he has, since 2001, been engaged

        10    -- until he was arrested, was engaged in this behavior.                      He

        11    was engaged in it by viewing it for ten years and then by

        12    acting out on it, to the detriment of those children.

        13                 The evidence we heard from the doctor here this

        14    afternoon -- the psychologist here this afternoon is that

        15    his interest in pedophilia is not going to diminish with

        16    age.      So what to do?

        17                 Under 3553(a) I have got to impose a sentence that

        18    reflects the seriousness of the offense.                   Well, that factor,

        19    given the extremely predatory, heinous, despicable nature of

        20    this crime, requires a life term.

        21                 The second factor is to provide just punishment.

        22    Just punishment under 3553(a) requires a life term.

        23                 To afford adequate deterrence, not just to

        24    Mr. Dowell, but to others who would -- who would dare to

        25    touch a child in this manner and make a video of it to be




                                            312
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013    Pg: 317 of 336
                                                                                 257



         1    displayed to others, demands a life term.

         2                To protect the public from further crimes of the

         3    defendant -- this defendant spent ten years involved in

         4    child pornography, touched these children, molested this one

         5    girl, videoed it, and kept right on viewing it until he was

         6    arrested.     To protect the public from Mr. Dowell, the

         7    sentence demands a life term.            A life term is sufficient.

         8    It is also necessary, in my view.

         9                I do not believe this sentence results in any

        10    unwarranted sentencing disparities.             Engaging in this

        11    conduct on a repeated basis, with multiple victims, is not

        12    only warranted, but it is -- a life sentence in this case is

        13    required to do justice.

        14                Therefore, I'm going to impose the following

        15    sentence in this case.       I'm going to impose a sentence of

        16    360 months on Count Eight.           I picked Count Eight because

        17    Count Eight involves oral genital and oral anal conduct with

        18    Victim A for the purpose of producing videos.              I saw it on

        19    the screen this morning.           It was described in Count Eight.

        20    And Count Eight is Count Eight because the counts are

        21    chronological and it took that long to build up, to set up,

        22    and to engage in this predatory conduct with regard to this

        23    baby.     So I'm giving the maximum statutory term on Count

        24    Eight, 360 months, 30 years.

        25                On Count Nine I'm giving the same sentence, the




                                           313
USCA4 Appeal: 13-4576    Doc: 24       Filed: 11/22/2013   Pg: 318 of 336
                                                                                  258



         1    maximum statutory term, 360 months, 30 years, to run

         2    consecutive.         I picked Count Nine because Count Nine, again,

         3    is among the most offensive conduct that he is -- to which

         4    he pled guilty.         It is the oral genital and oral anal

         5    contact.     And it is the count in which we saw in the video

         6    he was persuading the young three-year-old to touch his

         7    member.

         8                Again, 360 months on Count Eight, 360 months on

         9    Count Nine, consecutive.

        10                On Counts One through Seven and Count Ten I'm also

        11    imposing 360 months.          I'm going to run those concurrent to

        12    Counts Eight and Nine.

        13                On Count Eleven, which deals with Minor Victim B,

        14    I'm going to impose -- and there was -- you know, there was

        15    -- there was videos of her -- efforts to take videos of her

        16    with her pants off.          There was no -- there's no evidence of

        17    touching of that minor victim, thank goodness.                But there

        18    was videos that we saw of her.               I'm imposing the mandatory

        19    minimum sentence on Count Eleven of 180 months, to run

        20    consecutive to Counts Eight and Nine.

        21                On Count Twelve I'm going to run -- I'm going to

        22    impose the same sentence, 180 months -- that's the count

        23    concerning -- you know, Counts one through Ten concern Minor

        24    Victim A.      Counts Eleven and Twelve concern Minor Victim B.

        25    So Count Twelve I'm going to impose the same sentence, 180




                                               314
USCA4 Appeal: 13-4576   Doc: 24     Filed: 11/22/2013   Pg: 319 of 336
                                                                                  259



         1    months, and I'm going to run it concurrent to the other

         2    Counts.

         3               On Count Thirteen, the transportation count, I'm

         4    going to impose the mandatory minimum 60 months.                And I'm

         5    going to run that consecutive to Counts Eight, Nine, and

         6    Eleven.

         7               This yields a total sentence equivalent to the

         8    guideline range that I have found of 960 months.                That is a

         9    sentence of 80 years.        The defendant is 47 years old.          This

        10    sentence -- he will be 127 years old when this sentence

        11    ends.

        12               Let me be clear.          Let me be clear.      This conduct,

        13    harming these children, touching these children, molesting

        14    these children, requires this life sentence.                He did it on

        15    multiple days.      He did it over multiple months.            He did it

        16    in a predatory manner.        He did it to produce these videos.

        17    Justice requires a life sentence.

        18               In real and practical terms this sentence of 80

        19    years, or 960 months, is the maximum aggregate sentence the

        20    law allows me to impose.            It is not greater than necessary.

        21    This sentence is necessary to protect the public and to make

        22    sure this defendant never has the opportunity to do this

        23    again.    So I am imposing that sentence.

        24               The Court recommends to the Bureau of Prisons that

        25    the defendant receive appropriate mental health treatment




                                            315
USCA4 Appeal: 13-4576    Doc: 24   Filed: 11/22/2013   Pg: 320 of 336
                                                                                260



         1    while in prison.

         2                If appropriate, the Court recommends, consistent

         3    with some of the letters that I received, that the defendant

         4    be housed at Butner --

         5                MR. BOSTIC:    Judge, could I --

         6                THE COURT:    -- in the sex offender treatment.

         7                MR. BOSTIC:    That -- it is my understanding that is

         8    no longer in Butner.       I believe the intensive may be in

         9    Massachusetts.

        10                THE COURT:    Well, I will leave it to the Bureau of

        11    Prisons.     I will simply recommend that he receive

        12    appropriate mental health treatment and sex offender

        13    treatment while imprisoned.         All right?       I'll leave it to

        14    the BOP as to where to put him, but I will recommend that.

        15                On release from imprisonment -- which, frankly, I

        16    do not intend or envision, but I'm required to go through

        17    this -- he shall be on supervised release for a term of

        18    life.     That's terms of life, supervised release, on all

        19    counts, all counts to run concurrent.

        20                He has to report to probation within 72 hours and

        21    follow the mandatory conditions of supervision:              no crimes,

        22    can't possess a controlled substance, can't possess a

        23    firearm, must cooperate in the collection of DNA, must

        24    comply with the standard conditions of supervision.

        25                I'm going to require him to pay the $1300 mandatory




                                           316
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 321 of 336
                                                                                   261



         1    special assessment.

         2               I'm going to defer restitution for 90 days.

         3               I'm going to require testing and treatment for

         4    substance abuse.

         5               He can't live in a home where there's any firearms,

         6    subject to warrantless search and seizure to ensure

         7    compliance with these conditions.

         8               I'm going to impose the special conditions for sex

         9    offenders that are set forth in Part D of the presentence

        10    report.    And those are found -- those are found on pages 21,

        11    22, 23, and 24 of the presentence report.                 I'm not going to

        12    read over them.     We all know what they are.

        13               The Court finds the defendant does not have the

        14    ability to pay a fine.       I'm going to waive a fine.

        15               Having assessed the defendant's ability to pay with

        16    regard to the $1300, during the term of imprisonment,

        17    payment in equal monthly installments of $25 or 50 percent

        18    of the defendant's income, whichever is greater, to commence

        19    60 days after the date of this judgment; and payment in

        20    equal monthly installments of a hundred dollars during the

        21    term of supervised release, to commence 60 days after

        22    release from imprisonment.

        23               It is ordered that the defendant shall forfeit

        24    -- and I have entered the order of forfeiture in this case

        25    -- the property listed on the preliminary order of




                                           317
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 322 of 336
                                                                                262



         1    forfeiture in this case.

         2                I hereby advise the defendant of the right to

         3    appeal this sentence.       Notice of appeal must be filed within

         4    14 days of the entry of judgment or within 14 days of a

         5    notice of appeal by the government.            If requested, the clerk

         6    will prepare and file a notice of appeal on behalf of the

         7    defendant.     I also advise the defendant of the right of a

         8    person who is unable to pay the cost of an appeal to apply

         9    for leave to appeal without prepayment of such cost.

        10                All right.    Is there anything further that the

        11    United States has to say?

        12                MS. HEALEY:    Judge, only two quick things.         Just in

        13    case counsel would want to know, he's correct, Devens is the

        14    primary high-impact treatment program.              There is a medium

        15    impact, from what I understand, at Petersburg, Virginia.

        16    Just to let the Court know.

        17                THE COURT:    I know there's one -- there is a sex

        18    treatment program at Butner, because I toured it in

        19    November.

        20                MS. HEALEY:    I thought they were phasing that one

        21    out --

        22                THE COURT:    Well, they may have since then, but I

        23    was there in November.

        24                MS. HEALEY:    Okay.

        25                And then the only other thing, Judge, I know while




                                           318
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 323 of 336
                                                                              263



         1    it is academic, due to the case law that has been coming out

         2    on sex offender conditions, if, hypothetically, the

         3    defendant were ever to be released onto supervised release,

         4    I think the Court has to just make a specific finding that

         5    they are reasonably related to the goals of supervised

         6    release and the goals of sentencing, those particular

         7    conditions.     I think they include registering as a sex

         8    offender.     I just want to make sure, because that's another

         9    one.

        10                So I am sorry to say that, Judge, but I know the

        11    case law makes it clear it is procedural error if the Court

        12    does not make clear that they are reasonably related to the

        13    goals of sentencing --

        14                THE COURT:   Well, thank you for that.        The Court

        15    believes they are all -- I looked at all of these

        16    conditions.     And given the touching involved in this case

        17    and the molestation involved in this case, I do believe that

        18    all of these conditions, including condition one, requiring

        19    registration; condition two, requiring no direct or indirect

        20    contact with the victim's family; condition three, he can't

        21    mess with child pornography; condition four, you have got to

        22    live at a place probation approves of and not move from

        23    there; condition five, that he shall be evaluated by a

        24    mental health professional who is experienced in the

        25    treatment of sex offenders; condition six, requiring




                                           319
USCA4 Appeal: 13-4576   Doc: 24   Filed: 11/22/2013   Pg: 324 of 336
                                                                       264



         1    testing; condition seven, shall submit to search of

         2    property, residence to -- upon reasonable suspicion of

         3    violations of the conditions of this release; condition

         4    eight, cannot use electronic devices unless approved by

         5    probation; condition nine, cannot have any interactions with

         6    a minor except in the presence of a parent, on the condition

         7    that the defendant notifies the parent and with prior

         8    approval from the probation officer; number ten, can't use a

         9    camera or video device; number 11, shall notify employers

        10    and family members, with others with whom he has regular

        11    conduct, that he is under the supervision of probation;

        12    number 12, that he cannot volunteer where minors are

        13    present; number 13, that he shall participate in the

        14    computer and Internet monitoring program; number 14, that he

        15    cannot be in the company of children under 18 without prior

        16    permission of probation; number 15, he can't have conduct

        17    other than incidental conduct in a public forum, such as

        18    ordering in a restaurant or grocery shopping, with any minor

        19    that is under the age of 18 without permission of probation;

        20    number 16, he cannot possess any material depicting sexually

        21    explicit conduct with minors or adults; number 17, he can't

        22    possess sexually oriented material that may interfere with

        23    an ongoing treatment regimen; 18, he can't possess any

        24    bindings, restraints, handcuffs, or other sadomasochistic

        25    paraphernalia; number 19, that he cannot use social media




                                         320
USCA4 Appeal: 13-4576   Doc: 24   Filed: 11/22/2013   Pg: 325 of 336
                                                                            265



         1    for interacting without prior approval of probation; number

         2    20, that he shall submit to unannounced examination by

         3    probation of any electronic material, including computers;

         4    number 21, that he shall permit the probation officer to

         5    conduct periodic unannounced examinations of computer

         6    equipment; 22, that he can only have contact with minor

         7    children who are relatives of the defendant only in the

         8    presence of another adult previously approved by

         9    probation -- I find that all of those conditions, given the

        10    conduct in this case, are reasonably related and reasonably

        11    necessary to protect the public and are appropriate in this

        12    case.

        13               Mr. Bostic, anything from you, sir?

        14               MR. BOSTIC:    No, sir.

        15               THE COURT:    Okay.

        16               Mr. Sheffield, can you think of anything else that

        17    you believe is appropriate that I need to do at this time?

        18               THE PROBATION OFFICER:        Not at this time, Judge.

        19    Thank you.

        20               THE COURT:    All right.      If there's nothing further

        21    -- is there anything finally, Ms. Healey, that you want to

        22    add?

        23               MS. HEALEY:    No, Your Honor, finally not.      Thank

        24    you.

        25               THE COURT:    All right.      Thank you all for your




                                          321
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013   Pg: 326 of 336
                                                                              266



         1    patience.     It has been a long day.

         2                These are always difficult, difficult cases.         I

         3    appreciate the manner in which the counsel conducted

         4    themselves.

         5                Mr. Dowell, let me say that despite this sentence

         6    that I have imposed in your case, which I believe is

         7    necessary to protect the public and for the other reasons

         8    I've indicated, I do, sir, wish you the best and truly hope

         9    that you can find meaning and comfort in your life.

        10                Ask the marshal to declare a recess.

        11         (Thereupon, these proceedings were adjourned at

        12    5:45 p.m.)

        13

        14                              EXAMINATION INDEX

        15    JAMES FOTTRELL, GOVERNMENT'S WITNESS
                   DIRECT BY MS. KATZIN                                  11
        16         CROSS BY MR. BOSTIC                                   55
                   REDIRECT BY MS. KATZIN                                68
        17         RECROSS BY MR. BOSTIC                                 69

        18    ALAN GARRETSON, DEFENSE WITNESS
                   DIRECT BY MR. BOSTIC                                  72
        19         CROSS BY MS. KATZIN                                   85

        20    DONNA MOORE, GOVERNMENT'S WITNESS
                   DIRECT BY MS. HEALEY                                 142
        21         CROSS BY MR. BOSTIC                                  178
                   REDIRECT BY MS. HEALEY                               187
        22
              BILL DOWELL, DEFENSE WITNESS
        23         DIRECT BY MR. BOSTIC                                 201

        24    JOHN DOWELL, DEFENDANT
                   DIRECT BY MR. BOSTIC                                 207
        25         CROSS BY MS. HEALEY                                  218




                                          322
USCA4 Appeal: 13-4576   Doc: 24   Filed: 11/22/2013   Pg: 327 of 336
                                                                        267



         1                                EXHIBIT INDEX

         2                                                             MAR        /   ADM
              Government's
         3     1                                                             14        14

         4     2                                                             46        46

         5     3                                                             48        48

         6     4                                                         148          148

         7     5                                                         156          156

         8
              Defense
         9     1                                                             73        73

        10     2                                                             81        81

        11     3                                                             81        81

        12

        13

        14
                   I certify that the foregoing is a correct transcript
        15
              from the record of proceedings in the above-entitled matter.
        16

        17             /s/ Carol Jacobs                     September 5, 2013
                   Official Court Reporter                        Date
        18

        19

        20

        21

        22

        23

        24

        25




                                         323
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013  Pg: 328 of 336
        Case 5:11-cr-00045-MFU Document 80 Filed 07/25/13 Page 1 oftk'R
                                                                      8 *****
                                                                         Pageid#:
                                                                               I* 897
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                                                                                                                 AT-      K ;BL> VA
   AO 2458     (Rev.9/l1-VAW Additions6/05)JudgmentinaCriminalCase                                                        F:lzl
               Sheet1


                                        UNITED STATES DISTRICT COLJRT                                            a cu              cuu-
                                                    W estern D istrictofV irginia                              BK
          UNITED STATESOFAM ERICA                                        A JDGM ENT IN A CRIM INAL CASE
                             V.                                          casex um ber, ov aw sllcumtlntgs-eel
        JOHN STUART DOW ELL                                              Case N um ber.'
                                                                         U SM N um ber: 16359-111
                                                                         RussellDarren Bostic
                                                                         Defendant'sAtlorney
  THE DEFENDANT'
               .
  K pleadedguiltytocountts) 1,2,3,4,5,6,7,8,9,10,11,12,13ofaSupersedingIndictment
  EqIpleadednolocontenderetocountts)
    which was accepted by thecourt.
  EElwasfoundguiltyoncountts)
    aftera plea ofnotguilty,

  Thedefendantisadjudicatedguiltyoftheseoffenses:
   Title & Section               N ature ofOffense                                                    O ffense Ended           Count
 18U.S.C.j2251(a)& ProductionofChildPom ography                                                           11/30/2010               1
 18U.S.C.j2251(e)
 18U.S.C.j2251(a)& ProductionofChildPornography                                                           12/9/2010
 18U.S.C.j2251(e)
 18U.S.C.j2251(a)& ProductionofChildPornography                                                           12/20/2010
 18U.S.C.j2251(e)
         Thedefendantissentencedasprovided inpages2through                   8          ofthisjudgment.Thesentenceisimposed pursuantto
  the Sentencing Reform Actof 1984.
  Z Thedefendanthasbeenfoundnotguiltyoncountts)                                                                                -



  K countts)       count1ofthelndictment      X is Z aredismissedonthemotionoftheUnitedStates.
           Itaidsdr
  orm ailing     or
                  edse
                     sru
                       ent
                        dtha1
                         llatlthenedefendqntmustnotifytheUnitedStatesattomeyforthisdiltrjctwithin30dal
                               fi                                                                       ylsof>nychangeofname,residepce
                                                                                     bythlsJudgmçntarefu ypald.Iforderedtopayrestitutlon,
                                    s, restltution:costs,andspecialassessmeptsImposedl
  thedefendantm ustnotifythecourtandUnited Statesattorneyofm aterlalchangeslneconomlcclrcum stances.
                                                                         July 18,2013
                                                                         DateofImpositionofJudgment
                                                                                                                           *
                                                                                    *
                                                                     #                                *
                                                                         SignatureofJudgc



                                                                         M ichaelF.Urbanski,United StatesD istrictJudge
                                                                         NameandTitleofJudge

                                                                                 T -.- g ..-za jg
                                                                         Date




                                                                     324
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013  Pg: 329 of 336
        Case 5:11-cr-00045-MFU Document 80 Filed 07/25/13 Page 2 of 8 Pageid#: 898

  AO 2458   (Rev9/l1-V.
                      kW ltl
                           tl
                            itl
                              ons6/05)JudgmentinaCrimi
                                                     nalCase
            SheetIA
                                                                         Judgnaent-page    2   of       8
  DEFEN DA NT : JOI'lN STUART DOW ELL
  CA SE NU M BER : DVAW SI1CR000045.001

                                         ADDITIONAL COUNTS O F CO NVICTION
  Title & Section                N ature of O ffense                     o ffense Ended        C ount
  18U.S.C.j225l(a)& Production ofChildPornography                             1/3/2011
  18U.S.C.j2251(e)
  18U.S.C.j2251(a)& ProductionofChildPornography                              1/7/2011
  18U.S.C.j2251(e)
  18U.S.C.j2251(a)& ProductionofChildPornography                              1/10/2011             6
  18U.S.C.j2251(e)
  l8U.S.C.j225l(a)& Production ofChildPornography                             1/10/2011             7
  18U.S.C.j225l(e)
  18U.S.C.j225l(a)& Production ofChildPornography                             1/14/2011             8
  18U.S.C.j225l(e)
  18U.S.C.j2251(a)& ProductionofChildPornography                              1/25/2011             9
  l8U.S.C.j2251(e)
  18U.S.C.j2251(a)& ProductionofChildPornography                              1/27/2011
  18U.S.C.j2251(e)
  18U.S.C.j2251(a)& ProductionofChildPornography                             12/27/2010
  18U.S.C.j2251(e)
  l8U.S.C.j2251(a)& ProductionofChildPornography                              1/12/2011
  18U.S.C.j2251(e)
  18U.S.C.jj2252(a) TransportationofChildPornography                         October2011
  (1)& 2252(b)(1)




                                                               325
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013  Pg: 330 of 336
        Case 5:11-cr-00045-MFU Document 80 Filed 07/25/13 Page 3 of 8 Pageid#: 899
 AO 2458      (Rev.9/11-VAW Additions6/05)JudgmentinCriminalCase
              Sheet2-Imprisomnent
                                                                                                   Judgment-Page   3    of    8
  D EFEN D AN T: JOH N STUART D OW ELL
  CA SE NU M BER :DVAW SI1CR000045-001


                                                             IM PR ISO N M EN T

         Thedefendantishereby com mittedtothecustody oftheUnitedStatesBureauofPrisonsto beimprisonedfora
  totalterm of:
     960 m onths.The tenn consistsof360 m onthson each ofcounts8 and 9',180 monthson count11;and 60 m onthson count13,allto
    be served consecutiveto one anotherand to a1lothercounts.Additionally,360 m onthson each ofcounts 1,2,3,4,5,6,7,10 and 180
     monthson count12,allto be served concurrently.


    K ThecourtmakesthefollowingrecommendationstotheBureauofPrisons:
    The courtrecomm endsto the Bureau ofPrisonsthatthedefendantreceive appropriatem entalhealth treatm entw hileimprisoned.
    The courtrecomm endsto the Bureau ofPrisonsthatthedefendantreceive appropriate sex offendertreatmentwhileimprisoned.



    X ThedefendantisremandedtothecustodyoftheUnitedStatesMarshal.
    Z ThedefendantshallsurrendertotheUnitedStatesMarshalforthisdistrict:
           r-l at                                  Q a.
                                                      m . N p.m .           on

           I-I asnotified bytheUnitedStatesM arshal.
    r-1 Thedefendantshallsurrenderforserviceofsentenceattheinstitution designatedbytheBureau ofPrisons:
           I'
            -I before             on
           r-l asnotifiedbytheUnitedStatesM arshal.
           I'-I asnotifiedby theProbationorPretrialServicesOffice.

                                                                   R ET UR N
  lhaveexecutedthisjudgmentasfollows:




           Defendantdelivered on                                                      ttl

  a                                                   ,with acertitied copy ofthisjudgment.


                                                                                                 UNITED STATESMARSHAL

                                                                         By
                                                                                              DEPDTY UNITED STATESMARSHAL




                                                                      326
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013  Pg: 331 of 336
        Case 5:11-cr-00045-MFU Document 80 Filed 07/25/13 Page 4 of 8 Pageid#: 900

  AO 2458     (Rev.9/I1-VAW Additions6/05)JudgmentinaCriminalCase
              Sheet3- SupervisedRelease
                                                                                                                Judgment- page      4     of         8
  DEFENDAN T: JOI4N STUART DOW ELL
  CA SE NUM BER:DVAW SI1CR000045-001
                                                          SU PER V ISED R EL EA SE
  Upon releasefrom imprisonm ent,the defendantshallbeon supervised release fora term of:
  Life on each ofCounts 1- 13,allsuch termsto nzn concurrently.

          Thedefendantmustreportto the probation office in the districtto which the defendantisreleased w ithin 72 hoursofreleasefrom the
  custody oftheBureau ofPrisons.
  Thedefendantshallnotcom mitanotherfederal,stateorlocalcrim e.
  Thetdae
  subs   fen.da
        nce    ntsdef
              The hall
                     enotnutnslha
                      pda      awf
                                 llusl
                                     lypptstsoesosne
                                     ubml          acdr
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                                                                                                                                     pe   aqo
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                                                                                                                                                   te
  thereafler.asdetermlned by thecourt.
  (D Theabovedrugtestingcondition issuspended,basedonthecourt'sdeterminationthatthedefendantposesalow riskof
        futuresubstanceabuse.(check,kapplicable.
                                               )
  K     Thedefendantshallnotpossessafirearm,ammunition,destructivedevice,orany otherdangerousweapon.(Check,fapplicable.
                                                                                                                      )
  K     ThedefendantshallcooperateinthecollectionofDNA asdirectedbytheprobationofficer.(Check,fapplicabl
                                                                                                       e.
                                                                                                        )
  K ThedefendantshallcomplywiththereuirementsoftheSexOffenderRegistrationandNotificationAct(42I/.S.C.j16901,qtseq.)
        as
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           secit
               ed
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                                                                                                       onagencyinwhl
                                                                                                                   chheorsheresldes,
        Thedefendantshallpm icipateinan approvedprogram fordomesticviolence.(Check,fapplicable.
                                                                                              )
         lfthisjudgmentimpose!afineorrestitution,itisaconditionofsupervisedreleasethatthedefendantpayinaccordancewiththe
  ScheduleofPaymentssheetofthlsjudgment.
          Thedefendantmustcomplywith thestandardconditionsthathavebeen adoptedbythiscourtaswellasw ithanyadditionalconditions
  ontheattached page.
                                  STANDARD CONDITIO NS OF SUPERVISION
      1) thedefendantshallnotleavethejudicialdistrictwithoutthepermissionofthecourtorprobation offker;
      2) thedefendantshallreporttotheprobationofficerin amannerandfrequencydirectedbythecourtorprobationofficer;
      3) thedefendantshallanswertruthfullyallinquiriesbytheprobationofficerand follow theinstructionsoftheprobationoftker;
            thedefendantshallsupporthisorherdependentsandm eetotherfamily responsibilities;
      5) thedefendantshallworkregularlyatalawfuloccupation,unlessexcusedbytheprobation officerforschooling,training,orother
            acceptablereasons;
            the defendantshallnotify theprobation officeratleastten dayspriorto any change in residenct oremploym ent;
            thedefendantshallrefrainfrom excessiyeuseofalcoholandshallnotpurchase,possess,use,distribute,oradlninisterany
             controlled substanceorany paraphernalla related to any controlled substances,exceptasprescribed by aphyslcian;
            thedefendantshallnotfrequentplaceswherecontrolledsubstancesareillegallysold,used,distributed,oradministered;
            thedefendantshallnotassoçialewithany personsengaxedincriminalactivity andshallnotassociatewith anyperson convictedofa
            felony,unlessgrantedperm lsslon to do sobytheprobatlonofficer;
    l0) thedefendantshallpermitxprgbationofficertoyisithimorheratanytimeathomtorelsewhereandshallpermitconfiscation ofany
            contrabandobservedinplalnvlew oftheprobatlonofficer;
            thedefendantshallnotify theprobationoftk erwithinseventy-twohoursofbeingarrestedorquestionedby a1aw enforcem entofficer;
            the dsfepdantshallnotenterinto any agreem entto actasan informeror a specialagentofa law enforcementagency withoutthe
            perm lsslonofthecourt;and
            asdirectedbytheprpbationofticer,thgdefendantshallnotifythirdparjesofrisksthatmaybeoccajionedbythedefendant'scriminal
            recordorpersonaIhlstoryprcharacterlsticsandshallpennittheprobatlonofficertomakesuchnotlficationsandto confirm the
            defendant'scom pliancewlth such notlfication requirem ent.




                                                                            327
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013  Pg: 332 of 336
        Case 5:11-cr-00045-MFU Document 80 Filed 07/25/13 Page 5 of 8 Pageid#: 901
  AO 2458     (Rev.9/11-VAW Additi
                                 ons6/05)Judgmenti
                                                 naCriminalCase
   V
              Sheet3C-.U.7-ESupervisedRelease

  DEFEN DA N T: JOI4N STUART DOW ELL                                                              Judgment-page    5     of       8
  CA SE N UM BER ;D VAW SI1CR000045-001

                                   SPECIAL CO NDITIONS OF SUPERVISIO N
 Thedefendantshallpayany specialassessmentandrestitm ionthatareimposedby thisjudgment.
 The defendantshallparticipate in aprogram oftesting and treatm entforsubstance abuse, asapproved by theprobation officer,untilsuch tim e
 asthedefendanthassatistiedallrequirementsoftheprogram .
 The defendantshallreside in aresidence free offirearms, amm unition,destnlctivedevices,and dangerousweapons.
 The defendantshallsubm itto warrantlesssearch and seizureofperson and property asdirected by theprobation officer,to detenninew hether
 the defendantis in possession offirearm s,illegalcontrolled substancesand pornography.

 Itisfurtherordered thatthe defendantmustcom ply w ith the specialconditionsforsex offenders,asfollows:
 Thedefendantshallregisterwitha11localandstatesexoffenderregistrationagenciesinanyjurisdictionwherethedefendantresides,is
 em ployed,carriesa vocation,is asttzdent,orisotherwiserequired to registerby SORNA .
 Thedefendantshallhavenodirectorindirectcontactatanytime,forany reason,w ith any victim identified in thepresentencereportorany
 victim 'sfam ily.
 Thedefendantshallnotpossess,view ,orotherwiseuse any materialsdepicting ordescribing ççchild pornography''asdefined in 18 U .S.C.j
 2256,norshallthe defendantknowingly enter,orknowingly rem ain in, any location w here such m aterialscan beaccessed,obtained,or
 view ed,including pictures,photographs,books,wlitings,drawings, videos,orvideo gam es.
 Thedefendant'sresidenceand employm entshallbeapproved by theprobation officer. Any proposed changein residence oremploym ent
 mustbeprovided to theprobation officeratleast10 dayspriorto the change and mustbe approvedbeforethe changem ay takeplace.
 Thedefendantshallsubm itto anevaluationby aqualifiedmentalhealthprofessional,approvedbytheprobationofficer,who isexperienced
 in the treatm entofsexualoffenders.The defendantshalltake a11medicationsreasonably related to his orhercondition, complete alltreatm ent
 recom mendations,and abide by allrules,requirem ents,and conditionsim posedby the treatmentprovideruntildischarged from treatm entby
 the provider.
 Thedefendantshallsubm ittoriskassessmentsandpsychologicalandphysiologicaltesting,whichmay includebutisnotlimitedtopolygraph
 orplethysm ograph examinationsorotherspecificteststo m onitorthedefendant'scompliance.
 Thedefendantshallsubm itto asearch ofhisperson,property,residence,vehicle,papers,com puter,electronic comm unication devices,or
 datastorage devicesorm ediaatany tim eby theprobation officerw ith reasonablesuspicion concerning unlawfulconductoraviolation ofa
 condition ofrelease.The defendantshould warn any otherresidentsoroccupantsthattheirprem ises orvehiclesin w hich thedefendantm ay
 belocatedcouldbesubjectto searchpursuanttothiscondition.
 Thedefendantshallnotuse,purchase,possess,procure,orotherwise obtain any com puterorelectronic device orcellulartelephonethatcan
 be linked to any computernetworks,bulletin boards,theIntem et,orotherexchange form atsinvolving com putersunlessapproved by the
 probation ofticerforsuch pum osesasthe defendant'slawfulgainfulemploym ent,use by an imm ediatefam ily mem berliving in the
 defendant'ssam e household,orotherlegitim ateactivities.In addition,thedefendantshallnotaccessoruse any computerthatutilizesany
 ç'cleaning''orivwiPing''softwareprogram s.
 Thedefendantshallnotassociate orhave verbal,written,telephonic,electronic comm unicationsorknow ingly socialize through the Internet
 with any minor,except:1)inthepresenceoftheparentorlegalguardian ofsaidminor;2)ontheconditionthatthedefendantnotitiesthe
 parentorlegalguardianofthedefendant'ssexoffenderconditiontsl;and3)withpriorapprovalfrom theprobationoftker.Thisprovision
 doesnotencompassm inorsw orkingasw aiters,cashiers,ticketvendors,andsim ilarservicepositionswithwhom thedefendantmustdealin
 orderto obtain ordinary and usualcomm ercialservices.
 Thedefendantshallnotpurchase,possess,oruseany camera orvideorecording deviceswithoutapprovaloftheprobation officer.
 Thedefendantshallnotify employers,fam ily m emberssand otherswith w hom the defendanthasregularcontactofthe defendant'ssex
 offenderconditionsand thatthe defendantisunderthe supervision oftheprobation officer.
 Thedefendantshallnotbeemployed in any position orparticipate asa volunteerin any activity thatinvolvescontactw ith minorswithout
 priorapprovalofthe probation officer.The defendantm ay notengagein an activity thatinvolvesbeing in a position oftnzstorauthority over
 any m inor.
 Thedefendantshallparticipatein theCom puterand lnternetM onitoring Program and abide by al1conditionstherein asdirected by the
 probation officer.Participation in thisprogram iscontingentupon allprogram criteriabeing met.
 Thedefendantshallnotbeinthecom panyoforhavecontactwithchildrenundertheageof18,includingthedefendant'sown children,
 withoutpriorperm ission oftheprobation officer.Contactincludesbutisnotlim ited to letters,com munication devices,audio orvisual
 devices,and com munication through athird party.The defendantshallim mediately reportany such contactto the probation offk er.
 Thedefendantshallnothave any contact,otherthan incidentalcontactin apublic fortzm such asordering in a restaurantorgrocery shopping,
 with any m inorthatisundertheageof 18w ithoutpriorpennission oftheprobation officer.Any approved contactshallbesupervised by an
 adultatalltimes.Thecontactaddressed in thiscondition includesbutisnotlim itedto directorindirect,personal,telephonic,written,and
 through athird party.Ifthedefendanthasany contactwith any such m inornototherwise addressed in thiscondition,the defendantisrequired
 to imm ediately leavethesituation and notify the probation officer.
 (ContinuedonPage6)



                                                                  328
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013  Pg: 333 of 336
        Case 5:11-cr-00045-MFU Document 80 Filed 07/25/13 Page 6 of 8 Pageid#: 902
  AO2458     (Rev.9/1l-VAW Addltions6/05)JudgmentinaCriminalCase

 D EFEN D AN T: JOI-lN STUART DOW ELL                                                           Judgment-page    6     of       8
 CA SE N U M BER : DVAW SI1CR000045-001

                                   ADDITION AL SUPERVISED RELEASE TER M S
 The defendantshallnotpossess orhaveunderhiscontrolany m aterialdepicting sexually explicitconductinvolving adultsorm inors,child
 pornography,orvisualdepictionsofminorsengagedin sexuallyexplicitconduct,asdetinedin 18U.S.C.j2256.
 The defendantshallnotpossess any sexually oriented materialthat,according to a qualified sex offendertreatm entprovider,m ay interfere
 with an ongoing treatm entregimen.
 Thedefendantshallnotpossessany bindings,restraints,handcuffs,orothersadom asochisticparapherflalia.
 The defendantshallnotutilize by any meansany socialnetworking forum soffering an interactiveusernetwork offriends,personalprofiles,
 blogs,chatroom s,orotherenvironm entswhich allow forinteraction with otherswithoutpriorapprovalofthe probation officer.
 Thedefendantshallsubm ittounannounced exam inationbytheprobation ofscerofthedefendant'scomputerequipm entandelectronic
 devices,which may includetheretrievaland copying ofalldatafrom the equipmentordevices,to ensure compliancew ith the conditionsof
 supervision.Iftheprobation ofticerhasreasonablesuspicion thatthe defendanthasviolated the term sand conditionsofsupervision,the
 defendantshallconsenttothe seizureofsuch equipm entand devicesforthe purpose ofconducting amorethorough investigation.
 The defendantshallpermittheprobation officerto conductperiodic,unannounced exam inationsofany com puterequipm entthe defendant
 usesorpossesses,which includesallhardw are and software related to onlineuse.Thiscom puterequipm entincludesbutisnotlimited to any
 internalorexternalperipherals,internet-capable devices,and data storage m edia.These examinationsm ay include retrievaland copying of
 datarelated to onlineuse and viewing ofpicturesand movieswhich may bepotentialviolationsoftheterm sofsupervision.Therelevant
 com puterequipm entm ay beremoved by theprobation ofticerform orethorough exam ination.Theprobation officerm ay use and installany
 hardwareorsoftwaresystem thatisneeded to monitorthe defendant'scomputeruse.
 The defendantisauthorized contactwith m inorchildren w ho are relativesofthe defendant,butthe contactmay occuronly in the presence of
 anotheradultwho hasbeen previously approved by theprobation officer.




                                                                   329
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013  Pg: 334 of 336
        Case 5:11-cr-00045-MFU Document 80 Filed 07/25/13 Page 7 of 8 Pageid#: 903
 AO 2458   (Rev.9/11-VAW Additions6/05)JudgmentinaCriminalCase
           Sheet5-CriminalM onetaryPenalties
                                                                                          Judgment-Page         7    of       8
  DEFEN DA NT : JOHN STU ART DOW ELL
  CA SE N UM BER :DVAW SI1CR000045-001
                                          C R IM IN A L M O N E TA R Y PEN A L TIES
      The defendantm ustpay thetotalcrim inalm onetary penaltiesunderthe scheduleofpaym entson Sheet6.

                     A ssessm ent                                Fine                            Restitution
  TOTALS          $ 1,300.
                         00                                  $                               5


  I
  k 1 Thedeterminationofrestitutionisdeferreduntil 90days .AnAmendedludgmentinaCriminalCase(AO 245C)willbeentered
      aftersuch determ ination.

  EEI Thedefendantmustmakerestitution(includingcommunityrestitution)tothefollowingpayeesintheamountlistedbelow.
      Ifthe defendantm akesa partialpayment,each payee shallreceivean approxim ately proportioned payment,unlessspecified othenvise
      inthepriorityorderorpercentagepaymentcolumnbelow.However,pursuantto 18U.S.
                                                                               C j3664(1),a11nonfederalvictimsmustbe
      paid before the United Statesispaid.
  Nam e ofPayee                                     TotalLoss*               Restitution O rdered              Prioritv orPercentaee




  TOTALS                                                         $0.00                              S0.00


  Z    Restitutionamountorderedpursuanttopleaagreement$
      Thedefendantmustpay interestonrestitutionandatineofmorethan$2,500,unlesstherestitutionorfineispaidinfullbeforethe
      fifteenthdayafterthedateofthejudgmentspursuantto18U.S.C.j3612(9.Al1ofthepaymentoptionsonSheet6maybesubject
      topenaltiesfordelinquencyanddefault,pursuantto 18U.S.C.j3612(g).
  Z    Thecourtdeterminedthatthedefendantdoesnothavetheabilitytopayinterestanditisorderedthat:
       E(Itheinterestrequirementiswaivedforthe EE1 fine IZ resti  tution.
      !-7 theinterestrequirementforthe (Z fine EEl restitutionismodifiedasfollows:


  #Findingsforthe totalam ountoflossesarerequired underChapters 109A,l10,1IOA,and 113A ofTitle 18 foroffensescom mitted on
  oraherSeptember 13,1994,butbefore April13,1996.



                                                                  330
USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013  Pg: 335 of 336
        Case 5:11-cr-00045-MFU Document 80 Filed 07/25/13 Page 8 of 8 Pageid#: 904
 A0 2458       (Rev.9/11-VAW Additions6/05)JudgmentinaCriminalCase
               Sheet6-ScheduleofPaymcnts
 DEFENDANT: JOHN STUART D OW ELL                                                                         Judgm ent-Page 8 of 8
 CASE N UM BER: DVAW SI1CR000045-001
                                                   SCH ED U LE O F PA Y M ENT S
 H avingassessedthedefendant'sabilitytopay,thetotalcrim inalmonetarypenaltiesaredueim mediatelyandpayableasfollows:
 A Ff'l Lumpsum paymentof$1300.00           immediately,balancepayable
           I
           --I notlaterthan                      ,or
           (
           -7 inaccordance       (-7 C, r-1 D, r--1E, r-IF or,(-7 G below);or
 B      Paymenttobeginimmediately(maybecombinedwith F-IC, r-lD, I    --IF,or I
                                                                             --IG below);or
           Paymentinequal                        (e.g.,weekly,monthly,quarterly)installmentsof$                overaperiod of
                        (e.g.,monthsoryears),tocommence                      (e.g.,30or60days)afterthedateofthisjudgment;or
 Dj
  --l Paymentinequal                        (e.
                                              g.,weekly,monthly,quarterly)installmentsof$               overaperiodof
                   (e.g.,monthsoryears),tocommence                    (e.g.,30or60days)aherreleasefrom imprisonmenttoa
           term ofsupervision;or
           Paymentduringtheterm ofsupervised releasewillcommencewithin                        (e.g.,30 or60days)afterreleasefrom
           im prisonm ent. The courtwillsetthe paymentplan based on an assessmentofthe defendant'sability to pay atthattim e;or
 Ir        Duringthetenn ofimprisonment,paymentin equal                  (e.g.,weekly,monthly,quarterly)installmentsof
           $                   ,or                          sincome,whicheveris. greater
                                            % oftbedefendant'                         =tocommence                   (e.g.,30or
           60days)afterthedateofthisjudgment;AND paymentinequal                       (e.g.,weekly,monthly,quarterly)
           installmentsof$               duringthetennofsupervisedrelease,tocommence                        (e.g.,30or60days)
           afterrelease from imprisonm ent.
           Specialinstructionsregardingthepaym entofcrim inalmonetarypenalties:



 Any installmentscheduleshallnotprecludeenforcementoftherestitutionorfineorderby theUnited Statesunder18U.S.C jj3613 and
 3664(n9.
 Anyinstallmentscheduleissubjecttoadjustmentbythecourtatanytimeduringtheperiodofimprisonmentorsupelvision,andthedefendant
 shallnotifytheprobation officerandtheU.S.Attorneyofanychangeinthedefendant'       seconom iccircum stancesthatmay affectthe
 defendant'sabilitytopay.
 A llcrim inalm onetary penaltiesshallbe m adepayable to the Clerk,U.S.DistrictCourt,P.O.Box 1234,Roanoke,Virginia 24006,for
 disbursem ent.
 Thedefendantshallreceivecreditforallpaymentspreviouslym adetoward anycrim inalm onetarypenaltiesim posed.
 Anyobligationtopayrestitutionisjointandseveralwithotherdefendants,ifany,againstwhom anorderofrestimtionhasbeenorwillbe
 entered.
      I
      Z JointandSeveral
         DefendantandCo-DefendantNamesandCaseNumbers(includingdefendantnumber),TotalAmount,JointandSeveralAmount,and
         correspondingpayee,ifappropriate.




      Z Thedefendantshallpaythecostofprosecution.
      Z Thedefendantshallpaythefollowingcourtcostts):
      Z Thedefendantshallforfeitthedefendant'sinterestinthefollowingpropertytotheUnitedStates:
      See attached orderofforfeimre.



      Paymentsshallbeapplied inthefollowingorder:(1)assessment,(2)restitutionprincipal,(3)restitutioninterest,(4)t'
                                                                                                                  ineprincipal,
      (5)fineinterest,(6)communityrestitution,(7)penalties,and(8)costs,includingcostofprosecutionandcourtcosts.

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USCA4 Appeal: 13-4576   Doc: 24    Filed: 11/22/2013  Pg: 336 of 336
        Case 5:11-cr-00045-MFU Document 83 Filed 08/01/13 Page 1 of 1 Pageid#: 913




                                            332
